UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FEDERAL HOUSING FINANCE AGENCY,
AS CONSERVATOR FOR THE FEDERAL
NATIONAL MORTGAGE ASSOCIATION
AND THE FEDERAL HOME LOAN
MORTGAGE CORPORATION,

                 Plaintiff,

          -against-

NOMURA HOLDING AMERICA, INC.;
NOMURA ASSET ACCEPTANCE                     No. 11 Civ. 6201 (DLC)
CORPORATION; NOMURA HOME
EQUITY LOAN, INC.; NOMURA CREDIT
& CAPITAL, INC.; NOMURA SECURITIES
INTERNATIONAL, INC.; RBS
SECURITIES INC. (f/k/a GREENWICH
CAPITAL MARKETS, INC.); DAVID
FINDLAY; JOHN MCCARTHY; JOHN P.
GRAHAM; NATHAN GORIN; and DANTE
LAROCCA,

                 Defendants.


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       Plaintiff Federal Housing Finance Agency (“FHFA”), as conservator of the Federal

National Mortgage Association (“Fannie Mae”) and the Federal Home Loan Mortgage Corporation

(“Freddie Mac” and, together with Fannie Mae, the “GSEs”) brought this action (“Action”)

against Defendants Nomura Holding America, Inc. (“Nomura Holding”), Nomura Asset

Acceptance Corporation (“NAAC”), Nomura Home Equity Loan, Inc. (“NHELI”), Nomura Credit

& Capital, Inc. (“NCCI”), Nomura Securities International, Inc. (“Nomura Securities”)

(collectively, “Nomura” or the “Nomura Defendants”), RBS Securities Inc. (f/k/a Greenwich

Capital Markets, Inc.) (“RBSSI”), David Findlay, John McCarthy, John P. Graham, Nathan Gorin,

and Dante LaRocca (collectively, the “Individual Defendants”) (together with Nomura and RBSSI,

the “Defendants,” and, all together with FHFA, the “Parties”). Pursuant to the Court’s January 21,

2015 Stipulation and Pretrial Scheduling Order, Dkt. 1119, and Section 5(A) of the Court’s

Individual Practices, FHFA submits its Proposed Findings Of Fact.

I.     INTRODUCTION
       1.      As set forth in the following Proposed Findings of Fact and simultaneously-filed

Conclusions Of Law, Defendants violated Section 12(a)(2) and Section 15 of the Securities Act of

1933 (the “Securities Act”), 15 U.S.C. § 77l(a)(2); 15 U.S.C. § 77o, and similar provisions of the

D.C. and Virginia Blue Sky laws, D.C. Code § 31.5606.05(a)(1)(B); D.C. Code § 31.5606.05(c);

Va. Code § 13.1–522(A)(ii) (the “Blue Sky Laws”) in connection with the sales of residential

mortgage-backed securities (“RMBS”) that the GSEs purchased between 2005 and 2007.
       2.      This Action concerns seven RMBS created by Nomura (the “Securitizations”), in

each of which one of the GSEs bought a certificate (a “Certificate”) that was backed by a pool of
loans known as a supporting loan group (“SLG”). The Certificates entitled the GSEs to a stream

of income and principal payments, derived from hundreds or thousands of homeowners’ payments
on the mortgage loans underlying the Certificates (the “Mortgage Loans”). The Certificates’

values largely depended on the ability and willingness of mortgagors to repay the Mortgage Loans’

principal and interest, and the adequacy of the collateral securing those loans in the event of

default.
       3.      The offering documents for the Securitizations (the “Offering Documents”),

including the prospectus (“Prospectus”) and prospectus supplement (“Prospectus Supplement”) for

each deal, made representations to investors about the Mortgage Loans. Among other things, the

Prospectus Supplements stated that the Mortgage Loans were generally originated in accordance

with underwriting guidelines designed to ensure that borrowers were able and willing to repay

their loans. The Prospectus Supplements also provided precise descriptions of the loan-to-value

(“LTV”) ratios of the Mortgage Loans backing the Certificates, and the percentage of properties

occupied by their owners. The Prospectus Supplements further represented that each Certificate

would be offered only if it received a AAA rating that was based on an assessment of the Mortgage

Loans made by the credit ratings agencies Moody’s Investors Service (“Moody’s”) and Standard

and Poor’s (“S&P”).

       4.      Those statements were materially false and misleading.

       5.      The Mortgage Loans were not generally underwritten according to guidelines—

over two-thirds of them had underwriting defects arising from the failure by the originators of

those loans (the “Originators”) to follow their stated origination processes or violation of

substantive guideline requirements. The LTV ratios of the loans were not as represented—over a

third of them were based on appraisals that were both patently inaccurate and not believed by the

appraisers who made them. As a result, numerous loans with LTV ratios reported as being below

the key threshold of 80% were actually over that level, and many loans had LTV ratios over 100%,
meaning that the borrower had no equity in the property at all. The occupancy representations

were also false—numerous loans for properties represented as being owner-occupied, and thus
with a lower credit risk than loans for investment properties or second homes, were backed by

properties that were not occupied by their owners. Defendants provided false data about the
Mortgage Loans to the ratings agencies, which then issued AAA ratings for the Certificates that

they would not have issued had Defendants provided accurate information.

       6.      The falsity of Defendants’ representations has been proved by overwhelming

evidence. FHFA’s experts drew a representative sample of loans from each SLG (the “Sample


                                                  2
Loans”), reviewed those Sample Loans for underwriting defects and for false and non-credible

valuations, and then extrapolated those results to the SLGs as a whole. They found that the SLGs

were laced with underwriting and valuation defects, rendering the SLGs wholly different than as

represented to the investing public. Their work was done using sound and well-established

principles of sampling, underwriting, and valuation analysis, and Defendants’ experts offer no

credible rebuttal to FHFA’s experts’ findings. Moreover, evidence obtained by Nomura and

RBSSI during their diligence reviews of the Mortgage Loans, which this Court has already found

were unreasonable as a matter of law, FHFA v. Nomura Holding Am. Inc. (“Diligence MSJ Op.”),

2014 WL 7232443, at *1 (S.D.N.Y. Dec. 18, 2014), uncovered strong evidence that specific loans

in the SLGs were defective, yet Defendants securitized those loans and other loans drawn from the

same pools anyway.

       7.      The true nature of the Mortgage Loans would have been material to any reasonable

investor in asset-backed securities like the Certificates. As the Securities Exchange Commission

(the “SEC”) has cautioned, “if the actual pool backing the investor’s securities differs materially

from that offered and described to the investor in the prospectus (and hence was to reflect the basis

for the investor’s investment decision), the investor is entitled to disclosure of the actual asset pool

that the investor is primarily dependent on for repayment.” Asset-Backed Securities, Securities

Act Release No. 33-8518, Exchange Act Release No. 34-50905, 84 SEC Docket 1624 (Dec. 22,

2004). Here, undisputed evidence demonstrates that each of the false and misleading statements in
the Prospectus Supplements related directly to the credit characteristics of the Mortgage Loans that

investors were “primarily dependent on for repayment,” and that the information conveyed was
universally used by investors to evaluate RMBS for purchase.

       8.      Because FHFA has made the showing necessary to establish Defendants’ liability
under Section 12(a)(2) and Section 15 of the 1933 Securities Act and the comparable provisions of

the Virginia and D.C. Blue Sky laws, and because Defendants can prove no affirmative defense

thereto, judgment for FHFA shall be entered.




                                                   3
II.    THE PARTIES

       A.      FHFA And The GSEs
       9.      The Federal Housing Finance Agency is a federal agency based in Washington,

D.C. FHFA was created on July 30, 2008 pursuant to the Housing and Economic Recovery Act of

2008 (“HERA”), Pub. L. No. 110-289, 122 Stat. 2654 (2008) (codified at 12 U.S.C. § 4617), to

oversee the Federal National Mortgage Association (“Fannie Mae”) and the Federal Home Loan

Mortgage Corporation (“Freddie Mac”) and the Federal Home Loan Banks. Parties’ Stipulations

Of Fact (“SOF”) ¶ 54.

       10.     On September 6, 2008, under HERA, the Director of FHFA placed Fannie Mae and

Freddie Mac into conservatorship and appointed FHFA as conservator. SOF ¶ 55. In that

capacity, FHFA has the authority to exercise all rights and remedies of the GSEs, including but not

limited to, the authority to bring suits on behalf of and/or for the benefit of Fannie Mae and

Freddie Mac. 12 U.S.C. § 4617(b)(12).

       11.     Fannie Mae is based, and has its principal place of business, in Washington, D.C.,

which is where Fannie Mae’s PLS traders worked in 2005. Long Direct ¶¶ 3-4. Freddie Mac is

based, and has its principal place of business, in McLean, Virginia, which is where Freddie Mac’s

PLS traders worked between 2005 and 2007. Johansen Direct ¶ 3.

       B.      Defendants

               1.       Nomura Holding America Inc. (“Nomura Holding”)
       12.     Nomura Holding America Inc. (“Nomura Holding”) is a Delaware corporation,

FHFA v. Nomura Holding Am. Inc. et al., Nomura Defendants’ Answer and Defenses to Plaintiff’s

Amended Complaint (“Nomura Answer”), Dkt. No. 201, ¶ 14, with its principal place of business

in New York, New York. Prahofer 30(b)(6) Dep. 243:14-243:24.

       13.     Nomura Holding’s wholly owned subsidiaries include Defendants Nomura Credit &

Capital, Inc. (“Nomura Credit” or “NCCI”), Nomura Asset Acceptance Corporation (“NAAC”),

Nomura Home Equity Loan, Inc. (“NHELI”), and Nomura Securities International, Inc. (“Nomura

Securities”). Nomura Answer ¶ 14; Prahofer 30(b)(6) Dep. 208:19-25. Nomura Holding was a



                                                  4
holding company that held the stock of its operating subsidiaries, Prahofer 30(b)(6) Dep. 209:22-

210:12, and earned its revenues from those companies, including NCCI and Nomura Securities.

Prahofer 30(b)(6) Dep. 211:7-12, 216:10-22.

       14.     From 2005 through 2007, Nomura Holding’s Board of Directors included

Individual Defendant David Findlay, Hiroshi Toda, Noriaki Nagai, Hideyuki Takahashi, Shigesuki

Kashiwagi, and Joseph Schmuckler. PX 182 at 2; Prahofer 30(b)(6) Dep. 255:4-12.

               2.     Nomura Credit & Capital, Inc. (“NCCI”)
       15.     Defendant Nomura Credit & Capital, Inc. (“Nomura Credit” or “NCCI”) is a

Delaware corporation, Nomura Answer ¶ 15, with its principal place of business in New York,

New York. Nomura Answer ¶ 15; Prahofer 30(b)(6) Dep. 243:14-243:24. NCCI was created by

Nomura Holding. Id. at 255:20-256:7, 220:18-20, 258:10-16, and is a wholly owned subsidiary of

Nomura Holding, Nomura Answer ¶ 15; Prahofer Dep. 30(b)(6) 207:19-24.

       16.     NCCI was the sponsor of each of the Securitizations. SOF ¶ 8; PX O0059 at 6; PX

O0049 at 6; PX O0045 at 6; PX O0041 at 152; PX O0072 at 1; PX O0080 at 1; PX O0051 at 1.

As sponsor, NCCI purchased the mortgage loans backing the Securitizations from originators and

held those loans on its books, Prahofer 30(b)(6) Dep. 249:9-17, 256:17-257:7, then sold the loans

backing the Securitizations to the depositor, NAAC or NHELI. SOF ¶ 16. As sponsor, NCCI also

responded to demands to repurchase defective loans out of securitization trusts and made demands

to originators for the repurchase of defective loans. Prahofer 30(b)(6) Dep. 269:15-19.
       17.     NCCI’s directors were appointed by Nomura Holding. SOF ¶ 31. From 2005

through 2007, NCCI’s directors included Individual Defendant Dante LaRocca and Sam
Herbstman. PX 182 at 2. NCCI’s directors elected its officers. SOF ¶ 30. All of NCCI’s officers

were also officers of Nomura Securities and employees of Nomura Securities. Prahofer 30(b)(6)
Dep. 222:14-223:10, 257:24-258:9.

       18.     NCCI had no employees until October 2006. SOF ¶ 22. After October 2006, some

former employees of Nomura Securities became employees of NCCI. Prahofer 30(b)(6) Dep.




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230:13-25. There was no substantive change in any person’s responsibilities when his or her

employment switched from Nomura Securities to NCCI. Id. at 230:13-25.

               3.      Nomura Asset Acceptance Corporation (“NAAC”)
       19.     Defendant NAAC is a Delaware corporation, Nomura Answer ¶ 16; with its

principal place of business in New York, New York. Prahofer 30(b)(6) Dep. 243:14-244:7.

NAAC was an indirect wholly owned subsidiary of Nomura Holding and an affiliate of Nomura

Securities and NCCI during the 2005 to 2007 period. SOF ¶ 9. Until October 2006, NAAC was

directly owned by Nomura Asset Capital Corporation (“NACC”); after that it was directly owned

by Nomura American Mortgage Finance (“NAMF”). Prahofer 30(b)(6) Dep. 246:9-19.

       20.     NAAC was a bankruptcy-remote, special purpose entity. It was created by NACC

to act as a depositor for mortgage-backed securities, Id. at 216:23-217:16, 218:11-21, 219:4-6,

and had no business operations other than issuing mortgage-backed securities. McCarthy Dep.

60:14-61:3.

       21.     NAAC was the depositor for one Nomura Securitization: NAA 2005-AR6. Nomura

Answer ¶ 16; PX O0059 at 1. As depositor, NAAC purchased the Mortgage Loans backing NAA

2005-AR6 from NCCI, Prahofer 30(b)(6) Dep. 249:4-8, and then sold certificates in NAA 2005-

AR6 to the underwriter, who in turn sold those certificates to investors, including by selling the

NAA 2005-AR6 Certificates to Fannie Mae. Prahofer 30(b)(6) Dep. 259:20-260:13; LaRocca

Dep. 48:8-14. As depositor, NAAC was also responsible for registering the Certificates with the
SEC and preparing and filing reports required under the Securities Exchange Act of 1934. PX

O0035 at 1; PX O0036 at 1.
       22.     NAAC’s Directors were elected by its owner, which until October 2006 was NACC

and thereafter was NAMF. Prahofer 30(b)(6) Dep. 295:10-22. Throughout 2005 to 2007, the
members of NAAC’s Board of Directors included Individual Defendants David Findlay and John

McCarthy. Prahofer 30(b)(6) Dep. 253:10-25. There is no evidence that a meeting of NAAC’s

Board of Directors ever occurred. McCarthy Dep. 66:4-16; id. at 160:6-14.




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        23.   NAAC’s officers were elected by its Board of Directors. SOF ¶ 26. NAAC’s

officers during the 2005 to 2007 time period included Individual Defendant John Graham, Nathan

Gorin, Juliet Buck, and Sam Herbtsman. Prahofer 30(b)(6) Dep. 224:23-225:8. NAAC did not

have any employees during the 2005-2007 period. SOF ¶ 18.

              4.      Nomura Home Equity Loan, Inc. (“NHELI”)
        24.   Defendant Nomura Home Equity Loan, Inc. (“NHELI”) is a Delaware corporation,

Nomura Answer ¶ 17, with its principal place of business in New York, New York. Prahofer

30(b)(6) Dep. 243:14-244:10. NHELI was an indirect wholly owned subsidiary of Nomura

Holding. SOF ¶ 10.

        25.   NHELI was a bankruptcy-remote, special purpose entity created by NACC to act as

a depositor for RMBS securities. Prahofer 30(b)(6) Dep. 216:23-217:16, 218:11-21; 228:18-229:4,

It had no business operations other than issuing mortgage-backed securities. McCarthy Dep.

60:14-61:3.

        26.   NHELI was the depositor for six Securitizations: NHELI 2006-FM1, NHELI 2006-

FM2, NHELI-2006-HE3, NHELI 2007-1, NHELI 2007-2, and NHELI 2007-3. SOF ¶ 7. As

depositor, NHELI was responsible for registering the Certificates with the SEC and preparing and

filing reports required under the Securities Exchange Act of 1934. PX O0033 at 1; PX O0034

at 1.

        27.   NHELI’s Directors were elected by its owner, which until October 2006 was
NACC and thereafter was NAMF. Prahofer 30(b)(6) Dep. 295:10-22. Throughout 2005 to 2007,

NHELI had the same Directors as NAAC. Id. at 253:10-25. There is no evidence that NHELI’s
Board of Directors ever met. McCarthy Dep. 66:4-16; id. 160:6-14.

        28.   NHELI had largely the same officers as NAAC: Individual Defendant Dante
LaRocca, Individual Defendant Nathan Gorin, Juliet Buck, and Sam Herbtsman. Prahofer 30(b)(6)

Dep. 228:8-17. NHELI’s officers were elected by its Board of Directors. Id. at 295:18-22.

NHELI had no employees during the 2005-2007 period. SOF ¶ 19.




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               5.     Nomura Securities
       29.     Defendant Nomura Securities is a New York corporation, Nomura Answer ¶ 18,

with its principal place of business in New York, New York. Nomura Answer ¶ 18. Nomura

Securities was a wholly owned subsidiary of Nomura Holding and an affiliate of NAAC and

NHELI. During the 2005-2007 period. SOF ¶ 11.

       30.     Nomura Securities is registered with the SEC as a broker-dealer, Nomura Answer

¶ 18, and was the lead or co-lead underwriter for three Securitizations: NAA 2005-AR6, NHELI

2006-FM1, and NHELI 2006-HE3. Nomura Answer ¶¶ 18, 56. As underwriter, Nomura

Securities was responsible for marketing the Securitizations, including sending out the Offering

Materials, such as the term sheets, free writing prospectuses, and Prospectus Supplements, as well

as receiving indications of interest from potential investors. Prahofer 30(b)(6) Dep. 259:20-

260:13, 269:7-12. As underwriter, Nomura Securities also purchased the Certificates from the

depositor (either NAAC or NHELI) and sold them to investors, including Fannie Mae and Freddie

Mac. Prahofer 30(b)(6) Dep. 259:20-260:13; LaRocca Dep. 48:8-14.

       31.     From 2005 through 2007, the Directors of Nomura Securities included Individual

Defendant David Findlay. PX 182 at 2; Prahofer 30(b)(6) Dep. 254:2-6. Nomura Securities’

officers were elected by its Board of Directors. SOF ¶ 28. Prior to October 2006, Nomura

Securities employed the majority of individuals with a role in Nomura’s RMBS business. Prahofer

30(b)(6) Dep. 229:13-22. Before that date, Nomura Securities employees included, among others,

John Graham, Dante LaRocca, Sam Herbstman, Nathan Gorin, Jeanne Leschak, and collateral

analysts. Id. at 223:13-24, 226:8-23, 226:8-25, 270:25-271:3, 271:4-7.

               6.     RBS Securities, Inc. (“RBSSI”)
       32.     Defendant RBS Securities Inc. (“RBSSI”) is a Delaware corporation, with its

principal place of business in Stamford, Connecticut. SOF ¶ 56. Before April 2009, RBSSI was

known as Greenwich Capital Markets, Inc. (“Greenwich”). SOF ¶ 57.

       33.     RBSSI is registered with the SEC as a broker-dealer, SOF ¶ 56, and, operating as

Greenwich at the time of the Securitizations, was the lead underwriter for (a) NHELI 2006-FM2,



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PX O0045 at 1; (b) NHELI 2007-1, PX O0072 at 1; and (c) NHELI 2007-2, PX O0080 at 1.

Along with Nomura Securities, RBSSI was the co-lead underwriter for NHELI 2006-HE3. PX

O0041 at 1.

              7.      The Individual Defendants
       34.    N. Dante LaRocca resides in                        . LaRocca Dep. 11:18-

22. From 2005 through 2007, Mr. LaRocca was a Managing Director at Nomura Securities, a

Managing Director and Director of NCCI, and the President and Chief Executive Officer (“CEO”)

of NHELI. Id. at 36:25-37:10; Prahofer 30(b)(6) Dep. 228:2-17; PX 182 at 2. Functionally, Mr.

LaRocca was head of Nomura’s Real Estate Finance Group. Graham Dep. 22:3-13. Mr. LaRocca

signed Registration Statements 333-126435 and 333-132109, and the amendments thereto

(together with 333-126812, the “Registration Statements” in this Action). SOF ¶ 42.

       35.    David Findlay resides in                         . Findlay Dep. 11:12-15. From

2005 through 2007, Mr. Findlay was a Director and the Chief Legal Officer (“CLO”) of both

Nomura Holding and Nomura Securities, a Director of NAAC and NHELI, and the CLO of

NCCI. Findlay Dep. 23:20:-24:4, 25:21-26:23; Prahofer 30(b)(6) Dep. 241:5-9; 252:22-253:19;

Findlay Dep. 83:24-84:4. Mr. Findlay signed each of the Registration Statements and the

amendments thereto. SOF ¶ 42.

       36.    John P. Graham resides in                      . Graham Dep. 11:13-18. During

the 2005 to 2007 time period, Mr. Graham was a Managing Director at Nomura Securities, a

Managing Director at NCCI, and the President and CEO of NAAC. Graham Tr. 20:2-12, 21:9-22,

25:20-26:5, 25:20-26:5; Prahofer 30(b)(6) Dep. 224:21-225:8. Mr. Graham’s functional role was

the Head of Residential Mortgage Finance for Nomura’s RMBS business. Graham Dep. 40:19-

41:10, 142:11-22. Mr. Graham signed Registration Statement 333-126812 and the amendment

thereto. SOF ¶ 42.

       37.    Nathan Gorin resides in                    . Gorin Dep. 10:18-22. From 2005 to

2007, Mr. Gorin served as the Chief Financial Officer (“CFO”) and Treasurer of NAAC, NHELI,

NCCI, and Nomura Securities. SOF ¶ 39; Prahofer 30(b)(6) Dep. 248:14-25. Mr. Gorin was


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responsible for maintaining the financial accounts of NAAC, NHELI, and NCCI. Id. at 248:15-25,

251:17-20, 258:19-23. Mr. Gorin signed each of the Registration Statements and the amendments

thereto. SOF ¶ 42.

       38.     John McCarthy resides in                              . McCarthy Dep. 10:5-9. From

2005 to 2007, Mr. McCarthy was an Independent Director of NAAC and NHELI. SOF ¶ 38; see

also PX 182 at 2. Mr. McCarthy signed each of the Registration Statements and the amendments

thereto. SOF ¶ 42.

III.   BACKGROUND

       A.      Residential Mortgage-Backed Securities

               1.      Overview Of RMBS
       39.     Securitization is the process of converting an asset or group of assets into a security

in order to transform less liquid or illiquid assets into a more liquid form of ownership. Rubinstein

Direct ¶¶ 17-18. Structured finance typically refers to the process of creating securities backed by

pools of loans, leases, or other similar cash-flow producing assets, a product for which there is

ordinarily a market. These securities are called certificates and generally entitle their owner to

payments of principal and/or interest. Rubinstein Direct ¶¶ 17, 55; Finkel Direct ¶ 7.

       40.     Securitizations backed by residential mortgages are called residential mortgage-

backed securities, or “RMBS.” A “mortgage” is a loan secured by real property. The loan is

documented by a promissory note in which the borrower acknowledges the debt and promises to

pay it back over a defined period of time, typically with interest. If the borrower does not repay

the debt, the mortgage document allows the lender to force a sale of the property to satisfy the

debt. Rubinstein Direct ¶ 19; Finkel Direct ¶ 7.

       41.     In RMBS, a large number of mortgage loans are pooled into a single trust. The

overall pool is often subdivided into separate groups of loans with similar characteristics, including

sometimes loan groups based on investor needs. A certificate may either be backed by one group

of loans, or backed by different groups of loans, such that an investor, i.e. a certificateholder, has

rights to the flow of cash from a specific set of loans. Rubinstein Direct ¶¶ 22, 54.


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       42.     The payments made to certificateholders are a function of the underlying payments

of principal and interest by the individual borrowers on the underlying mortgage loans in the pool.

Rubinstein Direct ¶ 55. The payments also depend on the value of the properties collateralizing

the loans in the pool because the remedy for defaulted loans that are not cured is to foreclose and

then sell the property, using the sale proceeds to repay as much of the loan as possible. Rubinstein

Direct ¶ 55. Payments to the certificateholders further depend on the securitization structure,

commonly called the waterfall. The waterfall causes the overall prepayment and credit risk in the

pool to be differentially redistributed among the certificateholders, typically with the intent of

protecting the senior certificates against losses at the expense of the junior (subordinated)

certificates. Rubinstein Direct ¶ 55.

       43.     There are two distinct markets for RMBS: the Agency RMBS market, where the

RMBS are supported or otherwise guaranteed by the GSEs or government agencies, and the Non-

Agency, or Private Label Securities (“PLS”) market, where the securities consist of collateral types

not eligible for inclusion in Agency RMBS. Finkel Direct ¶ 8. Any deal that is not securitized

under an agency or GSE guarantee is considered to be a “private-label” securitization, as the

issuing entity has no explicit or implicit connection to the U.S. government. Schwert Direct ¶ 8.

PLS investors bear the credit risk associated with the underlying mortgage pools (subject to rights

against sponsors, underwriters, or other entities). Finkel Direct ¶ 8.

       44.     Participants in the RMBS market include a loan originator, a sponsor, a depositor, a
trust, a trustee, a securities underwriter, a servicer, and the rating agencies. Rubinstein Direct ¶ 23.

       45.     A loan originator originates loans to sell to a securitizer or other third party. The
originator should underwrite the loan pursuant to a set of underwriting guidelines, which set forth

the policies and procedures for originating a loan. The originator’s analysis of a borrower’s
capacity to pay, creditworthiness, and the collateral, as well as the ultimate decision to extend a

loan, is typically governed by this set of formal, written underwriting guidelines. Underwriting

guidelines are intended to ensure that a lender originates loans in a consistent manner. They also




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help the originator decide the terms on which to approve a loan to a borrower. Rubinstein Direct

¶¶ 25, 49; Blum Direct ¶ 20; Hunter Direct ¶¶ 61-65.

       46.     A sponsor purchases loans from one or more originators for the purpose of

securitizing them, and holds title to the loans until they are transferred to the depositor. The

sponsor is the entity with responsibility for creating the securitization, including determining the

other participants in the securitization process and the pool of loans to be included in the

securitization. Rubinstein Direct ¶¶ 27-28. Many sponsors purchase pools of loans in bulk

transactions, in which sponsors typically purchase a large pool of recently funded and similarly

underwritten loans of the same product type from a single originator. Rubinstein Direct ¶ 48.

Sponsors may also engage in mini-bulk purchases, which are similar to bulk purchases but contain

a smaller bundle of loans. Small loan sellers sometimes lack the capital to assemble a bulk pool; in

these cases, a sponsor may offer to buy the loans as they are originated, which is called buying on

a “flow basis.” Rubinstein Direct ¶ 48.

       47.     As part of the loan acquisition process, the originator generally issues a request for

bid on a particular pool of loans which includes information about the bid deadline, settlement

date, cut-off balance and date, servicing information, specifications for acquisition diligence, and

delivery tolerance. PX 715. In addition, the originator may provide a loan tape to a prospective

sponsor that contains information about the collateral characteristics of each of the loans in the

pool, including FICO score, LTV or combined loan-to-value (“CLTV”) ratio, debt-to-income
(“DTI”) ratio, occupancy status, documentation type, loan amount, and property type. Rubinstein

Direct ¶ 50; see, e.g., PX 149. As part of its bid to purchase the pool, the sponsor submits a
proposed price based on the characteristics of the loans as reflected in the loan tape. Katz Dep.

158:15-159:11.
       48.     The purchase of the pool of loans by the sponsor from the seller is generally

governed by a contract, entitled the Mortgage Loan Purchase Agreement (“MLPA”), that contains

a variety of transaction-level and loan-level representations and warranties, including that the loans

generally adhered to underwriting guidelines. Rubinstein Direct ¶ 51; PX 229. At the time of


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purchase from the originator, the sponsor conducts a loan-level review that consists of a credit

review, a compliance review, and a valuation review. PX 323; PX 326; PX 856.

       49.     The sponsor sells the loans that are to be included in the securitization to a special

purpose, bankruptcy remote vehicle known as a depositor. Rubinstein Direct ¶¶ 30, 52. The

depositor is a special purpose vehicle (“SPV”) organized primarily for the purpose of establishing

a true sale of the mortgage assets, which protects certificateholders against the risk of a subsequent

bankruptcy by the sponsor. As an SPV, the depositor has no assets, no employees, and no business

operations or purpose other than to carry out the transfer of mortgage loans to implement the

securitization. Rubinstein Direct ¶ 30.

       50.     The depositor sets up the trust and deposits the loans from the sponsor into the trust

in exchange for the certificates, which represent the entire beneficial ownership interest in the

trust. The trust is an SPV created to own the mortgage loans and generally is administered by a

trustee for the benefit of the certificate holders. Rubinstein Direct ¶¶ 30, 31. The depositor uses

proceeds from the sale of the certificates to the underwriter to purchase the loans. The depositor,

on behalf of the trust, also issues registration statements and other offering materials. Rubinstein

Direct ¶¶ 30, 32. The SPV authorizes the issuance of secured, limited recourse debt by entering

into an indenture; the proceeds of this debt issuance, and the equity capital of the entity, are used to

finance the purchase of loans. Finkel Direct ¶ 9.

       51.     Securities underwriters are entities that bring securities to market and sell them to
investors, including by providing information to rating agencies to obtain credit ratings for the

securities, and by structuring and pricing the securities. Blum Direct ¶ 12; Rubinstein Direct ¶ 36.
There may be multiple underwriters on a securitization, including a lead underwriter, a co-lead

underwriter, and an underwriter in the syndicate. Rubinstein Direct ¶ 33. The lead underwriter
usually designs the securitization and coordinates with the rating agencies to obtain credit ratings

for the deal. Rubinstein Direct ¶ 33. Typically, a lead underwriter is an investment bank that is

responsible for, among other things: (i) performing due diligence to ensure that the offering




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documents are accurate and complete; (ii) purchasing the certificates from the depositor; and (iii)

selling the certificates to investors. Rubinstein Direct ¶ 33; Blum Direct ¶¶ 11-12.

       52.     This diligence includes verifying the statements in the offering materials about:

(i) the compliance of the underlying loans to underwriting guidelines; (ii) the accuracy of statistical

data in the collateral tables, including information about LTV ratios, CLTV ratios, owner

occupancy status, and DTI ratios; and (iii) verifying that the final rating issued on the certificate

was as represented in the offering materials. Rubinstein Direct ¶ 35; Blum Direct ¶ 18. The

diligence by the underwriter at the securitization stage tests the accuracy of the statements in the

offering documents. Rubinstein Direct ¶ 35.

       53.     In structuring and pricing a securitization, the securities underwriter seeks to

maximize its profits. For the underwriter (and its affiliates), material profits (or losses) generally

arise from underwriting fees as well as the difference between (a) the proceeds received by the

bank (and affiliates) from sold securities, plus the value of any securities retained; and, (b) in the

instance of an affiliated underwriter, what the bank paid for the loans plus all marginal expenses of

the securitization (this difference is the “Net Trade Value”). Blum Direct ¶ 13. The underwriter’s

profits are predominantly based on an underwriting fee, which is generally expressed as a

percentage of the total securitization sold to investors. Blum Direct ¶ 13; Rubinstein Direct ¶ 34.

       54.     The underwriter(s) markets and sells the certificates to investors. Rubinstein Direct

¶¶ 36, 77.

               2.      Credit Enhancement
       55.     Since PLS are not backed by the GSEs, alternative forms of credit enhancement are
utilized to create highly-rated securities. Schwert Direct ¶ 9; Rubinstein Direct ¶ 56. Credit

enhancement refers to improving the credit profile of bonds in a securitization through internal
features such as subordination, excess spread, and overcollateralization, or external features such

as bond insurance or financial guarantees. It improves the credit profile of a securitization despite

the credit risk of the underlying assets. Rubinstein Direct ¶¶ 56, 68.




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       56.     Credit rating agencies set rating levels on certificates according to how much credit

enhancement is provided in relation to the risk they perceive in the pool of underlying assets.

Rubinstein Direct ¶ 56. While credit enhancements are necessary for RMBS to be acceptable to

investors, they also impose costs and cut into sponsor, issuer, and, potentially, securities

underwriter profit margins. Rubinstein Direct ¶¶ 57, 68.

       57.     One form of credit enhancement is subordination. Subordination refers to a

structure in which each class of bonds has a different right to the interest payments, principal

payments, and losses generated by the underlying assets. Rubinstein Direct ¶ 58; Schwert Direct

¶ 9. The senior class of bonds is given a first claim on interest and principal cash flows, and a last

position with regard to losses. Rubinstein Direct ¶ 58. All other bonds are subordinate to the

senior class, but the subordinate bonds themselves have a similar arrangement in that one class of

subordinate bonds is senior to all other subordinate bonds, another is senior to the remaining

bonds, and so on until there is a last bond called a “first loss” bond that is subordinate to all other

bonds. Rubinstein Direct ¶ 58. This so-called “first loss” tranche creates a buffer to absorb any

losses in the credit portfolio, thereby enhancing the creditworthiness of the more senior issued

debt. Finkel Direct ¶ 9; Rubinstein Direct ¶¶ 59-60. Rights to interest and principal are allocated

in sequential order based on the level of seniority, and losses are assigned based on the reverse

order of seniority. Rubinstein Direct ¶ 58; Schwert Direct ¶ 9.

       58.     Subordination is created at the inception of the deal and is established through the
priority of payment waterfall and also by the rules for the allocation of loss. These payment rules

are contained in the Pooling and Servicing Agreement (“PSA”). Rubinstein Direct ¶ 59. In
senior/subordinated structures, the senior class typically receives more than its pro rata share of

principal payments early on in the transaction. Prepayments are allocated to the senior classes to
ensure that the subordinate classes remain outstanding for a sufficiently long period of time (and

increase as a percentage of the total certificates outstanding) to provide credit support to the senior

tranches. Rubinstein Direct ¶ 60.




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       59.     Overcollateralization is a type of subordination. In overcollateralization, the

principal value of the debt securities issued is smaller than the aggregate principal value of the

underlying loans. Schwert Direct ¶ 9; Rubinstein ¶ 63.

       60.     Excess spread is another type of credit enhancement, in which the coupon payments

on the certificates in the aggregate are lower than the interest generated by the underlying assets in

the pool. This feature generates excess interest—the difference between the interest paid to the

certificates and the net interest collected from the underlying assets. Excess spread generates

excess interest cash flow, meaning more interest than is needed to pay the interest owed on all of

the certificates. Rubinstein ¶ 62.

       61.     Credit support enables a structure to appeal to different investors with different risk

appetites. Investors in senior classes typically prefer safer investments, although they earn less in

interest. Rubinstein Direct ¶ 61; Blum Direct ¶ 30. Arriving at the appropriate structure for the

security requires the underwriter to interact with investors in determining for each tranche the yield

demanded by the market, given an expected ratings level. Blum Direct ¶ 47.

       62.     Generally, in subprime securitizations during 2005-2007, the subordinate tranches

were sized to absorb losses on the order of 20% to 30% of the underlying collateral, and in Alt-A

transactions the subordinated tranches were sized so as to protect against losses of 5% to 10%.

Blum Direct ¶ 58. More specifically, bonds backed by subprime mortgages issued in 2006 that

were rated Aaa by Moody’s were structured on average to withstand a total loss on the underlying
mortgage pool of about 26% to 30% without defaulting. Schwert Direct ¶ 10.

               3.      Credit Ratings
       63.     A credit rating agency typically grades the risk of a security by estimating the

probability of any loss and/or the expected loss severity thereon. Blum Direct ¶ 29; Rubinstein
Direct ¶ 70. Credit ratings are grades assigned to securities that reflect the expectation of the credit

risk of owning that security. The higher the rating, the less risky the bond. Ratings are based on a

scale from AAA to C, with AAA being the “safest.” Rubinstein Direct ¶ 70; Blum Direct ¶ 29.




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       64.     Senior classes are usually rated AAA, while junior classes have lower ratings. A

AAA rating is intended to reflect the same level of credit worthiness regardless of asset class. A

AAA RMBS backed by Alt-A or subprime loans should have the same credit risk as a AAA

RMBS that is backed by prime loans (but will require more credit enhancement to do so).

Rubinstein Direct ¶ 70. Higher-rated securities are generally expected, by investors and the rating

agencies, to have (a) a lower probability of default, and/or (b) a lower expected loss on default.

Because of their lower perceived risk of loss, higher-rated securities typically pay lower yield or

sell at higher prices. Blum Direct ¶ 30; Rubinstein Direct ¶ 61.

       65.     The spectrum of available ratings is divided between investment-grade securities

and non-investment-grade securities, also known as “junk,” “high-yield,” or “speculative”

securities. An investment-grade security is defined as being rated between “Baa3” and “Aaa”

(inclusive) from Moody’s, between “BBB-” and “AAA” (inclusive) from S&P and/or between

“BBB-” and “AAA” (inclusive) from Fitch. Blum Direct ¶ 31.

       66.     Investment-grade securities generally are expected to have higher credit quality, and

they are also generally more liquid than non-investment-grade securities because a larger number

of investors buy and sell high-rated securities, and underwriters have a greater capacity to make a

market in them. The market for RMBS during the 2005-2007 period was generally an investment-

grade market. Blum Direct ¶ 32. Investment-grade bonds are predominantly held by institutional

investors that tend to be averse to the risk of portfolio losses. Many institutional investors have
internal investment requirements and/or are subject to external regulations with minimum ratings

requirements that either prohibit purchase of securities that are not rated or are not rated
investment-grade, or that preclude them from holding more than a certain percentage of their

portfolios in such securities. Blum Direct ¶ 33.
       67.     The higher the quality of a loan pool, the less credit enhancement is needed to

achieve a given rating. Typically, an issuer simply can sell more highly rated securities backed by

a high-quality pool. Lower-quality pools would generally produce less Net Trade Value. Because

credit enhancement is expensive, the less that is required, the greater the Net Trade Value. Blum


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Direct ¶ 46; see Rubinstein Direct ¶ 66-67. If an underwriter’s due diligence identifies loans that

are of a lower quality than assumed, the structure will most likely change to reflect new (and

higher) default and loss projections and securities will most likely be rated lower (absent increased

credit enhancement). This reduces Net Trade Value. Blum Direct ¶ 48.

       68.     The process of assigning credit ratings to RMBS depended significantly on risk

assessments derived from modeled predictions, which each rating agency utilized to forecast

foreclosure frequency, expected losses, and cash flows. Blum Direct ¶ 34; Rubinstein Direct ¶ 71.

The subordination level necessary to achieve a AAA rating for the senior tranches and the relative

size of the different subordinate tranches of a private-label RMBS is determined by the ratings

agencies based on their assessment of the likelihood of losses, which, in turn, depended on the

reported characteristics of the underlying loans. Schwert Direct ¶ 11; Rubinstein Direct ¶¶ 71-72.

       69.     The rating process was generally common to each of the rating agencies during the

2005-2007 period. First, an underwriter or sponsor provided the rating agency a “loan tape,”

containing loan and borrower information, including, among other data elements, FICO scores,

LTV and CLTV ratios, DTI ratios, and owner occupancy status. Blum Direct ¶ 35; Rubinstein

Direct ¶ 71. A ratings analyst ran the data on the loan tape through a loss model, which “stressed”

the pool through various economic scenarios and computed an expected loss statistic for each loan.

The expected loss for the pool was aggregated, and an analyst calculated credit enhancement

requirements for various rating levels based on the expected loss. Blum Direct ¶ 35; Rubinstein
Direct ¶ 71.

       70.     Separately, analysts used cash flow models to assess credit enhancement provided
by excess spread (interest received in excess of the bond coupon obligations and expenses). Blum

Direct ¶ 35. Analysts then utilized model-generated loss expectation and credit enhancement
levels to assess loan-pool risk and formulate rating recommendations for each tranche. Blum

Direct ¶ 35. Finally, analysts presented their recommendations and findings to a rating committee,

which voted on and approved final credit ratings (and/or elements essential to assess the same; for

example, expected loss). Blum Direct ¶ 35.


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       71.     The rating agencies and the broader industry recognized that inaccurate data would

undermine the integrity of the rating process, and rating agencies relied on sponsors or securities

underwriters to provide accurate loan-level information. Blum Direct ¶¶ 36-37, 41; Rubinstein

Direct ¶ 71. Indeed, the rating agencies, upon receiving a loan tape from an underwriter, verified

only that data fields were complete and properly formatted, and did not conduct independent

verification. Blum Direct ¶ 36; Rubinstein Direct ¶ 72.

       72.     The importance of accurate loan-level information to the rating process is shown, in

part, by the fact that rating models assigned quantitative penalties or benefits to particular loan-

level characteristics in arriving at an aggregate statistical risk assessment for a loan pool. Blum

Direct ¶ 37. For instance, S&P estimated in its RMBS: U.S. Residential Subprime Mortgage

Criteria: Credit Analysis for Subprime Loan Transactions that, for certain borrowers, “loans with

LTVs of 90% have a 1.5 times (x) greater risk of being foreclosed than an LTV of 80%,” and

“[l]oans with an LTV of 100% are assumed to be 4.5x riskier than loans with an LTV of 80%.”

S&P similarly increased credit-model default assumptions “by a factor of 3.0x on second homes

and investment properties” relative to owner occupied homes. A tape misstating a loan’s actual

LTV or owner occupancy status would therefore cause the model to assess inaccurately the risk for

both the loan and the pool. Blum Direct ¶ 37; PX 1318; see also Schwert Direct ¶ 12. This

problem is captured by the axiom: “garbage in, garbage out.” Blum Direct ¶ 42.

       73.     The rating agencies also relied on sponsors or the securities underwriter to ensure
that loans complied with applicable underwriting guidelines because the rating agency models did

not have inputs that model default or loss severity based on non-compliance with underwriting
guidelines. Blum Direct ¶ 65. In other words, rating agency models assumed compliance with

underwriting guidelines. Blum Direct ¶ 65. If issuers or underwriters submitted inaccurate
information, the rating agencies reserved the right to withhold or withdraw credit ratings. Blum

Direct ¶ 40.

       74.      To safeguard against inaccurate information, rating agencies adopted precautionary

measures intended to protect the integrity of the rating process, although such measures still relied


                                                  19
on issuers and underwriters and did not seek to verify the accuracy of the third-party data provided

to them. Blum Direct ¶ 38. For example, rating agency analysts reviewed transaction-specific

documents to confirm that there were representations and warranties attesting to the accuracy of

loan-level information and that the loans were originated in conformance with underwriting

guidelines. Analysts also reviewed the prospectus supplement to check consistency between the

information provided during the rating process and the information marketed to investors, relying

upon issuers and underwriters to provide the most current and up-to-date information upon which

they would rely. Blum Direct ¶ 38. S&P also required issuers and underwriters to execute and

submit a signed letter stating that the information provided was accurate. Blum Direct ¶ 38.

       75.     Finally, before issuing a formal rating letter, the rating agencies required issuers and

underwriters to submit a final tape of collateral characteristics. The agencies re-ran the tape

through the credit rating models to confirm the absence of material discrepancies in loan data.

Blum Direct ¶ 39.

               4.      Marketing Of The Securities
       76.     Publicly offered securities are issued pursuant to registration statements.

Rubinstein Direct ¶ 73.

       77.     A registration statement is a set of documents, including a base prospectus and a

prospectus supplement, which a company must file with the SEC before it can proceed with a

public offering. Rubinstein Direct ¶ 73. A registration statement can be filed as a “shelf”
registration that allows for multiple securitizations to be issued based on the same registration

statement. Rubinstein Direct ¶ 74.
       78.     The base prospectus is a disclosure document required by and filed with the SEC

that provides investors with a generic description of information about the deal, including the types

of participants in the securitization, the possible structures for the securitization, and the types of

underlying mortgage loans. It makes the required disclosures to render the shelf registration

statement effective, and is generally filed with the registration statement. The base prospectus is

supplemented later on by a prospectus supplement. Rubinstein Direct ¶¶ 75.


                                                   20
        79.     A prospectus supplement is filed closer to the time of issuance (once a specific pool

of collateral has been identified) and provides more detail relating to the specific offering. The

prospectus supplement discloses detailed pertinent information relating to the specific series of

securities that are being issued, including information on the loans underlying those securities and

the specific parties involved. The prospectus and prospectus supplement together contain

information about the securities offered for sale. A prospectus and its supplement contain the facts

that an investor needs to make an informed investment decision. Rubinstein Direct ¶ 76.

        80.     A prospectus supplement contains information about, among other things: (i) the

various participants in the securitization, including the names of the sellers, sponsor, depositor,

trust, trustee, servicers, and master servicer; (ii) the specific structure of the securitization; (iii) the

origination and underwriting practices of the originators of the underlying mortgage loans; and (iv)

the underwriting guidelines applicable to such loans and the loan programs pursuant to which they

were originated. Rubinstein Direct ¶ 78.
        81.     A prospectus supplement generally contains the following quantitative information

about the loans collateralizing the securities: (i) the total number of loans in the pool; (ii) the total

outstanding and original dollar balance of the loans; (iii) the average original loan size; (iv) the

average current loan size; (v) the weighted average original LTV ratio; (vi) the weighted average

current mortgage rate; (vii) the weighted average remaining term to maturity; (viii) the weighted

average credit score; and (ix) aggregate data on various other collateral characteristics, including,

loan product type, loan purpose, property type, income and asset documentation requirements, DTI

ratios, occupancy status, credit grades, and the age of the loan. Rubinstein Direct ¶ 79; Blum

Direct ¶ 18.

        82.     Data is also usually disclosed about the number and type of prepayment restrictions

the loans carry (if any), the geographic characteristics of the pool, and the existence of any

mortgage insurance on the loans. If the pool is divided into SLGs, each of which primarily backs a

different set of certificates, disclosure is made at both the total pool level and the collateral group

or SLG level. Rubinstein Direct ¶ 79.


                                                     21
       83.     The information in the offering materials about the mortgage loans in the pool helps

investors make investment decisions. The following language was prominently placed on the back

cover of the prospectus supplements of the Securitizations: “You should rely only on the

information contained or incorporated by reference in this prospectus supplement and the

accompanying prospectus. We have not authorized anyone to provide you with different

information.” Blum Direct ¶ 17; PX O0059 (NAA 2005-AR6 Prospectus Supplement) at 313; PX

O0041 (NHELI 2006-HE3 Prospectus Supplement) at 371; PX O0045 (NHELI 2006-FM2

Prospectus Supplement) at 372; PO0049 (NHELI 2006-FM1 Prospectus Supplement) at 335; PX

O0072 (NHELI 2007-1 Prospectus Supplement) at 445; PX O0080 (NHELI 2007-2 Prospectus

Supplement) at 398; PX O0051 (NHELI 2007-3 Prospectus Supplement) at 389.

       84.     The credit risk, prepayment risk, pricing, and performance of the certificates in an

RMBS can be accurately evaluated only if the information about the credit characteristics of the

mortgage loans that collateralize the certificate is accurately disclosed in the offering materials.
Rubinstein Direct ¶ 80.

       B.      The Certificates At Issue
       85.     The Certificates in this action were sold to the GSEs by underwriters including

Nomura Securities for two of the deals, and RBSSI, for another four of the deals.

               1.      The NAA 2005-AR6 Certificate
       86.     NAAC filed a Shelf Registration statement with the SEC on July 22, 2005 with file

number 333-126812 (“July 22, 2005 Registration Statement”). SOF ¶ 43. On August 8, 2005,

NAAC filed an amendment to the July 22, 2005 Registration Statement. Id.

       87.     John Kistler of Nomura Securities, who was located in New York, sent Paul Norris

and Shayan Salahuddin, PLS traders at Fannie Mae who were located in the District of Columbia,

e-mails regarding NAA 2005-AR6, including (a) on November 10, 2005, a general email

announcement attaching “preliminary collateral information” regarding the deal, PX O0001; (b)

on November 15, 2005, targeted emails regarding details of that offering, PX 1450 (Nov. 15, 2005

E-mail from Kistler to Norris), PX 1451 (Nov. 15, 2005 E-mail from Kistler to Salahuddin); (c) on


                                                  22
November 17, 2005, an email attaching computational materials and stating that NAA 2005-AR6

would “launch at 1 pm +/- today. See Bloomberg for offer levels … and availability[,]” PX 1452

(Nov. 17, 2005 E-mail and attachment from John Kistler); (d) on November 21, 2005, an email

that Nomura was “now out with Subs from [NAA 2005-AR6],” PX 1454 (Nov. 21, 2005 E-mail

and attachment from Nomura’s John Kistler); and (e) on November 22, 2005, an email providing

an “additional strat” on NAA 2005-AR6 collateral and an offer to “have further conversations on

the underwriting of these loans.” PX 1456 (E-mail and attachment from Nomura’s John Kistler,

FHFA16140570-71).

       88.    On November 30, 2005, NAAC filed a prospectus and prospectus supplement for

Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR6

(“2005-AR6”) with the SEC pursuant to the July 22, 2005 Shelf Registration Statement and

amendment thereto. SOF ¶ 45.

       89.    Fannie Mae purchased the IIIA1 certificate from 2005-AR6 (the “NAA 2005-AR6

Certificate”). SOF ¶ 1. The trade date (the date on the trade ticket) was November 16, 2005. Id.

The settlement date (the date on which Fannie Mae formally transferred payment for the

Certificate and title transferred to Fannie Mae) was November 30, 2005. Id. Nomura Securities’

confirmation for the Certificate’s purchase confirms the address of Fannie Mae to be “3900

Wisconsin Ave. NW Washington, DC 20016.” PX 951. Fannie Mae owned the NAA 2005-AR6

Certificate on September 2, 2011 and continues to own it. Li Direct ¶ 5.
       90.    The NAA 2005-AR6 Certificate was backed by an SLG containing 376 loans.

PX O0059 at 59.

              2.      The NHELI 2006-FM1 Certificate
       91.    Nomura Home Equity Loan, Inc. (“NHELI”) filed a Shelf Registration statement
with the SEC on July 7, 2005 with file number 333-126435 (“July 7, 2005 Shelf Registration

Statement”). SOF ¶ 44. On July 8, 2005, NHELI filed an amendment to the July 7, 2005

Registration Statement. Id.




                                                23
       92.      On December 19, 2005, Cindy Ross of Nomura Securities, who was located in New

York, emailed Xiang (“Sean”) Xie, a PLS trader at Freddie Mac who was located in Virginia, to

confirm pre-trade details of NHELI 2006-FM1 I-A-1. PX 1458. On January 23, 2006, Ms. Ross

emailed Freddie Mac PLS traders Lori Geftic, who was located in Virginia, setting forth the

tranche size of the Certificate that Freddie Mac eventually purchased. PX 1459; see generally

Hackney Dep. 52:18-25, 63:3-7, 64:1-13. On December 19, 2005, Freddie Mac instructed Nomura

Securities to provide it with final deal documents for NHELI 2006-FM2 via Freddie Mac’s

“abs_docs@freddiemac.com” e-mail address. PX 1482.

       93.      On January 31, 2006, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2006-FM1 (“2006-FM1”)

with the SEC pursuant to the July 7, 2005 Shelf Registration Statement and amendment thereto.

SOF ¶¶ 44-45.

       94.      Freddie Mac purchased the IA certificate from NHELI 2006-FM1 (the “NHELI

2006-FM1 Certificate”). SOF ¶ 2. The trade date was December 19, 2005. Id. The settlement

date was January 31, 2006. Id. Freddie Mac owned the NHELI 2006-FM1 Certificate on

September 2, 2011 and continues to own it. Johansen Direct ¶¶ 4-5.

       95.      The NHELI 2006-FM1 Certificate was backed by an SLG containing 2,532 loans.

PX O0049 at 39.

                3.     The NHELI 2006-FM2 Certificate
       96.      NHELI filed a Shelf Registration statement with the SEC on February 28, 2006

with file number 333-132109 (“February 28, 2006 Shelf Registration Statement”). SOF ¶ 44. On
April 6, 2006 and April 13, 2006, NHELI filed amendments to the February 28, 2006 Shelf

Registration Statement. Id.
       97.      On September 27 and October 2, 2006, Nomura Securities’ employees Randall Lee

and Steven Katz, who were located in New York, emailed Freddie Mac PLS trader David

Hackney, who was located in Virginia, to supply various documents and files, including a term

sheet, relating to NHELI 2006-FM2. PX 1460 at 1; see generally Hackney Dep. 52:18-25, 63:3-7,


                                               24
64:1-13 . On October 18, 2006, Ryan Mullaney of Greenwich, who was based in Chicago, e-

mailed Freddie Mac to confirm pre-trade details on NHELI 2006-FM2. PX 69 at 10.

       98.      On October 31, 2006, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2006-FM2 (“2006-FM2”) with

the SEC pursuant to the February 28, 2006 Shelf Registration Statement and amendments thereto.

SOF ¶¶ 44-45.

       99.      Freddie Mac purchased the IA1 certificate from NHELI 2006-FM2 (the “NHELI

2006-FM2 Certificate”). SOF ¶ 2. The trade date was October 18, 2006. Id. The settlement date

was October 31, 2006. Id. Freddie Mac owned the NHELI 2006-FM2 Certificate on September 2,

2011 and continues to own it. Johansen Decl. ¶¶ 4-5.

       100.     The NHELI 2006-FM2 Certificate was backed by an SLG containing 3,891 loans.

PX O0045 at 47.

                4.     The NHELI 2006-HE3 Certificate
       101.     On August 30, 2006, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2006-HE3 (“2006-HE3”) with

the SEC pursuant to the February 28, 2006 Shelf Registration Statement and amendments thereto.

SOF ¶¶ 44-45.

       102.     On July 21, 2006, Steven Katz of Nomura Securities, who was located in New

York, e-mailed David Hackney, a Freddie Mac PLS trader who was located in Virginia, to inform
him that Nomura was “working on mini-f[ree ]w[riting ]p[rospectus]…..” PX O0064; see

generally Hackney Dep. 52:18-25, 63:3-7 . On July 24, 2006, Mr. Katz e-mailed Mr. Hackney to
supply “revised strats.” PX O0052; see generally Hackney Dep. 64:1-13. On August 11, 2006,

Mr. Katz e-mailed Mr. Hackney to acknowledge Freddie Mac’s Investment Requirements. PX 68
at 16. On August 15, 2006, Ryan Mullaney of Greenwich, who was located in Chicago, e-mailed

Freddie Mac to confirm pre-trade details on NHELI 2006-HE3. PX 67 at 9. Mr. Mullaney also

agreed to Freddie Mac’s Investment Requirements by e-mail. Id. at 11.




                                               25
       103.     Freddie Mac purchased the IA1 certificate from NHELI 2006-HE3 (the “NHELI

2006-HE3 Certificate”). SOF ¶ 2. The trade date was August 15, 2006. Id. The settlement date

was August 31, 2006. Id. Freddie Mac owned the NHELI 2006-HE3 Certificate on September 2,

2011 and continues to own it. Johansen Decl. ¶¶ 4-5.

       104.     The NHELI 2006-HE3 Certificate was backed by an SLG containing 3,618 loans.

PX O0041 at 45.

                5.     The NHELI 2007-1 Certificate
       105.     On January 31, 2007, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2007-1 (“2007-1”) with the

SEC pursuant to the February 28, 2006 Shelf Registration Statement and amendments thereto.

SOF ¶¶ 44-45.

       106.     On January 17, 2007, Ryan Mullaney of Greenwich, who was located in Chicago,

Illinois, e-mailed David Hackney, a Freddie Mac PLS trader who was located in McLean,

Virginia, to communicate details of the trade. PX 71 at 15; see generally Hackney Dep. 52:18-25,

63:3-7, 64:1-13. On January 23, 2007, Staci Gray of Greenwich, who was located in Chicago,

Illinois, e-mailed Freddie Mac to confirm pre-trade details. PX 71 at 8.

       107.     Freddie Mac purchased the II1A certificate from NHELI 2007-1 (the “NHELI

2007-1 Certificate”). SOF ¶ 2. The trade date was January 23, 2007. Id. The settlement date was

January 31, 2007. Id. Freddie Mac owned the NHELI 2007-1 Certificate on September 2, 2011
and continues to own it. Johansen Decl. ¶¶ 4-5.

       108.     The NHELI 2007-1 Certificate was backed by an SLG containing 474 loans.
PX O0072 at 91.

                6.     The NHELI 2007-2 Certificate
       109.     On February 1, 2007, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2007-2 (“2007-2”) with the

SEC pursuant to the February 28, 2006 Shelf Registration Statement and amendments thereto.

SOF ¶¶ 44-45.


                                                  26
       110.     On December 26, 2006, Joseph Perrewe of Greenwich, who was located in

Chicago, Illinois, e-mailed Michael Aneiro of Freddie Mac, who was based in McLean, Virginia,

to confirm that NHELI and Greenwich had received Freddie Mac’s Investment Requirements.

PX 123 at 18. On December 26, 2006, Timothy Crowley of Nomura, who was based in New

York, wrote and mailed to Freddie Mac at its “8200 Jones Branch Drive, McLain [sic], Virginia

22102” address to confirm that NHELI would comply with Freddie Mac’s Investment

Requirements. Id. at 21. Mr. Aneiro instructed Mr. Perrewe and Mr. Mullaney, and consequently,

NHELI, to provide final deal documents for the NHELI 2007-3 deal to Freddie Mac’s

“abs_docs@freddiemac.com” email address. Id. at 18-19. On December 27, 2006, Mr. Perrewe e-

mailed Freddie Mac to confirm pre-trade details. Id. at 16.

       111.     Freddie Mac purchased the IA1 certificate from NHELI 2007-2 (the “NHELI

2007-2 Certificate”). SOF ¶ 2. The trade was December 27, 2006. Id. The settlement date was

January 31, 2007. Id.

       112.     The NHELI 2007-2 Certificate was backed by an SLG containing 3,001 loans.

PX O0080 at 49. Freddie Mac owned the NHELI 2007-2 Certificate on September 2, 2011 and

continues to own it. Johansen Decl. ¶¶ 4-5.

                7.      The NHELI 2007-3 Certificate
       113.     On May 1, 2007, NHELI filed a prospectus and prospectus supplement for

Nomura Home Equity Loan, Inc., Asset-Backed Certificates, Series 2007-3 (“2007-3”) with the
SEC pursuant to the February 28, 2006 Shelf Registration Statement and amendments thereto.

SOF ¶¶ 44-45.
       114.     On March 23, 2007, Steven Mayer of Lehman Brothers, who was based in New

York, emailed Freddie Mac PLS traders David Hackney and Chad Levrini, who were based in
Virginia, to provide them with stratifications and details for the NHELI 2007-3 deal on NHELI’s

behalf. PX 70 at 25; see generally Hackney Dep. 52:18-25, 63:3-7, 64:1-13. On April 26, 2007,

Mr. Mayer e-mailed Freddie Mac to confirm pre-trade details, PX 70 at 26, and to confirm receipt

of Freddie Mac’s Investment Requirements with Mr. Hackney, id. at 28. Mr. Hackney instructed


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Mr. Mayer, and consequently, NHELI, to supply final deal documents for NHELI 2007-3 via e-

mail to Freddie Mac’s abs_docs@freddiemac.com email address. Id.

       115.    Freddie Mac purchased the IA1 certificate from NHELI 2007-3 (the “NHELI

2007-3 Certificate”). SOF ¶ 2. The trade date was April 26, 2007. Id. The settlement date was

April 30, 2007. Id. Freddie Mac owned the NHELI 2007-3 Certificate on September 2, 2011 and

continues to own it. Johansen Decl. ¶¶ 4-5.

       116.    The NHELI 2007-3 Certificate was backed by an SLG containing 1,896 loans.

PX O0051 at 51.

       C.      The Statements At Issue
       117.    The Prospectus Supplements all contain representations about underwriting

standards, the characteristics of the Mortgage Loans, including aggregate data in the collateral

tables concerning owner occupancy and LTV ratios, and the expected credit ratings of the

securities to be offered. A list of these representations appears in Exhibit 1. An overview follows.

               1.     Statements That The Loans Were Originated Or Acquired Generally
                      In Accordance With Applicable Underwriting Guidelines
       118.    The Prospectus Supplements contained statements that the Mortgage Loans “were

originated generally” in accordance with the applicable underwriting guidelines. Ex. 1 at 3-4. For

example, the Prospectus Supplement for NHELI 2006-FM1 states that “[t]he Mortgage Loans …

were originated generally in accordance with the underwriting criteria described in this section,”

PX O0059 at 93. Materially identical language appears in all seven of the Prospectus

Supplements. Ex. 1 at 3-4.

       119.    The level of detail at which a Prospectus Supplements describes an originator’s

guidelines varies with the percentage of Mortgage Loans, weighted by unpaid principal balance,

made by that originator. If an originator contributed 20% or more of the Mortgage Loans, the

Prospectus Supplement identifies that originator, summarizes its applicable underwriting

guidelines, and states that the Mortgage Loans were originated or acquired generally in accordance

with those guidelines. Ex. 1 at 1-4. If an originator contributed between 10% and approximately



                                                 28
20% of the Mortgage Loans, by aggregate balance, the originator is in the Prospectus Supplement

but its underwriting guidelines are not necessarily summarized. See Ex. 1 at 1-2. Finally,

originators of fewer than 10% of the Mortgage Loans by aggregate principal balance were not

necessarily identified in the Prospectus Supplements. Ex. 1 at 1-2.

       120.    “The sections of each Prospectus Supplement addressed to underwriting describe

both the process by which a borrower applies for a mortgage loan and the process through which

the application is reviewed and approved.” 2015 WL 568788, at *2. For example, the Prospectus

Supplement for NAA 2005–AR6 describes the information the borrower must supply when

applying for a loan:
               Generally, each borrower will have been required to … provide to
               the original lender pertinent credit information concerning the
               borrower. … [including] information with respect to its assets,
               liabilities, income (except as described below), credit history,
               employment history and personal information, and furnished an
               authorization to apply for a credit report which summarizes the
               borrower’s credit history with local merchants and lenders and any
               record of bankruptcy. The borrower may also have been required
               to authorize verifications of deposits at financial institutions where
               the borrower had demand or savings accounts.
PX O0059 at 93; see also Ex. 1 at 10.

       121.    The Prospectus Supplements also describe how the originator will evaluate the

information provided, including an assessment of whether the borrower is willing and able to repay
the loan. For example, the Prospectus Supplement for NAA 2005-AR6 states:
               Based on the data provided in the application and certain
               verifications (if required), a determination is made by the original
               lender that the borrower’s monthly income (if required to be stated)
               will be sufficient to enable the borrower to meet their monthly
               obligations on the mortgage loan and other expenses related to the
               property such as property taxes, utility costs, standard hazard
               insurance and other fixed obligations other than housing expenses.
PXO0059 at 93; see also Ex. 1 at 5.

       122.    While all of the Prospectus Supplements state that at least some Mortgage Loans

were originated under “reduced documentation” or “no-documentation” programs, Ex. 1 at 16-20,



                                                 29
they make clear that loans made under these programs required indicia they would be repaid. Four

Prospectus Supplements represent that, where originators’ guidelines permit stated income loans,

the borrower’s stated income must be reasonable in light of the borrower’s occupation or sources

of income. Ex. 1 at 21-22. For example, the Prospectus Supplement for NAA 2005-AR6 states

that, under Fremont’s stated-income program, “the income stated must be reasonable and

customary for the applicant’s line of work.” Ex. 1 at 21. The remaining Prospectus Supplements

note that stated-income loans may be made only “[i]n the case of certain borrowers with acceptable

compensating factors,” such as relatively low LTV ratios or DTI ratios. PX O0059 at 93; see also

Ex. 1 at 10, 13-14.

          123.   The Prospectus Supplements also describe key credit characteristics that the

originators’ guidelines take into account when determining ability to repay, such as debt-to-income

ratio. For example, the Prospectus Supplement for NAA 2005-AR6 states:
                 Generally, scheduled payments on a mortgage loan during the first
                 year of its term plus taxes and insurance and all scheduled
                 payments on obligations that extend beyond ten months [must]
                 equal no more than a specified percentage not in excess of 60% of
                 the prospective borrower’s gross income.
PX O0059 at 93-94; see also Ex. 1 at 7-10.

          124.   Each Prospectus Supplement further “explains the process used to ensure that there

is security for the issued loans, for instance by requiring some borrowers to obtain mortgage
insurance or because an appraisal has shown that the mortgaged property itself provides adequate

security.” 2015 WL 568788, at *3. For example, the Prospectus Supplement for NAA 2005-AR6
states:
                 The adequacy of the Mortgaged Property as security for repayment
                 of the related Mortgage Loan will generally have been determined
                 by an appraisal in accordance with pre-established appraisal
                 procedure standards for appraisals established by or acceptable to
                 the originator. All appraisals conform to the Uniform Standards of
                 Professional Appraisal Practice adopted by the Appraisal
                 Standards Board of the Appraisal Foundation and must be on
                 forms acceptable to Fannie Mae or Freddie Mac.




                                                  30
PX O0059 at 94; see also Ex. 1 at 23-26. The Prospectus Supplements all similarly represented

that the appraisals underlying the Mortgage Loans conformed to the Uniform Standards of

Professional Appraisal Practice (“USPAP”). Ex. 1 at 25.

        125.     The Prospectus Supplements also contained assurances that the loans complied with

all applicable laws. For example, the Prospectus Supplement for NAA 2005-AR6 states “each

Mortgage Loan complied, at the time of origination, in all material respects with applicable local,

state and federal laws,” PX O0059 at 148. The Prospectus Supplements also contained

representations that all necessary and applicable hazard and title insurance was obtained. See id. at

215; see also Ex. 1 at 27-29.1
        126.     Finally, the Prospectus Supplement represented that the originators permitted

exceptions to their underwriting guidelines if there were compensating or mitigating factors

determined by the underwriter to be sufficient to establish that the borrower had the ability and

willingness to repay the loan. PX O0059 at 93; see also Ex. 1 at 31-33.

                 2.       Statements Regarding LTV Ratios
        127.     The Prospectus Supplements disclosed the “Characteristics of the Mortgage Loans,”

including LTV ratios, in tables containing descriptive statistics (the “Collateral Tables”).

        128.     The Prospectus Supplement for each Securitization explained that for purposes of

determining the LTV ratio, “[t]he ‘Value’ of a Mortgaged Property, other than for Refinance

Loans, is generally the lesser of (a) the appraised value determined in an appraisal obtained by the

originator at origination of that loan and (b) the sales price for that property.” Ex. 1 at 33-35. The

Prospectus Supplements also stated that: “[u]nless otherwise specified in the prospectus

supplement, the Value of the Mortgaged Property securing a Refinance Loan is the appraised value

of the Mortgaged Property determined in an appraisal obtained at the time of origination of the

Refinance Loan.” Ex. 1 at 33-35.


1
  With respect to both representations, materially identical language appears in each of the Prospectuses or Prospectus
Supplements. Ex. 1 at 27-31. In cases where these representations appear in a Prospectus only, no Prospectus
Supplement disclaims them. Ex. 1 at 27-31.


                                                          31
       129.      The Prospectus Supplements represented that none of the Mortgage Loans had LTV

ratios over 100%. Ex. 1 at 37. The Prospectus Supplements for five Securitizations represented

that none of the Mortgage Loans had CLTV ratios over 100%. Ex. 1 at 37. The Prospectus

Supplements for the two remaining Securitizations made no representation about the CLTV ratios

of the Mortgage Loans.

       130.      The Prospectus Supplements represented that the majority of the Mortgage Loans

had LTV ratios of 80% or less. Ex. 1 at 36. The Prospectus Supplements contained tables listing

the number and percentage of Mortgage Loans (by aggregate principal balance as of the Cut-Off

Date) with an LTV ratio less than or equal to 80%, as follows:

                                                                     Percentage of Loans
                                          Number of Loans         (by aggregate cut-off date
                     SLG
                                          with LTV <= 80%             principal balance)
                                                                      with LTV <= 80%
               NAA 2005-AR6 (3)                 372                        99.09%
               NHELI 2006-FM1 (1)              1,392                       63.00%
               NHELI 2006-FM2 (1)              2,238                       68.40%
               NHELI 2006-HE3 (1)              1,973                       58.82%
                NHELI 2007-1 (2)                435                        93.04%
                NHELI 2007-2 (1)               1,584                       56.59%
                NHELI 2007-3 (1)               1,109                       59.31%

Ex. 1 at 36.

       131.      The Prospectus Supplements represented that, as of each Prospectus Supplement’s

“Cut-Off Date,” the Collateral Tables were correct. Ex. 1 at 36. The Cut-Off Date was, in each

instance, roughly a month before each Securitization became effective. See 2015 WL 568788,

at *4. For each Securitization, the Prospectus or Prospectus Supplement also stated that: “If, as of

the Closing Date, any material pool characteristic differs by 5% or more from the description in

this prospectus supplement, revised disclosure will be provided either in a supplement or in a

Current Report on Form 8–K.” Ex. 1 at 39-40.




                                                 32
                 3.     Statements Regarding Owner Occupancy
       132.      The Prospectus Supplements’ Collateral Tables also made specific representations

as to the number and percentage of loans (by aggregate principal balance as of the Cut-Off Dates)

in each SLG that were owner-occupied. These representations are summarized below:

                                                                   Percentage of Loans (by
                                       Number of Mortgage Loans     aggregate cut-off date
                      SLG              Represented To Be Owner-       principal balance)
                                               Occupied           Represented To Be Owner-
                                                                          Occupied
               NAA 2005-AR6 (3)                  188                       56.59%
               NHELI 2006-FM1 (1)                2,248                     88.63%
               NHELI 2006-FM2 (1)                3,628                     93.05%
               NHELI 2006-HE3 (1)                3,239                     89.59%
                NHELI 2007-1 (2)                 217                       53.07%
                NHELI 2007-2 (1)                 2,731                     90.86%
                NHELI 2007-3 (1)                 1,707                     89.21%

Ex. 1 at 38.

       133.      As shown, the Prospectus Supplements stated that, by aggregate principal balance

as of the Cut-Off Date, at least half of the Mortgage Loans in the SLGs of all Certificates were

owner-occupied, and that at least 75% of the Mortgage Loans in the SLGs of five Certificates were

owner-occupied. Id.

                 4.     Statements Regarding Credit Ratings
       134.      The Prospectus Supplements represented that as of the Cut-Off Date, the
Certificates would receive the highest credit rating of AAA or its equivalent by one of the major

rating agencies. For example, the Prospectus Supplement for NAA 2005-AR6 stated:
                 The classes of certificates listed below will not be offered unless
                 they receive ratings at least as high as those set forth below from
                 Standard & Poor’s, a division of The McGraw-Hill Companies,
                 Inc., which we refer to as ‘Standard & Poor’s’ and Moody’s
                 Investors Service, Inc., which we refer to as ‘Moody’s’. … A
                 rating is not a recommendation to buy, sell or hold securities and
                 each rating agency can revise or withdraw such ratings at any time.
                 In general, ratings address credit risk and do not address the
                 likelihood of prepayments.


                                                  33
PX O0059 at 12; see also Ex. 1 at 41-44.

       135.       The Prospectus Supplement for NAA 2005-AR6 further stated:
                  The ratings of each class of Offered Certificates will depend
                  primarily on an assessment by the rating agencies of the related
                  Mortgage Loans and the subordination afforded by certain classes
                  of certificates. The ratings by each of the rating agencies of the
                  Offered Certificates are not recommendations to purchase, hold or
                  sell the Offered Certificates because such ratings do not address
                  the market prices of the certificates or suitability for a particular
                  investor.
PX O0059 at 24; see also Ex. 1 at 41-44.

       136.       Each Certificate received a credit rating from S&P and Moody’s of AAA or

equivalent. Ex. 1 at 44.

IV.    THE REPRESENTATIONS WERE FALSE
       137.       The representations at issue were false, and the Prospectus Supplements omitted

additional facts required to make certain representations not misleading. This finding is supported

by credible and reliable testimony offered by FHFA’s expert witnesses as well as evidence

uncovered (and ignored) by Nomura and RBSSI in the course of reviewing the Mortgage Loans for

securitization.

       A.         The Analyses Of FHFA’s Experts Show That Large Percentages Of The SLG
                  Loans Were Not Underwritten To Guidelines Or Had Inflated, Non-Credible
                  Appraisals
                  1.     FHFA’s Expert, Dr. Charles Cowan, Selected A Statistically Valid,
                         Representative Sample From Each SLG That Allows The Findings Of
                         FHFA’s Appraisal And Reunderwriting Experts To Be Extrapolated To
                         The SLGs As A Whole
       138.       FHFA’s sampling expert, Dr. Charles D. Cowan, Ph.D, who has over forty years of

experience in statistical research and design, selected statistically valid random samples of loans

from the each of the seven SLGs. Cowan Direct ¶¶ 1-2. These samples were analyzed by FHFA’s

re-underwriting expert, Robert Hunter, and FHFA’s appraisal expert, Dr. John A. Kilpatrick, Ph.D.

Cowan Direct ¶ 2. Dr. Cowan then extrapolated the results of Mr. Hunter’s and Dr. Kilpatrick’s

analyses to the SLGs. Cowan Direct ¶ 6. The extrapolations of the results derived from the work



                                                    34
of Mr. Hunter and Dr. Kilpatrick on the samples are reliable and can be used to draw conclusions

about the quality of the loans and quality of information used in the loan origination process.

Cowan Direct ¶ 7.

                       (a)     Principles Of Statistical Sampling
       139.    Statistical sampling is a scientifically valid and widely used tool. Cowan Direct

¶¶ 17-21. When a sample is randomly selected—that is, when each member of the population

from which the sample is drawn has a known chance of being included in the sample—the sample

provides an unbiased view of the population. Cowan Direct ¶ 9.

       140.    The precision—or reliability—of a sample is measured using the confidence level

and the margin of error. Cowan Direct ¶ 10. The confidence level refers to the percentage of time

that the actual value for the population will be within a specified range around the value for the

sample. The margin of error refers to that specified range around the estimated value from the

sample. For example, if the results of testing on the sample indicates that 50% of the mortgage

loans were not originated in accordance with underwriting guidelines, then a confidence interval of

95% with a +/- 10% margin of error means that 95% of the time, the true percentage of loans not

originated in accordance with underwriting guidelines in the population will be between 40% and

60%. This range is known as the confidence interval. Cowan Direct ¶ 11.

       141.    When a sample is used to test a binary question (for example, whether a loan was

originated outside of the guidelines, or whether the owner-occupancy status of the underlying
property or the LTV of the loan was misrepresented), the margin of error depends on the sample

value. The margin of error is greatest when the sample value is at 50% (i.e., for 50% of the loans
in the sample, there were false statements or omissions in the Prospectus Supplements concerning

owner occupancy, LTV ratio, or adherence to underwriting guidelines). As the sample value
deviates from 50%, in either direction, the margin of error for that sample value decreases. Cowan

Direct ¶ 12.

       142.    Although a sample drawn purely at random from within a population is statistically

valid, one can also draw a statistically valid sample using stratification. Stratification is a process


                                                   35
where the population of loans is divided into mutually exclusive and exhaustive subgroups of

loans. Stratification can only be carried out using variables known for the entire population prior

to sampling. Cowan Direct ¶ 13.

        143.   Stratification can be used to increase the precision of the estimates from the sample.

What is calculated from the sample is an estimate of the value in the population. The estimate has

a margin of error due to sample-by-sample variability, which is directly related to the variability of

the data being examined. When using a stratified sample, this variability is partitioned into two

parts. The first part is the variability between the strata, and the second part is the variability

within each of the strata. Variability between strata is eliminated by forcing the sample into these

separate subgroups a priori, leaving only the second part of the variability. Stratification does

not guarantee a diminution in the margin of error; it makes the diminution possible. Cowan Direct

¶ 14.

                       (b)     Dr. Cowan’s Sample Design Was Sound And Reliable
        144.   Dr. Cowan primarily used the loan tapes produced by Defendants in discovery to

identify the loans in the relevant SLGs. Defendants produced several loan tapes with information

about the Mortgage Loans underlying each Securitization, but did not produce information

identifying the loan tapes that were provided to the rating agencies. Dr. Cowan performed

equivalence testing between the loan tapes produced by Defendants and the Collateral Tables in

the Prospectus Supplements to determine which of the loan tapes produced by Defendants bore the
closest statistical resemblance to the information contained in the Prospectus Supplements, and

used these to draw his samples. When the loan tapes contained insufficient data to identify the
loans in the SLG, Dr. Cowan used data from CoreLogic, a widely recognized provider of

mortgage-related financial data. Cowan Direct ¶ 26. Defendants do not criticize Dr. Cowan’s use
of CoreLogic data.

        145.   Dr. Cowan selected an initial sample of 100 loans from each of the seven SLGs.

Cowan Direct ¶ 26. After selecting these initial samples, Dr. Cowan supplemented them for two

reasons. First, in light of statements in the Court’s order of December 3, 2012, concerning


                                                   36
sampling, Dkt. 177, Dr. Cowan retained the same sample design and expanded its focus, so that

there were 100 loans per SLG (rather than 100 loans per Securitization, as in his original design).

Second, to account for missing loan origination files and loan files that could not be re-

underwritten, Dr. Cowan supplemented one sample. These supplementations occurred in several

iterations. In neither case did Dr. Cowan remove any loans from the samples. Cowan Direct ¶ 27.

In both cases, Dr. Cowan supplemented the samples using the same methodology: the same FICO

quartiles, the same random number generator, and the same loan tapes. Cowan Direct ¶ 28.

       146.    The targeted sample size of 100 yields a 95% confidence level with a maximum

margin of error of +/- 10% for binary questions. Cowan Direct ¶ 28. The sample size necessary to

achieve these targeted results for a binomial outcome was 95. Dr. Cowan rounded up to 100 out of

an abundance of caution. This “oversampling” created a cushion for his calculations and allowed

for some flexibility should, for example, a loan in a sample lack a loan file. Cowan Direct ¶ 29.

       147.    A 95% confidence level with a maximum margin of error of +/- 10% is

scientifically valid. The confidence level of 95% is standard and well supported in statistics.

Traditionally, scientists adopt the 95% level of confidence. Cowan Direct ¶ 112.

       148.    A target of a +/-10% margin of error, with a 95% confidence level, strikes the

correct balance between cost and accuracy for two primary reasons. The first reason that

increasing sample size would generate only marginal benefits—without commensurate benefits in

increased precision—is that the gain in reliability due to a larger sample size increases only as the
square root of the sample size. As the sample size increases from 1 to 100, there is a large increase

in reliability (meaning smaller confidence intervals for 95% confidence). As the sample size
increases from 100 to 400, however, the increase in precision, and associated reduction in

confidence interval, is halved for a quadrupling of the sample size. To halve the margin of error
again, from plus or minus five percent to plus or minus 2.5%, the sample size has to quadruple

again, from 400 to 1,600. Cowan Direct ¶ 113.

       149.    The second reason that increasing sample size would generate only marginal

benefits is that the +/- 10% is merely the maximum margin of error for this confidence level, and it


                                                  37
occurs only when the percentage of Defective Loans is 50%. Fifty percent is the scenario where

variability is at its greatest: half Defective Loans and half not. When the variability decreases—

that is, when the percentage deviates from 50% in either direction—the margin of error—and thus

confidence interval—becomes smaller. As the intervals shrink, the marginal benefit of a larger

sample size shrinks as well. Cowan Direct ¶ 115.

       150.    As the estimated defect rate deviates from 50% in either direction, the difference in

confidence interval for samples of 100 and 400 decreases. Quadrupling the sample size, from 100

to 400, does not yield a commensurate reduction in the 95% range across all possible percentages

of Defective Loans. At 50%, or maximum variability, the range is +/- 10% for a sample size of

100 and +/- 5% for a sample size of 400. When the estimated rate is 20%, the 95% range for a

sample size of 100 is +/- 5%, whereas for a sample size of 400 the 95% range is +/-2.5%. When

the estimated defect rate is 10%, the 95 percent range for a sample size of 100 is +/- 4%, while for

a sample size of 400 it is +/-2%. As the defect rate approaches zero, the 95% range must also

approach zero, regardless of sample size. The same phenomenon occurs for the corresponding

values above 50%. Cowan Direct ¶ 116.

       151.    Finally, as shown in more detail below, in the small number of instances where the

margin of error at 95% confidence was larger than 10%, the extrapolated values were so high that

even taking the lower bound would yield a very high number. Cowan Direct ¶ 117.

       152.    Dr. Cowan stratified the populations using a single variable—credit score,
specifically the score as reported by the Fair Isaac Corporation Company (or “FICO” score), which

generally is included on the loan tapes for each loan. Cowan Direct ¶ 30.
       153.    A borrower’s FICO score, which can range from 350 to 800, represents the

borrower’s creditworthiness or the likelihood that the borrower will pay his or her debts. It is also
highly unlikely to be misstated on the loan tape. Cowan Direct ¶ 30.

       154.    It was reasonable for Dr. Cowan to stratify the population using this one variable

because there are diminishing returns in the reduction of the margin of error from adding each

additional stratification variable. Cowan Direct ¶ 31.


                                                 38
       155.    Dr. Cowan divided the population of loans in each SLG into four equal-size groups,

or “strata,” consisting of loans with very low, somewhat low, somewhat high, and high FICO

scores. Each stratum has roughly the same number of loans. Because Dr. Cowan sampled each of

the SLGs separately, the set of strata boundaries that define where one stratum ends and where the

next begins (three strata boundaries define the four groups in each SLG) will differ from SLG to

SLG. This is not an issue for estimation from each sample, since the estimates are derived

separately for each SLG, adding up across all the strata. Cowan Direct ¶¶ 32-33.

       156.    Each loan in each of the four strata for each SLG then received a randomly

generated number in a manner that ensures that each loan has a nearly equal chance of being

selected. Cowan Direct ¶ 33.

       157.    After the random numbers were assigned, the loans were reordered (sorted) from

lowest to highest random number. The first 25 loans in each stratum were selected to be in the

sample, yielding 100 loans per SLG in each of the SLGs for the initial samples. The same process

was used when the samples were supplemented. Cowan Direct ¶ 33.

       158.    Dr. Cowan’s method of selecting the samples from the SLGs ensured that each

sample is random and not subject to manipulation. Cowan Direct ¶ 34.

       159.    To demonstrate that the initial samples selected are representative of the population,

Dr. Cowan tested the sample against the population on eleven key variables (when available) from

the loan tapes, including FICO score, debt-to-income ratio, LTV ratio, and occupancy type. For
continuous variables (those where the values are numeric and increasing or decreasing in value,

like FICO score and LTV ratio), he compared the mean of the sample distribution to the mean of
the population distribution using a z-test, which is a common statistical method for determining

that a sample value could have come from the population. For categorical variables (those where
the values are categories, such as documentation type), he compared the distribution of the

categories in the sample to the distribution of the categories in the population using a Chi-square

test. This is a common statistical method for determining that a sample distribution could have

come from the population. At a 5% or less level of significance, one would expect 1 in 20 (5%) of


                                                 39
the tests to fail by chance. The results of these tests (set forth in Plaintiff’s Ex. 1569) indicate a

very high level of correspondence between the samples and their populations. Cowan Direct ¶ 35.

        160.    For six of the seven SLGs—all but the NAA 2005-AR6 Group 3 SLG—three or

fewer loans had loan files that were either not available or were not complete, and thus could not

be re-underwritten by FHFA’s expert, Robert Hunter. Hunter Direct ¶¶ 7, 237; Cowan Direct ¶ 39.

        161.    Consequently, the number of loans with missing or incomplete loan files did not

suggest that Dr. Cowan would be unable to achieve the targeted margin of error of +/- 10% at 95%

confidence for these samples, and Dr. Cowan did not supplement those samples. Cowan Direct

¶ 39.

        162.    Defendants do not question Dr. Cowan’s decision not to supplement these six

samples, nor do they dispute that these samples, as re-underwritten by Mr. Hunter, were

representative of the six SLGs. Barnett Dep. 42:8-44:11; Cowan Direct ¶ 36, 40.

        163.    For the NAA 2005-AR6 Group 3 SLG, there were 53 loans from the initial sample

that had loan files that were either not available or were not complete, and thus could not be re-

underwritten. For this SLG, Dr. Cowan supplemented the sample with an additional 96 loans,

selected via the same methodology described above, to achieve a sample size of 131 re-

underwritten loans for that SLG. Cowan Direct ¶ 39.

        164.    While Defendants’ expert, Dr. Arnold Barnett, criticized Dr. Cowan for not

conducting representativeness testing on the NAA 2005-AR6 Group 3 re-underwriting sample that
Mr. Hunter used, this criticism is unpersuasive for several reasons, including that Dr. Cowan

performed representativeness tests on both the initial and supplemental samples, and that Dr.
Barnett performed no measurements indicating any bias. Cowan Direct ¶¶ 40-43.




                                                   40
                 2.       The Re-Underwriting Review Conducted By FHFA’s Re-Underwriting
                          Expert, Robert Hunter, Shows That The Vast Majority Of The Sample
                          Loans For Each Securitization Did Not Adhere To The Representations
                          In The Prospectus Supplements

                          (a)      Overview
        165.     FHFA’s expert, Robert W. Hunter, re-underwrote 723 of the 796 Sample Loans

selected by Dr. Cowan.2 These 723 Sample Loans consisted of: (a) 131 loans from NAA 2005-

AR6; (b) 100 loans from NHELI 2006-FM1; (c) 100 loans from NHELI 2006-FM2; (d) 99 loans

from NHELI 2006-HE3; (e) 98 loans from NHELI 2007-1; (f) 98 loans from NHELI 2007-2; and

(g) 97 loans from NHELI 2007-3. Hunter Direct ¶ 7.

        166.     Mr. Hunter reviewed the Sample Loans to determine if the loans (i) were generally

originated or acquired in accordance with the applicable underwriting guidelines; (ii) were

properly evaluated to determine whether the borrower had the ability to repay the loan; (iii) had an

appraisal that was performed by a qualified and licensed appraiser and that complied with USPAP;

(iv) were properly evaluated to determine that the mortgaged property had sufficient value to

adequately support the Sample Loan obligation; (v) to the extent they failed to adhere to the

Originator’s underwriting guidelines, had sufficient compensating factors that were properly

documented and verifiable, and offset the credit risk arising from the exception from guidelines;

and (vi) complied with the requirements of federal and state laws. Hunter Direct ¶ 6.

        167.     Mr. Hunter also examined the Sample Loans to determine whether the loan-level

data contained in the pre-closing loan tapes and the data relating to, among other characteristics,
FICO scores, LTV and CLTV ratios, DTI ratios, and owner-occupancy status were accurate.

Hunter Direct ¶ 6.
        168.     For each loan that did not adhere to the representations in the Prospectus

Supplements, Mr. Hunter conducted an analysis to determine whether the underwriting defects for
a given Sample Loan, when viewed collectively, substantially increased the credit risk of the Loan.

Hunter Direct ¶ 6.

2
  Mr. Hunter was not able to re-underwrite the remaining 73 Sample Loans because the loan files for those loans
contained insufficient documentation. Hunter Direct ¶¶ 5, 238, 241-244.


                                                        41
       169.     Based on Mr. Hunter’s re-underwriting review of the Sample Loans, he determined,

to a reasonable degree of professional certainty, that 482 (or 66.67 %) of the 723 Sample Loans

had substantially increased credit risk as a result of their failure to comply with the representations

in the Prospectus Supplements. Hunter Direct ¶ 7. Mr. Hunter’s findings for each of the

Securitizations are set forth below in Plaintiff’s Exhibit 1625:

                                                                              Percentage Of Sample
                                                   Number Of Sample Loans
                                                                                 Loans That Had
                                                     That Had Substantially
                                                                             Substantially Increased
                                Number of Sample   Increased Credit Risk Due
         Securitization                                                        Credit Risk Due To
                                 Loans Reviewed      To Failure To Comply
                                                                             Failure To Comply With
                                                    With Representations In
                                                                               Representations In
                                                    Prospectus Supplements
                                                                             Prospectus Supplements
        NAA 2005-AR6                  131                     79                     60.31%
       NHELI 2006-FM1                 100                     70                     70.00%
       NHELI 2006-FM2                 100                     72                     72.00%
       NHELI 2006-HE3                  99                     66                     66.67%
        NHELI 2007-1                   98                     65                     66.33%
        NHELI 2007-2                   98                     68                     69.39%
        NHELI 2007-3                   97                     62                     63.92%
              Total                   723                    482                    66.67%

                          (b)     Mr. Hunter Is Qualified In The Re-Underwriting Field And His
                                  Methodology Is Reliable
       170.     Mr. Hunter is highly qualified in the field of mortgage underwriting and re-

underwriting based on his over forty years of experience in residential mortgage lending. Hunter

Direct ¶¶ 8-10. Based on his experience, Mr. Hunter is very knowledgeable about the basic
principles of underwriting subprime and Alt-A residential mortgage loans that were in place

during 2002 to 2007 (for purposes of Mr. Hunter’s review, the “Relevant Period”). Hunter Direct
¶¶ 108-131.

                          (c)     Mr. Hunter’s Methodology For The Re-Underwriting Review
                                  Was Thorough And Reliable
       171.     Mr. Hunter first reviewed the Prospectus Supplements for each of the

Securitizations and identified the specific representations that pertained to the underwriting of the

loans in each Securitization. Hunter Direct ¶¶ 11-14. These representations included statements


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that (i) the loans generally complied with underwriting guidelines, and to the extent there were

exceptions to guidelines, there would be sufficient compensating factors; (ii) the originators

assessed the borrowers’ ability to repay the loans; (iii) certain credit information was obtained

from the borrowers; (iv) verifications of the borrowers’ income and/or employment were

completed; (v) the originators assessed the adequacy of the mortgage collateral; (vi) the loans

complied with USPAP; and (vii) the loans complied with federal and state law. Hunter Direct

¶¶ 11-45. Mr. Hunter also identified specific representations in the collateral tables that related to

the LTV/CLTV ratios and occupancy statuses of the pool of loans in each SLG, as well as the

credit rating for the certificates backing each SLG. Hunter Direct ¶¶ 46-60.

       172.    Mr. Hunter’s re-underwriting review included five basic components: (i) a credit

review, (ii) a compliance review, (iii) an occupancy review, (iv) an appraisal review, and (v) a pre-

closing loan tape review. Hunter Direct ¶¶ 269, 278, 281, 287, 294. Each of these components is

summarized below.

                               (1)     The Credit Review

                                              a.        Underwriting Guidelines
       173.    The first step in Mr. Hunter’s review was to identify all documents relating to a

given Sample Loan, and determine the applicable underwriting guideline. Hunter Direct ¶¶ 236-

242.
       174.    In conducting his re-underwriting review, Mr. Hunter analyzed the Sample Loans to

determine whether they adhered to both the process-based and substantive requirements of the
specific underwriting guidelines that were applicable to the Sample Loans. Hunter Direct ¶¶ 206,

270. Of the 723 Sample Loans, 420 were originated by one of the following five originators
identified in the Prospectus Supplements: (i) Fremont Investment & Loan (“Fremont”); (ii) Ownit

Mortgage Solutions, Inc. (“Ownit”); (iii) People’s Choice Home Loan, Inc. (“People’s Choice”);

(iv) ResMAE Mortgage Corp. (“ResMAE”); and (v) Silver State Mortgage (“Silver State”).

Hunter Direct ¶ [139]. Five additional originators—Aegis Mortgage Corp. (“Aegis”); Alliance



                                                   43
Mortgage Banking Corp. (“Alliance”); EquiFirst Corp. (“EquiFirst”); First NLC Financial

Services, LLC (“First NLC”); and Pinnacle Financial Corp. (“Pinnacle”)—originated 117 of the

Sample Loans. Hunter Direct ¶ 140. Additionally, 37 of the Sample Loans were originated under

Nomura’s “loan-by-loan” channel and were underwritten to Nomura’s correspondent underwriting

guidelines. Hunter Direct ¶ 141. The underwriting guidelines of these ten originators and

Nomura’s correspondent lending channel (the “Guidelines”) are applicable to 574 of the 723

Sample Loans (or 79.23% of the Sample Loans). Hunter Direct ¶ 142.

         175.   Where a Sample Loan did not comply with underwriting guidelines or minimum

industry standards, Mr. Hunter considered whether any compensating factor(s) offset the credit

risk presented by the exception to the underwriting guidelines or standards. Hunter Direct ¶ 275.

If he concluded the compensating factor(s), alone or in combination, did offset the increased credit

risk presented by the exception, then Mr. Hunter did not make a defect finding. Hunter Direct

¶ 275.

                                             b.        Minimum Industry Standards
         176.   In addition to reviewing each Sample Loan against the applicable underwriting

guideline, Mr. Hunter also reviewed each Sample Loan to determine if it complied with the most

basic and fundamental practices of underwriting subprime and Alt-A residential mortgage loans

during the Relevant Period, which he refers to as “minimum industry standards.” Hunter Direct
¶ 77.

         177.   Mr. Hunter used a reliable process for distilling the minimum industry standards
because he followed the same process that was used and generally accepted in the industry when

developing underwriting guidelines. Hunter Direct ¶¶ 244, 265-66; see also Jan. 29, 2015 Op. &
Order re: Min. Indus. Stds., Dkt. 1188 at 11 (finding that “the process that Hunter employed to

identify the minimum underwriting standards that prevailed in the industry during the relevant

timeframe is sufficiently reliable to make his testimony admissible”). In addition, Mr. Hunter

tested the accuracy of the minimum industry standards by comparing them to the guideline



                                                  44
requirements of New Century, WMC, Countrywide, and Long Beach, the originators who were

responsible for originating the largest volumes of subprime and Alt A loans during the Relevant

Period, and who were also generally known to have had very lenient origination requirements and

practices during this period. Hunter Direct ¶¶ 262-263.

       178.    Generally, the minimum industry standards reflect the most basic requirements that

even the most lenient originators of subprime and Alt-A loans followed in assessing a borrower’s

ability to repay the mortgage and the adequacy of the collateral underlying the mortgage. Hunter

Direct ¶ 244. As such, every subprime or Alt-A residential mortgage loan originated during the

Relevant Period, at a minimum, should have complied with these standards. Hunter Direct ¶ 244.

       179.    Each of the minimum industry standards is listed on Plaintiff’s Exhibit 1618. Mr.

Hunter divided these 59 minimum industry standards into the following seven categories: (i)

capacity of the borrower to repay the loan, (ii) misrepresentations by the borrower, (iii)

creditworthiness of the borrower, (iv) collateral, (v) regulatory compliance, (vi) insurance, and

(vii) other. Hunter Direct ¶ 245.

       180.    Based on Mr. Hunter’s testimony, these standards reflect the most basic and

fundamental steps in the underwriting process, and, as such, are part and parcel of underwriting a

residential mortgage loan. Hunter Direct ¶ 246. For example, the first category of minimum

industry standards can be categorized as relating to the borrower’s capacity to repay the mortgage

loan, and includes the requirements to: (i) properly calculate the borrower’s income; (ii) properly
calculate the borrower’s debts; (iii) verify the borrower’s employment; (iv) assess whether the

borrower had a reasonable ability to repay the mortgage, including by assessing the reasonableness
of the borrower’s stated income for a stated income loan; (v) verify that the borrower’s other

income (e.g., bonuses) is sufficiently stable and likely to continue; (vi) verify that the borrower has
sufficient and seasoned assets; (vii) evaluate the creditworthiness of the borrower, the borrower’s

ability to repay, and the adequacy of the collateral on the basis of a complete credit package

containing critical documentation; and (viii) ensuring that the documentation type of the approved

loan matches the confirmation in the file. Hunter Direct ¶ 250. Virtually all loan programs


                                                  45
required the underwriter to follow these requirements in determining whether the borrower had the

ability and willingness to repay the mortgage loan. Hunter Direct ¶ 250.

       181.    Mr. Hunter’s use of minimum industry standards for Sample Loans where the

applicable underwriting guidelines were not available is appropriate because, in those instances,

the minimum industry standards are useful in determining the contents of the applicable

underwriting guidelines. Jan. 29, 2015 Op. & Order re: Min. Indus. Stds., Dkt. 1188 at 11-12

(noting that “the minimum industry standards may provide circumstantial evidence of the content

of the Originator’s guidelines as of the time of origination”).

       182.    Mr. Hunter’s use of minimum industry standards for Sample Loans where the

applicable guideline is silent on a particular step in the origination process is also appropriate

because the minimum industry standards reflect the most basic and fundamental practices that

were expected to be followed by all loan underwriters, including the most lenient originators

during the Relevant Period. Hunter Direct ¶ 267. Because the minimum industry standards reflect

the lowest common denominator across all underwriting guidelines applicable to subprime and Alt

A loans during the Relevant Period, they are implicit in the requirements of the applicable

underwriting guidelines, and, as such, encompassed by the representations in each of the

Prospectus Supplements relating to compliance with guidelines. Hunter Direct ¶ 263. In addition,

the minimum industry standards are inherently encompassed in other representations in the

Prospectus Supplements, including statements that (i) loan underwriter made a determination that
the borrower had the ability to repay the loan; (ii) the loan underwriter assessed the adequacy of

the mortgaged property as collateral; and (iii) the mortgage loans complied with federal, state, and
local laws. Hunter Direct ¶¶ 257, 259, 264.

                                   (2) The Appraisal Review
       183.    The appraisal component of Mr. Hunter’s review consisted of determining whether

the appraisal was performed in accordance with the representations in the Prospectus Supplements,

underwriting guidelines, USPAP, and minimum industry standards. Hunter Direct ¶ 287.




                                                  46
       184.    Mr. Hunter also recalculated the LTV/CLTV ratios of the Sample Loans to

determine if they complied with the requirements set forth in the underwriting guidelines, and in

instances where the applicable underwriting guideline was unavailable, the minimum industry

standard of 100% LTV/CLTV for non-investment properties or 90% LTV/CLTV for investment

properties, which was also contained in each of the Prospectus Supplements. Hunter Direct

¶¶ 256, 288-89.

       185.    Mr. Hunter’s process of recalculating LTV/CLTV ratios was not only reliable, but

conservative in Defendants’ favor. To recalculate the LTV/CLTV ratios, Mr. Hunter first used the

information contained in the loan file, and divided the loan amount by the lower of the appraised

value or the sale price of the property. Hunter Direct ¶ 288. Mr. Hunter then compared the

recalculated LTV/CLTV ratio to the maximum allowed by the underwriting guidelines, or the

minimum industry standard as reflected in the Prospectus Supplement. Hunter Direct ¶ 288. Mr.

Hunter also recalculated the LTV/CLTV ratios of the Sample Loans using the valuations of the

subject properties determined by Dr. Kilpatrick. Hunter Direct ¶ 289. To do so, Mr. Hunter

divided the loan amount by the appraised value from Dr. Kilpatrick’s Greenfield automated

valuation model (“AVM”). Hunter Direct ¶ 291-92. Mr. Hunter triggered an excessive

LTV/CLTV finding if the resulting LTV/CLTV was at least 15% greater than both the origination

LTV/CLTV ratio and the maximum LTV/CLTV ratio allowed by the applicable guideline or

minimum industry standard. Hunter Direct ¶¶ 293; see also Section IV.C, infra (further describing
Dr. Kilpatrick’s Greenfield AVM model).

                                 (3) The Owner Occupancy Review
       186.    Mr. Hunter reviewed the owner occupancy status of the Sample Loans to assess

whether the occupancy status reflected in the pre-closing loan tape was accurate. Hunter Direct
¶ 281. In his review, Mr. Hunter considered whether the borrower occupied the subject property

for a period of twelve months after closing. Hunter Direct ¶¶ 282-284. Mr. Hunter used twelve

months as the benchmark because most of the mortgage loan files contained agreements certifying

that the borrower would occupy the mortgaged property for at least one year. Hunter Direct ¶ 285.


                                                47
       187.    Mr. Hunter’s process for the occupancy review was reliable because it included a

review of the mortgage loan file for red flags indicating that the borrower did not occupy the

subject property, and a review of post-origination documents, such as loan servicing records,

borrower and property records, and public records, for indications that the borrower did not occupy

the subject property after closing, for example, a different address associated with the borrower or

a change of address within twelve months after origination of the mortgage loan. Hunter Direct

¶¶ 282-84.

       188.    Mr. Hunter then made a determination as to whether it was more likely than not that

each Sample Loan was owner-occupied. Hunter Direct ¶ 286.

                                  (4) The Compliance Review
       189.    Mr. Hunter’s review also included a compliance component, which consisted of

determining whether the loan adhered to the representations in the Prospectus Supplements

relating to compliance, including whether each Sample Loan complied with federal and state law,

those aspects of the underwriting guidelines relating to compliance with federal and state law, and

requirements relating to title and hazard insurance. Hunter Direct ¶¶ 278.

                                  (5) The Pre-Closing Loan Tape Review
       190.    Mr. Hunter also compared the corrected information relating to the credit

characteristics of the Sample Loans that resulted from his re-underwriting review of the Sample

Loans against the information contained in the pre-closing loan tapes. Hunter Direct ¶ 294.
       191.    Mr. Hunter’s process was reliable because where there was a discrepancy, he

instructed his team to document an additional finding noting that the pre-closing loan tape
contained one or more inaccuracies concerning the credit characteristics of the loan at issue.

Hunter Direct ¶¶ 29, 301. Not all pre-closing loan tape defects were also counted as underwriting
defects, because there were loans where the collateral characteristic on the loan tape was

inaccurate, but the loan did not exceed the guideline limits. Hunter Direct ¶¶ 371.




                                                 48
                                   (6) Mr. Hunter’s Use of Post Closing Documents Was
                                       Appropriate And Reliable
       192.    During his re-underwriting review, Mr. Hunter did not limit himself to documents

in the loan file. Hunter Direct ¶ 210. Rather, he reviewed all available information, including

public information and information such as audit credit reports; proprietary databases, such as

DataVerify or LexisNexis Accurint; bankruptcy filings; servicing records; public databases such as

411.com and manta.com; internet salary engines; and the Mortgage Electronic Registration

Systems (“MERS”), an electronic registry that tracked mortgage ownership and servicing rights.

Hunter Direct ¶¶ 211-225.

       193.    Mr. Hunter’s use of post-origination evidence is probative of relevant

characteristics of the Sample Loans at the time of origination, including determining whether the

relevant originator followed its own underwriting guidelines or whether the loan qualified under

the applicable guidelines. FHFA v. Nomura Holding Am., Inc. (“Hunter-Forester Guidelines

Op.”), 2015 WL 568788, at *10 (S.D.N.Y. Feb. 11, 2015).

                                   (7) Mr. Hunter’s Ultimate Loan Level Opinion
       194.    Mr. Hunter’s approach for assessing the overall credit risk of each of the Sample

Loans was reliable. First, he confirmed each and every defect for each of the Sample Loans by

personally reviewing all of the mortgage loan files (either in whole or in part), the re-underwriting

team’s factual findings, the quality control team’s comments, and the supporting documents for the

individual findings. Hunter Direct ¶ 298. Second, he determined whether the defects for each
Sample Loan, when viewed collectively, impacted the credit risk of that Loan. Hunter Direct

¶¶ 299-300.
       195.    Based on this approach, Mr. Hunter rendered one of the following conclusions for

each Sample Loan: (a) that the Sample Loan was originated with one or more underwriting
defects that substantially increased the credit risk associated with the Loan; (b) that although the

Sample Loan was originated with one or more underwriting defects, the underwriting defects did

not substantially increase the credit risk associated with the Loan; or (c) that, based on the




                                                  49
documents provided to him, there were no underwriting defects in the origination of the Sample

Loan. Hunter Direct ¶ 301.

       196.     Where Mr. Hunter did not find any underwriting defects, he did not offer the

opinion that the Sample Loan did not have any defects, merely that he was unable to find any

defects. Moreover, based on the high percentage of loans with underwriting defects, Mr. Hunter

opined that the origination and underwriting process was so flawed that it is unlikely that loans in

this third category were free from defects. Hunter Direct ¶ 302.

                       (d)     The Vast Majority Of The Sample Loans Were Not Originated
                               In Accordance With Applicable Guidelines Or Minimum
                               Standards Of Underwriting
       197.     Underwriting guidelines are the methodologies by which originators’ underwriting

policies are enforced. Hunter Direct ¶ 132-33. They provide standards by which lenders can make

prudent lending determinations and manage its credit risk. Hunter Direct ¶ 133-34. A lender’s

adherence to underwriting guidelines is essential for the following reasons: (i) they provide a

consistent and reliable framework to evaluate the credit risk presented by a loan; (ii) they result in

uniform loan underwriting determinations; (iii) they ensure compliance with regulatory and legal

requirements; and (iv) they result in a loan with an ascertainable credit quality and value. Hunter

Direct ¶ 136.

       198.     Each of the Prospectus Supplements represented that the Mortgage Loans in the

SLG were generally originated in accordance with the applicable originator’s underwriting
guidelines. Hunter Direct ¶ 11.

       199.     Mr. Hunter’s re-underwriting review revealed that the vast majority of the Sample
Loans did not adhere to the representations in the Prospectus Supplements, particularly the

representation that the loans were generally originated in accordance with the applicable
underwriting guidelines. Hunter Direct ¶ 305. Moreover, these loans were not documented as

exception loans and did not otherwise contain compensating factors that offset the increased credit

risk associated with the exception. Hunter Direct ¶ 305.




                                                  50
       200.     The following summary exhibit, Plaintiff’s Exhibit 1641, reflects the number of

Sample Loans in each Securitization where there was at least one defect based on a failure to

comply with underwriting guidelines and a lack of sufficient compensating factors. This chart also

reflects the number of these loans that had substantially increased credit risk.

                                                                        Number of
                                                                                        Percentage of
                                                                        Mortgage
                                       Number of       Percentage of                   Sample Loans
                                                                      Sample Loans
                       Number of      Sample Loans     Sample Loans                     At Least One
                                                                       At Least One
    Securitization    Sample Loans    With At Least    with At Least                  Guideline Defect
                                                                     Guideline Defect
                        Reviewed      One Guideline    One Guideline                   & Substantially
                                                                      & Substantially
                                         Defect           Defect                      Increased Credit
                                                                     Increased Credit
                                                                                            Risk
                                                                           Risk
   NAA 2005-AR6           131              91             69.46%            69            52.67%
  NHELI 2006-FM1          100              89             89.00%            69            69.00%
  NHELI 2006-FM2          100              94             94.00%            71            71.00%
  NHELI 2006-HE3           99              77             77.77%            61            61.61%
    NHELI 2007-1           98              67             68.36%            59            60.20%
    NHELI 2007-2           98              81             82.65%            63            64.28%
    NHELI 2007-3           97              79             81.44%            60            61.85%
        Total             723              578            79.94%            452           62.52%

       201.     Even if loans with (i) defects that are based on minimum industry standards, (ii)

occupancy defects, or (iii) defects based on the Greenfield AVM are excluded, the vast majority of

the Sample Loans in each SLG still had defects based only on a failure to comply with

underwriting guidelines and/or a failure to adhere to the express underwriting representations in

the Prospectus Supplements. The following summary exhibit, Plaintiff’s Exhibit 1642, reflects

the number of Sample Loans in each SLG that had defects that were based only on a failure to

comply with underwriting guidelines and/or a failure to adhere to the express underwriting

representations in the Prospectus Supplements. This exhibit does not include any loans with (i)

defects that are based on minimum industry standards, (ii) occupancy defects, or (iii) defects based

on the Greenfield AVM.




                                                  51
                                                                         Number of      Percentage of
                                                                        Sample Loans    Sample Loans
                                        Number of       Percentage of
                                                                          with Only       with Only
                                       Sample Loans     Sample Loans
                        Number of                                        Guideline or    Guideline or
                                         with Only        with Only
                         Sample                                          Prospectus      Prospectus
    Securitization                      Guideline or     Guideline or
                          Loans                                          Supplement      Supplement
                                        Prospectus       Prospectus
                        Reviewed                                          Defects &       Defects &
                                        Supplement       Supplement
                                                                        Substantially   Substantially
                                          Defects          Defects
                                                                          Increased       Increased
                                                                         Credit Risk     Credit Risk
    NAA 2005-AR6           131              52             39.69%            33            25.19%
    NHELI 2006-FM1         100              58             58.00%            38            38.00%
    NHELI 2006-FM2         100              68             68.00%            45            45.00%
    NHELI 2006-HE3          99              46             46.46%            30            30.30%
    NHELI 2007-1            98              36             36.73%            27            27.55%
    NHELI 2007-2            98              43             43.88%            27            27.55%
    NHELI 2007-3            97              53             54.64%            35            36.08%
        Total              723             356            49.24%            235           32.50%

       202.     Across the Sample Loans, Mr. Hunter found approximately 100 different kinds of

violations of underwriting guidelines. Hunter Direct ¶ 305. The details for these defects are

included in Plaintiff’s Exhibit 1641, which contains Mr. Hunter’s loan level findings and

conclusions for each of the Sample Loans. The most significant defects for violations of

guidelines, not including defects that are based on minimum industry standards, are summarized in

Sections 1-7 below.

                                 (1)   Over Fifteen Percent Of Sample Loans Had Excessive
                                       DTI Ratios
       203.     The borrower’s DTI ratio is an important factor in assessing the borrower’s capacity

to repay the loan. Hunter Direct ¶ 16. The borrower’s DTI ratio demonstrates the amount of the
borrower’s monthly income required to pay monthly obligations, including the mortgage loan.

Hunter Direct ¶ 16. To calculate the DTI ratio, the lender must determine all required monthly
debt payments, including the subject loan’s principal, interest, taxes and insurance/home owners

association fee payments (“PITI”), installment and revolving debts, and any other required debt




                                                   52
payments (such as child support). Hunter Direct ¶ 16. The lender then divides the borrower’s

total debt by the borrower’s gross monthly income. Hunter Direct ¶ 16.

       204.    All else being equal, the higher the borrower’s DTI ratio, the more difficult it is for

the borrower to meet his or her monthly mortgage payments, and the greater the credit risk

associated with the loan. See DePalma Dep. 179:13-19; PX 472 at NOM-FHFA_05071266. In

addition, a lower DTI ratio provides a greater cushion against borrower default because the

borrower has more income to overcome temporary cash flow shortages. Hunter Direct ¶ 18.

       205.    Mr. Hunter found that in certain instances, the loan underwriter failed to properly

calculate the borrower’s DTI ratio using information that was available at the time of origination,

and, in other instances, the borrower’s debt obligations were misrepresented on the loan

application, which led to these debts not being included in the lender’s debt calculation. Hunter

Direct ¶¶ 308-309. As a result of these errors, certain Sample Loans were given to borrowers with

DTI ratios in excess of the maximum permitted by the applicable underwriting guidelines without

sufficient compensating factors. Hunter Direct ¶ 308-309.

       206.    Virtually all of the Guidelines specified maximum debt to income ratios. Hunter

Direct ¶ 19.
       207.    The below summary exhibit, Plaintiff’s Exhibit 1644, reflects the number of

Sample Loans in each Securitization where the DTI ratio exceeded the maximum DTI permissible

under the applicable guideline. This does not include any loans where the DTI ratio defect is

based on minimum industry standards.

                                                          Number of            Percentage of
                                    Number of          Sample Loans with     Sample Loans with
           Securitization          Sample Loans         DTI Guideline or      DTI Guideline or
                                     Reviewed             Prospectus            Prospectus
                                                       Supplement Defects    Supplement Defects
          NAA 2005-AR6                  131                    13                   9.92%
         NHELI 2006-FM1                 100                    16                  16.00%
         NHELI 2006-FM2                 100                    17                  17.00%
         NHELI 2006-HE3                 99                     24                  24.24%
           NHELI 2007-1                 98                     18                  18.37%



                                                  53
                                                                Number of            Percentage of
                                          Number of          Sample Loans with     Sample Loans with
            Securitization               Sample Loans         DTI Guideline or      DTI Guideline or
                                           Reviewed             Prospectus            Prospectus
                                                             Supplement Defects    Supplement Defects
           NHELI 2007-2                       98                       7                 7.14%
           NHELI 2007-3                       97                    19                  19.59%
                Total                        723                    114                 15.77%

       208.     In addition, the Prospectus Supplements provided that the borrower’s DTI ratio may

not exceed 55% or 60% in certain circumstances. Hunter Direct ¶ 19. When the applicable

underwriting guideline was not available, Mr. Hunter used a maximum DTI ratio of 55% as a

proxy for the underwriting guideline requirement. Hunter Direct ¶ 247.

       209.     The following summary exhibit, Plaintiff’s Exhibit 1643, summarizes the number

of Sample Loans in each Securitization with DTI ratios exceeding the maximum under the

applicable guideline or the minimum industry standard of 55%. This chart also reflects the number

of loans with DTI ratio defects that had substantially increased credit risk.

                                                                          Number of          Percentage of
                                                                        Sample Loans        Sample Loans
                         Number of      Number of      Percentage of
                                                                       with DTI Defects    with DTI Defects
    Securitization      Sample Loans  Sample Loans     Sample Loans
                                                                        & Substantially     & Substantially
                          Reviewed   with DTI Defects with DTI Defects
                                                                       Increased Credit    Increased Credit
                                                                             Risk                Risk
   NAA 2005-AR6              131                   14          10.68%             14             10.68%
  NHELI 2006-FM1             100                   16          16.00%             16             16.00%
  NHELI 2006-FM2             100                   17          17.00%             17             17.00%
  NHELI 2006-HE3             99                    25          25.25%             25             25.25%
    NHELI 2007-1             98                    18          18.36%             18             18.36%
    NHELI 2007-2             98                    9           9.18%               8             8.16%
    NHELI 2007-3             97                    19          19.58%             19             19.58%
        Total                723               118             16.32%             117            16.18%

                                   (2)     Almost One-Third Of The Stated Income Or No Income
                                           Sample Loans Had Unreasonable Stated Incomes
       210.     Stated income loans required the underwriter to use heightened care to determine

whether the income stated by the borrower was reasonable. Hunter Direct ¶¶ 113. Without such

care, stated income loans were susceptible to overstatement of the borrower’s income or outright


                                                        54
fraud in the origination process, which casts doubt on the borrower’s capacity to repay the loan,

the borrower’s character and willingness to repay the loan, and the overall integrity of the loan file.

Hunter Direct ¶¶ 113.

       211.    Virtually all the Guidelines for stated income programs required an assessment of

the reasonableness of the borrower’s stated income. Hunter Direct ¶ 167 (citing Guidelines). This

reasonableness assessment required a comparison of the borrower’s stated income to other

characteristics, such as the borrower’s geographic location, occupation, length of experience, and

assets. Hunter Direct ¶ 168 (citing Guidelines). Some Guidelines provided that audit and income

verification tools could be used by the underwriter to assess the reasonableness of the borrower’s

stated income. See, e.g., PX R6836 at JPMC-UWG-WAMU-000735645; PX R6974 at UBS-

FHFA-00287151 (recommending the underwriter consult Salary.com when determining whether

stated income was unreasonable).

       212.    The re-underwriting results show that the loan underwriter failed to assess the

reasonableness of the borrower’s stated income for many of the Sample Loans that were originated

under stated income or no documentation programs. Hunter Direct ¶¶ 313-14. The failure to

follow guidelines to assess the reasonableness of stated income led to substantially increased credit

risk for such loans by failing to reflect the negative impact on the borrower’s ability to repay the

loan. Hunter Direct ¶ 313.
       213.    The following summary exhibit, Plaintiff’s Exhibit 1646, reflects the numbers of

Sample Loans in each Securitization that were originated under stated income or no income

programs where the income stated by or required of a borrower was not reasonable and was not

investigated by the underwriter pursuant to an express requirement in the underwriting guidelines




                                                  55
and/or the Prospectus Supplement. This chart includes all 332 of the Sample Loans that were

identified as stated or no income loans in the loan file.

                                                               Number of
                                           Number of                             Percentage of
                                                          Stated or No Income
                                      Stated or No Income                      Sample Loans with
                 Securitization                              Sample Loans
                                         Sample Loans                         Unreasonable Income
                                                          Unreasonable Income
                                           Reviewed                                 Defects
                                                                Defects
                NAA 2005-AR6                    95                      20                    21.05%
                NHELI 2006-FM1                  27                      11                    40.74%
                NHELI 2006-FM2                  40                      13                    32.50%
                NHELI 2006-HE3                  34                      11                    32.35%
                 NHELI 2007-1                   80                      18                    22.50%
                 NHELI 2007-2                   29                      7                     24.14%
                 NHELI 2007-3                   27                      3                     11.11%
                     Total                     332                      83                   25.00%

         214.     When the applicable underwriting guideline or the Prospectus Supplement did not

expressly state that the loan underwriter should assess the reasonableness of income on a stated

income or no income loan, Mr. Hunter applied such a requirement based on minimum industry

standards on the ground that it was part and parcel of determining the borrower’s ability to repay.

Hunter Direct ¶ 246. Each of the Prospectus Supplements contains a representation that the

originators assessed the borrower’s ability to repay pursuant to the applicable underwriting

guidelines. Hunter Direct ¶ 15.

         215.     The following summary exhibit, Plaintiff’s Exhibit 1645, reflects the number of
Sample Loans in each Securitization that were originated under stated income or no income

programs3 where the income stated by or required of a borrower was not reasonable and was not

investigated by the underwriter pursuant to an express requirement in the underwriting guidelines

or the Prospectus Supplement, the minimum industry standards, or an implicit requirement in the

Prospectus Supplement’s representation regarding ability to repay. The summary exhibit also



3
   The chart below includes only the 256 loans specifically identified as stated or no income loans on the pre-closing
loan tapes.


                                                          56
reflects the number of these loans that had substantially increased credit risk as a result of their

failure to comply with the representations in the Offering Documents.

                                                                          Number of
                                                                                            Percentage of
                                                                         Stated or No
                                          Number of      Percentage of                      Stated Income
                                                                        Income Sample
                        Number of        Stated or No     Stated or No                      Sample Loans
                                                                            Loans
                       Stated or No        Income           Income                               with
                                                                             with
    Securitization       Income         Sample Loans     Sample Loans                       Unreasonable
                                                                         Unreasonable
                      Sample Loans           with             with                         Income Defects
                                                                        Income Defects
                        Reviewed        Unreasonable     Unreasonable                      & Substantially
                                                                        & Substantially
                                       Income Defects   Income Defects                    Increased Credit
                                                                       Increased Credit
                                                                                                 Risk
                                                                             Risk
   NAA 2005-AR6            38                9             23.68%             9               23.68%
  NHELI 2006-FM1           25               11             44.00%             11              44.00%
  NHELI 2006-FM2           40               13             32.50%             13              32.50%
  NHELI 2006-HE3           19                6             31.58%             6               31.58%
    NHELI 2007-1           74               23             31.08%             23              31.08%
    NHELI 2007-2           30               12             40.00%             12              40.00%
    NHELI 2007-3           30                3             10.00%             3               10.00%
        Total              256              77             30.08%             77              30.08%

                                 (3)    One Quarter Of The Sample Loans Lacked Required
                                        Credit Information
       216.     Obtaining required credit documents and information is important to a loan

underwriter, who must have these credit documents and key credit information in order to evaluate
the borrower’s ability and willingness to repay the loan. Hunter Direct ¶ 15.

       217.     The Guidelines contained directions and requirements for evaluating a borrower’s

ability and willingness to repay a loan. Hunter Direct ¶ 147. Conducting such an evaluation was

important since a borrower’s monthly payments are an originator’s primary source of repayment

for a loan. Hunter Direct ¶ 147. To establish a borrower’s ability and willingness to repay a

mortgage, all Guidelines required the underwriter to consider the borrower’s credit profile. Hunter

Direct ¶ 148. At a minimum, underwriters were required to obtain a copy of the borrower’s credit

report within a discrete period, generally between 60 and 120 days, prior to the loan’s closing,

funding, or note date. Hunter Direct ¶ 148 (citing Guidelines). In addition, almost half of the

Guidelines explicitly required the loan origination file to include a final loan application, typically


                                                   57
in a form similar to Fannie Mae Form 1003, regardless of loan documentation type. Hunter Direct

¶ 152. The requirement to obtain a loan application was implicit in the requirement to include

certain information on the loan application. Hunter Direct ¶ 151 (citing Guidelines). The vast

majority of the Guidelines generally required the applications to be completed with the original

borrowers’ signatures. Hunter Direct ¶ 152 (citing Guidelines). Thus, virtually all of the

Guidelines required certain critical credit documents. Hunter Direct ¶ 148-49.

        218.   In addition, the Prospectus Supplements contained representations about the

specific types of credit information, such as a loan application, credit report/history, federal tax

returns, and/or verifications of assets (or deposits), that underwriters should review to determine a

borrower’s ability to repay the mortgage loan. Hunter Direct ¶ 20. Indeed, the Prospectus
Supplements for each Securitization represented that the underlying mortgage loans were

supported by appropriate documentation of the borrower’s credit profile, including a credit report,

credit score, and documentation regarding income, employment, assets, and housing history.

Hunter Direct ¶ 20. The Prospectus Supplements made clear that the purpose of obtaining such

information was to evaluate the prospective borrower’s ability to repay the loan. Hunter Direct

¶ 20.

        219.   Mr. Hunter’s review revealed that many of the Sample Loans were missing critical

information from the loan files, such as: (1) a final loan application; (2) the borrower’s credit

report; (3) documentation verifying the borrower’s employment; (4) documentation verifying the

borrower’s income; (5) documentation verifying the borrower’s assets, and (6) a history of the

borrower’s mortgage or rent payments. Hunter Direct ¶ 321.




                                                  58
       220.     The following summary exhibit, Plaintiff’s Exhibit 1648, reflects the number of

Sample Loans in each Securitization that had defects for missing credit information where the

defect was based on an express requirement in the applicable guidelines.

                                                           Number of          Percentage of
                                    Number of          Sample Loans with    Sample Loans with
               Securitization      Sample Loans          Missing Credit       Missing Credit
                                     Reviewed             Information          Information
                                                        Guideline Defects    Guideline Defects
              NAA 2005-AR6              131                   26                 19.85%
              NHELI 2006-FM1            100                   32                 32.00%
              NHELI 2006-FM2            100                   34                 34.00%
              NHELI 2006-HE3            99                    23                 23.23%
               NHELI 2007-1             98                    12                 12.24%
               NHELI 2007-2             98                    28                 28.57%
               NHELI 2007-3             97                    27                 27.84%
                   Total                723                   182                25.17%

       221.     When the applicable underwriting guideline or the Prospectus Supplement did not

expressly state that the loan should contain certain required credit documentation, Mr. Hunter

applied such a requirement based on minimum industry standards on the ground that obtaining

such documentation was part and parcel of determining the borrower’s ability to repay. Hunter

Direct ¶¶ 149-151. In addition, obtaining the required credit documentation is implicit in the

representation in each of the Prospectus Supplements that the originator assessed the borrower’s

ability to repay pursuant to the applicable underwriting guidelines. Hunter Direct ¶ 20.
       222.     The following summary exhibit, Plaintiff’s Exhibit 1647, summarizes the number

of Sample Loans in each Securitization that failed to contain certain required credit information
pursuant to express requirements in the underwriting guidelines or implicit requirements based on

the representations in the Prospectus Supplements and minimum industry standards. In many
instances, a failure to obtain information required under the governing underwriting guidelines




                                                  59
substantially increased the credit risk of the Sample Loan because the credit risk could not have

been assessed properly. Hunter Direct ¶ 321.

                                                                           Number of       Percentage of
                                                                         Sample Loans     Sample Loans
                                       Number of          Percentage of
                                                                          with Missing     with Missing
                                     Sample Loans         Sample Loans
                     Number of                                               Credit           Credit
                                      with Missing         with Missing
  Securitization    Sample Loans                                          Information      Information
                                         Credit               Credit
                      Reviewed                                             Defects &        Defects &
                                      Information          Information
                                                                          Substantially    Substantially
                                         Defects              Defects
                                                                        Increased Credit Increased Credit
                                                                              Risk             Risk
  NAA 2005-AR6           131              28                 21.37%            23            17.55%
 NHELI 2006-FM1          100              33                 33.00%            32            32.00%
 NHELI 2006-FM2          100              34                 34.00%            30            30.00%
 NHELI 2006-HE3          99               25                 25.25%            24            24.24%
  NHELI 2007-1           98               13                 13.26%            12            12.24%
  NHELI 2007-2           98               28                 28.57%            28            28.57%
  NHELI 2007-3           97               27                 27.83%            26            26.80%
      Total              723             188                26.00%             175           24.20%

                               (4)    Over Ten Percent Of The Sample Loans Failed To Satisfy
                                      Requirements To Investigate Red Flags
       223.    Loan underwriters were responsible for reviewing the information contained in the

initial and final loan applications—as well as any other loan application—against other
information in the file to identify inconsistencies or other discrepancies that would be considered

red flags requiring further investigation. Hunter Direct ¶¶ 84-86. Any misrepresentation would

negatively affect the borrower’s ability and willingness to repay the mortgage, including

constituting an event of default, and, as such, adversely impacted the credit risk of the loan.

Hunter Direct ¶¶ 85, 115.

       224.    The vast majority of the Guidelines required the underwriter to follow up on red

flags in the loan file, including those indicating potential misrepresentations of the borrower’s

income, employment, debt obligations, housing history, or occupancy status. Hunter Direct ¶ 170.

       225.    Mr. Hunter’s re-underwriting review revealed that certain Sample Loans contained

red flags, which indicated potential misrepresentations of employment, income, occupancy, or the



                                                     60
borrower’s debt obligations, without any evidence in the file that the loan underwriter investigated,

let alone considered, such red flags. Hunter Direct ¶ 332.

       226.     The following summary exhibit, Plaintiff’s Exhibit 1652, reflects the number of

Sample Loans in each Securitization that had defects for failure to investigate red flags where the

defect was based on a requirement in the guidelines.

                                                           Number of           Percentage of
                                     Number of
                                                        Sample Loans with    Sample Loans with
               Securitization       Sample Loans
                                                        Red Flag Guideline   Red Flag Guideline
                                      Reviewed
                                                             Defects              Defects
              NAA 2005-AR6               131                    4                  3.05%
              NHELI 2006-FM1             100                   12                 12.00%
              NHELI 2006-FM2             100                   12                 12.00%
              NHELI 2006-HE3             99                     4                  4.04%
               NHELI 2007-1              98                     2                  2.04%
               NHELI 2007-2              98                     1                  1.02%
               NHELI 2007-3              97                     7                  7.22%
                   Total                 723                   42                  5.81%

       227.     When the applicable underwriting guideline did not expressly state that the loan

underwriter should investigate red flags, Mr. Hunter applied such a requirement based on

minimum industry standards relating to misrepresentations, and the implicit requirement to

investigate red flags encompassed by the Prospectus Supplements’ representations relating to

ability to repay. Hunter Direct ¶ 252.

       228.     The following summary exhibit, Plaintiff’s Exhibit 1651, summarizes the number

of Sample Loans in each Securitization where there was a failure to investigate red flags regarding

potential misrepresentations of income, employment, debt obligations, housing history, or

occupancy status, based on express requirements in the underwriting guidelines, the minimum




                                                   61
industry standards, or implicit requirements encompassed by the representations in the Prospectus

Supplements.

                                                                          Number of       Percentage of
                                                                        Sample Loans     Sample Loans
                                         Number of       Percentage of
                       Number of                                        with Red Flag    with Red Flag
                                        Sample Loans     Sample Loans
    Securitization    Sample Loans                                        Defects &        Defects &
                                        with Red Flag    with Red Flag
                        Reviewed                                         Substantially    Substantially
                                           Defects          Defects
                                                                       Increased Credit Increased Credit
                                                                             Risk             Risk
   NAA 2005-AR6             131              16             12.21%            14            10.68%
  NHELI 2006-FM1            100              13             13.00%            11            11.00%
  NHELI 2006-FM2            100              13             13.00%            13            13.00%
  NHELI 2006-HE3            99               11             11.11%            11            11.11%
   NHELI 2007-1             98               12             12.24%            12            12.24%
   NHELI 2007-2             98               11             11.22%            10            10.20%
   NHELI 2007-3             97               13             13.40%            13            13.40%
        Total               723              89            12.31%             84            11.62%

                                  (5)   More Than Half Of The Sample Loans Failed To Satisfy
                                        Requirement To Investigate Unexplained Credit Inquiries
       229.     Failure to investigate unexplained credit inquires is a significant underwriting

defect because an investigation of unexplained inquiries could result in the identification of

undisclosed debts that may have impacted the borrower’s overall debt and credit profile. Hunter

Direct ¶ 90, 327. Such undisclosed debt obligations may materially alter the underwriter’s

ultimate credit risk determination by negatively impacting the underwriter’s DTI ratio calculation.

Hunter Direct ¶¶ 90, 327.
       230.     Some Guidelines contained explicit requirements for the underwriter to review the

borrower’s credit report before closing, with a particular focus on any recent credit inquiries.

Hunter Direct ¶ 150 (citing Guidelines). Unexplained credit inquiries prior to a mortgage loan’s

origination were to be investigated because each inquiry could have been indicative of an

undisclosed debt obligation. Hunter Direct ¶ 150.

       231.     The following summary exhibit, Plaintiff’s Exhibit 1650, reflects the number of

Sample Loans in each Securitization that had defects for failure to investigate recent credit



                                                    62
inquiries where the defect was based on a requirement in the guidelines to obtain a credit report or

investigate credit inquiries.

                                                             Number of           Percentage of
                                       Number of
                                                          Sample Loans with    Sample Loans with
                Securitization        Sample Loans
                                                            Credit Inquiry       Credit Inquiry
                                        Reviewed
                                                           Guideline Defects    Guideline Defects
               NAA 2005-AR6                131                   42                 32.06%
               NHELI 2006-FM1              100                   71                 71.00%
               NHELI 2006-FM2              100                   66                 66.00%
               NHELI 2006-HE3               99                   58                 58.59%
                NHELI 2007-1                98                   34                 34.69%
                NHELI 2007-2                98                   59                 60.20%
                NHELI 2007-3                97                   50                 51.55%
                    Total                  723                   380                52.56%

        232.     When the guidelines did not contain a requirement to obtain a credit report or

investigate credit inquiries, Mr. Hunter applied such a requirement based on minimum industry

standards relating to credit, and the implicit requirement to investigate unexplained credit inquiries

encompassed by the Prospectus Supplements’ representations relating to ability to repay. Hunter

Direct ¶¶ 15, 252.

        233.     The following summary exhibit, Plaintiff’s Exhibit 1649, reflects the number of

Sample Loans in each Securitization that had defects for failure to investigate recent credit

inquiries where the defect was based on the applicable guideline, minimum industry standards, or

implicit requirements encompassed by the representations in the Prospectus Supplements.

                                                                          Number of          Percentage of
                                                                        Sample Loans        Sample Loans
                                      Number of        Percentage of
                       Number of                                         with Credit          with Credit
                                    Sample Loans      Sample Loans
  Securitization      Sample Loans                                     Inquiries Defects   Inquiries Defects
                                     with Credit        with Credit
                        Reviewed                                        & Substantially     & Substantially
                                   Inquiries Defects Inquiries Defects
                                                                       Increased Credit    Increased Credit
                                                                             Risk                Risk
  NAA 2005-AR6              131             57             43.51%              38              29.00%
 NHELI 2006-FM1             100             71             71.00%              52              52.00%
 NHELI 2006-FM2             100             66             66.00%              48              48.00%
 NHELI 2006-HE3             99              60             60.60%              44              44.44%




                                                     63
  NHELI 2007-1           98              38            38.77%             30            30.61%
  NHELI 2007-2           98              69            70.40%             46            46.93%
  NHELI 2007-3           97              56            57.73%             36            37.11%
      Total              723             417           57.68%            294            40.66%

                               (6)    One-Fifth Of The Sample Loans Had Excessive LTV Or
                                      CLTV Ratios That Exceeded The Maximum
       234.     The LTV ratio compares the outstanding balance of a mortgage loan with the value

of the mortgaged property at the time the loan was made, indicating how much equity a borrower

has in a home, Hunter Direct ¶¶ 46-47, and CLTV ratio compares the combined balance of the

first- and second-lien mortgages against the lesser of either the property’s appraised value or

purchase price. Hunter Direct ¶ 48. LTV and CLTV ratios are important factors in assessing the

credit risk of a loan, as a borrower who has less equity is more likely to default on mortgage

payments if he or she experiences financial distress. Hunter Direct ¶¶ 46-48.

       235.     Virtually all of the Guidelines included LTV/CLTV ratio requirements. Hunter

Direct ¶ 197 (citing Guidelines).

       236.     Mr. Hunter’s re-underwriting review shows that certain of the Sample Loans had

LTV/CLTV ratios in excess of the maximum permitted by governing underwriting guidelines,

even excluding the results of Dr. Kilpatrick’s Greenfield AVM review. Hunter Direct ¶ 336. In

particular, when a loan transaction occurred within six to twelve months of a purchase, there were
instances when the original underwriter improperly used an appraised value rather than the sales

price to calculate the LTV ratio, and when the LTV ratio was recalculated using the information

required by the underwriting guidelines, it often exceeded the limits set by the guidelines. Hunter

Direct ¶ 336.




                                                 64
       237.     The following summary exhibit, Plaintiff’s Exhibit 1653, reflects the number of

Sample Loans in each of the Securitizations where the recalculated LTV/CLTV ratios, using

information contained in the loan file, exceeded guideline limits.

                                                           Number of           Percentage of
                                                        Sample Loans with    Sample Loans with
                                     Number of
                                                          Excessive LTV        Excessive LTV
               Securitization       Sample Loans
                                                         Guideline Defects    Guideline Defects
                                      Reviewed
                                                        Based on the Loan    Based on the Loan
                                                               File                 File
              NAA 2005-AR6               131                     3                  2.29%
              NHELI 2006-FM1             100                     2                  2.00%
              NHELI 2006-FM2             100                     2                  2.00%
              NHELI 2006-HE3              99                     7                  7.07%
               NHELI 2007-1               98                     5                  5.10%
               NHELI 2007-2               98                     4                  4.08%
               NHELI 2007-3               97                     6                  6.19%
                   Total                 723                    29                  4.01%

       238.     In addition to using the information in the loan file to determine whether the

LTV/CLTV ratios exceeded the maximum allowable LTV/CLTV ratio under the underwriting

guidelines, Mr. Hunter also recalculated the LTV/CLTV ratios using the values determined by Dr.

Kilpatrick using the Greenfield AVM. Hunter Direct ¶ 359.

       239.     The following summary exhibit, Plaintiff’s Exhibit 1661, reflects the number of

Sample Loans in each of the Securitizations where the recalculated LTV/CLTV ratios based on the

Greenfield AVM exceeded the guideline requirements.

                                                            Number of           Percentage of
                                     Number of          Sample Loans with Sample Loans with
               Securitization       Sample Loans          Excessive LTV        Excessive LTV
                                      Reviewed          Defects Based on the Defects Based on the
                                                         Greenfield AVM       Greenfield AVM
              NAA 2005-AR6               131                    14                 10.69%
              NHELI 2006-FM1             100                    22                 22.00%
              NHELI 2006-FM2             100                    22                 22.00%
              NHELI 2006-HE3              99                    20                 20.20%
               NHELI 2007-1               98                     8                  8.16%
               NHELI 2007-2               98                    23                 23.47%



                                                   65
                                                                     Number of           Percentage of
                                              Number of          Sample Loans with Sample Loans with
                Securitization               Sample Loans          Excessive LTV        Excessive LTV
                                               Reviewed          Defects Based on the Defects Based on the
                                                                  Greenfield AVM       Greenfield AVM
                NHELI 2007-3                      97                       17               17.53%
                     Total                       723                       126              17.43%

       240.      The following summary exhibit, Plaintiff’s Exhibit 1662, reflects the number of

Sample Loans in each of the Securitizations where the recalculated LTV/CLTV ratios based on

information in the loan file and the Greenfield AVM exceeded the guideline requirements.

                                                                   Number of       Percentage of
                                       Number of                 Sample Loans      Sample Loans
                                                  Percentage of
                          Number of     Sample                   with Excessive with Excessive LTV
                                                  Sample Loans
    Securitization       Sample Loans Loans with                 LTV Defects &       Defects &
                                                  with Excessive
                           Reviewed    Excessive                  Substantially    Substantially
                                                   LTV Defects
                                      LTV Defects                   Increased    Increased Credit
                                                                   Credit Risk         Risk
   NAA 2005-AR6                  131              17              12.97%            17               12.97%
   NHELI 2006-FM1                100              22              22.00%            22               22.00%
   NHELI 2006-FM2                100              23              23.00%            23               23.00%
   NHELI 2006-HE3                99               24              24.24%            24               24.24%
    NHELI 2007-1                 98               12              12.24%            12               12.24%
    NHELI 2007-2                 98               25              25.51%            25               25.51%
    NHELI 2007-3                 97               22              22.68%            22               22.68%
        Total                    723              145             20.06%            145              20.06%

       241.      There were only three Sample Loans where the applicable guideline was not

available, and Mr. Hunter applied the minimum industry standard relating to LTV/CLTV of 100%.
Hunter Direct ¶ 255-256, 361. The Prospectus Supplements for each of the Securitizations

represent that the LTV/CLTV ratios of the Mortgage Loans did not exceed 100%. Hunter Direct
¶¶ 49-50.

                                       (7)     Over Five Percent Of Sample Loans Were Not Originated
                                               In Compliance With Federal And State Laws
       242.      The Prospectus Supplements expressly stated that each Mortgage Loan complied

with federal and state laws regarding equal credit opportunities, mortgage recording procedures,

and required lender disclosures to borrowers, among other legal requirements. Hunter Direct ¶ 42.



                                                            66
       243.     In addition, many of the Guidelines expressly stated that the loans must comply

with law. Hunter Direct ¶ 185 (citing Guidelines). For example, some of the Guidelines

recognized that the Truth-in-Lending Act (“TILA”) obligated the lender to provide the borrower

with a form notifying the borrower of the right of rescission. Hunter Direct ¶ 186. Moreover,

some of the Guidelines recognized that TILA required an originator to notify the borrower of the

true cost of the loan prior to the loan’s closing by providing the borrower a truth-in-lending TIL

disclosure. Hunter Direct ¶ 187. Additionally, the vast majority of the Guidelines recognized that

RESPA required each mortgage loan file to contain a HUD-1 form, also called a “Settlement

Statement” or “Closing Statement.” Hunter Direct ¶ 188.

       244.     The failure to comply with these requirements could affect the credit risk of the

mortgage loan by making it more difficult to foreclose on the property if the borrower defaulted.

Hunter Direct ¶¶ 41, 280.

       245.     The following summary exhibit, Plaintiff’s Exhibit 1654, reflects the number of

Sample Loans in each of the Securitizations where the required TILA, ROR or TIL disclosure was

missing, incomplete, or insufficient; where the HUD-1 was missing, incomplete, or insufficient; or

where another compliance defect existed.

                                     Number of             Number of           Percentage of
               Securitization       Sample Loans        Sample Loans with    Sample Loans with
                                      Reviewed          Compliance Defects   Compliance Defects

              NAA 2005-AR6               131                   16                 12.21%
              NHELI 2006-FM1             100                    5                  5.00%
              NHELI 2006-FM2             100                    5                  5.00%
              NHELI 2006-HE3             99                     2                  2.02%
               NHELI 2007-1              98                     9                  9.18%
               NHELI 2007-2              98                     4                  4.08%
               NHELI 2007-3              97                     5                  5.15%
                   Total                 723                   46                  6.36%




                                                   67
                         (e)   The Occupancy Status Of A Material Percentage Of Sample
                               Loans Was Misrepresented In The Prospectus Supplements
       246.     Each of the Prospectus Supplements represented the percentages of properties

underlying the mortgage loans in the SLGs that were owner-occupied homes. Hunter Direct ¶ 58.

       247.     Owner occupancy refers to the borrower’s use of a property. There are three

categories of occupancy disclosed in the Prospectus Supplements: (1) owner-occupied, (2)

investor, meaning the borrower intended to use the mortgaged property to earn income, for

example, through rental payments; and (3) second home, meaning the borrower intended to use the

mortgaged property as a part-time or vacation home. Hunter Direct ¶ 53. When determining

whether the occupancy status of a mortgage has been properly disclosed, it is the occupancy status

of the property, not the borrower’s intent, which is relevant. FHFA v. Nomura Holding Am., Inc.

(“Hunter Occupancy Op.”), 2015 WL 394072, at *3 (S.D.N.Y. Jan. 29, 2015).

       248.     In the residential mortgage industry, a property is considered to be owner occupied

when the borrower uses the mortgaged property as his or her primary residence for a specified

period of time. Hunter Direct ¶ 54. In the context of a refinanced owner-occupied loan, the

borrower is already living in the property, and in the context of a purchase money loan, the

borrower agrees to occupy the property as his or her primary residence within a certain number of

days after closing and to continue living there for at least one year. Hunter Direct ¶ 54.

       249.     The occupancy status of a property is important because a borrower living in a

mortgaged property has a greater incentive to make payments and care for the home than a
borrower purchasing a second home or investment property. Hunter Direct ¶ 57.

       250.     The following summary exhibit, Plaintiff’s Exhibit 1664, reflects the number of
Sample Loans for each Securitization in which the subject properties were incorrectly represented

as being owner occupied in the pre-closing loan tapes.

                                   Number of                Number of          Percentage of
                                 Sample Loans             Sample Loans         Sample Loans
              Securitization    Represented as           Misrepresented as    Misrepresented as
                               Owner-Occupied on        Owner-Occupied on    Owner-Occupied on
                               Closing Loan Tape        Closing Loan Tape    Closing Loan Tape
            NAA 2005-AR6               63                       7                 11.11%



                                                   68
                                    Number of                Number of          Percentage of
                                  Sample Loans             Sample Loans         Sample Loans
              Securitization     Represented as           Misrepresented as    Misrepresented as
                                Owner-Occupied on        Owner-Occupied on    Owner-Occupied on
                                Closing Loan Tape        Closing Loan Tape    Closing Loan Tape
           NHELI 2006-FM1              91                        8                  8.79%
           NHELI 2006-FM2              93                        8                  8.60%
           NHELI 2006-HE3              89                        3                  3.37%
              NHELI 2007-1             49                        2                  4.08%
              NHELI 2007-2             91                        8                  8.79%
              NHELI 2007-3             91                        6                  6.59%
                  Total                567                      42                  7.41%

       251.     The following summary exhibit, Plaintiff’s Exhibit 1665, reflects the number of

Sample Loans for each Securitization in which the subject properties were incorrectly represented

as being owner occupied in the pre-closing loan tapes, after removing the 17 loans where the post-

origination evidence reflects a new address for the borrower on a date after the Cut-Off date in the

Prospectus Supplements.

                                  Sample Loans             Sample Loans         Sample Loans
                                 Represented as           Misrepresented as    Misrepresented as
              Securitization
                                Owner-Occupied on        Owner-Occupied on    Owner-Occupied on
                                Closing Loan Tape        Closing Loan Tape    Closing Loan Tape
            NAA 2005-AR6               63                        1                  1.59%
           NHELI 2006-FM1              91                        4                  4.40%
           NHELI 2006-FM2              93                        6                  6.45%
           NHELI 2006-HE3              89                        3                  3.37%
              NHELI 2007-1             49                        1                  2.04%
              NHELI 2007-2             91                        4                  4.40%
              NHELI 2007-3             91                        6                  6.59%
                  Total                567                      25                  4.41%

                          (f)   Almost Half Of Sample Loans Had Inaccurate Credit
                                Characteristics Reflected On The Pre-Closing Loan Tapes
       252.     Each of the Prospectus Supplements represented that the Certificate purchased by

the GSEs was rated AAA by at least two of credit ratings agencies. Hunter ¶ 60.

       253.     The credit ratings agencies assigned ratings to a loan or pool of loans based on

models they developed to predict foreclosure frequency, expected loss, and cash flows. Blum



                                                    69
Direct ¶ 34; Mahdavian Dep. 90:24-92:22. The collateral characteristics for the loans to be

securitized were contained on pre-closing loan tapes that were provided to the rating agencies by

Defendants and were used by the rating agency as inputs to their models. Hunter ¶ 96. The key

drivers of the rating agency models included LTV/CLTV ratio, occupancy status, and credit score.

PX 1319 at 6-7 (LEVELS input fields); Mahdavian Dep. 271:8-21; Blum Direct ¶ 35.

       254.     Consequently, the rating agencies’ credit ratings for each of the Certificates

depended on the accuracy of the data on the pre-closing loan tapes provided to the agencies by

Defendants. See, e.g., Blum Direct ¶¶ 36-39; Rubinstein Direct ¶¶ 70-72; PX 1319 at 10, 21. As

Moody’s corporate representative testified, “we depended on the data that was being presented to

us and we expected the data to be accurate; and we were not in the business of performing any due

diligence on the loans ourselves.” Chatterjee Dep. 212:18-212:23; see also Mahdavian Dep.

256:14-24, 365:13-18 (S&P 30(b)(6) witness) (same). If the data presented on the loan was

incorrect, that would cause the model to assess inaccurately the risk for both the loan and the loan

pool. Blum Direct ¶ 37.

       255.     Based on Mr. Hunter’s re-underwriting review of the Sample Loans, there are

numerous instances where the information contained on the pre-closing loan tapes concerning the

credit characteristics of those loans was not accurate. The following summary exhibit, Plaintiff’s

Exhibit 1667, reflects the number of Sample Loans with discrepancies from the information

contained in the pre-closing loan tapes.

                                                                         Number of     Percentage of
                                                                       Sample Loans Sample Loans
                                         Number of     Percentage of
                                                                          with Pre-      with Pre-
                         Number of      Sample Loans   Sample Loans
                                                                        Closing Loan   Closing Loan
     Securitization     Sample Loans      with Pre-      with Pre-
                                                                       Tape Defects & Tape Defects &
                          Reviewed      Closing Loan   Closing Loan
                                                                        Substantially  Substantially
                                        Tape Defects   Tape Defects
                                                                          Increased      Increased
                                                                         Credit Risk    Credit Risk
    NAA 2005-AR6             131             57            43.51%            54           41.22%
    NHELI 2006-FM1           100             47            47.00%            47           47.00%
    NHELI 2006-FM2           100             53            53.00%            52           52.00%
    NHELI 2006-HE3           99              51            51.51%            47           47.47%




                                                  70
                                                                             Number of     Percentage of
                                                                           Sample Loans Sample Loans
                                            Number of      Percentage of
                                                                              with Pre-      with Pre-
                          Number of        Sample Loans    Sample Loans
                                                                            Closing Loan   Closing Loan
     Securitization      Sample Loans        with Pre-       with Pre-
                                                                           Tape Defects & Tape Defects &
                           Reviewed        Closing Loan    Closing Loan
                                                                            Substantially  Substantially
                                           Tape Defects    Tape Defects
                                                                              Increased      Increased
                                                                             Credit Risk    Credit Risk
     NHELI 2007-1               98              38            38.77%            35            35.71%
     NHELI 2007-2               98              51            52.04%            46            46.93%
     NHELI 2007-3               97              46            47.42%            40            41.23%
         Total                 723             343            47.44%            321           44.40%

                         (g)        Incremental Effect Of Each Category Of Defect
       256.      The following summary exhibit, Plaintiff’s Exhibit 1642, reflects the number of

Sample Loans in each Securitization that had defects that were based only on a failure to comply

with underwriting guidelines and/or a failure to adhere to the express underwriting representations

in the Prospectus Supplements. This exhibit does not include any loans with (i) defects that are

based on minimum industry standards, (ii) occupancy defects, or (iii) defects based on the

Greenfield AVM. This chart also reflects the number of these loans that had substantially

increased credit risk.

                                                                             Number of       Percentage of
                                                                           Sample Loans     Sample Loans
                                           Number of       Percentage of
                                                                           with Guideline with Guideline
                                          Sample Loans     Sample Loans
                          Number of                                         or Prospectus    or Prospectus
                                          with Guideline   with Guideline
    Securitization       Sample Loans                                        Supplement       Supplement
                                          or Prospectus    or Prospectus
                           Reviewed                                           Defects &        Defects &
                                           Supplement       Supplement
                                                                            Substantially    Substantially
                                             Defects          Defects
                                                                          Increased Credit Increased Credit
                                                                                Risk             Risk
   NAA 2005-AR6                131             52             39.69%             33            25.19%
  NHELI 2006-FM1               100             58             58.00%             38            38.00%
  NHELI 2006-FM2               100             68             68.00%             45            45.00%
  NHELI 2006-HE3               99              46             46.46%             30            30.30%
    NHELI 2007-1               98              36             36.73%             27            27.55%
    NHELI 2007-2               98              43             43.88%             27            27.55%
    NHELI 2007-3               97              53             54.64%             35            36.08%
        Total                  723             356            49.24%            235            32.50%




                                                     71
       257.      The following summary exhibit, Plaintiff’s Exhibit 1660, reflects the number of

Sample Loans in each Securitization that have defects only based on underwriting guidelines or

minimum industry standards of underwriting, but does not include any occupancy defects or

defects based on the Greenfield AVM. This chart also reflects the number of these loans that had

substantially increased credit risk.

                                                                           Number of      Percentage of
                                                                         Sample Loans     Sample Loans
                                         Number of      Percentage of
                                                                         with Guideline   with Guideline
                                       Sample Loans     Sample Loans
                                                                          or Minimum       or Minimum
                         Number of     with Guideline   with Guideline
                                                                            Industry         Industry
     Securitization     Sample Loans    or Minimum       or Minimum
                                                                            Standard         Standard
                          Reviewed        Industry         Industry
                                                                           Defects &        Defects &
                                          Standard         Standard
                                                                         Substantially    Substantially
                                           Defects          Defects
                                                                           Increased        Increased
                                                                          Credit Risk      Credit Risk
    NAA 2005-AR6             131             89            67.94%             60              45.80%
   NHELI 2006-FM1            100             62            62.00%             42              42.00%
   NHELI 2006-FM2            100             69            69.00%             46              46.00%
   NHELI 2006-HE3            99              59            59.60%             42              42.42%
     NHELI 2007-1            98              64            65.31%             54              55.10%
     NHELI 2007-2            98              64            65.31%             41              41.84%
     NHELI 2007-3            97              67            69.07%             44              45.36%
         Total               723            474            65.56%             329             45.50%

       258.      When defects based on the Greenfield AVM are combined with defects based on

minimum industry standards of underwriting and defects based on a violation of underwriting

guidelines, the number of loans with defects increases further. The following summary exhibit,

Plaintiff’s Exhibit 1663, reflects the number of Sample Loans in each Securitization that have

only these three categories of defects. This chart does not include any occupancy defects. This

chart also reflects the number of these loans that had substantially increased credit risk.




                                                  72
                                                                         Number of      Percentage of
                                                                       Sample Loans    Sample Loans
                                        Number of      Percentage of
                                                                       with Guideline, with Guideline,
                                       Sample Loans   Sample Loans
                                                                         Minimum          Minimum
                                      with Guideline, with Guideline,
                       Number of                                          Industry         Industry
                                         Minimum         Minimum
   Securitization     Sample Loans                                      Standard &       Standard &
                                         Industry        Industry
                        Reviewed                                      Greenfield AVM     Greenfield
                                        Standard &      Standard &
                                                                          Defects &       Defects &
                                      Greenfield AVM Greenfield AVM
                                                                        Substantially   Substantially
                                          Defects         Defects
                                                                      Increased Credit    Increased
                                                                            Risk         Credit Risk
  NAA 2005-AR6             131              102            77.86%             73              55.73%
 NHELI 2006-FM1            100              84             84.00%             64              64.00%
 NHELI 2006-FM2            100              88             88.00%             65              65.00%
  NHELI 2006-HE3           99               79             79.80%             62              62.63%
   NHELI 2007-1            98               72             73.47%             62              63.27%
   NHELI 2007-2            98               84             85.71%             61              62.24%
   NHELI 2007-3            97               82             84.54%             59              60.82%
       Total               723              591            81.74%             446             61.69%

       259.     When defects based on the owner occupancy review are combined with defects

based on minimum industry standards of underwriting, defects based on a violation of

underwriting guidelines, and defects based on the Greenfield AVM, the number of loans with

defects continues to increase. The following summary exhibit, Plaintiff’s Exhibit 1666, reflects

the number of Sample Loans in each Securitization that have all four categories of defects. This

chart also reflects the number of these loans that had substantially increased credit risk.




                                                  73
                                                                      Number of         Percentage of
                                                                    Sample Loans       Sample Loans
                                     Number of      Percentage of
                                                                    with Guideline,    with Guideline,
                                    Sample Loans   Sample Loans
                                                                      Minimum            Minimum
                                   with Guideline, with Guideline,
                                                                       Industry           Industry
                                      Minimum        Minimum
                       Number of                                      Standard,          Standard,
                                      Industry        Industry
    Securitization    Sample Loans                                 Greenfield AVM     Greenfield AVM
                                      Standard,      Standard,
                        Reviewed                                       & Owner            & Owner
                                   Greenfield AVM Greenfield AVM
                                                                      Occupancy          Occupancy
                                      & Owner         & Owner
                                                                       Defects &          Defects &
                                     Occupancy       Occupancy
                                                                     Substantially      Substantially
                                       Defects         Defects
                                                                   Increased Credit   Increased Credit
                                                                         Risk               Risk
   NAA 2005-AR6              131             108          82.44%             79            60.31%
  NHELI 2006-FM1             100             90           90.00%             70            70.00%
  NHELI 2006-FM2             100             95           95.00%             72            72.00%
  NHELI 2006-HE3             99              82           82.83%             65            65.66%
    NHELI 2007-1             98              74           75.51%             64            65.31%
    NHELI 2007-2             98              91           92.86%             68            69.39%
    NHELI 2007-3             97              85           87.63%             62            63.92%
        Total                723             625          86.45%            480            66.39%

                3.     The Analysis Of FHFA’s Expert, Dr. Kilpatrick, Shows That Large
                       Numbers Of Sample Loans Had Appraisal Defects
       260.     FHFA’s appraisal expert, Dr. John A. Kilpatrick, Ph.D. analyzed the Sample Loans

selected by Dr. Cowan to determine if the appraisals rendered for those loans were (a) accurate;

and (b) “credible” as that term is used in USPAP and other applicable appraisal standards and

practice.

                       (a)         The Original Appraisals For Nearly One-Third Of The Sample
                                   Loans Were Inflated

                                   (1)   Appraisals And LTV Ratios
       261.     An appraisal is meant to be an unbiased evaluation of a property’s market value at a

given date. This value determines the amount of collateral available to satisfy the loan and is a

central factor in evaluating the risk of residential mortgage loans. Kilpatrick Direct ¶ 17; see, e.g.,

PX O0020, FHFA02011252 at FHFA02011286-FHFA02011287 (“High loan-to-value ratios

increase risk of loss- Mortgage loans with higher loan-to-value ratios may present a greater risk of

loss than mortgage loans with loan-to-value ratios of 80% or below.”).



                                                   74
       262.    The loan-to-value (“LTV”) ratio reflects the relationship between the amount of the

loan and the market value of the property, and is expressed as a percentage. The numerator in the

LTV ratio is the principal balance of the mortgage loan (i.e., the loan amount), and the

denominator is the value of the mortgaged property. Kilpatrick Direct ¶ 35.

       263.    Where there is a preexisting mortgage on the property, the numerator includes the

balance of the principal for the first and second lien mortgages, and the ratio is referred to as

combined loan-to-value (“CLTV”) ratio. Kilpatrick Direct ¶¶ 89-91.

       264.    Because an appraisal is an objective and unbiased estimate of a property’s market

value, it will not necessarily be consistent with the price at which a buyer may have been willing to

purchase a property. This is particularly true in an unstable or rapidly increasing market.

Kilpatrick Direct ¶ 36; Kennedy 11/5 Tr. at 158:10-160:3.

       265.    An appraiser is expressly prohibited by USPAP from backing into the appraised

value by using the known purchase price as a predetermined value. Kilpatrick Direct ¶ 22;

Hausman 10/24 Tr. at 105:17-106:19; Hedden 11/21 Tr. at 240:18-241:9; PX 01415 at 172

(USPAP 2006).

       266.    To conservatively reflect the credit risk of a mortgage loan used to finance a

purchase transaction, the denominator in the LTV ratio is, accordingly, the lesser of the appraised

value or the sale price. Kilpatrick Direct ¶ 35.

       267.    For a mortgage refinance loan, the denominator in the LTV ratio is always the
appraised market value because there is no sale price associated with the transaction. Kilpatrick

Direct ¶ 37.
       268.    A central component of a residential appraisal is the selection of comparable

properties—typically the closest properties geographically that have sold recently and have the
most similar characteristics (e.g., size, style, lot size, bathrooms). The appraiser analyzes, among

other things, the comparables and the market conditions, marketing time, and supply and demand

in the property’s neighborhood to arrive at a credible opinion of the subject property’s market

value. Kilpatrick Direct ¶ 19.


                                                   75
       269.    Appraisers document their work in an appraisal report, which for the single family

residences at issue in the 2005 to 2007 time frame, generally took the form of a Fannie Mae 1004

Uniform Residential Appraisal Report (“URAR”). The URAR obligates the appraiser to set forth

in this report relevant information and results of the investigation concerning the subject property,

neighborhood, relevant market conditions, external obsolescence, the sale prices of comparable

properties, and other factors that affect findings regarding the subject property’s market value.

Kilpatrick Direct ¶ 20.

                               (2)    Dr. Kilpatrick’s Methods Of Evaluating The Accuracy
                                      Of The Appraisals Of The Samples Loans Were Sound
       270.    To test the accuracy of the appraisals performed on the properties that collateralized

the Sample Loans, Dr. Kilpatrick predicted the market values for each property as of the original

appraisal date using an automated valuation model (“Greenfield AVM”) methodology. Kilpatrick

Direct ¶ 7.

                                      a.      The Use Of AVMs Is A Credible Method Of
                                              Reviewing A Large Number Of Appraisals
       271.    Automated valuation models (“AVMs”) use statistical models to reach objective

and accurate predictions of the market value of real property as of a certain date. Kilpatrick Direct

¶ 41. The hedonic regression AVM methodology utilized by Dr. Kilpatrick predicts the market

value of a property by utilizing the relationship between the characteristics of neighboring

properties and their sales price and comparing the characteristics of those neighboring properties to

the subject property’s characteristics. Kilpatrick Direct ¶ 48.

       272.    AVMs draw from a larger pool of comparable property sales than traditional
appraisal methods. The typical URAR appraisal form requires an appraiser to select and analyze

only three to six comparable properties. In contrast, an AVM has the ability to analyze many
hundreds of sales observations. Kilpatrick Direct ¶ 45.

       273.    AVMs have been used in the real estate industry since the early 1990s to value

residential property. When properly designed, validated, and applied, AVMs can provide a



                                                  76
statistically accurate measure of property value that is not subject to the idiosyncrasies, biases and

external pressures that can impact on traditional appraisals. Kilpatrick Direct ¶ 46.

                                        b.      The Greenfield AVM Is A Credible Method For
                                                Valuing The Nomura Sample Properties
        274.    The Greenfield AVM consists of two valuation sub-models: (a) an ordinary least

squares log-linear regression model (“OLS model”); and (b) a log-linear OLS model with an

additional trend surface component (“OLSXY model”). Kilpatrick Direct ¶ 49.

        275.    To value the Sample Loans, the OLS sub-model compares the actual sales price of

comparable properties against up to six hedonic characteristics: (a) tax assessed value (“TAV”),

(b) number of bathrooms, (c) year built, (d) lot size, (e) square footage, and (f) time adjustments

(days and days squared). Kilpatrick Direct ¶ 49. The OLSXY model uses the same hedonic

characteristics and adds four additional spatial characteristics: (g) latitude; (h) latitude squared; (i)

longitude; and (j) longitude squared. The use of the trend surface component allows the model to

incorporate spatial effects (value impacts due to location). Kilpatrick Direct ¶ 50.

        276.    In developing the Greenfield AVM, Dr. Kilpatrick evaluated the use of additional

explanatory hedonic characteristics, but concluded they were either correlated with characteristics

he was already utilizing or would not improve the predictive power or accuracy of the Greenfield

AVM. Kilpatrick Direct ¶ 49.

        277.    The sales observations data used by Dr. Kilpatrick in his AVM analysis were

licensed from CoreLogic, a leading national aggregator and packager of such data. CoreLogic is

the top provider of such data and subjects its datasets to various quality checks. Kilpatrick Direct

¶ 53.

        278.    Before running the OLS and OLSXY sub-models for valuation, Dr. Kilpatrick

implemented several data filters on the 25 million potential comparable properties received from

CoreLogic. These filters removed properties (a) with missing required data (e.g., sales price, sale

date, reliable tax assessed data, longitude and latitude information); (b) relating to sales other than

those for single-family residences or condominiums; (c) relating to sales before 2003 or after 2007;


                                                   77
and (d) with sales coded as non-arm’s-length or non-grant deed transactions. Dr. Kilpatrick also

filtered out comparable sales more than one year prior to the subject sale and sales that were not

the same property type. Kilpatrick Direct ¶ 54.

       279.    Dr. Kilpatrick also implemented a Cross-Validation Filter (“CV Filter”). Kilpatrick

Direct ¶ 58. The CV filter removed sales observations from Dr. Kilpatrick’s analysis if the

predicted log value of a comparable property differed by 25% or more from (i.e., was higher or

lower than) the actual log sales price. Dr. Kilpatrick concluded that the sales observations that

were removed by CV Filter were either (a) not the subject of an arm’s-length transaction; (b) not

reported correctly (i.e., was the product of errant data entry); or (c) a property with hedonic

characteristics that significantly influenced the sales price that either (i) were not observable based

on the data available and/or (ii) had characteristics that might potentially be observable but were

not used by the OLS and OLSXY models. Among the sales observations removed by the CV filter

were properties with errant sales values in the $100s of millions. Kilpatrick Direct ¶¶ 59-61.

       280.    This use of the CV Filter is appropriate and well supported in AVM practice, and

filters such as the CV Filter are routinely employed to eliminate outliers in econometric analysis.

Specifically, the CV filter is a recognized “leave one out” methodology that removes comparables

whose values are not adequately explained by the hedonic characteristics being evaluated by the

model being utilized. Throughout all the prior FHFA cases pending in this Court, Dr. Kilpatrick

utilized the same CV filter methodology and 25% threshold and did not adjust the CV filter at any
point to influence his value estimates. Kilpatrick Direct ¶¶ 61, 246; Hausman 7/30 Dep. Tr. at

284:3-25.
       281.    Removing the CV Filter, as Defendants’ experts suggest, would force Dr. Kilpatrick

to bias his AVM results by using observations that contain data errors or hedonic characteristics
that are not discernible to the Greenfield AVM, including errant sales values of over

$1,000,000,000. Hausman 7/30 Dep. Tr. at 204:8-18; Kilpatrick Direct ¶ 247.

       282.    Each time the OLS or OLSXY sub-models were used to value a particular Nomura

Sample Property, the sub-models each drew on between 100 to 2,000 comparable property


                                                  78
observations. These comparable property observations were drawn from the county in which each

Nomura subject sample property was located. Kilpatrick Direct ¶ 54.

       283.    When applied to a specific subject property, the OLS and OLSXY sub-models

estimated market values that were very close to one another. The values estimated by the OLS and

OLSXY—which on average differ by no more than a couple percent—were averaged to yield the

final predicted value of the subject property. Kilpatrick Direct ¶ 62.

       284.    On the limited occasions when these value estimates differed by more than 10%,

Dr. Kilpatrick reviewed and reconciled the estimates produced by each model. If, alternatively,

only one of the OLS or OLSXY sub-models yielded a value, that value was used as final predicted

value for the subject property. Kilpatrick Direct ¶ 54.

                                      c.      The Greenfield AVM Was Validated and Is
                                              Reliable
       285.    Dr. Kilpatrick tested the accuracy of the Greenfield AVM in a number of ways.

The Greenfield AVM was highly predictive of the inner 90th percentile of the sales prices for the

Nomura Sample sales properties. Kilpatrick Direct ¶¶ 67-72.

       286.    Specifically, the Greenfield AVM predicted the sales prices of the inner 90th

percentile of the Nomura Sample sales properties to within approximately 1% on average, with a

forecast standard deviation (“FSD”) of 15%. FSD, or forecast standard deviation, refers to the
average difference between the Greenfield AVM prediction and the actual sales price, where the

differences are squared to avoid offsetting positive and negative differences. Kilpatrick Direct
¶ 71-72.

       287.    The Greenfield AVM demonstrated similar levels of accuracy in prior Actions

before the Court. For example, the Greenfield AVM predicted the sales prices of all the Goldman

Sachs Sample Loan sales transactions to within -1.9% on average with a 15% FSD, the Ally

Sample Loan sales transactions to within 0.9% on average with a 14% FSD, and the HSBC Sample

Loan sales transactions to within -2.3% with a 14% FSD. Kilpatrick Direct ¶ 73.




                                                  79
       288.    In addition, the data produced by Nomura’s AVM expert, Lee Kennedy, confirmed

the accuracy and reliability of the Greenfield AVM. Compared to the four commercially available

AVMs Mr. Kennedy utilized in his analysis, the Greenfield AVM is as accurate, if not more

accurate, when applied to the Nomura Sample Properties. Kilpatrick Direct ¶¶ 74-77.

       289.    The appraisal inflation calculated by the AVMs that Nomura used to subject certain

of the Sample Loans to valuation diligence is also consistent with the inflation predicted by the

Greenfield AVM. Kilpatrick Direct ¶ 78.

                              (3)     The Greenfield AVM Revealed That The Sample Loans’
                                      Appraised Values Were Inflated By An Average of 8.92%
       290.    Using the Greenfield AVM, Dr. Kilpatrick generated predicted values for 672 of the

796 Samples Loans selected by Dr. Cowan. Kilpatrick Direct ¶ 7.

       291.    While Dr. Kilpatrick did not have sufficient data to value the remaining 124 Sample

Loans, his methodology and analysis provides a more than reasonable basis upon which to

conclude that those properties would have produced similar results, and Defendants have produced

no evidence to the contrary. Kilpatrick Direct ¶ 9.

       292.    Utilizing his Greenfield AVM methodology, Dr. Kilpatrick concluded that the

original appraisals for the Nomura Sample Loans had an average inflation of 8.92%. Kilpatrick

Direct ¶ 82.

       293.    Determining the relative inflation among sample properties, Dr. Kilpatrick divided

the Greenfield AVM’s predicted valuations for each loan into buckets based on the original

appraisal relative to the standard deviation (“SD”) of each run of the AVM and compared the

number of properties falling into these buckets. Kilpatrick Direct ¶ 85.

       294.    The percentage of sample properties for which the Greenfield AVM produced a

predicted valuation that was lower than appraised value by more than 1 standard deviation (written

as “1 SD”) was 38.1%, with an average inflation of 30.0%. The percentage of sample properties

for which the Greenfield AVM valuations was higher than appraised value by more than 1

standard deviation (written as -1 SD) was only 13.8%. In other words, at 1 standard deviation, the



                                                 80
Greenfield AVM predicted that nearly three times as many appraisals were inflated as

understated. Kilpatrick Direct ¶ 86.

       295.    The percentage of sample properties for which the Greenfield AVM produced a

predicted valuation that was lower than appraised value by more than 2 standard deviations was

17.1%, with an average inflation of 45.2%, while the percentage of sample properties for which the

Greenfield AVM produced predicted valuation higher than appraised value by more than 2

standard deviations was 5.6%. In other words, at 2 standard deviations, the Greenfield AVM

predicted that more than three times as many appraisals were inflated as understated. Kilpatrick

Direct ¶ 87.

       296.    The large difference between the percentage of loans with inflated appraisals versus

those with understated appraisals underscores the large upward bias among the Nomura Sample

appraisals. Kilpatrick Direct ¶ 87.

       297.    Analyzing average inflation by SLG, Dr. Kilpatrick concluded that the average

inflation in the seven at issue SLGs ranged from approximately 5% to over 15%:

                                      SLG               Average Inflation
                             NAA 2005-AR6 (3)                5.49%
                            NHELI 2006-FM1 (1)               7.58%
                            NHELI 2006-FM2 (1)               15.35%
                            NHELI 2006-HE3 (1)               11.40%
                              NHELI 2007-1 (2)               4.54%
                              NHELI 2007-2 (1)               12.27%
                              NHELI 2007-3 (1)               7.18%
                                      Total                  8.92%

Kilpatrick Direct ¶ 88.

       298.    None of Defendants’ four appraisal/valuation experts analyzed whether the

appraisals supporting the Sample Loans were, or were not, inflated, and none of Defendants’

appraisal experts was prepared or able to conclude that the original appraisals of the Sample Loans




                                                 81
were not systemically inflated. Kennedy 7/25 Dep. Tr. at 108:6-109:9; Isakson 6/19 Dep. Tr. at

229:3-24; Hedden 11/21 Dep. Tr. at 71:11-23; Hausman 10/24 Dep. Tr. at 80:20-81:12.

       299.    Dr. Kilpatrick calculated revised LTV ratios for the Sample Loans based on the

results of his Greenfield AVM. As is industry practice, for the numerator, he used the principal

balance of the mortgage loan (i.e., the loan amount) at origination (the “Original Balance”). For

the denominator of non-refinance loans, Dr. Kilpatrick used the lesser of (a) the Greenfield AVM

predicted value, (b) the original appraised value, or (c) the sale price of the mortgaged property.

For the denominator of refinance loans, which lack a sale price, Dr. Kilpatrick used the lesser of

(a) the Greenfield AVM predicted value or (b) the original appraised value. Kilpatrick Direct

¶¶ 89-91.

       300.    Although the Offering Materials represented no loans had LTV ratios above 100, as

set forth below, Dr. Kilpatrick concluded that 76.4% of the inflations above 95% confidence had

LTV above 100. Kilpatrick Direct ¶¶ 105-106. Moreover, Dr. Kilpatrick concluded that the

systemic appraisal inflation of 8.92% principally related to loans with higher LTV ratios, resulting

in increases of LTV from below 80 to above 80, 90 and 100 LTV. Kilpatrick Direct ¶¶ 104-105.

       301.    Although Dr. Kilpatrick correctly calculated revised LTV ratios consistent with

industry practice, utilizing only the value from the Greenfield AVM in the denominator of the

LTV recalculation, instead of the lesser of the appraisal, the sales price or the Greenfield AVM

value, would have no impact on his findings concerning sample loans with LTVs over 100 and
have a minimal impact on loans he found to have LTVs in the high 80s and 90s.

       302.    Dr. Kilpatrick calculated the difference between the average LTV ratios reported in
the Offering Materials and the average LTV ratios calculated using the value predictions from the

Greenfield AVM. Dr. Kilpatrick concluded that the recalculated LTV ratios in each SLG were
significantly higher than had been represented:




                                                  82
                                                    Greenfield
                                   Originally
                                                      AVM              Absolute           Percent
                    SLG           Represented
                                                   Recalculation       Difference        Difference
                                  Average LTV
                                                     of LTV
           NAA 2005-AR6 (3)          74.77%              81.71%           6.94%             9.43%

          NHELI 2006-FM1 (1)         82.39%              91.46%           9.07%           11.06%

          NHELI 2006-FM2 (1)         81.66%              95.75%          14.09%           16.76%

          NHELI 2006-HE3 (1)         79.68%              90.97%          11.29%           14.37%

            NHELI 2007-1 (2)         78.22%              85.09%           6.87%             8.99%

            NHELI 2007-2 (1)         83.59%              96.37%          12.77%           14.49%

            NHELI 2007-3 (1)         81.70%              91.66%           9.96%           12.16%

Kilpatrick Direct ¶ 92.

       303.    Dr. Kilpatrick also calculated how these LTVs migrated into higher LTV ranges.

To do so Dr. Kilpatrick divided the sample loans into three LTV ranges: (a) where the recalculated

LTV ratio was less than or equal to 80; (b) where the recalculated LTV ratio was between 80 and

100; and (c) where the recalculated LTV ratio was greater than 100. Comparing those results to

the LTV ratios derived from the values set forth on the pre-closing loan tapes that were provided to

the credit rating agencies (PX 350 at NOM-FHFA_04886432) and used to calculate the values set

forth in the Prospectus Supplements, Dr. Kilpatrick concluded that, as set forth below, many more

Sample Loans had LTV ratios above 90 and 100 than were represented in the Offering Materials:

                                                             LTV > 80% to
                                   LTV ≤ 80%                                           LTV > 100%
              SLG                                            LTV ≤ 100%
                               Original   Recalculated    Original   Recalculated   Original   Recalculated
       NAA 2005-AR6 (3)        100.00%      58.91%         0.00%       31.01%       0.00%        10.08%
      NHELI 2006-FM1 (1)       62.77%       30.85%        37.23%       44.68%       0.00%        24.47%
      NHELI 2006-FM2 (1)       56.84%       23.16%        43.16%       43.16%       0.00%        33.68%
      NHELI 2006-HE3 (1)       54.55%       31.82%        45.45%       42.05%       0.00%        26.14%
        NHELI 2007-1 (2)       89.13%       46.74%        10.87%       43.48%       0.00%           9.78%
        NHELI 2007-2 (1)       51.14%       29.55%        48.86%       32.95%       0.00%        37.50%
        NHELI 2007-3 (1)       61.63%       32.56%        38.37%       37.21%       0.00%        30.23%

Kilpatrick Direct ¶ 95.



                                                     83
                               (4)      Dr. Kilpatrick’s Results Revealed Appraisal Inflation At
                                        or Above 95% Statistical Confidence
       304.    Whereas AVM results in the appraisal industry are typically provided at 68%

statistical confidence, (Doty Dep. Tr. at 138:11-141:6), Dr. Kilpatrick confirmed the significant

and systemic inflation of the original appraisals by assessing how many Nomura Sample Loans

were inflated above a 95% statistical confidence level. Kilpatrick Direct ¶¶ 99-103. This work

confirms the reliability of Dr. Kilpatrick’s approach and results.

       305.    The confidence interval provided a range within which Dr. Kilpatrick was 95%

statistically confident that the actual value of the property fell, with his predicted value being the

best estimate of that value. The method of construction of the 95% confidence interval provides

that, under certain assumptions, the value will fall entirely below the interval only 2.5% of the time

and will fall entirely above the interval only 2.5% of the time. In other words, there is a less than

one-in-forty chance that the appraisal is not inflated if it falls outside the 95% confidence interval.

Kilpatrick Direct ¶ 64.

       306.    To use property NHELI_2007_3_2001932287, located at

                          as an example, the original appraised market value of this Nomura Sample

Property on                                  . Based on Dr. Kilpatrick’s AVM methodology, he

concluded that the value of that property on the same date was actually              . In addition, he

concluded that the 95% confidence interval for the property was between                 and              ,

with           being the best, most accurate prediction of its value. As described above this means

that there is only a 2.5% chance that the upper value of             does not include the true property

value, giving Dr. Kilpatrick more than 97.5% confidence that the original appraisal of

was inflated. Kilpatrick Direct ¶ 65.

       307.    Dr. Kilpatrick concluded that 18.3% (123) of the 672 original appraised values for

the Nomura subject properties valued by the Greenfield AVM were inflated to at least a 95%

statistical confidence level. Kilpatrick Direct ¶ 103.

       308.    Dr. Kilpatrick further concluded, as set forth in the below chart, that when these 123

properties were accurately valued, 94 resulted in LTV ratios at or over 100. For the 123 appraisals


                                                   84
with predicted appraisal inflation at the 95% confidence level, the table below shows the ranges in

which the accurate, recalculated, LTV ratios of 123 loans fall that Dr. Kilpatrick found to be

inflated with 95% confidence. The column at the left represents the LTV ranges reported in the

Offering Materials. The columns across the top represent the LTV ranges in which the 123

inflated loans fall.


                                       Percentage
                                       less than or Greater than Greater than Greater than
                                      equal to 70% 70% to less 80% to less 90% to less Greater than
               LTV Ranges                 Recalc.   than or equal than or equal than or equal 100%
                                         Based on      to 80%        to 90%       to 100%     Recalc.
                                          GAVM         Recalc.       Recalc.       Recalc.
                                         Analysis
       Less than or equal to 70%
                                         19.0%        0.0%        38.1%        14.3%        28.6%
                Reported
      Greater than 70% to less than
                                         0.0%         0.0%         0.0%        23.7%        76.3%
        or equal to 80% Reported
      Greater than 80% to less than
                                         0.0%         0.0%         0.0%         0.0%       100.0%
        or equal to 90% Reported
      Greater than 90% to less than
                                         0.0%         0.0%         0.0%         0.0%       100.0%
       or equal to 100% Reported
                                        4 loans                   8 loans     17 loans     94 loans
            Total in Range                           0 loans
                                        (3.3%)                    (6.5%)      (13.8%)      (76.4%)

Kilpatrick Direct ¶ 105.

        309.     Dr. Kilpatrick next calculated the statistical confidence of the inflation of the

remaining 85 Nomura sample loans of the 208 loans he concluded to be inflated. Kilpatrick Direct

¶ 110. Dr. Kilpatrick calculated that there was an average of approximately 88% statistical

confidence that these 85 loans were inflated. Kilpatrick Direct ¶ 111. Dr. Kilptrick also concluded

that on average these appraisals evidenced lower inflation rates, resulting in lower LTV ratio

increases. Kilpatrick Direct ¶¶ 112-114.

        310.     These results further confirm that the original appraisals for the Sample Loans were

systemically inflated. Kilpatrick Direct ¶¶ 7-9.




                                                      85
                       (b)    The Inflated Loans Were Almost Uniformly Not “Credible”
       311.    Dr. Kilpatrick assessed the degree to which 205 sample appraisals that he found to

be inflated by at least 15.1% deviated from USPAP and applicable appraisal practice and

standards.

                              (1)     USPAP Sets Professional Standards For The Credibility
                                      Of Appraisals
       312.    To ensure that residential appraisals are accurate, independent, and objective, the

Appraisal Foundation’s Appraisal Standards Board has promulgated the Uniform Standards of

Professional Appraisal Practice (“USPAP”), which establishes the ethical and practice obligations

of appraisers through definitions, rules, standards, and statements reflecting the current standards

of the appraisal profession. PX 1416 (USPAP 2014-2015) at U-5 (Preamble). USPAP went into

effect on January 30, 1989, and remains the standard of generally accepted professional appraisal

practice. Kilpatrick Direct ¶¶ 25, 43.

       313.    USPAP standards are widely accepted. Nearly every state has passed laws or

regulations enforcing at least some portion of USPAP, and many states have adopted it in its

entirety. To meet state licensing and certification requirements, an appraiser must successfully

pass an initial national USPAP education requirement and then maintain an ongoing updated

education for USPAP for each license renewal period. Kilpatrick Direct ¶ 26.

       314.    USPAP Standard 1 requires the appraiser to develop a property appraisal in a clear

and legitimate manner, with adequate support for analyses and opinions, taking careful steps not to
mislead or misconstrue available data or the physical characteristics of the subject property. The

appraiser is required to follow the rules set forth by USPAP while applying a clear and supportable
methodology. The appraiser is also responsible for justifying the use and application of the data

pertaining to the subject property, as well as market data influencing the value of the subject
property. Kilpatrick Direct ¶ 33.

       315.    All appraisers of the sample properties were subject to USPAP as well as other

longstanding appraisal practices and state licensing requirements. Kilpatrick Direct ¶¶ 26-28.




                                                 86
                              (2)     Dr. Kilpatrick’s Credibility Assessment Model Is Based
                                      On USPAP And Is Reliable
       316.    Due to data being unavailable, Dr. Kilpatrick subjected 205 Sample Loans whose

properties he found to be inflated by at least 15.1% gating benchmark to his Credibility

Assessment Model methodology (“CAM”). The CAM is a deterministic scoring model

Dr. Kilpatrick used to evaluate whether and to what degree appraisals for those loans deviated

from USPAP and other applicable appraisal standards. Kilpatrick Direct ¶¶ 128-130.

       317.    Deterministic scoring methodologies such as the CAM are well recognized and

accepted in the appraisal industry. Kilpatrick Direct ¶ 130.

       318.    The CAM distills USPAP and other appraisal standards requirements into a series

of 31 credibility assessment questions. These 31 questions evaluate whether the original appraised

values for the Nomura sample properties comply with USPAP and other appraisal standards and

practice. Kilpatrick Direct ¶ 131.

       319.    Each of the 31 CAM questions was derived directly from USPAP and other

professional guidance that were operative at the time the Nomura sample appraisals were prepared.

The questions comprise the standards and review processes that any competent appraisal reviewer

should follow when conducting a review under USPAP Standard 3. Kilpatrick Direct ¶ 132.

       320.    Defendants’ appraisal standards expert, Michael Hedden, confirmed at his

deposition that the CAM questions relate to core appraisal practice and nearly all the CAM

questions relate to express requirements set forth in the URAR form used by appraisers to prepare
the Nomura Sample appraisals. Hedden 11/21 Tr. at 313:19-314:25; id. at 172:22-173:8, 310:5-20;

id. at 192:23-193:16, 219:25-220:14; id. at 195:18-25, 196:2-15, 315:2-9; id. at 198:14-199:24; id.
at 203:24-204:15; id. at 207:23-208:14; id. at 216:25-217:21, 323:20-323:16, 300:16-301:7; id. at

331:5-333:18; id. 221:22-222:24; id. 319:24-322:7; id. 242:13-20; id. at 244:12-24; id. at 245:22-
247:5; id. at 322:20-323:16; id. at 322-8-19, 301:8-15.

       321.    The CAM attaches a score to each question answered in the negative, which

indicates that an appraisal standard or process was not properly followed. The score is a function

of the importance of the question to an appraisal’s credibility and of the degree to which the


                                                 87
negative answer to the question implicates deviations from appraisal standards. Kilpatrick Direct

¶ 133.

         322.    To score the questions, Dr. Kilpatrick divided appraisal standards and practice into

five “aspects” of credibility: Reasonable Appraiser Standard, Impact on Value, Appraisal Process,

Appraisal Report Topics, and Magnitude of Impact on Value. Each category contained various

sub-categories. Kilpatrick Direct ¶ 136.

         323.    Based on his experience and informed by USPAP and other appraisals standards

and practice, Dr. Kilpatrick ranked and weighted the five aspects in the order of their relative

importance to the evaluation of an appraisal’s credibility. Dr. Kilpatrick assigned each aspect a

weight of 1, 2, 3, 4, or 5. The weighting of each category and aspect varied according to its impact

upon the credibility of an appraisal. Kilpatrick Direct ¶¶ 137-142. Within each aspect Dr.

Kilpatrick ranked and weighted various categories. Kilpatrick Direct ¶¶ 142-143.

         324.    The final static score applied to each CAM question is the sum of all the aspects

and categories that the CAM question implicates. The CAM questions, thus, provide a systematic,

consistent, and reliable methodology to assess the credibility of numerous appraisals. Kilpatrick

Direct ¶ 146.

         325.    The table below summarizes the 31 CAM questions and their assigned point values:

           No.                  Credibility Assessment Questions                      Score
                  Are the legal address and parcel ID sufficient to identify the
            1                                                                         4.435
                  subject?
                  Did the appraiser report an accurate listing history for the
            2                                                                         4.535
                  subject?
                  If there was a prior subject listing, was appraised value lower
            3                                                                         7.14
                  than listing price?
                  Was the appraised value of the subject less than or equal to
            4                                                                         7.125
                  10% higher than the most recent listing within the last year?
                  If the appraisal was for a purchase, did the appraiser report
            5                                                                         2.535
                  receipt of sales contract?
                  If appraiser reported a sales contract, did the appraiser analyze
            6                                                                         2.535
                  it?
            7     Did the appraiser report supply/demand correctly?                   5.24


                                                  88
No.                Credibility Assessment Questions                     Score
 8    Did the appraiser report property value trend correctly?           5.24
 9    Did the appraiser report marketing time correctly?                 5.24
10    Is the subject site description correct?                          4.615
11    Did the appraiser report the sales history correctly?             4.94
      Did the appraiser analyze all prior sales of the subject and
12                                                                      3.94
      comparables?
      On an annualized basis, was the appraised value of the subject
13                                                                      8.125
      less than 10% higher than the prior sales price of the subject?
14    Is the land value ratio greater than 20% and less than 30%?        8.6
      Did the appraiser use the cost approach for non‐condominium
15                                                                      4.415
      properties?
      Did the appraiser calculate the physical depreciation
16                                                                      7.615
      correctly?
17    Did the appraiser report external obsolescence correctly?         7.615
      Did the appraiser confirm a broker/builder source for
18                                                                      3.815
      comparables using a disinterested thirdparty source?
      For condominiums, was at least one of the comparables
19                                                                      5.415
      outside of the subject’s condominium project?
      Did the appraiser correctly report comparable sale transaction
20                                                                      6.625
      data?
      If a previous sale of a comparable exists, is the current
21    unadjusted price of that comparable less than 10% higher than     8.825
      the prior sale price on an annualized basis?
      Is the appraised value of the subject within the range of the
22                                                                       7
      unadjusted comparable sales prices?
      Is the appraised value of the subject within the range of the
23                                                                       7
      adjusted comparable sales prices?
      If income approach, do the mix of units for the comps match
24                                                                       9.2
      the mix of units for the subject?
      If income approach, does the gross rent multiplier (“GRM”)
25    used fall within the range of unadjusted GRMs for first 3          9.2
      comps in the appraisal report?
      If income approach is used, do the market rent estimates for
26    each unit mix fall within the range of rents reported for each    6.625
      unit mix for the first three comps?
27    Did the appraiser use the most recent comps available?            5.015
28    Did the appraiser use the nearest comps available?                5.015




                                     89
          No.                   Credibility Assessment Questions                     Score
                 Was the average price per square foot (“PPSF”) of the comps
                 in the appraisal report less than or equal to the average PPSF
           29                                                                        8.825
                 of the comps available in the market at the time of the
                 appraisal?
                 Was the average site square footage (“SSF”) of the comps
                 used in the appraisal report less than or equal to the average
           30                                                                        5.015
                 SSF of the comps available in the market at the time of the
                 appraisal?
                 Was the average gross living area (“GLA”) of the comps used
                 in the appraisal report less than or equal to the average GLA
           31                                                                         4.64
                 of the comps available in the market at the time of the
                 appraisal?

Kilpatrick Direct ¶ 148.

       326.     Defendants’ appraisal expert, Mr. Hedden, did not review and did not challenge the

aspects and categories underlying the CAM question weighting. Hedden 11/21 Tr. at 268:7-

276:21; see id. at 110:12-111:8.

       327.     To be conservative, Dr. Kilpatrick set the threshold for non credible appraisals at

20. He arrived at this threshold by requiring an appraisal to suffer from no less than three errors—

one of the most egregious and two of additional errors—to be found to lack credibility. Dr.

Kilpatrick then rounded that sum to the next whole number, 20, as the final credibility threshold.

Kilpatrick Direct ¶¶ 198-202.

                                (3)    92.20% of Inflated Appraisals Were Non-Credible
       328.     For 205 Sample Loans for which the Greenfield AVM predicted a valuation that
was more than 15.1% below the original appraisal, Dr. Kilpatrick was able to gather data from the

original appraisal reports, loan files, and other public information such as tax assessments, maps,

and aerial and street-level photographs sufficient to apply the CAM. Kilpatrick Direct ¶ 149-153.

       329.     In addition, independent appraisers around the United States working under

Dr. Kilpatrick’s direction performed inspections of the appraisal properties for these 205 Sample

Loans. Among other things, they gathered local multiple listing service (“MLS”) data regarding

comparable sales at the time of the original appraisals. Kilpatrick Direct ¶ 151.



                                                  90
          330.   These data elements provided the basis of the answers to the 31 CAM questions that

Dr. Kilpatrick used to evaluate the degree to which the sample appraisals deviated from USPAP

and appraisal standards and practice. Kilpatrick Direct ¶ 150.

          331.   Dr. Kilpatrick concluded that the 205 inflated sample appraisals contained 1,428

total errors—6.97 errors per appraisal, on average. The mean CAM score among the 205

appraisals was 43.67, with a median of 44.12. Kilpatrick Direct ¶ 203.

          332.   Dr. Kilpatrick concluded that 198 of the 205 inflated appraisals (96.59%) contained

either a single egregious error or a series of smaller errors that would achieve a CAM score above

14.13, strongly suggesting, when coupled with the appraisal’s inflated value, that the appraisal was

not credible. Dr. Kilpatrick further found that 189 of the 205 inflated appraisals (92.20%)

contained at least two egregious errors or a combination of CAM question errors that resulted in a

CAM score above 20.0. Kilpatrick Direct ¶¶ 204-205. Dr. Kilpatrick concluded that these

appraisals, coupled with their inflated values, were not credible.

          333.   As illustrated by the below table, the vast majority of these 189 non-credible

appraisals received CAM scores above 30 and more than 60% received a CAM score over 40

points.

                                                     Number of       Percent of 189 Non-
                      CAM Score Range
                                                     Appraisals           Credible
                      Between 20 and 30                 33                 17.46%
                      Between 30 and 40                  42                22.22%
                      Between 40 and 50                  38                20.11%
                      Between 50 and 60                  38                20.11%
                      Between 60 and 70                  27                14.29%
                      Between 70 and 80                   6                 3.17%
                        Greater than 80                   5                 2.65%

Kilpatrick Direct ¶ 206.

          334.   Even accepting all of the individual CAM criticism that Mr. Hedden identifies in

his expert report, the number of appraisals that would receive a CAM score below 20 drops by

only 12 to 177. Kilpatrick Direct ¶ 208.


                                                   91
       335.     By SLG, the percentage of inflated loans that are not credible, is set forth below:

                                                                 Non-Credible After Deducting
                    SLG                   Non-Credible             for All of Mr. Hedden’s
                                                                   Specific CAM Criticisms
              NAA 2005-AR6 (3)             93% (27/29)                      90% (26/29)
           NHELI 2006-FM1 (1)              93% (27/29)                      90% (26/29)
           NHELI 2006-FM2 (1)              89% (34/38)                      87% (33/38)
           NHELI 2006-HE3 (1)              93% (28/30)                      90% (27/30)
              NHELI 2007-1 (2)             95% (18/19)                      84% (16/19)
              NHELI 2007-2 (1)             91% (31/34)                      79% (27/34)
              NHELI 2007-3 (1)             92% (24/26)                      85% (22/26)
                    Total                 92% (189/205)                  86% (177/205)

Kilpatrick Direct ¶ 208.

       336.     Coupled with their inflated values, these results establish (a) that the appraisals for

the relevant 198 Sample Loans were not credible for purposes of USPAP, and thus did not comply

with USPAP guidelines; and (b) that the appraisers that conducted the 189 appraisals with CAM

scores above 20.0 did not subjectively believe in the truth of the appraisals when they made them.

       337.     Dr. Kilpatrick also evaluated the impact of the non-credible loans with greater than

95% statistical confidence of appraisal inflation on the LTV distribution of the Sample Loans, as

shown in the table below. As set forth below, Dr. Kilpatrick concluded that the impact of the 95%

confidence inflated, non-credible loans significantly altered the percentage of loans represented as

having loans above 80 LTV and above 100 LTV in the Offering Materials.

                               LTV of 80 or less      LTV between 80 to100           LTV over 100
              SLG
                            Original   Recalculated   Original   Recalculated    Original   Recalculated

      NAA 2005-AR6 (3) 100.00%           87.60%          0.00%     3.10%          0.00%       9.30%
     NHELI 2006-FM1 (1) 62.77%           55.32%       37.23%       34.04%         0.00%       10.64%
     NHELI 2006-FM2 (1) 56.84%           46.32%       43.16%       36.84%         0.00%       16.84%
     NHELI 2006-HE3 (1) 54.55%           43.18%       45.45%       40.91%         0.00%       15.91%
      NHELI 2007-1 (2)      89.13%       77.17%       10.87%       15.22%         0.00%       7.61%
      NHELI 2007-2 (1)      51.14%       46.59%       48.86%       38.64%         0.00%       14.77%




                                                      92
                              LTV of 80 or less      LTV between 80 to100         LTV over 100
               SLG
                           Original   Recalculated   Original   Recalculated   Original   Recalculated

       NHELI 2007-3 (1)    61.63%       50.00%       38.37%       39.53%       0.00%        10.47%
               Total       69.94%       59.82%       30.06%       28.13%       0.00%        12.05%

Kilpatrick Direct ¶ 209.

                                (4)      Dr. Kilpatrick’s Findings Are Bolstered by Evidence That
                                         Appraisers Used Sales Amounts for Subject Properties as
                                         Predetermined Values for Establishing the Appraisal
                                         Value
        338.     An appraiser is obligated to provide an independent and objective estimate of

market value for a property. PX 01415 at 13 (USPAP 2006) (“APPRAISER: one who is expected
to perform valuation services competently and in a manner that is independent, impartial, and

objective”).

        339.     During the 2005 to 2007 period appraisers of residential 1 to 4 unit properties were

required to obtain and analyze the sales contract for sales transaction appraisals in arriving at their

estimate of market value. PX 01413 at 1 (URAR). Appraisers were, nonetheless, obligated to

perform an objective and unbiased valuation of a property irrespective of the sales price and were

not supposed to merely reach the same value as the sales price. Hedden Dep. Tr. at 238:12-239:12

(“The appraiser is independent, unbiased, and a third party, and if the appraiser renders an opinion

that is not consistent with a broker's opinion or the seller's opinion, or a buyer's opinion, don't kill

the messenger for the delivery of bad news.”); PX 01415 at 184 (USPAP 2006) (“Note: A sale

price (in a pending or a settled transaction) is part of the information an appraiser is required to

ascertain in accordance with Standards Rules 1-5(a) and (b). Receiving this information with a

request for service is appropriate, but accepting an assignment with the price in an agreement of

sale, option, or listing or a sale price in a settled transaction as a predetermined value in the

assignment violates USPAP.”).

        340.     For the at issue Nomura loans 71.66% of appraisals were the same, to the dollar, as

the sales amount: Cipione Direct at ¶ 91.




                                                     93
       341.    The remarkably high proportion of appraisals matching identically with the

predetermined sales amount is direct evidence that appraisers failed to provide true independent

valuations, which supports the inference that in the aggregate appraisers did not subjectively

believe a large fraction of the appraisals when made.

                              (5)     Dr. Kilpatrick’s Findings Are Bolstered by Evidence That
                                      Appraisers Believe They Were Pressured To Inflate
                                      Appraisals During the Relevant Time Period
       342.    In response to the widespread pressure they faced, in 2007 approximately 11,000

appraisers petitioned the Appraisal Subcommittee of the Federal Financial Institutions

Examination Council (the “Appraiser Petition”). The Appraiser Petition stated that “lenders

(meaning any and all of the following: banks, savings and loans, mortgage brokers, credit unions

and loan officers in general; not to mention real estate agents) have individuals within their ranks,

who, as a normal course of business, apply pressure on appraisers to hit or exceed a predetermined

value.” The petitioners indicated that the pressure manifested itself in lenders withholding

business for their refusal to inflate appraisals or guarantee a predetermined value, and even

blacklisting honest appraisers. Kilpatrick Direct ¶¶ 240-241.

       343.    These concerns were echoed in the appraisal literature and appraiser surveys

throughout the period which found that the vast majority of appraisers reported that they had been

pressured to inflate appraisal values and that there were negative ramifications if they refused to

cooperate and come in with a higher valuation. Kilpatrick Direct ¶¶ 236-239.
       344.    The Appraiser Petition constitutes direct evidence that appraisers across the

industry believed that they were being pressured to inflate appraisals, which supports the
reasonable inferences that (a) appraisers across the industry issued appraisals that they did not

subjectively believe; and (b) that such subjectively false appraisals were made for SLG loans.
       345.    Thirty-five appraisals of SLG loans were prepared by thirty-three appraisers who

signed the Appraiser Petition . In the course of his analyses, Dr. Kilpatrick subjected 11 of these

appraisals to his CAM methodology. He found that ten of the 11 appraisals were not credible.

Kilpatrick Direct ¶ 242. This evidence further bolsters Dr. Kilpatrick’s findings regarding non-


                                                  94
credible appraisals in the SLGs and supports the inference that appraisers who performed the

inflated appraisals of the sample loans did not believe the values in these appraisals to be accurate

at the time they were prepared.

               4.      Dr. Cowan’s Statistical Extrapolations Show That Substantial Portions
                       Of The SLG Loans Had Underwriting Defects And Inflated, Non-
                       Credible Appraisals
       346.    After Mr. Hunter and Dr. Kilpatrick completed their respective reviews, Dr. Cowan

extrapolated their loan-level findings to arrive at scientifically valid estimates of the percentage of

defective and materially defective loans within the SLG populations as a whole. Cowan

Direct ¶ 37.

                       (a)     Dr. Cowan’s Extrapolation Of Mr. Hunter’s Results Shows That
                               Nearly 70% Of the SLG Loans Were Not Underwritten To
                               Applicable Guidelines Or Criteria
       347.    To extrapolate the results of Mr. Hunter’s reunderwriting, Dr. Cowan used a

“classical estimator” based strictly on the counts of loans, which is the standard method of

extrapolating results of binary questions. Cowan Direct ¶¶ 46-47.

       348.    As noted, the confidence level of 95% generated by Dr. Cowan’s samples is

standard and well supported in the statistical field. Cowan Direct ¶ 112. Increasing the sample

size would have produced only marginal benefits, as the reliability of a sample size increases only

as a square root of the sample size. That is, for Dr. Cowan’s samples, which had sample sizes of

100 and a +/ 10 percent margin of error, reducing the margin of error to +/-5 would require a
sample size of 400, and to reduce that margin to +/-2.5% would require a sample size of 1,600.

Cowan Direct ¶ 113.
       349.    Also as noted, the +/- 10% margin of error generated by Dr. Cowan’s samples is the

maximum margin of error that would occur only if the rate of defect within a sample is 50%.
When the variability deviates from 50% in either direction, the margin of error (and thus the

confidence interval) decreases. As the intervals decrease, the marginal benefit of a larger sample

size also decreases. Cowan Direct ¶ 115.




                                                  95
       350.    Even in the small number of instances where the margin of error at 95% confidence

was larger than 10%, the extrapolated values were so high that even taking the lower bound would

yield a very high number. Cowan Direct ¶ 117.

       351.    For these reasons, Dr. Cowan’s extrapolation results are sufficiently precise to make

reliable estimates about each SLG and about the SLGs in the aggregate.

                       (b)    Dr. Cowan’s Extrapolation Of Dr. Kilpatrick’s Results Shows
                              That Approximately 30% Of The SLG Loans Had Appraisal
                              That Were Inflated And Not Credible

                              (1)     Extrapolated To The SLGs, Appraisals Were Inflated By
                                      An Average 11.1% And Significant Numbers Of LTV
                                      Ratios Exceeded 80% And 100%
       352.    As with the samples as re-underwritten, Dr. Barnett takes issue with the samples for

which Dr. Kilpatrick’s Greenfield AVM produced results (the “AVM Samples”). He faults Dr.

Cowan for not having run representativeness tests, but he did not run them himself. Because Dr.

Barnett did not measure the amount or direction of any bias, as he admitted during his deposition,

he cannot say that the AVM Samples are biased. Barnett Dep. at 88:11-89:15; Cowan Direct ¶ 63.

       353.    Dr. Barnett also ignores important findings by Dr. Cowan. Specifically, Dr. Cowan

provides a table setting forth the loan tape LTV ratios and the AVM sample loan tape LTV

ratios. PX 1561. This table acts as a representativeness test for the loan tape LTV ratios. The

values for these two columns are very similar, indicating a high degree of similarity. If one were

to take the weighted average of the LTV ratios, the distributions would not demonstrate a material
difference. In other words, the sample would pass any representativeness test for loan tape LTV

ratios. Because this is all that Dr. Kilpatrick measures, and all that Dr. Cowan extrapolates,
passing this test is sufficient to show that the samples can be properly extrapolated and that one

can be secure in relying on the outcomes of the extrapolation. This is further confirmed by
Plaintiff’s Exhibit 1558, which shows that the weighted average LTV in the sample is close to

that in the population. Cowan Direct ¶ 64.

       354.    Dr. Cowan extrapolated the results of Dr. Kilpatrick’s Greenfield AVM results to

the SLGs as whole. This extrapolation was performed in accordance with generally accepted


                                                 96
statistical methods and produced a reliable and unbiased estimate of the inflation of appraisals

across all the Mortgage Loans in the SLGs. Cowan Direct ¶¶ 65-75.

       355.    In performing these extrapolations, Dr. Cowan had to take into account two sources

of variability in AVM data: “Sampling Variability” and “AVM Variability.” Sampling Variability

arises whenever one uses a sample rather than an entire population. It occurs because there can be

differences between two samples of equal size drawn from the same population. AVM Variability

(or “model variability”) is derived from the lower and upper confidence bounds reported for each

loan with an AVM result. Cowan Direct ¶¶ 66-67.

       356.    Dr. Cowan used a Monte Carlo simulation to account for both Sampling Variability

and AVM Variability. A Monte Carlo simulation runs a scenario a large number of times with

random inputs to the variables in the model to calculate the probabilities of certain outcomes. A

simple example is flipping a single coin many times—the distribution of heads and tails will

provide the probability that the coin will land on heads or tails on any given flip. A more

complicated example involves randomly selecting the coin, prior to the flip, from a population of

coins which may have different chances of coming up heads or tails. This scenario contains two

sources of variability—the variability of the “fairness” of the coin (its chances of coming up heads

or tails) and the variability of the coin in coming up heads or tails. Cowan Direct ¶ 70.

       357.    Monte Carlo simulations have been used in statistics since the 1940s and are

especially useful for obtaining numerical solutions to problems too complicated to solve
analytically. The method has been the subject of a wide body of peer-reviewed literature in the

field of statistics, which attests to the utility of Monte Carlo simulations. Cowan Direct ¶ 71.
       358.    Dr. Cowan’s Monte Carlo simulation had two steps. First, Dr. Cowan randomly

selected loans from each SLG to repeatedly re-create the sample for that particular SLG, which he
called the “New Sample.” He did this using “replacement,” which means that a loan could be

selected in the sample multiple times. Second, for each loan selected in the New Sample, Dr.

Cowan randomly re-generated an AVM estimate, assuming a normal distribution with a mean of




                                                 97
the Greenfield AVM estimate and the standard deviation calculated from the confidence intervals

reported in the loans with AVM results. Cowan Direct ¶¶ 72-74.

       359.    Dr. Cowan repeated this simulation 1,000 times for each SLG, creating a New

Sample with each iteration. He then took the average AVM for each loan in each SLG’s

recalculated AVM estimate, along with the standard deviation of the simulated values in order to

encapsulate 95% of the simulated values. This distribution allowed him to calculate the

probabilities for each SLG. Cowan Direct ¶ 75.

       360.    Based on the average simulation results, Dr. Cowan concluded that the original

appraisal valuations were higher than the Greenfield AVM valuations for 64.7% of loans in the

SLG, and that the overall average inflation rate was 11.1%, with a lower bound of 8.5% and an

upper bound of 13.7% at the 95% confidence level. Kilpatrick Direct ¶ 115; Cowan Direct ¶ 76.

       361.    Dr. Cowan’s findings for each of the SLGs were as follows:

                                  Average              95% Lower Bound     95% Upper Bound
                SLG            Overstatement of         Overstatement of    Overstatement of
                              Nomura Appraisals        Nomura Appraisals   Nomura Appraisals

          NAA 2005-AR6 (3)           6.0%                    2.0%               10.0%

         NHELI 2006-FM1 (1)          6.6%                    1.6%               11.7%

         NHELI 2006-FM2 (1)          14.9%                   8.4%               21.3%

         NHELI 2006-HE3 (1)          12.0%                   6.1%               17.8%

           NHELI 2007-1 (2)          5.1%                    0.7%                9.4%

           NHELI 2007-2 (1)          12.6%                   7.0%               18.3%

           NHELI 2007-3 (1)          7.8%                    2.5%               13.1%

                Total               11.1%                    8.5%               13.7%

Kilpatrick Direct 115; PX 1559.

       362.    Defendants and their expert, Dr. Barnett, offer three criticisms of Dr. Cowan’s
extrapolation of the average LTV inflation rate, none of which has merit.

       363.    First, Dr. Barnett asserted that there is “systematic upward bias” in Dr. Cowan’s
recalculated LTV because the AVM value is used in the denominator of the LTV ratio. This


                                                  98
criticism, however, ignores that, in addition to recalculating the LTVs, Dr. Cowan calculated the

confidence intervals around those recalculated LTV ratios based on the distribution generated by

the Monte Carlo simulation. This recalculated distribution—taking into account both Sampling

and AVM Variability—is skewed (rather than normal, or bell-shaped, as the AVM distributions

are), and the recalculated confidence intervals are asymmetric, because of the effect Dr. Barnett

describes. Because the weighted average LTV is calculated using the recalculated confidence

intervals from this recalculated distribution, the results take into account exactly the asymmetry

Dr. Barnett described. In other words, the “systematic upward bias” Dr. Barnett described is

already reflected in Dr. Cowan’s calculations, not ignored as Dr. Barnett implied. Cowan Direct

¶ 79.

        364.   Dr. Barnett also asserts that the Monte Carlo simulation “compounds” the first issue

because, in performing the extrapolations, Dr. Cowan selected at random from the 95% confidence

interval. But the confidence intervals Dr. Cowan recalculated take this asymmetry into account as

well. Cowan Direct ¶ 80.

        365.   Next, Dr. Barnett criticized Dr. Cowan’s LTV ratio calculations for using the

minimum of the original appraisal, the actual sale price, and the simulated AVM. This criticism

misses the mark for several reasons: (a) Dr. Cowan followed Dr. Kilpatrick’s method of

calculating LTV ratios; (b) Defendants calculated LTV ratios in a similar fashion (using the

minimum of the sale price or the appraised value) on their loan tapes, which provide the LTV ratio
values reported in the Prospectus Supplements; and (c) Dr. Barnett has admitted he has no

expertise in calculating LTV ratios. Cowan Direct ¶ 81.
        366.   Dr. Cowan then recalculated the LTV ratios for the 672 Sample Loans for which

Dr. Kilpatrick produced Greenfield AVM valuations. Relying on the average simulated Greenfield
AVM value for each such Sample Loan, Dr. Cowan compared each recalculated value to LTV

ratio in the loan tapes for the relevant SLGs, which were used to generate the LTV ratios reported

in the Prospectus Supplements. Cowan Direct ¶ 91.




                                                 99
       367.     Dr. Cowan found that the reported LTV ratios were lower than the 95% lower

bound of the recalculated LTV ratios for 40 of the 672 Sample Loans—or 6.0% of the population:

                                                           Percentage of Understated
                                 SLG
                                                                  LTV Ratios
                           NAA 2005-AR6 (3)                           5.4%

                           NHELI 2006-FM1 (1)                         3.2%

                           NHELI 2006-FM2 (1)                         7.4%

                           NHELI 2006-HE3 (1)                        10.2%

                            NHELI 2007-1 (2)                          2.2%

                            NHELI 2007-2 (1)                          8.0%

                            NHELI 2007-3 (1)                          5.8%

                               Aggregate                              6.0%

Cowan Direct ¶ 91, PX 1560.

       368.     Dr. Cowan next tabulated the count of loans for specific recalculated LTV ranges or

bounds as divided into three groups: (a) where the recalculated LTV ratio was less than or equal to

80%; (b) where the recalculated LTV ratio was between 80% and 100%; and (c) where the

recalculated LTV ratio was greater than 100%. He then compared those results to the LTV ratios

reported on the loans tapes, which provide the values reported in the Prospectus Supplements

within the same groups. See ¶ 130, supra (listing LTV ratios as reported in the Prospectus

Supplements).

                                                            LTV > 80% to
                                  LTV ≤ 80%                                            LTV > 100%
                                                            LTV ≤ 100%
              SLG
                              Original   Extrapolated     Original   Extrapolated   Original   Extrapolated

       NAA 2005-AR6 (3)        98.94%      28.68%         1.06%        61.24%       0.00%        10.08%

      NHELI 2006-FM1 (1)       72.16%      30.85%         27.84%       56.38%       0.00%        12.77%

      NHELI 2006-FM2 (1)       80.62%      37.89%         19.38%       42.11%       0.00%        20.00%

      NHELI 2006-HE3 (1)       62.91%      30.68%         37.09%       47.73%       0.00%        21.59%

        NHELI 2007-1 (2)       91.77%      21.74%         8.23%        63.04%       0.00%        15.22%




                                                    100
                                                             LTV > 80% to
                                     LTV ≤ 80%                                          LTV > 100%
                                                             LTV ≤ 100%
              SLG
                              Original    Extrapolated     Original   Extrapolated   Original   Extrapolated

        NHELI 2007-2 (1)      60.78%        27.27%         39.2%        40.91%       0.00%        31.82%

        NHELI 2007-3 (1)       66.8%        17.44%         33.2%        52.33%       0.00%        30.23%

              Total           70.5%         28.0%          29.5%        52.5%         0.0%        19.5%

Cowan Direct ¶ 92, PX 1562.

       369.    In sum, Dr. Cowan’s extrapolation of Dr. Kilpatrick’s Greenfield AVM results

shows that (a) many LTV ratios as reported in the loan tapes underlying the Prospectus

Supplements were inaccurate; (b) many the LTV ratios reported in the Prospects Supplements

were inaccurate; and (b) the Prospectus Supplements’ statements about the number of LTV ratios

below 80%, between 80% and 100%, and above 100%, were inaccurate.
                               (2)       Extrapolated To The SLGs, At Least 31% of Appraisals
                                         Were Non-Credible
       370.    Dr. Cowan extrapolated the results of Dr. Kilpatrick’s CAM results to the SLGs as

a whole. Of the 199 inflated appraisals evaluated, which excluded non-representative loans for

which the AVM value was not utilized, Dr. Kilpatrick concluded that 193 (or 96.98% of those

appraisals) could not be considered credible under USPAP and other applicable professional

standards applicable to residential appraisal in the 2005 to 2007 period. Applying a more

conservative threshold for determining credibility, he concluded that 184 (or 92.46%) of the

inflated appraisals were not credible (i.e., breach the appraisal standards). Kilpatrick Direct
¶¶ 204-205. The extrapolation of these results is based on the conservative threshold for

determining credibility of appraisals in Dr. Kilpatrick’s report—that is, 184 inflated appraisals in

the set of 199 inflated appraisals were not credible. Cowan Direct ¶ 97.

       371.    Dr. Cowan extrapolated Dr. Kilpatrick’s CAM using the classical estimator—the

same method he used in extrapolating Mr. Hunter’s re-underwriting findings. Dr. Cowan did not

stratify the results by FICO score, as there were instances in which a particular stratum within an

SLG did not contain any loans. Cowan Direct ¶ 99.



                                                     101
       372.     Dr. Cowan found, at 95% confidence with a margin of error of 4.18%, that

approximately 92.18% of the SLG loans with inflated appraisals had appraisals that were not

credible:

                                  Non-Credible   95% Lower     95% Upper      Margin of
                    SLG
                                     Rate          Bound         Bound         Error

              NAA 2005-AR6 (3)      92.59%         76.31%        98.86%        11.28%

            NHELI 2006-FM1 (1)      92.86%         76.58%        99.09%        11.25%

            NHELI 2006-FM2 (1)      89.47%         75.26%        97.02%        10.88%

            NHELI 2006-HE3 (1)      93.10%         77.30%        99.13%        10.92%

              NHELI 2007-1 (2)      94.44%         73.10%        99.76%        13.33%

              NHELI 2007-2 (1)      91.18%         76.40%        98.10%        10.85%

              NHELI 2007-3 (1)      96.00%         79.75%        99.87%        10.06%

                 Aggregate          92.18%         88.01%        96.36%         4.18%

Cowan Direct ¶ 100-01, PX 1564. The actual non-credible rate would have been higher had Dr.

Cowan used the 193 appraisals identified as not credible by Dr. Kilpatrick’s Appraisal Accuracy

Report, instead of the 184 resulting from the application of the more conservative test. Cowan

Direct ¶¶ 100-01.

       373.     Dr. Cowan found, at 95% confidence with a margin of error of 4.16%, that

approximately 31.35% of all SLG loans had inflated appraisals that were not credible:

                                  Non-Credible   95% Lower     95% Upper      Margin of
                    SLG
                                     Rate          Bound         Bound         Error

              NAA 2005-AR6 (3)       19.4%             14.2%     25.8%          5.8%

            NHELI 2006-FM1 (1)       27.7%             19.1%     37.7%          9.3%

            NHELI 2006-FM2 (1)       35.8%             26.3%     46.2%          9.9%

            NHELI 2006-HE3 (1)       30.7%             21.4%     41.3%          9.9%

              NHELI 2007-1 (2)       18.5%             11.9%     27.0%          7.5%

              NHELI 2007-2 (1)       35.2%             25.5%     46.0%          10.2%

              NHELI 2007-3 (1)       27.9%             19.0%     38.4%          9.7%



                                                 102
                Aggregate               31.3%               27.2%          35.5%              4.2%

Cowan Direct ¶ 102, PX 1565.

       374.     Dr. Cowan next reported his extrapolations of the recalculated LTV ratios for

Sample Loans with appraisals that were both inaccurate and not credible as divided into three

groups: (a) where the recalculated LTV ratio was less than or equal to 80%; (b) where the

recalculated LTV ratio was between 80% and 100%; and (c) where the recalculated LTV ratio was

greater than 100%. He then compared those results to the LTV ratios reported on the loans tapes,

which provide the values reported in the Prospectus Supplements within the same groups. See

¶ 130, supra (listing LTV ratios as reported in the Prospectus Supplements). He found significant

differences for each SLG:

                                                             LTV > 80% to
                                 LTV ≤ 80%                                             LTV > 100%
              SLG                                             LTV ≤ 100%

                            Original   Extrapolated    Original     Extrapolated   Original    Extrapolated

     NAA 2005-AR6 (3)       100.0%        82.2%         0.0%           8.5%         0.0%             9.3%

    NHELI 2006-FM1 (1)       79.8%        61.7%         20.2%          28.7%        0.0%             9.6%

    NHELI 2006-FM2 (1)       80.0%        62.1%         20.0%          25.3%        0.0%             12.6%

    NHELI 2006-HE3 (1)       62.5%        46.6%         37.5%          36.4%        0.0%             17.0%

      NHELI 2007-1 (2)       89.1%        73.9%         10.9%          16.3%        0.0%             9.8%

      NHELI 2007-2 (1)       61.4%        50.0%         38.6%          29.5%        0.0%             20.5%

      NHELI 2007-3 (1)       66.3%        51.2%         33.7%          33.7%        0.0%             15.1%

           Total            78.6%         62.5%        21.4%           24.4%        0.0%          13.1%

Cowan Direct ¶ 105, PX 1567.

       375.     Dr. Barnett does not take issue with how Dr. Cowan extrapolated the results
reflected in the table above, but makes various arguments in support of an assertion that many of

the results could be the product of chance alone. He is wrong. Dr. Barnett initially asserted that
one would expect 16% of the loan tape valuations would be “inflated” (using Dr. Kilpatrick’s

definition of at least one standard deviation greater than the AVM value) by chance if the loan tape


                                                      103
valuations were correct and the AVM were reliable. At his deposition, however, Dr. Barnett

admitted that, because the percentage of loan tape valuations that were “inflated” exceeded 16%

(and was in fact 31%), the hypothesis that the loan tape valuations were correct and the AVM was

reliable, was false. Barnett Dep. 122:12-123:9. One or both of those assumptions must be wrong.

Cowan Direct ¶ 106.

         376.   Dr. Barnett then fell back on an alternative calculation by which, he asserted, the

number of false positives in “might be approximated as 90.” This is similarly wrong for several

reasons. Cowan Direct ¶ 107.

         377.   First, there is the fundamental problem of defining a “false positive” in this context.

A false positive is an indication by a test that a certain factor is present when, in fact, that factor is

not present. An example is a test for a disease that sometimes indicates that the patient has the

disease when in fact the patient does not. But that principle has no application in this context,

because the AVM and CAM do not measure the same thing. The AVM measures the value of the

property, and the CAM assesses the validity of the underlying appraisal under USPAP. Thus, the

AVM does not act as a test on the CAM, and the CAM does not act as a test on the AVM. It is

therefore entirely possible that all of the appraisals are not credible under USPAP and all of them

are inflated. Cowan Direct ¶ 108.

         378.   Second, the number of times that the combination of an appraisal that is a standard

deviation or more greater than the AVM value and a finding using CAM that the appraisal is not
credible occurs is essentially unknowable; that is why one must use a probabilistic assessment. It

is also an arbitrary inquiry, given that Dr. Kilpatrick used the one-standard-deviation cut-off purely
as a way to decide which appraisals to assess using CAM, and specifically states that he does not

believe that appraisals below that cut-off are necessarily credible under USPAP. Cowan Direct
¶ 109.

         379.   Third, Dr. Barnett admitted in his deposition that his equation (which he appears to

have created himself, as he cites nothing in support of its use here) assumes that the number of

false negatives (i.e., a failure to detect an “inflated” appraisal that is not credible using CAM) is


                                                   104
zero. Barnett Dep. 142:22-143:6. This is an unsupported – and unsupportable – assumption, and,

as Dr. Barnett was further constrained to admit, if the number of false negatives goes up, the

number of false positives goes down. Barnett Dep. 143:19-146:7, 151:9-153:11. It is also yet

another indication that Dr. Barnett’s calculation in reality merely assumes that there are “false

positives” in order to demonstrate that there are “false positives.” In other words, Dr. Barnett

assumes what he is trying to prove. Cowan Direct ¶ 110.

       380.     In sum, Dr. Cowan’s extrapolation of Dr. Kilpatrick’s Greenfield AVM results

shows that (a) many LTV ratios as reported in the loan tapes underlying the Prospectus

Supplements were non-credible; (b) many LTV ratios reported in the Prospects Supplements were

non-credible; and (c) the Prospectus Supplements’ statements about the number of LTV ratios

below 80%, between 80% and 100%, and above 100%, were non-credible.

                         (c)      Dr. Cowan’s Extrapolations Show That Each SLG Contained
                                  Large Numbers Of Loans That Breached The Representations
       381.     In total, Dr. Cowan’s extrapolations of Mr. Hunter’s and Dr. Kilpatrick’s analyses

show that the SLG contained the following levels of false statements:

                                                 NAA 2005-AR6

                        Representation                                          Actual SLG
                                                            53.15% did not conform to guidelines and had
                                                                  significantly increased credit risk
           All loans originated generally in accordance
                                                              60.92% did not conform to guidelines and
                          with guidelines
                                                                minimum industry standards, and had
                                                                  significantly increased credit risk
              98.94% of the loans had LTV ≤ 80%                     28.68% of the loans had LTV ≤ 80%

                   No loans had LTV > 100%                         10.08% of the loans had LTV > 100%

            50.00% of the loans were owner occupied              11.09% of those were not owner occupied

                                                                 AAA rating based on pre-closing loan tape
           Certificate will not issue without AAA (or           where 42.04% of the loans did not match the
           equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                           issue based on true data




                                                          105
PX 1711. PX O0059 at 12, 60, 61, 93, 126; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX

1534, PX 1562, PX 1526, PX 1533.

                                              NHELI 2006-FM1

                       Representation                                          Actual SLG
                                                           69.00% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             70.00% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk

             54.98% of the loans had LTV ≤ 80%                     30.85% of the loans had LTV ≤ 80%

                  No loans had LTV > 100%                         12.77% of the loans had LTV > 100%

           88.78% of the loans were owner occupied         9.00% of those loans were not owner occupied

                                                                AAA rating based on pre-closing loan tape
          Certificate will not issue without AAA (or           where 47.00% of the loans did not match the
          equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                          issue based on true data.

PX 1712. PX O0049 at 13, 41, 43, 70, 71, 112; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX

1534, PX 1562, PX 1526, PX 1533.

                                              NHELI 2006-FM2

                       Representation                                          Actual SLG
                                                           71.00% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             72.00% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk
             57.52% of the loans had LTV ≤ 80%                  Only 37.89% of the loans had LTV ≤ 80%

                  No loans had LTV > 100%                         20.00% of the loans had LTV > 100%

           93.24% of the loans were owner occupied         8.55% of those loans were not owner occupied
                                                                AAA rating based on pre-closing loan tape
          Certificate will not issue without AAA (or           where 52.00% of the loans did not match the
          equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                          issue based on true data

PX 1713. PX O0045 at 15, 49, 51, 81, 85, 137; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX

1534, PX 1562, PX 1526, PX 1533.


                                                         106
                                              NHELI 2006-HE3

                       Representation                                          Actual SLG
                                                           61.63% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             65.63% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk

             54.53% of the loans had LTV ≤ 80%                     30.68% of the loans had LTV ≤ 80%

                  No loans had LTV > 100%                         21.59% of the loans had LTV > 100%

           89.52% of the loans were owner occupied         3.21% of those loans were not owner occupied
                                                                AAA rating based on pre-closing loan tape
           Certificate will not issue without AAA (or          where 47.30% of the loans did not match the
          equivalent) ratings from S&P and Moody’s.            actual credit characteristics; rating would not
                                                                          issue based on true data

PX 1714. PX O0041 at 14-15, 47, 49, 81, 88, 132; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525,

PX 1534, PX 1562, PX 1526, PX 1533.

                                                NHELI 2007-1

                       Representation                                          Actual SLG
                                                           60.31% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             65.38% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk
             91.77% of the loans had LTV ≤ 80%                     21.74% of the loans had LTV ≤80%

                   No loans had LTV>100%                          15.22% of the loans had LTV >100%

           45.78% of the loans were owner occupied         4.18% of those loans were not owner occupied
                                                                AAA rating based on pre-closing loan tape
          Certificate will not issue without AAA (or           where 35.79% of the loans did not match the
          equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                          issue based on true data

PX 1715. PX O0072 at 25, 91, 109-110, 113, 114, 192-193; Cowan Direct ¶¶ 56, 58, 92, 57, 59;

PX 1525, PX 1534, PX 1562, PX 1526, PX 1533.




                                                         107
                                                NHELI 2007-2

                       Representation                                          Actual SLG
                                                           64.42% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             69.54% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk

             52.78% of the loans had LTV ≤ 80%                     27.27% of the loans had LTV ≤80%

                  No Loans Had LTV>100%                           31.82% of the loans had LTV >100%

           91.00% of the loans were owner occupied         8.90% of those loans were not owner occupied
                                                                AAA rating based on pre-closing loan tape
          Certificate will not issue without AAA (or           where 47.04% of the loans did not match the
          equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                          issue based on true data

PX 1716. PX O0080 at 17, 51, 54, 89, 91, 146; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX

1534, PX 1562, PX 1526, PX 1533.

                                                NHELI 2007-3

                       Representation                                          Actual SLG
                                                           61.79% did not conform to guidelines and had
                                                                 significantly increased credit risk
          All loans originated generally in accordance
                                                             63.83% did not conform to guidelines and
                         with guidelines
                                                               minimum industry standards, and had
                                                                 significantly increased credit risk
             58.49% of the loans had LTV ≤ 80%                     17.44% of the loans had LTV ≤80%

                   No loans had LTV>100%                          30.23% of the loans had LTV >100%

           90.03% of the loans were owner occupied         6.65% of those loans were not owner occupied
                                                                AAA rating based on pre-closing loan tape
          Certificate will not issue without AAA (or           where 41.21% of the loans did not match the
          equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                          issue based on true data

PX 1717. PX O0051 at 17, 52, 54, 88, 92, 143; Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX

1534, PX 1562, PX 1526, PX 1533.




                                                         108
                                                     All SLGs

                         Representation                                          Actual SLGs

                                                             65.42% did not conform to guidelines and had
                                                                   significantly increased credit risk
            All loans originated generally in accordance
                                                               68.30% did not conform to guidelines and
                           with guidelines.
                                                                 minimum industry standards, and had
                                                                   significantly increased credit risk
                57.7% of the loans had LTV ≤ 80%                     28.0% of the loans had LTV ≤ 80%.

                    No loans had LTV > 100%                          19.5% of the loans had LTV > 100%

              88.4% of the loans were owner occupied               7.19% of those were not owner occupied
                                                                  AAA rating based on pre-closing loan tape
            Certificate will not issue without AAA (or           where 47.15% of the loans did not match the
            equivalent) ratings from S&P and Moody’s             actual credit characteristics; rating would not
                                                                            issue based on true data

PX 1718. PX O0059, PX O0049, PX O0045, PX O0041, PX O0072, PX O0080, PX O0051;

Cowan Direct ¶¶ 56, 58, 92, 57, 59; PX 1525, PX 1534, PX 1562, PX 1526, PX 1533.

       B.        Evidence Available To Or Known By Nomura And RBSSI Also Demonstrates
                 That The Representations In The Offering Documents Concerning The
                 Mortgage Loans And The Pool Characteristics Were False
       382.      Nomura’s pre-acquisition review of the loans that served as collateral, and any other

reviews it conducted, were “not designed to ensure the accuracy of the descriptions in the Offering

Documents of the SLGs that backed the Certificates.” FHFA v. Nomura Holding Am., Inc.

(“Diligence MSJ Op.”), --- F. Supp. 3d ----, 2014 WL 7232443, at *1 (S.D.N.Y. Dec. 18, 2014).

Similarly, RBSSI “made little real effort to test the accuracy of the representations about the

SLGs,” id., failing to perform any diligence on two of the deals it underwrote, and performing

minimal diligence on the rest. Moreover, the diligence that Nomura and RBSSI did conduct raised

red flags that both Nomura and RBSSI ignored. These red flags included evidence that a

significant number of Mortgage Loans did not comply with underwriting guidelines; that a

significant number of the appraisals used to calculate LTV in the Offering Documents were

inflated; and that loans which were represented to be owner occupied were not. As a result, the

Offering Documents contain numerous false statements about the characteristics of the Supporting



                                                           109
Loan Groups and individual loans within the SLGs, and omit additional disclosures necessary in

order to make the Offering Documents not misleading.

        383.     Nomura and RBSSI each possessed evidence of systemic underwriting problems at

some of the subject originators, yet Nomura elected not to conduct any credit or compliance

diligence on approximately 60% of the loans that wound up in the SLGs, and it conducted no

valuation diligence on over 50% of the loans. Nomura entrusted the limited credit and compliance

reviews it did conduct to third-party vendors, but never checked the underlying loan files to see if

the vendors’ loan reviews were accurate—even after an audit conducted by IngletBlair showed that

a third of the loans the vendors had labeled as suitable for purchase were actually defective. While

Nomura “kicked out” large percentages of the loans from pools it bought based on these vendors

findings, neither Nomura nor RBSSI “ever considered the implications of these kick-out rates for

the quality of loans [they] would later place in the SLGs and describe in the Offering Documents.”

Id. In fact, Nomura and RBSSI routinely overrode their vendors’ determinations that a loan was

not suitable for purchase and securitized these loans anyway.

        384.     Both Nomura and RBSSI also determined through the limited valuation diligence

they conducted that many of the appraisals underlying the Mortgage Loans were inflated, but they

took no further action and did not disclose the results of these reviews to investors. Neither

Nomura nor RBSSI took any steps to confirm that the owner occupancy representations in the

Offering Documents were accurate as of the Cut-Off Date, despite possessing evidence that some
of the loans described as owner occupied were not. Finally, Nomura provided loan tapes

containing inaccurate data about the Mortgage Loans to the credit rating agencies, which relied on
that data in assigning unjustified AAA credit ratings.

        385.     A Certificate by Certificate review shows that the generally defective processes
used by Nomura and RBSSI allowed, and indeed was designed to allow, the inclusion of large

numbers of patently defective loans in each of the SLGs.4
4
  A full discussion of Nomura’s and RBSSI’s purported diligence processes appears in this Court’s opinion and order
granting summary judgment on Defendants’ due diligence and reasonable care defenses, the findings of which are
adopted herein by reference. Diligence MSJ Op., 2014 WL 7232443, at *5-19.


                                                        110
               1.      Overview Of Nomura’s And RBSSI’s Securitization And Diligence
                       Processes

                       (a)     Nomura’s RMBS Business Groups
       386.    Several groups within Nomura were involved in purchasing, performing due

diligence on, and/or securitizing loans in the at-issue SLGs.

       387.    The Trading Desk purchased loans from originators and other sellers, and decided

which loans to securitize. Katz Dep. 82:17-25. It was led by Brett Marvin, Id. 144:24-145:4, and

included Steven Katz, the head of subprime trading, and Brian Murphy, the head of Alt-A trading.

Marvin Dep. 16:3-12. These traders were supported by collateral analysts who examined and

organized loan-tape data for their use. Lee Dep. 39:21-40:7; Marvin Dep. 187:13-188:7.

       388.    The Residential Mortgage Finance Group (“RFG”), sometimes referred to as the
“Contract Finance” Group or the “Transaction Management” Group, Spagna Dep. 168:4-14,

oversaw Nomura’s contracts with different counterparties, vendors, sellers, trustees, and

custodians. Id. 168:14-169:2. It also reviewed securitization-related documents drafted by outside

counsel and provided comments. Graham Dep. 29:9-13; LaRocca Dep. 41:2-42:6. The RFG was

“responsible for the papering of the acquisition of the whole loans, the due diligence, the collateral

analysis through to the securitization.” Graham Dep. 40:19-41:10.

       389.    The Diligence Group—sometimes known within Nomura as the “Credit Group,”

“Residential Credit” or “Due Diligence”—was responsible for conducting diligence reviews on

loans or pools of loans being acquired by the Trading Desk. Kohout Dep. 17:10-22; Graham Dep.

at 164:5-17. From 2005 to mid-2006, the Diligence Group was led by Joseph Kohout, assisted by

Jeffrey Hartnagel and Menachem “Mendy” Sabo. Kohout Dep. 24:10-22; id. 23:2-22. From mid-

2006 to 2007, the Diligence Group was led by Neil Spagna, assisted by Mr. Sabo and Christopher

Scampoli. Spagna Dep. 169:6-9; Kohout Dep. 440:5-17.

                       (b)     Nomura’s Acquisition Diligence
       390.    “Nomura’s pre-acquisition review was poorly designed and not implemented in a

way that could give reasonable assurance that the kinds of representations that Nomura included in

its Offering Documents were accurate.” Diligence MSJ Op., 2014 WL 7232443, at *2. “[T]here is


                                                 111
no evidence Nomura took any care to structure its processes … to ensure the accuracy of its

representations about the SLGs in the Offering Documents.” Id. In fact, the people who worked

in Nomura’s Diligence Group did nothing to ensure the disclosures in the Prospectus Supplements

were accurate. Spagna Dep. 318:9-319:14.

        391.     The Diligence Group was responsible for conducting three types of diligence

reviews: (a) credit review, in which a loan origination file was examined to determine if the loan

complied with guidelines, Graham Dep. 203:21-204:2; Sabo Dep. 65:20-66:2; (b) a compliance

review, in which the file was examined to determine if the loan complied with federal, state, and

municipal regulations, Kohout Dep. 180:21-181:7; and (c) a valuation review (or “collateral
review”), in which the loan’s appraisal was reviewed to determine if was reasonable and accurate,

Kohout Dep. 340:3-341:21; Lee Dep. 162:24-163:9; Sabo Dep. 251:12-252:3; see also Diligence

MSJ Op., 2014 WL 7232443, at *5-6.

                                  (1)      Credit And Compliance Diligence
        392.     In general, when Nomura bought a bulk acquisition pool, it had credit and

compliance diligence performed on a sample of the loans in that pool. Katz Dep. 197:8-12;

Kohout Dep. 92:8-16; id. at 92:25-93:10; Hartnagel Dep. 794:7-17. Thirty-one of the acquisition

pools from which the SLGs were assembled were such sampled pools (“Sampled Acquisition

Pools”).5 If a loan was not in the sample, it was not reviewed. Graham Dep. 167:16-20;

Hartnagel Dep. 411:8-13; id. 794:7-17.

        393.     Nomura did not draw its diligence samples at random, PX 390 at 1; Sabo Dep.

173:7-11, and thus it could not—and did not attempt to—extrapolate the results of its diligence

reviews to the unsampled portions of the Sampled Acquisition Pools. Kohout Dep. 120:15-24; id.

288:11-289:20; Marvin Dep. 244:7-22. Of the total 15,806 loans that comprised the SLGs, 9,491


5
   The 31 Sampled Acquisitions Pools were: Alliance CA 04, Cameron SP04, Equifirst SP01, Equifirst SP02, Equifirst
SP03, First NLC SP02, First NLC SP03, FNBN 21, Fremont SP02, Fremont SP03, Fremont SP04, Gateway 17A,
Gateway 24A, Impac SP04, Mandalay SP03, Metro 10, Novastar SP02, Ownit SP02, People’s Choice SP01, People’s
Choice SP02, Pinnacle Financial 07, Resmae SP01, Resmae SP02, Silver State 62, Silver State 63, Silver State 65,
Silver State 66, SSM 58, SSM 60, Wells SP01 and WMC SP01. Cipione Direct ¶ 78 tbl.6 & n.28 (PX 1584).


                                                       112
(60%) were from unsampled portions of Sampled Acquisition Pools and thus received no credit or

compliance review. Cipione Direct ¶ 9; PX 1574.

       394.    For loans that Nomura did review, the Diligence Group did not itself directly

review the loan files. Instead, the Diligence Group hired third-party vendors American Mortgage

Consultants (“AMC”) and Clayton Holdings LLC (“Clayton”) to perform credit and compliance

diligence for bulk and mini-bulk transactions, and it hired Clayton and Lydian for purchases

through the loan-by-loan channel. Scampoli Dep. 127:22-128:8. These vendors assigned grades

to each loan—“Event Level 1” (“EV1”), “Event Level 2” (“EV2”) or “Event Level 3” (“EV3”)

(sometimes referred to as “1,” “2” and “3” or “CE1,” “CE2” and “CE3”) in descending order of

compliance with underwriting guidelines. See PX 812 at 14. A grade of EV1 indicated the loan

complied with guidelines. Id.; PX 36 at 29; Hartnagel Dep. 309:18-20; Spagna Dep. 246:5-8. A

grade of EV2 indicated the loan did not comply with guidelines but there were adequate

compensating factors. PX 36 at 29; Prahofer Dep. 82:17-83:5; Hartnagel Dep. 409:21-25. A

grade of EV3 indicated the loan did not comply with guidelines and lacked adequate compensating

factors, and was, in the words of Mr. Spagna, “an unacceptable risk” or presented a regulatory

compliance issue. Spagna Dep. 246:14-18; see also PX 36 at 29; Scampoli Dep. 352:14-353:10;

PX 812.

       395.    The Diligence Group performed only a “random quality control” review of findings

for loans its vendors graded as EV 1, Kohout Dep. 240:25-241:11; see also id. 241:20-243:22;
Hartnagel Dep. at 653:13-24; Scampoli Dep. 425:21-426:5. Nomura claimed to review all

findings for loans graded as EV2, see Kohout Dep. 239:19-25, but in many cases did not require its
vendors to identify the compensating factors that justified grading loans EV2 as opposed to EV3.

See, e.g., PX 204 (of 61 loans graded EV2 for credit, 46 list no compensating factors). Nomura
had no policy for determining whether a compensating factor was sufficient, Hartnagel Dep. at

493:22-494:24, and did not require that a compensating factor directly offset the credit risk

presented by a guideline exception. Spagna Dep. 121:9-22. As described below, Nomura also

routinely altered the grades on loans its vendors had graded EV3s to EV2s or EV2Ws—reflecting


                                                113
that Nomura had determined to accept a loan despite its underwriting defects. Spagna Dep.

254:25-256:5; id. at 259:21-260:20; Kempf Dep. 158:10-23; Diligence MSJ Op., 2014 WL

7232443, at *9. In doing so, the Diligence Group did not look at the underlying loan files,

Hartnagel Dep. 306:16-307:3; Spagna Dep. 261:20-262:19; id. at 263:18-264:5; Diligence MSJ

Op., 2014 WL 7232443, at *9, but only at the vendors’ “exception detail reports,” Sabo Dep.

109:15-21; Hartnagel Dep. 597:14-598:20, that generally provided no explanation for the re-

gradings. Compare, PX E0430 (exception detail report identifying vendor EV3s) with PX E0706

(final due diligence report including waived-in loans without indentifying compensating factors);

see also PX 968. Tellingly, there is no evidence that Nomura ever directed a vendor to re-grade as

EV3 a loan the vendor had graded as EV1 or EV2. Diligence MSJ Op., 2014 WL 7232443, at *9.

       396.    In July and August 2006, IngletBlair, LLC (“IngletBlair”) reviewed 189 loans,

including 39 Mortgage Loans, securitized by Nomura from the fifteen originators from which

Nomura had purchased the most loans. PX 649 at 1; PX 650; PX 657; PX 659; Cipione Direct

¶ 73; PX 1581; Diligence MSJ Op., 2014 WL 7232443, at *9. Of these 189 loans, at least 109 had

been previously reviewed by one of Nomura’s vendors and received a final grade of EV1 or EV2.

PX 659; Cipione Direct ¶ 73; PX 1581; Diligence MSJ Op., 2014 WL 7232443, at *9. IngletBlair

graded seven of these loans as EV3, and another 29 loans as EV4, indicating that “[t]he loan is

missing critical documentation to determine loan eligibility.” PX 659; PX 884 at 2; Diligence

MSJ Op., 2014 WL 7232443, at *9. That is, IngletBlair found that over 30% of the securitized
loans graded by Nomura’s vendors as EV1 or EV2 were misgraded. PX 659; Diligence MSJ Op.,

2014 WL 7232443, at *9. Nomura took no steps in response to this audit; nor did it change its use
or supervision of its diligence vendors or discuss the audit results with. Id. Rather, Nomura

continued to use and rely on the same credit and compliance diligence vendors in the four
securitizations that were issued after this August 2006 audit. See id.; PX 659; see, e.g., PX E1031;

PX 1417; PX E1221; PX 1419.

       397.    The Diligence Group reviewed all loans graded by its vendors as EV3, Kohout Dep.

239:19-25; id. 243:2-22, and after doing so it frequently directed a vendor to re-grade such a loan


                                                114
as EV2W—this was called a “client override” or “waiver.” Spagna Dep. 254:25-256:5; id. at

259:21-260:20; Kempf 30(b)(6) Dep. 158:10-23; Diligence MSJ Op., 2014 WL 7232443, at *9.

The Diligence Group often issued overrides without consulting the underlying loan files. Spagna

Dep. 261:20-262:19; id. 263:18-264:5; Hartnagel Dep.306:16-307:3.

         398.   A “Trending Report” generated by Clayton for 2006 shows that, on average,

Nomura “waived in” approximately 23% of all loans initially graded by Clayton as EV3, a rate

Clayton described as “substantially higher” than the industry average waiver rate of 9.5%. PX 15

at 2. A second “Trending Report” generated by Clayton in late 2007 shows that in 2006 and the

first half of 2007 Nomura waived in approximately 58% of loans initially graded by Clayton as

EV3, as compared to the industry average of 39%. PX 1304 at 9.

         399.   Any loan graded EV3 that was not re-graded to EV2W following Nomura’s review

of the vendor reports was supposed to be “kicked-out” of the trade pool. Diligence MSJ Op., 2014

WL 7232443 at *9; see also Spagna Dep. 246:14-18; PX 812 at 14. In practice, however,

Nomura bought and securitized into the SLGs at least 337 loans (5.47% of the Mortgage Loans

subject to credit and compliance diligence) that received a final grade of EV3 for credit or

compliance. Cipione Direct ¶¶ 14, 69; PX 1575, PX 1580; Diligence MSJ Op., 2014 WL 7232443

at *9.

         400.   Even after re-grading 407 loans that its vendors had graded as EV3s, and after

securitizing 337 EV3 loans without re-grading them, Nomura’s kick-out rate on the subprime
acquisition pools was frequently in excess of 15%. PX 1575; Diligence MSJ Op., 2014 WL

7232443, at *9; id. at 34. Through their participation in the market, Nomura and RBSSI unearthed
compelling evidence that originators of the Mortgage Loans were systematically originating loans

in disregard of their guidelines. These originators included Fremont, PX 300; PX 1152 at 4; PX
1132 at 3; PX 1227 at 1; PX 1167; PX 1171; Marvin Dep. 161:3-162:25, which originated over

40% of the Mortgage Loans and all of the loans in the NHELI 2006-FM1 and NHELI 2006-FM2

SLGs, Cipione ¶ 5; PX 1571; PX O0049 at 6; PX O0045 at 80, People’s Choice, PX 1159 at 11;

PX 1142 at 2; PX 714; PX 713, which originated 10.7% of the Mortgage Loans and nearly half of


                                                115
the loans in the NHELI 2006-HE3 SLG, Cipione ¶ 5; PX 1571, ResMAE, PX 708 at 1; which

originated 10.5% of the Mortgage Loans and over 75% of the loans in the NHELI 2007-3 SLG,

Cipione ¶ 5; PX 1571, Ownit, PX 1062; PX 482; PX 1437 at 1, which originated 9.3% of the

Mortgage Loans and nearly half of the loans in the NHELI 2007-2 SLG, Cipione ¶ 5; PX 1571,

and First NLC, PX 1231 at 3; PX 1229 at 1, which originated 6.4% of the Mortgage Loans and

19.3% of the loans in the NHELI 2006-HE3 SLG, Cipione ¶ 5; PX 1571. Yet Nomura continued

to buy and securitize loans from the same originators, and make representations about their

compliance with guidelines, without disclosing its kick-out rates, waiver rates, or the fact that it

was securitizing loans that had been found by its vendors not to comply with guidelines.

                                (2)     Valuation Diligence
        401.    In acquiring a loan pool, Nomura sent the pool’s loan tape to a vendor, either

Hansen or CoreLogic. Kohout Dep. 311:3-13; Diligence MSJ Op., 2014 WL 7232443, at *5.

Tapes sent to CoreLogic were first reviewed by “HistoryPro,” which measured each loan’s risk of

fraud or default and assigned it a corresponding “F-Score” between 0 and 25, with higher scores

indicating a higher risk of default. PX 670 at 1; Diligence MSJ Op., 2014 WL 7232443 at *6. If a

loan received an F-Score of 0, no further valuation testing was done. Kohout Dep. 311:9-13; id.

313:8-23; PX 1518; Diligence MSJ Op., 2014 WL 7232443 at *6.

        402.    Data produced by Nomura shows that 8,209 of the 15,806 Mortgage Loans—51.9%

of all Mortgage Loans and 59.6% of the 13,783 Mortgage Loans evaluated by CoreLogic—
received an F-Score of 0, Cipione Direct ¶ 81; PX 1587, and thus did not receive any further

valuation review.6 Overall, in combination with loans submitted for evaluation to Hansen for
which an AVM could not be obtained, 9,007 of the Mortgage Loans—57.4% of all Mortgage

Loans—obtained no valuation diligence whatsoever from either an AVM, BPO, or subsequent

reconciliation review.

6
  PX 198 (providing AVM values for those loans processed through AVMSelect (column Y) but showing only F
Scores and no AVM values generated by HistoryPro); PX 894 (CoreLogic HistoryPro and AVM Results for Aegis
03A);PX 457(CoreLogic HistoryPro and AVM Results for ResMAE SP01); PX 197 (CoreLogic HistoryPro and AVM
Results for Fremont SP03); PX 200 (CoreLogic HistoryPro and AVM Results for People’s Choice SP01).


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                                                               Loans for which No
                                  All Mortgage Loans in
             Securitization                                   AVM, BPO, and Final          Percentage
                                           DB
                                                              Values7 were Obtained

            NAA 2005-AR6                    325                        134                    41.2%
           NHELI 2006-FM1                  2,532                      1,604                   63.3%
           NHELI 2006-FM2                  3,891                      2,433                   62.5%
           NHELI 2006-HE3                  3,617                      1,942                   53.7%
             NHELI 2007-1                   403                        104                    25.8%
             NHELI 2007-2                  3,001                      1,603                   53.4%
             NHELI 2007-3                  1,914                      1,187                   62.0%
                 Total:                   15,683                      9,007                  57.4%

Cipione Direct ¶ 80; PX 1586.

          403.    HistoryPro did not produce estimated appraisal values, PX 198; PX 894; PX 457;

PX 178, and Defendants’ valuation expert concedes that HistoryPro’s F-Scores have “nothing” to

do with the variances of appraisal values.
                  Q.      What does the F score have to do with the variance on
                          appraisals value?
                  A.      It doesn't. At least depending on the history pro product itself
                          had some valuation components to it. So depending on how
                          you purchased that product, and how you utilized the product,
                          it could have a valuation variance tolerance built into it. But
                          they are specifically talking about the F score here, which
                          spoke to things outside of specific property valuation.
                  Q.      And what does F score relate to, though?
                  A.      It relates to a lot of different factors. Volatility factors and
                          other factors surrounding the property. Is there a lot of
                          foreclosure activity. Is this a high rate of turnover. You know,
                          declines in value. Things along those lines that would
                          indicate that this is, you know, a problematic valuation.
                  Q.      So, I mean, it would be possible to have a low F score, even
                          F score 0, but through the valuation process, to ultimately say,
                          yeah, that loan is, that loan is out of variance; is that right?
                  A.      That’s why it’s a step process.


7
    “Final Values” correspond to values in the column “Post Reviewed Value” in the Valuation Database (PX 1576).


                                                        117
Kennedy Dep. 197:21-199:3.

       404.    If a loan received an F-Score of between 1 and 9, then CoreLogic ran it through an

AVM. PX 737 at 1; Diligence MSJ Op., 2014 WL 7232443 at *6. If the AVM valuation was

within 10% of the originator’s appraisal of a subprime loan, or 15% for an Alt-A loan, then

CoreLogic performed no further valuation review. PX 770 at 4; PX 771 at 1; Spagna Dep. 295:21-

296:6; Diligence MSJ Op., 2014 WL 7232443, at *6.

       405.    If the AVM valuation exceeded these thresholds, then Nomura generally ordered a

broker price opinion (“BPO”). Loans rated an F-Score of 10 through 25 were to be submitted

directly to BPO review. Kilpatrick Direct at XI; id. XIV. BPO is a valuation review generally

offered by a realtor who visited the property, photographed it, and considered the price of recently-

sold or listed “comparable” properties. Spagna Dep. 298:14-19; Kohout Dep. 321:25-322:6;

Diligence MSJ Op., 2014 WL 7232443 at *6. Yet, Nomura failed to adhere to its policy for

verifying the accuracy of the original appraisals in response to evidence of inflation from its AVM

for 38.2% of subprime loans and 18.6% of Alt-A loans:

                                                      AVM Values that
                          All AVM Values that fall
                                                       fall below 10%
        Securitization   below 10% Threshold, same                             Percentage
                                                      Threshold and No
                                   pools
                                                             BPO
       NAA 2005-AR6                  n/a                     n/a                  n/a
      NHELI 2006-FM1                329                     161                  48.9%
      NHELI 2006-FM2                487                     178                  36.6%
      NHELI 2006-HE3                470                     178                  37.9%
        NHELI 2007-1                 n/a                     n/a                  n/a
        NHELI 2007-2                344                     115                  33.4%
        NHELI 2007-3                148                      47                  31.8%
           Total:                   1,778                   679                  38.2%

Cipione Direct ¶ 30; PX 1588.




                                                118
                                                       AVM Values that
                           All AVM Values that fall
                                                        fall below 15%
        Securitization    below 15% Threshold, same                             Percentage
                                                        Threshold and
                                    pools
                                                            No BPO
       NAA 2005-AR6                  42                       9                   21.4%
      NHELI 2006-FM1                 n/a                     n/a                   n/a
      NHELI 2006-FM2                 n/a                     n/a                   n/a
      NHELI 2006-HE3                  1                      n/a                   0.0%
        NHELI 2007-1                 26                       4                   15.4%
        NHELI 2007-2                 n/a                     n/a                   n/a
        NHELI 2007-3                  1                      n/a                   0.0%
           Total:                    70                      13                   18.6%

Cipione Direct ¶ 84; PX 1589.

       406.    After the BPO review, Nomura’s BPO vendor would attempt to reconcile the BPO

with the original appraisal value. Kohout Dep. 325:7-326:3, id. 328:11-14; Diligence MSJ Op.,

2014 WL 7232443, at *6. The reconciliation process involved a comparison between the “value

conclusions reached by the BPO versus the value of the appraisal.” Kohout 328:11-14.

       407.    If a BPO valuation yielded less than a 10% variance from the origination appraisal

for a subprime loan, or 15% for an Alt-A loan, then Nomura generally bought the loan. PX 516 at

33; PX 770 at 4; Spagna Dep. 302:25-303:11; Kohout Dep. 339:18-24; Sabo Dep. 321:15-322:3.

If the BPO valuation was above these thresholds, Nomura would submit the loan to the originator

to “opine” on the valuation and produce a “rebuttal.” Kohout Dep. 331:4-14; Sabo Dep. 247:8-18;

PX 743 at 1; Marvin Dep. 260:18-261:19; Diligence MSJ Op., 2014 WL 7232443, at *6. As Mr.

Kohout agreed, it was “[f]air to say that each step in this process, if you passed, you passed for

good. But if you failed, you just went to the next step of the process.” Kohout Dep. 339:18-24.

       408.    No matter what appraisal values were returned by its AVM, BPO, or reconciliation

reviews, Nomura did not use them to calculate the LTV ratios that were reported in the Prospectus

Supplements, Graham Dep. 65:17-66:19, and it did not disclose the results of its valuation

diligence to investors. The Prospectus Supplements stated that Nomura would use the lesser of the

appraised value or sale price in calculating the LTV ratios; however the Prospectus Supplements



                                                 119
omitted the fact that Nomura had obtained valuations of the Mortgage Loans which departed from

those used in calculating the LTV ratios.

       409.     In total 6.3% of loans for which Nomura calculated final values below what was

represented on the loan tapes, had a LTV ratios above 100% when the LTVs were calculated using

the final values rather than the original appraisal values:

                                                      Final LTV Greater Than
        Securitization     Loans with Final Value                               Percentage
                                                               100
       NAA 2005-AR6                  63                         -                  0.0%
      NHELI 2006-FM1                303                         8                  2.6%
      NHELI 2006-FM2                626                        26                  4.2%
      NHELI 2006-HE3                613                        43                  7.0%
        NHELI 2007-1                 56                         4                  7.1%
        NHELI 2007-2                452                        46                 10.2%
        NHELI 2007-3                265                        24                  9.1%
            Total:                 2,378                       151                 6.3%

Cipione Direct ¶ 85; PX 1590.

       410.     At the 80% LTV ratio threshold, 30.5% of loans represented as having LTV ratios

below 80 had final values that resulted in LTV ratios above 80:

                           Loans with Final Value and
         Securitization    Original LTV At or Below Final LTV Above 80         Percentage
                                       80
        NAA 2005-AR6                      63                   15                23.8%
       NHELI 2006-FM1                  187                     51                27.3%
       NHELI 2006-FM2                  502                     119               23.7%
       NHELI 2006-HE3                  309                     113               36.6%
         NHELI 2007-1                     49                   20                40.8%
         NHELI 2007-2                  235                     90                38.3%
         NHELI 2007-3                  150                     48                32.0%
              Total:                  1495                     456               30.5%

Cipione Direct ¶ 87; PX 1592.




                                                    120
         411.    The Prospectus Supplements omitted any mention of the fact that Nomura’s

acquisition stage diligence developed final values for the Mortgage Loans, which, if used to

calculate the LTV ratios, showed that many more loans had LTV ratios above 80% than reported

in the Prospectus Supplements, and that several had LTV ratios above 100%, even though the

Prospectus Supplement represented that no loans had an LTV ratio exceeding 100%:

                                     LTV≤80              80<LTV≤100            LTV>100

                            Percent                Percent                Percent
         Securitization                Percent                Percent                Percent
                            Based on               Based on               Based on
                                      Based on               Based on               Based on
                            Original               Original               Original
                                     Greater LTV            Greater LTV            Greater LTV
                             LTV                    LTV                    LTV

        NAA 2005-AR6            98.95%    91.10%    1.05%       8.90%      0.00%      0.00%
        NHELI 2006-FM1          71.34%    65.84%    28.66%      33.30%     0.00%      0.86%
        NHELI 2006-FM2          78.60%    70.44%    21.40%      27.78%     0.00%      1.78%
        NHELI 2006-HE3          61.25%    54.51%    38.75%      42.93%     0.00%      2.57%
         NHELI 2007-1           89.30%    82.61%    10.70%      16.05%     0.00%      1.34%
         NHELI 2007-2           56.37%    49.93%    43.63%      46.78%     0.00%      3.29%
         NHELI 2007-3           65.75%    59.15%    34.25%      37.55%     0.00%      3.30%
            Totals:             68.24%    61.41%    31.76%      36.32%     0.00%      2.26%

Cipione Direct ¶ 89; PX 1594; Kilpatrick Direct at XI; id. XIV.

                          (c)       RBSSI’s RMBS Business Groups
         412.    Several groups within RBSSI were involved in underwriting third-party RMBS.

These and other groups within RBSSI were also involved in RBS’s purchase, diligence, and

securitization of loans in other RMBS issued by RBS entities.

         413.    The Asset-Backed Finance Group (the “ABF Group” or “ABF”) was responsible,

among other things, for securing underwriting mandates on third-party securitizations for RBSSI

and managing RBSSI’s relationship with third-party issuers. See PX 1278 at 9; id. at 13. The

ABF Group was headed by Joseph Walsh. PX 1280 at 31, and from 2005 to 2008 included Adam

Smith, Smith Dep. 28:4-8, who managed RBSSI’s relationship with Nomura. Smith Dep. 19:8-

20:6.



                                                   121
          414.    The Collateral Analytics Group, which was located within the ABF Group, was

responsible, among other things, for selecting samples of loans that would be subject to diligence

reviews at the direction of the Credit Group. Farrell Dep. 550:23-551:12.

          415.    The Credit Group was responsible for conducting diligence on RMBS for which

RBSSI was the lead underwriter. PX 1280 at 18. From July 2006 to 2009, the Chief Underwriter

was James Whittemore who had been a Credit Officer at RBS since 2003. Whittemore Dep. 28:2-

14. Credit Officers in the Credit Group under Mr. Whittemore included Frank Camacho, Anne

Shera, and Brian Farrell. Id. at 33:6-16; PX 1519.

                           (d)     RBSSI’s Securitization Diligence
          416.    RBSSI conducted no meaningful credit or compliance diligence on two of the four

transactions where it acted as lead or co-lead underwriter. Diligence MSJ Op., 2014 WL 7232443,

at *7. On one of the two deals for which RBS did conduct diligence, RBSSI’s Credit Group called

the loans “crap” yet ultimately reviewed only 7.2% of the securitized loans. PX 1248; see infra

Part IV.B.2.f (regarding NHELI 2007-2 review). When RBSSI did perform diligence, “[t]he

number of files selected for review and the manner of selection” was based on “a number of

factors, the most important of which is [RBS’s] exposure to the transaction.” PX 1279 at 37. For

third party securitizations in which RBSSI did not own the loans being securitized, it conducted

less stringent diligence, as was the case for the at-issue Securitizations.8
          417.    RBSSI retained Clayton to perform its credit and compliance reviews. Clayton

employed the same grading system for RBSSI as it did for Nomura and RBSSI could override

Clayton’s initial grades of EV3. PX 41 at 1; Farrell Dep. 43:16-44:23; Camacho Dep. 240:11-19;

id. at 241:9-13. In fact, without explanation or written justification, RBSSI overrode every EV3

credit grade that Clayton assigned on the samples loans that were ultimately securitized in the

NHELI 2007-1 and 2007-2 transactions. See PX 1253; PX 1212; Cipione Direct ¶ 41; PX 1577.




8
    PX 1175 at 1; PX 1224 at 1; PX 1241 at 1; PX 1223 at 1; PX 390 at 3; PX 1258 at 1.


                                                        122
        418.     RBSSI selected a smaller group of loans on which it retained Nationwide Property

& Appraisal Services (“Nationwide”) to perform “drive by” appraisals to “figure out” whether the

original appraisal was correct. PX 1128 at 3. Nationwide routinely reported back appraisal values

lower than the original appraisal values. See PX 1260; PX 1273. RBSSI appears to have ignored

the results of these drive-by appraisals; none of these appraised values were used to calculate the

LTV ratios in the Prospectus Supplements; and these appraisal results were not disclosed to

investors. See, e.g., PX O0072 at 91 (reflecting that none of the loans in Group II-1 had an LTV

ratio greater than 100%); PX 150 (loan tape reflecting LTV for Loan Number                                 as       );

PX 1260 (valuation diligence results reflecting LTV for Loan Number                               as         ).

                 2.       Nomura’s And RBSSI’s Diligence Shows That Each Of The SLGs
                          Contained Defective Loans
        419.     In the course of creating and monitoring the Certificates, Nomura and RBSSI

uncovered both direct and circumstantial evidence that many of the Mortgage Loans were

defective.

                          (a)      The NAA 2005-AR6 SLG
        420.     The NAA 2005-AR6 SLG contained 376 loans, which were drawn from loans

acquired through the loan-by-loan channel and from 31 loan pools purchased from over 20

originators, including Aegis, Alliance, Cameron Financial, Gateway, Steward, and Silver State,

between June 14, 2005 and October 12, 2005. Cipione Direct ¶¶ 5, 9, 69; PX 1571; PX 1574; PX

1580.

        421.     Before issuing the NAA 2005-AR6 Securitization9 on November 30, 2005, Nomura
became aware that Silver State, which originated 58 (15.43%) of the Mortgage Loans, Cipione

Direct ¶ 9; PX 1574, was originating loans that did not comply with guidelines. On May 25, 2005,


9
   As Defendants have judicially admitted, NAAC and NHELI were the depositors for the seven Securitizations, each
of which was structured as an unincorporated New York common law trust. Dec. 2, 2014, Nomura Defs.’ L.R. 56.1
Counterstatement of Material Facts, Dkt. 1126, ¶¶ 20-25; see Setevage v. Dep’t of Homeland Sec., 539 F. App’x 11, 13
(2d Cir. 2013) (facts “specifically admitted” in “counter-statement of material facts[] … submitted through counsel. …
constitute judicial admissions to which [a party] remains bound[.]”).




                                                         123
Mr. Hartnagel noted that Nomura “removed 14 loans attributed to 1 borrower for fraud

indications” from two acquisition pools, and that Silver State “seem[ed] to have [a] large number

of multi[ple] loans to [the] same borrowers sprinkled throughout all their trades.” PX 736. In July

2005, Mr. Kohout emailed Peter Kempf at AMC, saying that he was “noticing abuses (greater

than the norm) on transactions where income is stated,” to which Mr. Kempf responded: “As an

FYI, Silver State closes many fixed income borrowers as stated loans.” PX 734 at 1.

Nevertheless, Nomura represented that the Silver State mortgage loans were originated generally

in accordance with the underwriting criteria described in the Prospectus Supplement. PX O0059

at 93.

         422.    Nomura conducted credit and compliance diligence on 252 of the 376 loans in the

NAA 2005-AR6 SLG. Cipione Direct ¶ 69; PX 1580. It retained Clayton, AMC, or Lydian to

conduct its reviews of the 31 underlying pools and the loans acquired through the loan-by-loan

channel.10 See PX 1419; PX E1894; PX 705 at 39. Despite its concerns about Silver State there is
no evidence that Nomura provided AMC—which reviewed the Silver State 26A and Silver State

28A pools—PX 1419; PX 1604, with any instructions regarding Silver State’s origination of

defective loans.

         423.    The “kick-out” rate for the underlying pools—the percentage of loans in the

diligence sample for each acquisition pool that received final grades of EV3 for credit or

compliance that Nomura did not include in the Securitizations—included 13% for the Pinnacle

Financial 07 pool. No increased diligence on the unsampled loans was conducted as a result of

any these kick-out rates. “[G]iven the high kick-out rate[s], the testing of a single set of loans

based on adverse sampling provided no reliable basis to believe that all or most of the defective

loans had been located and culled,” Diligence MSJ Op., 2014 WL 7232443, at *82; id. at *88, and

thus no basis to represent that the Mortgage Loans generally complied with underwriting

guidelines.

10
   There is no evidence that Nomura performed any diligence on the 51 SLG loans that it acquired through its loan-
by-loan channel.


                                                        124
       424.       Of the 252 Mortgage Loans that Nomura’s vendors reviewed, they graded at least

63 (25%) as EV3 for credit or compliance. Cipione Direct ¶ 14; PX 1575. The Diligence Group

issued client overrides for 24 of these loans (8.7% of the SLG), Cipione Direct ¶ 14; PX 1575,

instructing the vendors to re-grade them as EV2 or EV2W—i.e., acceptable for purchase and

securitization.

       425.       These waived-in loans included loans that Nomura’s vendors found to have LTVs

that exceeded guidelines without compensating factors, FICO scores that did not meet the

minimums established by guidelines, as well as loans that demonstrated a failure to properly verify

employment, assets, credit history, housing history, or income. PX 1575.

       426.       Another 13 loans (5% of the Mortgage Loans subject to credit and compliance

diligence) received final grades of EV3 for credit or compliance, Cipione Direct ¶ 14; PX 1575,

meaning that the Diligence Group agreed the loans were not suitable for purchase or securitization.

Despite receiving final EV3 grades, these loans were included in the NAA 2005-AR6 SLG,

without any written explanation documenting compensating factors that justified securitizing them.

       427.       These securitized EV3 loans included loans that Nomura and its vendors found to

have LTVs that exceeded guidelines without compensating factors, FICO scores that did not meet

the minimums established by guidelines, as well as loans that demonstrated a failure to properly

verify credit history and housing history. PX 1575.

       428.       There is no evidence Nomura took any steps to confirm that loans in the NAA
2005-AR6 SLG that were represented as being owner occupied were actually occupied by their

owners as of the Cut-Off Date.
       429.       Of the 376 Mortgage Loans, there is no evidence that 134 (35.64%) received any

meaningful valuation or appraisal review. Cipione Direct ¶ 80; PX 1586. Nomura submitted 246
Mortgage Loans (65.4%) to Hansen and 79 Mortgage Loans (21%) to CoreLogic, of which 47

(12.5% of the SLG) received an F-Score of 0, Cipione Direct ¶ 34; PX 1576, and hence no further

review despite the fact that Defendants’ valuation expert concedes that F-Scores have “nothing” to

do with the variances of appraisal values. Kennedy 11/5 Dep. 197:21-199:3. Another 60 loans


                                                 125
received no F-Score, AVM value, BPO value, or final value.11 Cipione Direct ¶ 34; PX 1576.
Nomura ordered an AVM review for 164 Mortgage Loans, of which 42 (11.8% of the SLG)

received AVM values that were more than 15% lower than their appraised values. Id. Nomura

ordered BPO reviews for 62 Mortgage Loans, of which five produced values outside of the 15%

Alt-A thresholds. Id. Nomura engaged in a reconciliation process with the lenders in which its

reconciled value equaled the original appraisal value for two of the five loans, but not for the

remaining three, which nonetheless were included in the SLG. Id. “Nomura has provided no

documentation that reflects that it made an individualized assessment of the valuation

discrepancies for these [] loans or explains why they were not kicked out despite exceeding the

variance threshold.” Diligence MSJ Op., 2014 WL 7232443, at *6. Nomura securitized all five of

these loans, including the three loans whose appraisal value remained out of tolerance; but it did

not use its valuation results to recalculate the LTV ratios in the Prospectus Supplements and it did

not disclose the results of its reviews to investors. See PX O0059 at 60 (representing that none of

the SLG loans had an LTV ratio greater than 95%); PX 1599 (loan tape showing LTV ratio of

for loan number                 ); PX E1578 (valuation diligence results showing LTV ratio of

for loan number                 ).

        430.      As discussed supra, Part III.C.4, the Prospectus Supplement for the NAA 2005-

AR6 Securitization represented that the Class III-A-1 Certificate would not be issued unless it

received an AAA (or equivalent) credit rating. See PX O0059 at 12.

        431.      On November 16, 2005, Jeane Leschak of Nomura provided the loan tape for the

NAA 2005-AR6 Securitization to Moody’s and S&P. See PX 348; PX 350; PX 351; PX 353. As

discussed above, that loan tape included inaccurate LTV, occupancy, and DTI information. See

Part IV, supra.

        432.      On November 30, 2005, Moody’s and S&P sent their credit ratings for the NAA

2005-AR6 Certificates to Nomura. PX 136; PX 135. The S&P letter represented: “Standard &

11
   The “final value” corresponds to values in the column “Post Reviewed Value” in the Valuation Database (PX
1576).


                                                       126
Poor’s relies on the issuer and its counsel, accountants and other experts for the accuracy and

completeness of the information submitted in connection with the rating and surveillance process.”

Id. The S&P letter also stated: “[Nomura] may disseminate these ratings as being assigned by

Standard & Poor’s in connection with [Nomura’s] dissemination of information about the

securities, provided that [Nomura does] not indicate that Standard & Poor’s has consented to being

an ‘expert’ under the federal securities laws. . .” Id.

       433.    Based on the information provided by Nomura, S&P and Moody’s both rated the

NAA 2005-AR6 Certificate as AAA (or equivalent). PX 136; PX 135. Moody’s downgraded the

Certificate’s credit rating to Aa3 on July 25, 2008, and then to B3 on February 4, 2009. PX 1612.

                       (b)     The NHELI 2006-FM1 SLG
       434.    The NHELI 2006-FM1 SLG contained 2,532 loans, all of which were drawn solely

from the Fremont SP02 loan pool, which Nomura bought from Fremont on November 8, 2005.

Cipione Direct ¶¶ 5, 9; PX1571; PX 1574.

       435.    Prior to issuing NHELI 2006-FM1, on January 30, 2006, Nomura became aware

that Fremont was originating loans that did not comply with guidelines. Risk Management

performed loss stress tests on the value of the residuals on Nomura’s RMBS whole loan book. PX

905 at 23; PX 911 at 21-27. Risk Management often had a lower value for Nomura’s RMBS

positions because of “differen[t] default (both the timing and the level) and severity curves,” PX

300, and in November 2006 came to the conclusion that 2005 and 2006 Fremont loans were
performing poorly due to characteristics not reflected in their stated credit characteristics, and

recommended reducing Nomura’s valuation of the residual. Brett Marvin, the head of the Trading
Desk, testified that Nomura’s Credit Group eventually decided to stop buying loans from Fremont

based on the “[h]istorical performance of loans that [Nomura] had purchased that were in
securitizations” and incidents of “early pay defaults.” Marvin Dep. 161:3-162:25. Throughout

2005 and 2006, RBSSI also uncovered evidence of Fremont’s systemic origination of defective

loans. See Part IV.B.2.d, infra. Nevertheless, Nomura represented that the Fremont mortgage




                                                  127
loans were originated generally in accordance with the underwriting criteria described in the

Prospectus Supplement. PX O0049 at 70.

       436.    Nomura conducted credit and compliance diligence on 669 of the 2,532 loans in the

NHELI 2006-FM1 SLG, Cipione Direct ¶ 69; PX 1580, and retained Clayton to conduct this

review of the Fremont SP02 pool. PX E0091. There is no evidence Nomura provided Clayton

with any instructions regarding Nomura’s concerns about Fremont’s origination of defective loans.

Only 26% of the Fremont loans ultimately included in the SLG received any credit and compliance

diligence. Cipione Direct ¶ 9; PX 1574. The rest were represented by Nomura to generally

comply with underwriting criteria without review.

       437.    The final “kick-out” rate for Fremont SP02 was 9.1%, Cipione Direct ¶ 14; PX

1575, but, Nomura did not perform any additional diligence on the unsampled portion of that pool.

       438.    Of the 669 Mortgage Loans that Nomura’s vendors did review, they graded 124

(18.5%) as EV3 for credit or compliance. Cipione Direct ¶ 14; PX 1575. The Diligence Group

issued client overrides for 46 of these loans (6.88% of the loans in the SLG that had been sampled

for diligence), instructing the vendors to re-grade them as EV2 or EV2W. Id. For 24 of those 46

loans, Nomura failed to document any compensating factors.

       439.    The waived in loans included loans that Nomura’s vendors found to have LTVs that

exceeded guidelines without compensating factors, DTIs that exceeded guidelines without

compensating factors, unreasonable stated incomes, FICO scores that did not meet the minimums
established by guidelines, as well as loans that demonstrated a failure to properly verify assets,

credit history, housing history, or income.
       440.    There is no evidence Nomura took any steps to confirm that loans in the NHELI

2006-FM1 SLG that were represented as being owner occupied were actually occupied by their
owners as of the Cut-Off Date.

       441.    Of the 2,532 Mortgage Loans, there is no evidence that 1,604 (63.35%) received

any meaningful valuation or appraisal review. Cipione Direct ¶ 80; PX 1586. Nomura submitted

all of the Mortgage Loans to CoreLogic, only 2,377 of which (93.88% of the SLG) received an F-


                                                 128
Score, and 1,422 of which (56.10% of the SLG) received an F-Score of 0, and hence no further

review. Cipione Direct ¶ 34; PX 1576. Another 72 loans received no F-Score, AVM value, BPO

value, or final value. Id. Nomura ordered an AVM review for 796 Mortgage Loans, id., of which

329 (13% of the SLG) received AVM values more than 10% lower than their appraised values, id.

(column Y). Nomura ordered BPO reviews for 302 Mortgage Loans, of which 112 (4.4% of the

SLG) produced values outside the 10% subprime threshold. Id. Nomura engaged in a

reconciliation process with the lenders in which its reconciled value equaled the original appraisal

value for 29 of the 112 loans, but not for the remaining 83. Id. Nomura securitized all 112 of

these loans, but it did not use its valuation results to calculate the LTV ratios in the Prospectus

Supplements and it did not disclose the results of its reviews to investors. See PX O0049 at 41

(representing that none of the SLG loans had an LTV ratio greater than 100%); PX 1600 (loan tape

showing LTV ratio of         for loan number               ); PX E0347 (valuation diligence results

showing LTV ratio of            for loan number                ).

       442.    As discussed supra, Part III.C.4, the Prospectus Supplement for the NHELI 2006-

FM1 Securitization represented that the Class I-A Certificate would not be issued unless it

received an AAA (or equivalent) credit rating. See PX O0049 at 13.

       443.    On January 17, 2006, Michael Orfe of Nomura provided the loan tape for the

NHELI 2006-FM1 Securitization to Moody’s and S&P. See PX 1444; PX 1445; PX 1441; PX

1442. As discussed above, that loan tape included inaccurate LTV, occupancy, and DTI

information. See Part IV, supra.

       444.    On January 30, 2006, Moody’s and S&P sent their credit ratings for the NHELI

2006-FM1 Certificate to Nomura. PX 137; PX 382. The S&P letter stated: “Standard & Poor’s

relies on the issuer and its counsel, accountants, and other experts for the accuracy and

completeness of the information submitted in connection with the rating. This rating is based on

financial information and documents we received prior to the issuance of this letter. Standard &

Poor’s assumes that the documents [Nomura has] provided to us are final.” Id. at 2. The S&P

letter also stated: “Standard & Poor’s undertakes no duty of due diligence or independent


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verification of the information provided by [Nomura] or [Nomura’s] agents. Standard & Poor’s

reserves the right to withdraw the rating if [Nomura] or [Nomura’s] agents fails to provide

Standard & Poor’s with accurate, complete, timely, or reliable information.” Id. at 3.

        445.   Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2006-FM1 Certificate as AAA (or equivalent). PX 137; PX 382. S&P downgraded the

Certificate’s credit rating to BBB- on September 25, 2009, PX 1616, and then to BB on September

23, 2011, PX 1615.

                      (c)     The NHELI 2006-HE3 SLG
        446.   The NHELI 2006-HE3 SLG contained 3,618 loans, which were drawn from 71 loan

pools purchased from over 46 originators, including First NLC, Fund America, Mandalay,

Novastar, and People’s Choice, between August 19, 2005 and June 19, 2006. Cipione Direct ¶¶ 5,

9; PX 1571; PX 1574.

        447.   Prior to the August 31, 2006 issuance of NHELI 2006-HE3, Nomura and RBSSI

became aware that People’s Choice, which originated 1,672 (46.21%) of the Mortgage Loans,

Cipione Direct ¶ 9; PX 1574, was originating loans that did not comply with guidelines. By July

2005, RBSSI had determined that, when purchasing loans for its own portfolio and its own

securitizations, the “only big whole loan seller [RBS would] not talk[] to is People[’]s Choice.”

PX. 1159 at 11. RBSSI’s position on buying loans from People’s Choice remained the same in the

Spring of 2006 when it decided to “pass” on purchasing loans from People’s Choice. PX 1142
at 2.

        448.   As for Nomura, on April 6, 2006 Mr. Kohout and Mr. Hartnagel discussed the “off
the charts” number “of valuation issues” in the People’s Choice SP02 pool (which contributed

loans to the NHELI 2006-HE3 SLG). PX 714; PX 713. Nomura’s valuation diligence on that
pool resulted in 90 out of tolerance loans that were submitted to People’s Choice for reconciliation.

Id. at 2. The in-house appraiser at People’s Choice agreed with Nomura that over “90%” of the

appraisals that had been submitted for reconciliation were inflated. Id. Nomura concluded that

this admission from People’s Choice, that a large number of appraisals were inflated by over 10%,


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showed that “there [wa]s obviously an inherent flaw in their origination process,” which provided

“a firm reason to pass on their next offering.” Id. Despite the admitted “valuation issues” in the

People’s Choice SP02 pool, Nomura declined to perform additional BPOs in order to “test more

values” because “doing so,[] would likely place Nomura in a position where [it] w[ould] not be

given consideration on future trades.” Id. at 1. Nevertheless, Nomura and RBSSI represented that

the People’s Choice mortgage loans were originated generally in accordance with the underwriting

criteria described in the Prospectus Supplement. PX O0041 at 81.

       449.    Also before the NHELI 2006-HE3 Securitization was issued, RBSSI became aware

that First NLC, which originated 700 (19.35%) of the Mortgage Loans, Cipione Direct ¶ 9; PX

1574, was using underwriting guidelines that were “outside [of] normal parameters.” PX 1231

at 3. When purchasing loans for its own portfolio and its own securitizations, RBSSI decided its

“sample percentage [should] remain high until we are comfortable with the performance of this”

First NLC collateral. Id RBSSI echoed the same conclusion after a subsequent First NLC

diligence review in July of 2006. PX 1229 at 1. Nevertheless, Nomura and RBSSI represented

that the First NLC mortgage loans were originated generally in accordance with the underwriting

criteria described in the Prospectus Supplement. PX O0041 at 88.

       450.    RBSSI performed no due diligence prior to underwriting the NHELI 2006-HE3

Securitization, as RBSSI did not “review any of the loan files for the loans underlying the

Securitization,” Diligence MSJ Op., 2014 WL 7232443, at *15, and took no steps to ensure the
quality of, or the accuracy of the representations regarding, the First NLC or People’s Choice loans

included in the SLG. RBSSI also did nothing to ensure that Nomura increased the sample size on
First NLC loans, despite its own stated concerns, see supra Part IV.B.2.f. “RBS signed off on the

representations concerning the loans in 2006-HE3, having seen only a one-page summary of
Nomura’s pre-acquisition review of all the Trade Pools that contributed loans to that Securitization

and a list of those Originators who contributed more than 5% of the loans to the Securitization.

The one-page summary included a disclaimer advising that ‘[t]he material contained herein is

preliminary and based on sources which we believe to be reliable, but it is not complete, and we do


                                                131
not represent that it is accurate.’ RBS has identified no evidence that it followed up on this

disclaimer and demanded a representation from Nomura that this summary of Nomura’s review

was complete and accurate.” Diligence MSJ Op., 2014 WL 7232443, at *36; see PX 397.

       451.    Nomura conducted credit and compliance diligence on 1,967 of the 3,618 loans in

the NHELI 2006-HE3 SLG at the time they were initially acquired. Cipione Direct ¶ 69; PX 1580.

It retained Clayton, AMC, and Lydian to conduct its reviews of the 71 underlying pools. See PX

1420; PX E0232; PX 705 at 39. There is no evidence that Nomura provided AMC, which

reviewed the People’s Choice SP01, People’s Choice SP02, First NLC SP01, and First NLC SP02

pools, PX 1420; PX 1424; PX 1425; PX 1426, with any instructions regarding Nomura’s concerns

about People’s Choice’s origination of defective loans. Only 24.6% of the People’s Choice and

65.9% of the First NLC loans ultimately included in the SLG received any credit and compliance

diligence. Cipione Direct ¶ 9; PX 1574. The rest were represented to generally comply with

underwriting criteria without review.

       452.    The “kick-out” rate for some of the underlying pools were 9.2% for the Novastar

SP02 pool, 10.6% for the People’s Choice SP01 pool, and 11.3% for the People’s Choice SP02

pool, Cipione Direct ¶ 14; PX 1575, but Nomura did not have any additional diligence performed

on the unsampled portions of these pools.

       453.    Of the 1,967 Mortgage Loans that Nomura’s vendors did review, they graded at

least 575 (29.23%) as EV3 for credit or compliance. Cipione Direct ¶ 14; PX 1575. The
Diligence Group issued client overrides for 158 of these loans (8% of the SLG loans sampled for

diligence), instructing the vendors to re-grade them as EV2 or EV2W—i.e., acceptable for
purchase and securitization. Cipione Direct ¶ 14; PX 1575.

       454.    These waived in loans included loans that Nomura’s vendors found to have LTVs
that exceeded guidelines without compensating factors, DTIs that exceeded guidelines without

compensating factors, unreasonable stated incomes, FICO scores that did not meet the minimums

established by guidelines, as well as loans that demonstrated a failure to properly verify

employment, assets, credit history, housing history, or income.


                                                 132
       455.    Another 168 loans (8.5% of the SLG loans sampled for diligence) received final

grades of EV3 for credit or compliance, Cipione Ex. Direct ¶ 14; PX 1575, meaning that the

Diligence Group agreed that the loans were not suitable for purchase or securitization. Despite

receiving final EV3 grades, these loans were included in the NHELI 2006-HE3 SLG, without any

written explanation documenting compensating factors that justified securitizing them.

       456.    These securitized EV3 loans included loans that Nomura and its vendors found to

have LTVs that exceeded guidelines without compensating factors, DTIs that exceeded guidelines

without compensating factors, unreasonable stated incomes, FICO scores that did not meet the

minimums established by guidelines, as well as loans that demonstrated a failure to properly verify

employment, assets, credit history, housing history, or income.

       457.    There is no evidence that Nomura took any steps to confirm that loans in the

NHELI 2006-HE3 SLG that were represented as being owner occupied were actually occupied by

their owners as of the Cut-Off Date.

       458.    Of the 3,618 Mortgage Loans, there is no evidence that 1,942 (53.7%) received any

meaningful valuation or appraisal review. Cipione Direct ¶ 80; PX 1586. Nomura submitted

2,967 of the Mortgage Loans (82%) to CoreLogic, of which 1,696 (46.88% of the SLG) received

an F-Score of 0 and hence no further review. Cipione Direct ¶ 34; PX 1576. Another 228 loans

received no F-Score, AVM value, BPO value, or final value. Id. Nomura ordered an AVM review

for 1,366 Mortgage Loans, id., of which 472 (13.05% of the SLG) received AVM values more

than 10% lower than their appraised values, id. (column Y). Nomura ordered BPO reviews for 592

Mortgage Loans, of which 267 (7.38% of the SLG) produced values outside the 10% subprime

thresholds. Id. Nomura engaged in a reconciliation process with the lenders in which its

reconciled value equaled the original appraisal value for 37 the 267 loans, but not for the

remaining 230. Id. Nomura securitized all 267 of these loans, but it did not use its valuation

results to recalculate the LTV ratios in the Prospectus Supplements and it did not disclose the

results of its reviews to investors. See PX O0041 at 41 (representing that none of the SLG loans

had an LTV ratio greater than 100%); PX 147 (loan tape showing LTV ratio of               for loan


                                                 133
number              ); PX E1665 (valuation diligence results showing LTV ratio of             for loan

number              ).

        459.   As discussed supra, Part III.C.4, the Prospectus Supplement for NHELI 2006-HE3

represented that the Class I-A-1 Certificate would not be issued unless it received an AAA (or

equivalent) credit rating. See PX O0041 at 14-15.

        460.   On July 28, 2006, Michael Orfe of Nomura provided the loan tape for the NHELI

2006-HE3 Securitization to Moody’s and S&P. See PX 225; PX 226; PX 686; PX 688. On

August 4, 2006, Mr. Orfe provided the loan tape for the NHELI 2006-HE3 Securitization to Fitch.

PX 249; PX 250. As discussed above, that loan tape included inaccurate LTV, occupancy, and

DTI information. See Part IV, supra.

        461.   On August 31, 2006, Moody’s and S&P sent their credit ratings for the NHELI

2006-HE3 Certificates to Nomura. PX 138; PX 1296. The S&P letter represented: “The rating is

based on information supplied to us by [Nomura] or by [Nomura’s] agents but does not represent

an audit. We undertake no duty of due diligence or independent verification of any information. . .

. We have not consented to and will not consent to being named an ‘expert’ under the applicable

securities laws, including without limitation, Section 7 of the Securities Act of 1933.” Id. at 1.

The S&P letter also stated: “Standard & Poor’s relies on the issuer and its counsel, accountants,

and other experts for the accuracy and completeness of the information submitted in connection

with the rating. This rating is based on financial information and documents we received prior to

the issuance of this letter. Standard & Poor’s assumes that the documents [Nomura has] provided

to us are final.” Id. at 3. The S&P letter also stated: “Standard & Poor’s undertakes no duty of due

diligence or independent verification of the information provided by [Nomura] or [Nomura’s]

agents. Standard & Poor’s reserves the right to withdraw the rating if [Nomura] or [Nomura’s]

agents fails to provide Standard & Poor’s with accurate, complete, timely, or reliable information.”

Id. at 4.




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       462.    Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2006-HE3 Certificate as AAA (or equivalent). PX 138; PX 1296. S&P downgraded the

Certificate’s credit rating to B on August 4, 2009. PX 1609.

       463.    By the end of February 2007, RBSSI had concluded that NHELI 2006-HE3 was the

“worst performing deal” on its books and decided to “target [it] for a ‘putback/fraud’ review.” PX

1250. RBSSI found that of the 263 loans submitted to this fraud review, 43 had indications of

fraud, PX 817 at 1, including “fraudulent misrepresentation of real estate owned and related

indebtedness” as well as “fraudulently misrepresented income.” See id. at 5, 7. Mr. Spagna, the

head of Nomura’s Diligence Group, who received these results from RBSSI in April 2007, id. at 1,

could not recall Nomura doing anything in response to this fraud review. Spagna Dep. 348:17-

349:11.

                      (d)     The NHELI 2006-FM2 SLG
       464.    The NHELI 2006-FM2 SLG contained 3,891 loans, which were drawn from two

loan pools each originated by Fremont—Fremont SP03 and Fremont SP04—and acquired by

Nomura on June 29, 2006. Cipione Direct ¶¶ 5,9; PX 1571; PX 1574. RBBSI served as the lead

underwriter for the NHELI 2006-FM2 Securitization. PX O0045 at 1. Before the issuance of the

NHELI 2006-FM2 Securitization on October 31, 2006, as discussed, RBSSI became aware that

Fremont was originating loans that did not comply with guidelines. See Part IV.B.2.c, supra.

       465.    For instance, in January 2005, RBSSI rejected 33 loans from a Fremont pool, over
10% of the 316 loans that it reviewed; a rate which RBSSI noted was “quite high.” PX 1152 at 4;

PX 1149. Overall, RBSSI rejected 227 loans from that pool, almost 10% of the 2,451 loans in the
original pool. Id (columns L, M).

       466.    These problems continued into 2006 as RBSSI’s diligence reviews of Fremont
pools in January and April resulted in reject rates of 27.53% and 21.05% respectively. PX 1130

at 1; PX 1132 at 3. Moreover, 12% of an appraisal sample from the Fremont 2006-A pool “ha[d]

variances of over 20%.” PX 1130 at 2. Mr. Whittemore, RBSSI’s Chief Underwriter, noted that

RBSSI should “try and hold [Fremont] more to their published guidelines.” PX 1227 at 1. On


                                               135
December 6, 2006, Peter McMullin, an RBS trader, referred to Fremont as “FraudMont,” PX

1167; see also PX 1171 , and a July 2007 investigation into potentially fraudulent Fremont loans

revealed a “fraud discovery rate” of 45%. PX 1380 at 2. Nevertheless, RBSSI and Nomura

represented that the Fremont mortgage loans were originated generally in accordance with the

underwriting criteria described in the Prospectus Supplement. PX O0045 at 81.

       467.    Despite being aware that it was underwriting Fremont loans, RBSSI did not conduct

any diligence on the NHELI 2006-FM2 SLG. In February of 2007, “[Mr.] Farrell wrote, ‘We did

not perform actual diligence on this. Diligence was performed by another company for Nomura.

We signed off on their results.” Diligence MSJ Op., 2014 WL 7232443, at *16; see PX 1243.

       468.    Nomura conducted credit and compliance diligence on 837 of the 3,891 loans in the

NHELI 2006-FM2 SLG. Cipione Direct ¶ 69; PX 1580. It retained AMC to conduct its reviews

of the two underlying pools. See PX 968 at 1. There is no evidence that Nomura provided AMC

with any instructions regarding the concerns that RBSSI expressed relating to Fremont’s

origination of defective loans. Only 21.5% of the Fremont loans ultimately included in the SLG

received any credit and compliance diligence. Cipione Direct ¶ 9; PX 1574. The rest were

represented to generally comply with underwriting criteria without review. There is also no

evidence Nomura took any steps to upgrade or further investigate its review practices or those of

its vendors based on the results of the IngletBlair review that had occurred in July and August

2006. Diligence MSJ Op., 2014 WL 7232443, at *9; id. at *24 See Part IV.B.1, supra.
       469.    The “kick-out” rates for some of the underlying pools were 17.4% (198 loans) for

the Fremont SP03 pool and 21.4% (141 loans) for the Fremont SP04 pool, Cipione Direct ¶14; PX
1575, but Nomura did not have any additional diligence performed on the unsampled portions of

these pools.
       470.    Of the 837 Mortgage Loans that Nomura’s vendors did review, they graded 116

(13.86% of the diligence sample) as EV3 for credit or compliance. Cipione Direct ¶ 14; PX 1575.

The Diligence Group issued client overrides for 14 of these 116 loans, instructing the vendors to

re-grade them as EV2 or EV2W—i.e., acceptable for purchase and securitization. Id.


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       471.    These waived-in loans included loans that Nomura’s vendors found to have LTVs

that exceeded guidelines without compensating factors, DTIs that exceeded guidelines without

compensating factors, unreasonable stated incomes, FICO scores that did not meet the minimums

established by guidelines, as well as loans that demonstrated a failure to properly verify

employment, assets, credit history, housing history, or income.

       472.    Additionally, Mr. Spagna issued a client override for additional loans several

months after Nomura bought them. In September 2006, three months after Nomura bought the

two pools, Mr. Spagna requested that 19 EV3 loans that Nomura purchased be re-graded by AMC

without any justification, before forwarding those diligence results to RBSSI. In a September 27,

2006 email with the subject line “Huge Favor--Fremont ASAP,” Mr. Spagna wrote to Peter Kempf

at AMC:
               We are securitizing Fremont 3 and Fremont 4. RBS Greenwich
               Capital is acting as co-underwriter on this deal and have requested
               our standard due diligence reports that we receive from AMC. To
               be on the safe side, we compared the loans that are in our
               securitization to the last set of exception reports you provided us.
               The attached excel report shows that there are 12 loans in Fremont
               3 and 7 loans in Fremont 4 that AMC had marked as CE3s but, for
               whatever reason, we decided to buy from Fremont. Please mark
               these loans as client overrides Credit Event 2s for all 19 loans in
               question. Then please forward to me the updated set of reports for
               these two deals.
PX 968. Mr. Kempf responded: “Here you go. Let me know if you need anything else.” He

attached to his email a spreadsheet showing that AMC had changed the grade for the 19 loans from

“3” to “2,” as Mr. Spagna had requested. Id. Nomura has provided no other evidence to explain

the change in the classification of these 19 loans.” Diligence MSJ Op., 2014 WL 7232443, at *15.

Furthermore, there is no evidence Nomura informed RBSSI of these waivers. In fact, after Mr.

Spagna participated in a conference call with RBSSI, during which questions about Nomura’s

diligence on the loans were raised, he acknowledged to his co-worker, Mr. Sabo: “ I took the

liberty to bullshit them. I think it worked.” PX 393 at 1; see also PX 1188; PX 1189.




                                                 137
       473.    Another 21 loans (2.5% of the SLG loans sampled for diligence) received final

grades of EV3 for credit or compliance, Cipione Direct ¶ 14; PX 1575, meaning the Diligence

Group agreed the loans were not suitable for purchase or securitization. Despite receiving final

EV3 grades, these loans were included in the NHELI 2006-FM2 SLG, and there is no written

explanation for why they were securitized.

       474.    These securitized EV3 loans included loans that Nomura and its vendors found to

have LTVs that exceeded guidelines without compensating factors, DTIs that exceeded guidelines

without compensating factors, FICO scores that did not meet the minimums established by

guidelines, as well as loans that demonstrated a failure to properly verify employment, assets,

housing history, or income.

       475.    There is no evidence Nomura took any steps to confirm that loans in the NHELI

2006-FM2 SLG that were represented as being owner occupied were actually occupied by their

owners as of the Cut-Off Date.

       476.    Of the 3,891 Mortgage Loans, there is no evidence that 2,433 (62.53%) received

any meaningful valuation or appraisal review. Cipione Direct ¶ 80; PX 1586. Nomura submitted

all 3,891 of the Mortgage Loans to CoreLogic, of which 2,384 (61.27% of the SLG) received an F-

Score of 0 and hence no further review. Cipione Direct ¶ 34; PX 1576. Another 46 loans received

no F-Score, AVM value, BPO value, or final value. Nomura ordered an AVM review for 1,173

Mortgage Loans, of which 487 (12.52% of the SLG) received AVM values more than 10% lower

than their appraised values, id. (column Y). Nomura ordered BPO reviews for 629 Mortgage

Loans, of which 232 (5.96% of the SLG) produced values outside the 10% subprime thresholds.

Id. Nomura engaged in a reconciliation process with the lenders in which its reconciled value

equaled the original appraisal value for 51 the 232 loans, but not for the remaining 181. Id.

Nomura nevertheless securitized all 232 of these loans, id., but it did not use its valuation results to

recalculate the LTV ratios in the Prospectus Supplements and it did not disclose the results of its

reviews to investors. See PX O0045 at 49 (representing that none of the SLG loans had an LTV

ratio greater than 100%); PX 146 (loan tape showing LTV ratio of             for loan number


                                                  138
           ); PX 197 (valuation diligence results showing LTV ratio of            for loan number

           ). Yet, for 21 of the Mortgage Loans, the reconciliation process resulted in “final

values so far below Fremont’s appraisals that, under Nomura’s policy, Nomura should have

refused to purchase and securitize those loans.” Diligence MSJ Op., 2014 WL 7232443, at *37.

       477.    As an underwriter, RBSSI performed no diligence on the NHELI 2006-FM2

Securitization and took no steps to ensure the quality of, or the accuracy of the representations

regarding, the Fremont loans included in the SLG. “Instead, it relied entirely on Nomura’s (which

acted as issuer) pre-acquisition review of the Trade Pools. It received three spreadsheets reflecting

kick-out rates for various kinds of reviews of the loans in the two Bulk Pools that contributed to

the Securitization, as well the results of AMC’s review.” Id., at *37; see PX 391; PX 1234 at 2.

       478.    After the Securitization was issued, Mr. Farrell was asked by another RBS

employee, Grace-Ann Didato, about RBSSI’s diligence on this deal. Mr. Farrell wrote, “We did

not perform actual diligence on this. Diligence was performed by another company for Nomura.

We signed off on their results.” When Ms. Didato asked, “How frequently is this done?” Mr.

Farrell, who did not work on the NHELI 2006-HE3 Securitization for which RBSSI conducted no

diligence, see supra Part IV.B.2.c, replied, “Since being employed, this is the only review I was

involved in w[h]ere [due diligence] results were reviewed and a new diligence was not ordered.”

PX 1243.

       479.    As discussed supra, Part III.C.4, the Prospectus Supplement for the NHELI 2006-

FM2 Securitization represented that the Class I-A-1 Certificate would not be issued unless it

received an AAA (or equivalent) credit rating. See PX O0045 at 15.

       480.    On September 22, 2006, Michael Orfe of Nomura provided the loan tape for the

NHELI 2006-FM2 Securitization to Moody’s, S&P, and Fitch. See PX 234; PX 235; PX 237; PX

238; PX 240; PX 241. As discussed above, that loan tape included inaccurate LTV, occupancy,

and DTI information. See Part IV, supra.

       481.    On October 31, 2006, Moody’s and S&P sent their credit ratings for the NHELI

2006-FM2 Certificates to Nomura. PX 134; PX 1293. RBSSI received copies of both rating


                                                 139
letters on that same day. PX 1438. The S&P letter represented: “The rating is based on

information supplied to us by [Nomura] or by [Nomura’s] agents but does not represent an audit.

We undertake no duty of due diligence or independent verification of any information. . . . We

have not consented to and will not consent to being named an ‘expert’ under the applicable

securities laws, including without limitation, Section 7 of the Securities Act of 1933.” PX 1293

at 1. The S&P letter also stated: “Standard & Poor’s relies on the issuer and its counsel,

accountants, and other experts for the accuracy and completeness of the information submitted in

connection with the rating. This rating is based on financial information and documents we

received prior to the issuance of this letter. Standard & Poor’s assumes that the documents

[Nomura has] provided to us are final.” Id. at 2. The S&P letter also stated: “Standard & Poor’s

undertakes no duty of due diligence or independent verification of the information provided by

[Nomura] or [Nomura’s] agents. Standard & Poor’s reserves the right to withdraw the rating if

[Nomura] or [Nomura’s] agents fails to provide Standard & Poor’s with accurate, complete,

timely, or reliable information.” Id. at 3.

       482.    Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2006-FM2 Certificate as AAA (or equivalent). S&P downgraded the Certificate’s credit

rating to BB on September 9, 2008, PX 1614, to B on February 19, 2009, PX 1610, and then to

CCC on August 4, 2009, PX 1609.

                       (e)     The NHELI 2007-1 SLG
       483.    The NHELI 2007-1 SLG contained 474 loans, which were drawn from loans

acquired through the loan-by-loan channel and from 30 loan pools purchased from 18 originators,
including, among others, Alliance CA, Allstate, Baltimore, First National Bank of Nevada, Loan

Center, Loan City, Pinnacle Financial, and Silver State, between September 25, 2006 and January
12, 2007. Cipione Direct ¶¶ 5, 9; PX 1571; PX 1574.

       484.    Nearly a year before issuing the NHELI 2007-1 Securitization on January 31, 2007,

Nomura reported in February 2006 that Alliance CA, which originated 29 loans in the relevant

SLG from two loan pools (ABC18 and Alliance CA 17), Cipione Direct ¶ 9; PX 1574, was an


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“[e]xtremely dysfunctional Originator” with “[c]redit characteristics [] getting more subprime on

each subsequent trade.” PX 738 at 3. At that time, Nomura recommended that Alliance CA be

removed from its approved sellers list. Id.

        485.     Also in February 2006, Nomura reported that Pinnacle Financial, which originated

55 loans in the NHELI 2007-1 SLG from three loan pools (PFC 28, PinnFinn 26, and Pinnacle

Financial 29), Direct ¶ 9; PX 1574, was “yielding a decrease in pull through rates averaging 70%

at best.” Id. at 4. The 70% pull through rate for Pinnacle Financial, and, conversely, their 30%

kick out rate is evidence of an unacceptable percentage of guideline breaches in loans Pinnacle

Financial originated.

        486.     Similarly, Nomura identified Allstate, which originated four Mortgage Loans from

the Allstate 29 loan pool, Cipione Direct ¶ 9; PX 1574, as an “extremely dysfunctional originator”

with “[t]rades [that] have been pushed out 2 weeks min due to their inability to address stips/issues

till tie out date/ high level % of initial DD denies/ incorrect stips sent for loan clearance (missing

flood cert/appraisal- HUD1 sent in).” Id.

        487.     Finally, as previously discussed, Nomura reported concerns with Silver State’s

origination practices and product. See Part IV.B.2.a, supra. Silver State originated 154 loans in

the relevant SLG from eight loan pools. Cipione Direct ¶ 9; PX 1574. Nevertheless, Nomura and

RBSSI represented that the Alliance CA, Pinnacle Financial, Allstate, and Silver State mortgage

loans were originated generally in accordance with the underwriting criteria described in the
Prospectus Supplement. PX O0072 at 114; see also id. at 113.

        488.     Nomura conducted credit and compliance diligence on 335 of the 474 loans in the
NHELI 2007-1 SLG. Cipione Direct ¶ 69; PX 1580. It retained Clayton, AMC, or Lydian to

conduct its reviews of the 30 underlying pools and the loans acquired through the loan-by-loan
channel.12 See PX E0016; PX 1421; Cipione Direct ¶ 5; PX 1571 (showing that there were loan-

by-loan channel loans); PX 705 at 39. There is no evidence that Nomura provided these diligence

12
   There is no evidence that Nomura performed any diligence on the 71 SLG loans that it acquired through its loan-
by-loan channel.


                                                        141
vendors with any instructions regarding the review of loans originated by originators about which

Nomura had expressed concern. See Part IV.B.1, supra.

       489.    The “kick-out” rate for the for the Silver State 66 pool was 19.35% , Cipione Direct

¶ 14; PX 1575, but Nomura did not have any additional diligence performed on the unsampled

portions of this pools.

       490.    Of the 335 Mortgage Loans that Clayton or AMC did review, they assigned at least

81 loans grades of EV3 for credit or compliance (24.18% of the SLG loans sampled for diligence),

Cipione Direct ¶ 14; PX 1575. Nomura issued overrides for six of these loans, instructing the

vendors to re-grade them as EV2 or EV2W. Id.

       491.    These waived in loans included loans that Nomura’s vendors found to have LTVs

that exceeded guidelines without compensating factors, DTIs that exceeded guidelines without

compensating factors, as well as loans that demonstrated a failure to properly verify employment,

assets, or housing history.

       492.    Another 45 loans (13.4% of the SLG loans sampled for diligence) received final

grades of EV3 for credit or compliance, Cipione Direct ¶ 14; PX 1575, meaning that the loans

contained unacceptable risk and were not suitable for purchase or securitization. Despite receiving

final EV3 grades, these loans were included in the NHELI 2007-1 SLG, and there is no written

explanation for why they were securitized.

       493.    These securitized EV3 loans included loans that Nomura and its vendors found to
have LTVs that exceeded guidelines without compensating factors as well as loans that

demonstrated a failure to properly verify employment, assets, credit history, housing history, or
income.

       494.    There is no evidence that Nomura took any steps to confirm that loans in the
NHELI 2007-1 SLG that were represented as being owner occupied were actually occupied by

their owners as of the Cut-Off Date.




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           495.    Of the 403 Mortgage Loans for which valuation data was available,13 there is no
evidence that 104 loans (25.8% of the SLG) received any meaningful valuation or appraisal

review. Cipione Direct. ¶ 80; PX 1586. Nomura submitted 100 of the Mortgage Loans (21.1% of

the SLG) to CoreLogic, of which 70 (14.8% of the SLG) received an F-Score of 0, and hence no

further review was conducted. Cipione Direct ¶ 34; PX 1576. Another 31 loans received no F-

Score, AVM value, BPO value, or final value. Id.

           496.    Nomura ordered an AVM review for 265 Mortgage Loans, of which 26 loans (5.5%

of the SLG) returned AVM values more than 15% lower than the appraised values.14 Cipione
Direct ¶ 34; PX 1576. Nomura ordered a BPO review for 55 Mortgage Loans, of which eight

loans (1.7% of the SLG) produced values below the 15% Alt-A threshold. Id. Nomura also

engaged in a reconciliation process with the lenders in which its reconciled value equaled the

original appraisal value for one of the eight loans, but not for the remaining seven. Id. Nomura

securitized all three of these loans, id., but did not use its valuation results to recalculate the LTV

ratios in the Prospectus Supplements and, it did not disclose the results of its reviews to investors.

See PX O0072 at 91 (representing that none of the SLG loans had an LTV ratio greater than

100%); PX 150 (showing LTV ratio of                   for loan number                  ); PX 198 (showing LTV

ratio of            for loan number                  ).

           497.    RBSSI retained Clayton to conduct credit and compliance due diligence related to

the NHELI 2007-1 Securitization. Parties’ Stipulations of Law and Fact (“Stipulation”) ¶ 58; see

PX E2185. RBSSI did not draw a diligence sample from the relevant NHELI 2007-1 SLG, but

instead selected a sample from all loans in the NAAC 2007-AR1 pool, Stipulation ¶ 60, and which

was later subdivided into two SLGs, including the one at issue. Id.

           498.    From the 1,751 loans in Group II of NHELI 2007-1, RBSSI drew an initial sample

of 250 loans, which it reduced to 102 loans—or less than 6% of the loans in Group II—“[b]ecause



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     Valuation data was not available for the 71 loans acquired through Nomura’s loan-by-loan channel.
14
     The Group II1A loans for NHELI 2007-1 were Alt-A adjustable rate mortgage loans.


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Nomura did not have imaged files for all the loans in [the] original samples” chosen by RBSSI.

Stipulation ¶ 62; PX 1247 at 1; PX 1244..

       499.     Of the 102 loans in this sample, only 19 loans were from Group II-1, or 4% of the

474 loans in the relevant SLG. See Cipione Direct ¶ 41; PX 1577; Stipulation ¶ 63. Moreover, of

the 102 loans that it reviewed, Clayton assigned a grade of EV3 to 41 of them—36 for credit

reasons and an additional five for compliance reasons—or 40% of the loans in the sample.

Cipione Direct ¶ 41; PX 1577. Brian Farrell issued overrides for all loans that Clayton graded

EV3 based on credit defects— in the space of a single hour. Compare PX 9 with PX 13; Diligence

MSJ Op., 2014 WL 7232443, at *38.

       500.     There is no evidence that RBSSI reviewed any of the loans that Clayton initially

graded as EV1 or EV2. This failure is compounded by the fact that RBSSI became aware in the

spring of 2006 that a high percentage of loans that Clayton graded EV1 and EV2, in fact, failed to

comply with underwriting guidelines. In March of 2006, Ellington Management Group asked

RMG Global to conduct a quality control review of a pool of loans that RBS had purchased from

Meritage Mortgage Corporation using Clayton as its original diligence vendor. PX 1287 at 1.

RMG Global’s QC review determined that 40% “of the loans that Clayton had scored as [EV]1’s”

should have been graded EV3s. Id. Yet there is no evidence that RBSSI changed its supervision of

Clayton, or enhanced its review of Clayton’s findings, on either the NHELI 2007-1 or 2007-2

transactions.
       501.     RBSSI commissioned Nationwide Property & Appraisal Services (“Nationwide”) to

perform “drive by” appraisals on 50 of the 102 loans within its credit and compliance sample for
the NHELI 2007-1 Securitization, of which 11 were in the relevant NHELI 2007-1 SLG—the

remaining Mortgage Loans received no valuation review. Cipione Direct ¶ 41; PX 1577; PX
1260. Nationwide returned appraisal values for 41 of the 50 loans, including for nine loans in the

NHELI 2007-1 SLG. Cipione Direct ¶ 41; PX 1578. For eight of these nine loans, Nationwide

reported appraised values lower than those reflected in the LTV ratios reported in the Prospectus

Supplements. Id.; PX 1260. Nationwide reported that five of the nine loans had appraisals that


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would result in loans with reported LTV or CLTV ratios at or below 80% being over 80%, and one

of those loans had an appraisal resulting in an LTV of 116%. Cipione Direct ¶ 41; PX 1578. The

results of RBSSI’s valuation reviews were not used to recalculate the LTV ratios reported in the

Prospectus Supplements. See e.g., PX O0072 at 91 (reflecting that none of the loans in Group II-1

had an LTV ratio greater than 100%); PX 150 (loan tape reflecting LTV for Loan Number

            as       ); PX 1260 (valuation diligence results reflecting LTV for Loan Number

            as        ). In fact, “RBS appeared to ignore entirely the results of its valuation

review[]” as it took “no action when a substantial portion of its sampled loans…appeared to have

faulty appraisals.” Diligence MSJ Op., 2014 WL 7232443, at *3. Brian Farrell, the RBSSI Credit

Department employee who headed RBSSI’s review of NHELI 2007-1, could not recall any

circumstances where RBSSI changed its disclosures to investors or third parties on the basis of its

due diligence results. Farrell In re Certain RBS RMBS Offerings Dep. 32:21-33:20.

         502.    As discussed supra, Part III.C.4, the Prospectus Supplement for the NHELI 2007-1

Securitization represented that the Class II-A-1 Certificate would not be issued unless it received

an AAA (or equivalent) credit rating. See PX O0072 at 25.

         503.    On January 10, 2007, Su Kim, a collateral analyst at Nomura, provided a loan tape

for the NHELI 2007-1 Securitization to Moody’s and S&P. PX 164 ; PX 168. As discussed

above, that loan tape included inaccurate LTV, occupancy, and DTI information. See Part IV,

supra.

         504.    On January 31, 2007 Moody’s and S&P sent their credit ratings for the NHELI

2007-1 Certificate to Nomura. PX 386; PX 195. The S&P letter stated: “Standard & Poor’s relies

on the issuer and its counsel, accountants, and other experts for the accuracy and completeness of

the information submitted in connection with the rating. This rating is based on financial

information and documents we received prior to the issuance of this letter. Standard & Poor’s

assumes that the documents [Nomura has] provided to us are final.” Id. at 1-2. The S&P letter

also stated: “Standard & Poor’s undertakes no duty of due diligence or independent verification of

the information provided by [Nomura] or [Nomura’s] agents. Standard & Poor’s reserves the right


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to withdraw the rating if [Nomura] or [Nomura’s] agents fails to provide Standard & Poor’s with

accurate, complete, timely, or reliable information.” Id at 3.

       505.    Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2007-1 Certificate as AAA (or equivalent). PX 386; PX 195. Moody’s downgraded the

Certificate’s credit rating to B3 on July 25, 2008, and then to Ca on February 4, 2009. PX 1612.

S&P downgraded the Certificate’s credit rating to B on October 6, 2008. PX 1613.

       506.    In July 2007, at the request of Mr. Spagna, Nomura conducted a post-closing fraud

review on the loans underlying the NHELI 2007-1 Securitization, which involved reviews of the

loan origination files, servicing comments, and pay histories. PX 818 at 4. That review found that

“19% of the pool reviewed exhibited a high probability of fraud for profit and/or fraud for property

(Event 3),” and that “[l]oans with the highest fraud score also had (1) Higher FICOs; (2) Lower

LTV’s; (3) Higher balances; (4) Higher valued homes; [and] (5) Lower percentage sampled at

acquisition.” Id. at 6-8; see also PX 1373; PX 815. Two of the six loans identified as having a

high probability of fraud (loan numbers                and            ) were included in the

NHELI 2007-1 SLG. Cipione Direct ¶ 77; PX 1583.

                       (f)    The NHELI 2007-2 SLG
       507.    The NHELI 2007-2 SLG contained 3,001 loans, which were drawn from 56 loan

pools purchased from over 30 originators, including Ownit, First NLC, Equifirst, ResMAE, and

Funding America, between March 1, 2006 and December 30, 2006. Cipione Direct ¶¶ 5, 9; PX

1571; PX 1574.

       508.    Before the NHELI 2007-2 Securitization was issued on January 31, 2007, Nomura

became aware that OwnIt, which originated 1,438 (47.9%) of the Mortgage Loans, Cipione Direct

¶ 9; PX 1574, had been originating loans that did not comply with guidelines. In November 2006,

Nomura conducted diligence on a pool known as “OwnIt 03,” and found that, although the loans in

the pool were described as Alt-A, “the[ir] characteristics [were] more subprime. 100% CLTV on

just about everything.” PX 1062 at 1. Christopher Scampoli, a contract employee who worked in

Nomura’s diligence group, noted that, within OwnIt 03, Nomura found “a significant number of


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loans with recent bankruptcies and delinquencies after the bankruptcy.” Id. at 2. Based on the

results of this diligence, Neil Spagna, the director of Nomura’s diligence group, stated that Nomura

“need[ed] to upsize the due diligence on the [second lien loans]” in its contemporaneous diligence

review of the OwnIt SP02 pool, which contributed 1,438 loans to the NHELI 2007-2 SLG . Id.

But despite Mr. Spagna’s request to upsize Nomura’s diligence sample beyond the 25% originally

agreed upon with OwnIt, PX. 193 at 4, there is no evidence that Nomura ever did so. Diligence

MSJ Op., 2014 WL 7232443, at *35.

        509.   In January 2007, roughly one month after OwnIt went out of business, Nomura

analyzed second-lien loans purchased from OwnIt that it had not reviewed before purchase. PX

485 at 1. This review was referred to as the “OwnIt SP02 Part 2” review, even though the OwnIt

SP02 pool was not one of the three pools that Nomura reviewed. Compare PX 271 (showing list

of loans in the OwnIt SP01, SP02, 01, 02, and 03 loan pools) with PX 484 (listing all loans subject

to diligence as part of the OwnIt SP02 Part 2 pool that did not include loans in the OwnIt SP02

pool, but did include loans in the not-at-issue OwnIt 01, 02 and 03 pools). On January 31, 2007,

the same day that NHELI 2007-2 was issued, Mr. Spagna and Mr. Sabo discussed the results of

this review, prompting Mr. Sabo to ask: “Is this getting worse or something??!!?” Mr. Spagna

responded by asking: “These all seconds?”, to which Mr. Sabo replied affirmatively. Mr. Spagna’s

response was: “What crap[.]” Less than two minutes later, Mr. Sabo agreed: “Yessir[.] PX 482

at 1. On February 5th, Mr. Sabo provided a breakdown of the complete results from the review and
issued a clear and strong warning about the results, with an arrow pointing to the astonishing

57.41% EV3 rate and the exhortation: “Danger Batman!!” PX 1437 at 1. Nevertheless, Nomura

and RBSSI represented that the OwnIt mortgage loans were originated generally in accordance

with the underwriting criteria described in the Prospectus Supplement. PX O0080 at 91; see also

id. at 89.

        510.   Nomura conducted credit and compliance diligence on 1,346 of the 3,001 loans in

the NHELI 2007-2 SLG. Cipione Direct ¶ 69; PX 1580. RBSSI retained Clayton and AMC to

conduct its reviews of the 56 underlying pools. See, eg., PX E1335; PX 1418. There is no


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evidence that Nomura provided AMC, which reviewed the OwnIt SP02 pools, id., with any

instructions regarding Nomura’s concerns about OwnIt, or that Nomura considered conducting

additional diligence on OwnIt loans in the SLGs based on its stated concerns of January 2007.

Only 23.5% of the OwnIt loans ultimately included in the SLG received any credit and compliance

diligence. Cipione Direct ¶ 9; PX 1574. The rest were represented to generally comply with

underwriting criteria without review. Furthermore there is no evidence that Nomura took any steps

to upgrade or further investigate its review practices or those of its vendors based on the results of

the IngletBlair review that had occurred in July and August 2006. See Part IV.B.1, supra.

       511.    The “kick-out” rate for some of the underlying pools were 12.27% for the OwnIt

SP02 pool, 9.94% for the First NLC SP03 pool, and 16.06% for the Equifirst SP03 pool, Cipione

Direct ¶ 9; PX 1574, but Nomura did not have any additional diligence performed on the

unsampled portions of these pools.

       512.    Of the 1,346 Mortgage Loans that Nomura’s vendors did review, at least 332

(24.67% of the SLG loans sampled for diligence) were graded as EV3 for credit or

compliance. Cipione Direct ¶ 14; PX 1575. The Diligence Group issued client overrides for 117

of these 332 loans (8.7 % of the SLG loans sampled for diligence), instructing the vendors to

regard them as acceptable for purchase and securitization. Id.

       513.    These waived in loans included loans that Nomura’s vendors found to have LTVs

that exceeded guidelines without compensating factors, DTIs that exceeded guidelines without
compensating factors, FICO scores that did not meet the minimums established by guidelines, as

well as loans that demonstrated a failure to properly verify employment, assets, credit history,
housing history, or income.

       514.    Another 49 loans (3.64% of the SLG loans sampled for diligence) received final
grades of EV3 for credit or compliance, Cipione Direct ¶ 14; PX 1575, meaning that the Diligence

Group agreed that the loans were not suitable for purchase or securitization. Despite receiving

final EV3 grades, these 49 loans were included in the NHELI 2007-2 SLG, and there is no written

explanation for why they were securitized.


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       515.    These securitized EV3 loans included loans that Nomura and its vendors found to

have LTVs that exceeded guidelines without compensating factors, DTIs that exceeded guidelines

without compensating factors, unreasonable stated incomes, FICO scores that did not meet the

minimums established by guidelines, as well as loans that demonstrated a failure to properly verify

employment, assets, credit history, housing history, or income.

       516.    Of the 3,001 Mortgage Loans, there is no evidence that Nomura conducted any

meaningful valuation or appraisal review for 1,603 loans (53.42%). Cipione Direct ¶ 80; PX

1586. Nomura submitted 2,368 of the Mortgage Loans (78.9%) to CoreLogic, Cipione Direct

¶ 34; PX 1576, of which 1,450 (48.3% of the SLG) received an F-Score of 0 and hence no further

review. Id. Another 120 loans received no F-Score, AVM value, BPO value, or final value.

Nomura ordered an AVM review for 1,222 Mortgage Loans, of which 344 (11.5% of the SLG)

received AVM values more than 10% lower than their appraised values. Id. Nomura ordered a

BPO review for 426 Mortgage Loans, of which 172 (5.73% of the SLG) produced values outside

the 10% subprime threshold. Id. Nomura engaged in a reconciliation process with the lenders for

170 of the loans in which its reconciled value equaled the original appraisal value for 26 loans, but

not for the remaining 144. Id. Nomura securitized all 170 of these loans, but it did not use its

valuation results to recalculate the LTV ratios in the Prospectus Supplements and it did not

disclose the results of its reviews to investors. See PX O0080 at 51 (representing that none of the

SLG loans had an LTV ratio greater than 100%); PX 148 (loan tape showing LTV ratio of              for

loan number              ); PX E0413 (valuation diligence results showing LTV ratio of             for

loan number              ).

       517.    RBSSI served as the lead underwriter for the NHELI 2007-2 Securitization. PX

O0080 at 1. Prior to underwriting the NHELI 2007-2 Securitization, RBSSI became aware in the

spring of 2006 that First NLC, which originated 312 (10.4%) of the Mortgage Loans, Cipione

Direct ¶ 9; PX 1574, was originating loans that did not comply with guidelines. See, supra Part

IV.B.2.c. In October 2006, when discussing repurchase requests for First NLC early payment

defaults, Anthony Constantine at RBSSI noted that BPOs ordered on the loans “came back with


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large value issues.” PX 1235. Peter McMullin replied that “[t]here are a couple of real nasty

value declines here,” and wondered whether “First NLC has an [appraisal] problem.” Id.

        518.    RBSSI retained Clayton to conduct credit and compliance due diligence related to

the NHELI 2007-2 Securitization. Stipulation ¶ 58; see PX E2179. RBSSI did not draw a sample

from the NHELI 2007-2 SLG, but rather a sample from all the loans in a pool known as “NHELI

2007-HE1,” PX 1262; PX 1617, which was later subdivided into the two SLGs backing NHELI

2007-2, including the one at issue. See PX O0080 at 44.

        519.    As Mr. Farrell was drawing the sample, he wrote to Mr. Whittemore, “[t]his one is

crap. I’m looking for a suggestion.” PX 1248. Mr. Farrell warned Mr. Smith that “[t]his [sample]

will be larger than 250.” PX 1258 at 1. When asked why, Mr. Farrell explained, “Because it’s

crap.” Id. Mr. Smith replied, “OK. Do what you feel comfortable with.” Id. Mr. Farrell then told

Mr. Smith, “I would like to review 25% of the total loan population,” or 1,284 of the 5,136 loans

in the NHEL 2007-HE1 pool. Id. Within one minute, Mr. Smith replied, “We don’t own the pool.

Call me.” Id. When asked at his deposition “why Mr. Smith would want to take this conversation

off line,” Mr. Farrell said he did not know. Farrell Dep. 731:22-732:5

        520.    After Mr. Farrell’s discussion with Mr. Smith, RBSSI selected a sample of only 368

loans from the pool (7.2% of the 5,120 loans), of which only 306 were actually reviewed,

including 168 that were placed into the NHELI 2007-2 SLG. PX 1262 at 2; Cipione Direct ¶ 41;

PX 1577. There is no evidence that RBSSI provided Clayton with any instructions regarding
RBSSI’s concerns about First NLC’s origination of loans “outside [of] normal parameters” and

loans with “large value issues.” Nor is there any evidence that RBSSI requested that Clayton
review the NHELI 2007-HE1 loans with added scrutiny in light of Mr. Farrell’s initial impression

of the collateral.
        521.    Of the 168 Mortgage Loans that Clayton reviewed for RBSSI, 57 (33.93% of the

SLG loans sampled for diligence) were graded as EV3. Brian Farrell issued client overrides for 52

of these loans, instructing the vendors to regard them as acceptable for purchase and securitization.

Cipione Direct ¶ 41; PX 1577.


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       522.    There is no evidence that Nomura or RBSSI took any steps to confirm that loans in

the NHELI 2007-2 SLG whose underlying properties were represented as being owner-occupied

were actually occupied by their owners as of the Cut-Off Date.

       523.    RBSSI commissioned Nationwide Property & Appraisal Services (“Nationwide”) to

perform “drive by” appraisals on 100 of the 306 loans within its credit and compliance sample for

the NHELI 2007-2 Securitization. Cipione Direct ¶ 41; PX 1578; PX 1273. Of those 100 loans,

47 were in the NHELI 2007-2 SLG. Cipione Direct ¶ 41; PX 1578. Nationwide returned appraisal

values for 44 of the 47 loans in the SLG, and for 31 of those 44 completed appraisals, Nationwide

reported appraised values lower than those reflected in the LTV ratios reported in the Prospectus

Supplements. Id.; PX 1273. Nationwide reported that for nine of the Mortgage Loans the drive by

appraisals would result in LTV or CLTV ratios over 80%, even though those loans were

represented as having LTV or CLTV ratios at or below 80%. Cipione Direct ¶ 41; PX 1578.

Nationwide also reported that for ten of the Mortgage Loans the drive by appraisals would result in

LTV or CLTV ratios over 100%, even though those loans were represented as having LTV or

CLTV ratios at or below 100%. Id. RBSSI did not drop any of the loans and did not use its

valuation results to recalculate the LTV ratios in the Prospectus Supplements, nor did it disclose

the results of its reviews to investors. PX O0080 at 51 (reflecting that no SLG loans had an LTV

ratio greater than 100%); PX 148 (loan tape reflecting the following loan level LTV:

           =         ); PX 1273 (valuation diligence results reflecting LTVs for Loan Number

           , as being above        ). In total, 14 of 92 loans subject to drive by appraisals by

Nationwide had a negative variance exceeding 20%, see id., and RBSSI has admitted that the

weighted average variance of the 92 loans was -8.83%. See RBSSI Counterstatement of Fact #740

in Opp. to FHFA Mtn. for Summary Judgment re: Due Diligence and Reasonable Care Defenses.

In fact, “RBS appeared to ignore entirely the results of its valuation review[]” as it took “no action

when a substantial portion of its sampled loans…appeared to have faulty appraisals.” Diligence

MSJ Op., 2014 WL 7232443, at *3. Brian Farrell could not recall any circumstances where




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RBSSI changed its disclosures to investors or third parties on the basis of its due diligence results.

Farrell In re Certain RBS RMBS Offerings Dep. 32:21-33:20.

       524.       As discussed supra, Part II.C.4, the Prospectus Supplement for the NHELI 2007-2

Securitization represented that the Class I-A-1 Certificate would not be issued unless it received an

AAA (or equivalent) credit rating. See PX O0080 at 17. As discussed above, that loan tape

included inaccurate LTV, occupancy, and DTI information.

       525.       On January 26, 2007, Dana Pasternak of RBSSI provided the loan tape for the

NHELI 2007-2 Securitization to Moody’s and S&P. See PX 409; PX 411; PX 405; PX 407. As

discussed above, that loan tape included inaccurate LTV, occupancy, and DTI information. See

Part IV, supra.

       526.       On January 31, 2007, Moody’s and S&P sent their credit ratings for the NHELI

2007-2 Certificates to Nomura. PX 140; PX 139. RBSSI received copies of both rating letters on

that same day. PX 140 (addressed to both Timothy Crowley at Nomura and Adam Smith at

RBSSI); PX 1440. The S&P letter represented: “The rating is based on information supplied to us

by [Nomura] or by [Nomura’s] agents but does not represent an audit. We undertake no duty of

due diligence or independent verification of any information. . . . We have not consented to and

will not consent to being named an ‘expert’ under the applicable securities laws, including without

limitation, Section 7 of the Securities Act of 1933.” PX 139 at 1. The S&P letter also stated:

“Standard & Poor’s relies on the issuer and its counsel, accountants, and other experts for the
accuracy and completeness of the information submitted in connection with the rating. This rating

is based on financial information and documents we received prior to the issuance of this letter. . . .
Standard & Poor’s assumes that the documents [Nomura has] provided to us are final.” Id. 1-2.

The S&P letter also stated: “Standard & Poor’s undertakes no duty of due diligence or independent
verification of the information provided by [Nomura] or [Nomura’s] agents. Standard & Poor’s

reserves the right to withdraw the rating if [Nomura] or [Nomura’s] agents fails to provide

Standard & Poor’s with accurate, complete, timely, or reliable information.” Id.




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       527.    Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2007-2 Certificate as AAA (or equivalent). PX 140; PX 139. S&P downgraded the

Certificate’s credit rating to CCC on August 4, 2009. PX 1609.

                      (g)     The NHELI 2007-3 SLG
       528.    The NHELI 2007-3 SLG contained 1,914 loans, which were drawn from 27 loan

pools purchased from 18 originators including ResMae and WMC between May 31, 2006 and

February 26, 2007. Cipione Direct ¶¶ 5, 9; PX 1571; PX 1574.

       529.    Before the NHELI 2007-1 Securitization was issued on May 1, 2007, Nomura

became aware that ResMAE, which originated 1,483 (77.5%) of the Mortgage Loans, Cipione

Direct ¶ 9; PX 1574, was originating loans that did not comply with guidelines. For example, a

December 7, 2006 email noted that Nomura’s Risk and Credit Committee proposed to “reduce

credit lines” for ResMAE and that “no additional purchases” should be made from ResMAE “until

a final decision regarding” its credit limits. PX 708 at 1. This email came several weeks before

the ResMAE SP02 deal closed on December 29, 2006, and months before the NHELI 2007-3

Securitization was issued. Nevertheless, Nomura represented that the ResMAE mortgage loans

were originated generally in accordance with the underwriting criteria described in the Prospectus

Supplement. PX O0051 at 92; ; see also id. at 88.

       530.    Nomura conducted credit and compliance diligence on 756 of the 1,914 loans in the

NHELI 2007-3 SLG. Cipione Direct ¶ 69; PX 1580. It retained AMC to conduct its reviews of
the 27 underlying pools. See, e.g., PX 1423. There is no evidence that Nomura provided AMC,

which reviewed the ResMAE SP01 and ResMAE SP02 pools, PX 1422; PX 1423, with any
instructions regarding Nomura’s concerns about ResMAE’s origination of defective loans. Only

31.56% of the ResMAE loans ultimately included in the SLG received any credit and compliance
diligence. Cipione Direct ¶ 9; PX 1574. The rest were represented to generally comply with

underwriting criteria without review.




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       531.    The “kick-out” rate for some of the underlying pools were 6.4% for ResMAE SP01,

14.6% ResMAE SP02, and 39.9% for WMC SP01, Cipione Direct ¶ 14; PX 1575. Yet Nomura

did not have any additional diligence performed on the unsampled portions of these pools.

       532.    Of the 756 Mortgage Loans that Nomura’s vendors reviewed, they graded at least

129 (17.06%) as EV3 for credit or compliance. Cipione Direct ¶ 14; PX 1575. The Diligence

Group issued client overrides for 35 of these loans (4.63% of the SLG loans sampled for

diligence), instructing the vendors to re-grade them as EV2 or EV2W—i.e., acceptable for

purchase and securitization. Id.

       533.    These waived in loans included loans that Nomura’s vendors found to have LTVs

that exceeded guidelines without compensating factors, DTIs that exceeded guidelines without

compensating factors, FICO scores that did not meet the minimums established by guidelines, as

well as loans that demonstrated a failure to properly verify assets, credit history, housing history,

or income.

       534.    Another 41 loans (5.42% of the SLG loans sampled for diligence) received final

grades of EV3 for credit or compliance, Cipione Direct ¶ 14; PX 1575, meaning that the Diligence

Group agreed that the loans were not suitable for purchase or securitization. Despite receiving

final EV3 grades, these loans were included in the NHELI 2007-3 SLG, and there is no written

explanation for why they were securitized.

       535.    These securitized EV3 loans included loans that Nomura and its vendors found to
have LTVs that exceeded guidelines without compensating factors, FICO scores that did not meet

the minimums established by guidelines, as well as loans that demonstrated a failure to properly
verify assets, credit history, housing history, or income.

       536.    There is no evidence that Nomura took any steps to confirm that loans in the
NHELI 2007-3 SLG that were represented as being owner occupied were actually occupied by

their owners as of the Cut-Off Date.

       537.    Of the 1,914 Mortgage Loans, there is no evidence that 1,187 (62%) received any

meaningful valuation or appraisal review. Cipione Direct ¶ 80; PX 1586. Nomura submitted 67


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Mortgage Loans to Hansen and 1,846 of the SLG loans (96.45%) to CoreLogic, of which 1,140

(59.56% of the SLG) received an F-Score of 0, and hence no further review. Cipione Direct ¶ 34;

PX 1576. Another 20 loans received no F-Score, AVM value, BPO value, or final value. Id.

Nomura ordered an AVM review for 573 Mortgage Loans, of which 149 (7.79% of the SLG)

received AVM values more than 10% lower than their appraised values for subprime loans. Id.

Nomura ordered BPO reviews for 262 Mortgage Loans, of which 79 (4.13% of the SLG) produced

values outside the 10% subprime thresholds. Id. Nomura engaged in a reconciliation process with

the lenders in which its reconciled value equaled the original appraisal value for 24 the 79 loans,

but not for the remaining 55. Id. Nomura nonetheless securitized all 79 of these loans, but it did

not use its valuation results to recalculate the LTV ratios in the Prospectus Supplements and it did

not disclose the results of its reviews to investors. See PX O0051 at 52 (representing that none of

the SLG loans had an LTV ratio greater than 100%); PX 149 (loan tape showing LTV ratio of

      for loan number               ); PX E0413 (valuation diligence results showing LTV ratio of

        for loan number               ).

       538.       As discussed supra, Part III.C.4, the Prospectus Supplement for the NHELI 2007-3

Securitization represented that the Class I-A-1 Certificate would not be issued unless it received an

AAA (or equivalent) credit rating. See PX O0051 at 17.

       539.       On March 13, 2007, Michael Orfe of Nomura provided the loan tape for the NHELI

2007-3 Securitization to Moody’s and S&P. PX 171 at 1; PX 172; PX 173; PX 175 at 1; PX 176.

As discussed above, that loan tape included inaccurate LTV, occupancy, and DTI information. See

Part IV, supra.

       540.       On April 27, 2007, Moody’s sent its credit ratings for the NHELI 2007-2

Certificates to Nomura. PX 141. On April 30, 2007, S&P sent its credit ratings for the NHELI

2007-3 Certificates to Nomura. PX 1295. The S&P letter represented: “The rating is based on

information supplied to us by [Nomura] or by [Nomura’s] agents but does not represent an audit.

We undertake no duty of due diligence or independent verification of any information. . . . We

have not consented to and will not consent to being named an ‘expert’ under the applicable


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securities laws, including without limitation, Section 7 of the Securities Act of 1933.” Id. at 1.

The S&P letter also stated: “Standard & Poor’s relies on the issuer and its counsel, accountants,

and other experts for the accuracy and completeness of the information submitted in connection

with the rating. This rating is based on financial information and documents we received prior to

the issuance of this letter. Standard & Poor’s assumes that the documents [Nomura has] provided

to us are final.” Id. at 2. The S&P letter also stated: “Standard & Poor’s undertakes no duty of due

diligence or independent verification of the information provided by [Nomura] or [Nomura’s]

agents. Standard & Poor’s reserves the right to withdraw the rating if [Nomura] or [Nomura’s]

agents fails to provide Standard & Poor’s with accurate, complete, timely, or reliable information.”

Id. at 3.

        541.   Based on the information provided by Nomura, S&P and Moody’s both rated the

NHELI 2007-3 Certificate as AAA (or equivalent). S&P downgraded the Certificate’s credit

rating to B on January 13, 2009. PX 1611.

V.      THE FALSE REPRESENTATIONS WERE MATERIAL
        542.   Compliance with underwriting guidelines, LTV ratios, and occupancy status were

material to RMBS investors because these characteristics, if accurately represented, allowed

investors to assess the credit risk of the underlying loan pools supporting the Certificates. See

Blum Direct ¶¶ 18, 21. Defendants’ representations regarding the credit ratings assigned to the

Certificates were also material to RMBS investors because the ratings provide important credit risk
assessments as to the securities. The materiality of these characteristics and ratings is supported by

several types of evidence.
        543.   First, purchasers of mortgage loans and RMBS considered compliance with the

applicable underwriting guidelines, the stated LTV ratio, and the owner occupancy status as key
pieces of information in the total mix of information used to evaluate credit risk. See Part V(A),

infra. Nomura evaluated these factors in purchasing loans intended for inclusion in Nomura

securitizations, and assessing the accuracy of these factors was a principal focus of the diligence

Defendants conducted with respect to securities disclosures provided to RMBS investors. See


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Parts V(A)(1)(a), (A)(2)(a), (A)(3)(a), infra. Defendants’ RMBS disclosures to investors also

featured prominent representations regarding compliance with underwriting guidelines and

representations regarding the accuracy of the loan and pool characteristic disclosures, including

disclosures as to LTV ratio and owner occupancy status. See Parts V(A)(1)(b), (A)(2)(b),

(A)(3)(b), infra. Indeed, regulations specifically applicable to RMBS disclosures identify loan

characteristics such as LTV and owner occupancy status as “material,” while regulatory

obligations and Defendants’ own securities disclosures to investors reflect the materiality of a 5%

disclosure threshold for pool-level characteristics (which FHFA’s experts found far exceeded

here). See Part V(B), infra. The GSEs considered underwriting compliance, LTV ratios, and

owner occupancy in making RMBS investment decisions. See Parts V(A)(1)(b), (A)(2)(b),

(A)(3)(b), infra. The credit rating agencies, whose ratings were important to RMBS investors, also

sought confirmation that loans were originated in compliance with guidelines and that loan

characteristics such as LTV and owner occupancy status used in modeling credit risk were

accurately represented. See Part V(A)(1)(c), infra.

       544.    Second, Defendants’ representation regarding the credit ratings of the Certificates

were also material to RMBS investors, including the GSEs. The rating agencies required

representations regarding underwriting compliance, and based their credit ratings of RMBS on

credit characteristics including LTV ratios, occupancy status, and DTI ratios. See Parts

V(A)(1)(c), (A)(2)(c), (A)(3)(c), infra. The accuracy of that data was material to the ratings
agencies as a general matter in issuing their credit ratings. See Part V(C)(4)(a), infra. The

correction of material inaccuracies in the data provided to rating agencies may have caused rating
agencies to withhold or withdraw a rating, and required a securities underwriter to accept a lower

rating from credit rating agencies, increase credit enhancements for the bonds, or remove defective
loans from the collateral pool. See Part V(C)(4)(a), infra. FHFA’s experts have specifically found

that Defendants provided the rating agencies with inaccurate credit characteristics for nearly half

of the SLG loans, see Part V(C)(4)(b), infra, and FHFA has shown that if Defendants had provided

accurate credit information to the rating agencies, the Certificates could have been issued with


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AAA ratings (or the equivalent), if at all, only if the subordination levels had been higher than

actually present at issuance.

        545.       Finally, based on evidence that the credit risk of the Mortgage Loans underlying the

Certificates was significantly greater than represented in the Offering Documents, see Part V(D),

infra, an underwriter seeking to offer similar certificates during the 2005-2007 period would have

been required to remove the defective mortgage collateral, structure the transaction in a

fundamentally different manner than how the Certificates were offered, if such securities could

have been offered at all, and/or revise the securities disclosures to describe the actual collateral

characteristics.

        A.         Compliance With Underwriting Guidelines, LTV Ratios, And Owner
                   Occupancy Status Were Material To Investors In Assessing Credit Risk Of
                   Mortgage Loans And RMBS

                   1.     Whether Mortgage Loans Were Underwritten In Compliance With
                          Underwriting Guidelines Was Important To Investors
        546.       Underwriting guidelines specify the parameters or benchmarks that are generally to

be followed by underwriters when issuing a mortgage loan and setting its terms. These parameters

include required values for, among other things, credit scores, LTV ratios, and debt-to-income

ratios, and may vary depending on occupancy type and other factors. Barth Direct ¶ 15 (citing

Defendants’ expert, Professor Vandell).

        547.       Underwriting guidelines are primarily intended to assess the ability and willingness

of the borrower to repay the mortgage debt. See Hunter Direct ¶ 135; Blum Direct ¶¶ 20-21; see

also, e.g., PX O0049 at 71 (NHELI 2006-FM1 Prospectus Supplement); PX O0072 at 111

(NHELI 2007-1 Prospectus Supplement).

        548.       Compliance with such guidelines promotes consistency and objectivity in mortgage

lending decisions and provides investors—whether purchasing loans or investing in RMBS—with

an objective yardstick pursuant to which they can accurately assess the credit risk of the collateral.

Blum Direct ¶ 20. The risk of loan defaults directly affects the value of the Certificates supported

by those loans, as a pool of mortgage loans has a finite amount of cash flow that is used to pay



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expenses of the trust and principal and interest to investors. Blum Direct ¶ 45. Thus, compliance

with underwriting guidelines is important to RMBS investors because of the risk that non-

compliance will increase underlying collateral default and loss, and thus the credit risk of an

RMBS investment. See Blum Direct ¶ 21.

       549.    The importance of underwriting guidelines is shown by, among other things, the

fact that when underwriting guidelines are relaxed, more buyers qualify for loans. Barth Direct

¶ 15 (citing Defendants’ expert, Professor Vandell). Approving loans that did not comply with

stated underwriting guidelines, and not disclosing this practice to investors, allowed additional,

unqualified borrowers to obtain loans and also facilitated the securitization of those loans. Barth

Direct ¶ 16.

       550.    As further detailed below, Nomura viewed compliance with underwriting

guidelines as a material factor in assessing the credit risk of the Mortgage Loans, representations

regarding underwriting compliance were important disclosures in RMBS transactions, and credit

rating agencies considered such representations a prerequisite to rating an RMBS transaction.

                       (a)    Nomura Evaluated Compliance With Underwriting Guidelines
                              In Purchasing The Mortgage Loans
       551.    Nomura considered compliance with underwriting guidelines to be a material factor

in its decision to purchase a pool of loans. See Kohout Dep. at 280:9-15; Marvin Dep. at 212:15-

213:12. Nomura’s loan-level review at acquisition included a credit review to determine whether

the loans adhered to applicable underwriting guidelines. Sabo Dep. at 65:20-66:2 (agreeing that

that “the main part of the due diligence process was supposed to determine whether the loans

complied with underwriting guidelines”); see also Spagna Dep. at 28:3-10 (agreeing that “one of

[his] functions at Nomura in due diligence was to see whether a loan complied with an

underwriting guideline”).

       552.    Consistent with the testimony of FHFA’s experts, Nomura viewed compliance with

underwriting guidelines as a means to determine the borrowers’ ability to repay the loan. Compare

Hartnagel Dep. at 57:20-58:3 (agreeing that underwriting guidelines were designed “to assist in



                                                 159
determining” whether the borrower has the ability to repay the mortgage loan) with Hunter Direct

¶¶ 15, 135; PX 1627; Blum Direct ¶¶ 20-22.

          553.    Nomura retained third-party diligence vendors to determine if loans complied with

underwriting guidelines, and directed those firms to use a grading system that reflected whether the

loans complied or not. See Spagna Dep. 246:5-8, 246:14-18; Prahofer 30(b)(6) Dep. 82:17-83:5;

Hartnagel Dep. 409:21-25.

          554.    Moreover, Nomura required sellers to represent that loans were originated in

compliance with applicable underwriting guidelines. In the Mortgage Loan Purchase Agreements

for the Securitizations, NAAC or NHELI required Nomura Credit to represent that “[e]ach

Mortgage Loan is and will be a mortgage loan arising out of the originator’s practice in accordance

with the originator’s underwriting guidelines.” PX 229 at 13.15
          555.    In its Mortgage Loan Purchase Agreements with originators with respect to

acquisition loan pools, Nomura Credit required originators to represent that each “Mortgage Loan

was underwritten in accordance with Underwriting Guidelines of the Seller in effect at the time the

Mortgage Loan was originated.” See, e.g., PX 1068 at 28.16

          556.    That Nomura sought representations in these two types of agreements that it used to

purchase loans for securitization provides further evidence that it considered compliance with

underwriting guidelines to be a material factor, not only in its decision to purchase mortgage loans,

but also in offering RMBS to investors.

                           (b)     Representations That Loans Were Originated In Accordance
                                   With Applicable Underwriting Guidelines Were An Important
                                   Part Of RMBS Transactions
          557.    The importance of underwriting compliance is also demonstrated by the fact that

RMBS disclosures typically provide investors descriptions of the underwriting guidelines used to

originate the loans serving as collateral and provide representations that the collateral was



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     See also PX 1483 at 13 (same); PX 1484 at 13 (same); PX 1485 at 14 (same).
16
     See also PX 1486 at 27 (same); PX 1487 at 27 (same); PX 1488 at 28 (same).


                                                        160
originated in general compliance with those guidelines. Blum Direct ¶ 21; Rubinstein ¶ 78; Hunter

Direct ¶ 11; PX 1626.

       558.    Compliance with underwriting guidelines was important to RMBS investors

because, as noted above, loans that do not comply with underwriting guidelines have increased

credit risk, relative to compliant loans, and the higher default and loss rates would reduce the cash

flow that is available to pay RMBS investors. Blum Direct ¶¶ 21, 58; see Hunter Direct ¶ 135-36.

       559.    Here, the Offering Documents for each of the Certificates at issue included

descriptions of the underwriting guidelines used to originate the Mortgage Loans, and included

prominent representations that the loans supporting the Certificates were originated generally in

compliance with such guidelines. See generally PX O0059 at 93; Blum Direct ¶ 21; Hunter Direct

¶ 11; PX 1626.

       560.    Nomura Securities and RBSSI also recognized that the disclosures regarding

underwriting compliance were material to investors because a principal focus of the diligence

process discussed above relied upon to support their disclosures focused on underwriting

compliance. See Part IV(B)(1), supra. That diligence process also recognized that certain defect

thresholds would be material. RBSSI’s Credit Procedures Manual noted that material exceptions

in greater than 20% of a sample of a pool of loans typically warranted an increase in the due

diligence sample for a prospective loan purchase. PX 1286 at 37 (“For each transaction type,

when significant material exceptions are found (typically greater than 20%), the sample size
should be expanded and may consist of additional random selections and/or discretionary samples

focusing on the issues raised by the original random sample.”); Whittemore Dep. 115:16-116:9
(Chief Underwriter at RBSSI agreeing that for a material exceptions rate of greater than 20%, it

“would be brought to someone’s attention.”).
       561.    While the Court has found the diligence process Defendants used to be insufficient

to support an affirmative defense, 2014 WL 7232443, at *37, that a principal focus of the process

was presented as assessing underwriting compliance confirms the importance of such information

to RMBS investors. Similarly, while RBSSI’s 20% defect threshold for increasing its diligence


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review on prospective purchases was not, as the Court has already held, sufficiently rigorous for

the purposes of due diligence, 2014 WL 7232443, at *10, RBSSI’s recognition of that threshold is

evidence that underwriting or other material defects in greater than 20% of the underlying pool

would certainly be material to RMBS investors. FHFA’s experts have shown that that threshold is

well exceeded here. See Part IV, supra.

         562.     The GSEs considered adherence to underwriting guidelines in their RMBS

investment invest decisions.17 See Aneiro Dep. 260:6-261:21 (“Q. If an originator does not follow

its own guidelines and that originator’s loans are backing nonagency PLS, would that have an

impact on the nonagency PLS? A. Absolutely. Q. How? A. Well the guidelines are set for

investors to understand what the parameters around, are around the credit characteristics of the

general borrower. . . . If they’ve got a definition as to what the loans were underwritten to and what

the guidelines are and we find out that those guidelines weren’t upheld to and the loans are

originated at much poorer quality than when our credit group is looking at aggregated loan data

and trying to come up with an expected loss and expected bad scenario to understand what level of

credit, or credit subordination should exist to make us feel secure at our AAA level, if the data is

wrong and worse, then that implies that the subordination that would have been required to give us

comfort at a AAA level ended up being much lower than what we would have determined, which

means that our decision to purchase the deal would most likely have been much different than if

the originator had followed those guidelines.”); id. at 335:5-338:2 (similar); see also Palmer Direct


17
    The GSEs also considered the loans’ documentation program used to underwrite the Mortgage Loans as a factor in
their PLS investment process. Salahuddin Dep. 459:21-462:17 (“I remember there being a stip specifically related to
documentation. . . Q. Why did you want to avoid too many low or no doc loans in your pools? A. Low or no doc loans
are – there’s less information by which to make an assessment on the profile of that particular borrower, and so, you
know, in our business it’s important to be able to make some predictions about what you think this borrower is going
to do from a credit perspective, whether or not they will pay and how long you think they will pay for prior to not
paying, and then also from a rate perspective, whether they will prepay their loan early or not. Both things are
impactful to, to valuations.”); see also Palmer Direct ¶¶ 18-19 (“For each potential purchase, the dealer offering a
certificate for purchase provided a spreadsheet containing information about each of the characteristics for the pool of
loans in the securitization. Dealers provided aggregated data (rather than loan-level data) because Freddie Mac policy
prohibited me from viewing loan-level data (either loan files or loan tapes) on a potential PLS purchase. . . . The
dealer-provided spreadsheet included the following aggregated credit characteristics of the securitization loans, which
I used to project potential credit performance: [ ] i. Documentation type, including full/alternative documentation,
stated income or limited documentation, and no income-no asset.”).


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¶ 8 (“Freddie Mac sent dealers the Investment Requirements and dealers were responsible for

ensuring the loans backing any PLS complied with the Investment Requirements. The Investments

Requirements obligated PLS sellers to represent, among other things, the Certificate loans were

made to borrowers who had the ability to repay the loans.”); PX 00304; PX 00672; PX 00673; PX

00728; PX 00729; PX 00106; PX 1061; Palmer Direct ¶ 17 (explaining Freddie Mac PLS credit

risk analysis procedures considered adherence to guidelines because “[u]nderwriting standards can

have an [e]ffect on deal performance.”); PX 00118 at 3; PX 00104.

                        (c)    Credit Rating Agencies Required Loans To Meet Applicable
                               Underwriting Guidelines When Rating RMBS Transactions
          563.   The rating agencies also viewed compliance with underwriting guidelines to be

important in assessing and rating RMBS transactions. In rating RMBS transactions, including the

Securitizations, Standard & Poor’s required RMBS issuers to represent that “[e]ach mortgage loan

is and will be a mortgage loan arising out of the originator’s practice in accordance with the

seller/originator’s underwriting guidelines,” and that “[t]he seller has no knowledge of any fact

that should have led it to expect at the time of the initial creation of an interest in the mortgage

loan that such mortgage loan would not be paid in full when due.” PX 125 at 133; PX 1320 at 23

(same).

          564.   Similarly, in rating RMBS transactions, including the Securitizations, Moody’s

expected that loans in a given pool were originated “[a]ccording to the underwriting guidelines or .

. . if there are exceptions, [the loans] would go through the exceptions process.” Chatterjee

30(b)(6) Dep. 201:21-202:7 (“Q. And was Moody’s expectation that the loans in the pool had been

– would have been originated according to the underwriting guidelines? . . . A. According to the

underwriting guidelines or as stated through the – if there are exceptions, they would go through

the exceptions process.”).

          565.   This evidence provides a reasonable basis upon which to find that whether a loan

was underwritten in accordance with applicable underwriting guidelines would be among the

information material to an RMBS investor.



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               2.      LTV Ratios Were Important To Investors
       566.    The LTV ratio is an important factor in assessing the credit risk of a loan because

higher LTV loans have a greater likelihood of default, see Hunter Direct ¶ 47; Kilpatrick Direct

¶ 34, and thus it is also a key factor that investors typically consider in evaluating the risks

associated with an RMBS, see Blum Direct ¶ 18.

       567.    In addition, all else being equal, a higher LTV ratio represents a potentially higher

loss severity because a smaller cushion exists between the estimated market value of the property

and the unpaid principal balance of the loan, with the incumbent risk that the holder of the loan

will not be able to recover the amount of the unpaid principal balance in a foreclosure sale. See

Hunter Direct ¶ 47; Schwert Direct ¶ 12; Kilpatrick Direct ¶ 38.

       568.    As discussed below, Nomura considered LTV ratios to be one of the key factors

in assessing the credit risk of a mortgage loan, LTV disclosures were important to RMBS

investors, and rating agencies considered LTV ratios an important characteristic in modeling

RMBS credit risk.

                       (a)     Nomura Considered LTV Ratios Important In Assessing The
                               Credit Risk Of A Loan
       569.    In determining whether to buy a pool of loans, Nomura viewed LTV ratios as an

“important factor” and “key component” when assessing the credit risk of mortgage loans. See

Kohout Dep. 35:5-16; id. at 36:15-36:22; Sabo Dep. 64:8-17; Spagna Dep. 19:17-25; Katz Dep.

17:10-18:6. As Jeffrey Hartnagel, a member of Nomura’s Credit Group, testified, “the more
equity a borrower has in the property, the le[ss] likely he is to default” because the borrower would

not “walk away from money.” Hartnagel Dep. 65:10-66:11.
       570.    Accordingly, Nomura witnesses agreed that lower LTV ratios generally indicated

lower levels of credit risk and higher LTV ratios generally indicated higher risk. See McCarthy
Dep. 179:17-24 (agreeing that all other things equal, “the lower the LTV or the CLTV, the less

potential credit risk that a potential loan would present”); Sabo Dep. 174:8-15 (“Higher LTVs are

always associated with high risk.”); Spagna Dep. 96:8-13 (agreeing that generally, “the higher the

LTV, the higher the risk of the loan”); DePalma Dep. 177:7-22 (agreeing that LTV or CLTV was


                                                  164
“a factor in modeling the loss projections or loan performance” and that “a higher CLTV, all things

being equal, would raise the risk of delinquency in these products”).

       571.    Nomura recognized, consistent with FHFA’s experts, that credit risks were

particularly heightened for loans with LTVs and CLTVs exceeding 80% and 100%.

       572.    For loans with LTV ratios above 80% (“High LTVs”), even a minor deficiency in

the appraisal could put the loan “under water”—i.e., the value of the property collateralizing the

loan is less than the loan amount, which makes it almost certain that the loan will not be satisfied

in full by a sale of the property in the event of a borrower’s default. See Kilpatrick Direct ¶ 38.

       573.    As evidence of the importance of the 80% threshold in evaluating credit risk, when

buying a loan pool from an originator, Nomura considered the percentage of loans with LTV or

CLTV ratios over 80% to be relevant. Lee Dep. 192:17-193:18. Nomura recognized that loans

with LTV or CLTV ratios over 80% posed a greater risk of loss than loans with LTV or CLTV

ratios below that level. Lee Dep. 93:6-12.

       574.    Nomura also considered an LTV or CLTV ratio in excess of 100% to be a

“problem” because “the buyer is immediately underwater”—that is, “he owes more than the house

is worth”—hence “there is no equity built in,” and it is “an inherent risk.” Hartnagel Dep. 812:19-

813:16. As Nomura witnesses acknowledged, a “100 percent LTV would have been the

max[imum] that was acceptable in the market” from 2005 to 2007. Graham Dep. 56:24-57:23.

Investors did not find loans with LTV or CLTV ratios over 100% to be acceptable, because the
value of the property was insufficient to cover the amount of the loan. Graham Dep. 57:24-58:6;

see also PX 1489 at 2 (Dep. Ex. 6501, email from John Graham to Michael Orfe, dated Dec. 13,
2006) (noting that loans with LTV ratios over 100% “will limit the investor base”).

       575.    When buying a loan pool from an originator, Nomura considered the percentage of
loans with LTV or CLTV ratios over 100% to be relevant. Lee Dep. 192:17-193:18. Nomura’s

proffered valuation expert, Lee Kennedy, confirmed that whether a loan’s LTV ratio exceeded

100% is “a piece of data that would be important to the acquisition of any loan.” Kennedy Dep.

191:22-192:17.


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        576.     In its Mortgage Loan Purchase Agreements, Nomura required originators to

represent that “[n]o Mortgage Loan had an LTV or CLTV at origination in excess of 100%.” See,

e.g., PX 1068 at 30 (Master Mortgage Loan Purchase Agreement with Metrocities Mortgage, LLC,

dated Apr. 1, 2005) .18

        577.     Finally, in conducting diligence on acquisition pools, Nomura included in its

stipulations that any loans that had LTV or CLTV ratios in excess of 100% should be “kicked”

from the pool. PX 588 at 2-3; see also PX 1492 (Standard Stips for Alt A 1st Liens, Alt A 2nd

Liens, and Sub Prime dated Feb. 28, 2007) (listing as a standard stipulation of whole loan trades,

“No LTV/CLTV > 100%”); PX 1493 (Standard Stips for Alt A 1st Liens, Alt A 2nd Liens, and

Sub Prime dated Aug. 14, 2006) (same). Nomura directed its third-party diligence vendors,

including Clayton, to grade loans with LTV or CLTV over 100% as an EV3. PX 34 at 25.

                          (b)      Representations Concerning LTV And CLTV Ratios, Including
                                   Those Addressing 80% And 100% Thresholds, Were An
                                   Important Part Of RMBS Transactions
        578.     Because LTV ratios had significant impact on the default risk and loss severity of a

loan, they played an important role in an investor’s evaluation of the credit risk for RMBS

transactions. Regulation AB has, at all relevant times, required ABS issuers to “[d]escribe the

material characteristics of the asset pool[,]” and noted specifically that “such [material

characteristics] may include, among other things…[l]oan-to-value (LTV) ratios[.]” 17 C.F.R.

§ 229.1111(b), (b)(7)(iii), (b)(7)(iv) (Mar. 8, 2005); see also Rubinstein Direct ¶ 79-80; Blum
Direct ¶ 68. The Prospectus Supplements here disclosed the Weighted Average LTV for the




18
    See also PX 1486 at 28 (Master Mortgage Loan Purchase Agreement with Equifirst Corporation, dated Feb. 1,
2006) (same); PX 1487 at 28 (Master Mortgage Loan Purchase Agreement with Fremont Investment & Loan, dated
May 1, 2005) (same); PX 185 at 3 (Pool Summary and Trade Confirmation with Fremont, dated Aug. 30, 2005)
(requiring for Fremont SP02 that “No Mortgage Loan shall have a CLTV/LTV greater than 100%”); PX 1490 at 3
(Pool Summary and Trade Confirmation with People’s Choice Home Loan) (same requirement for Peoples Choice
SP02); PX 558 at 3 (Pool Summary and Trade Confirmation with Ownit Mortgage Solutions, Inc.) (same requirement
for Ownit SP02); PX 1491 (email from R. Lee to G. Williams dated Feb. 6, 2007, email from Randall Lee stating that
Nomura usually required originators to represent that the pools did not contain any loans with LTV or CLTV ratios of
over 100%).


                                                        166
Supporting Loan Groups. See PX O0059 at 13 (NAA 2005-AR6 Prospectus Supplement) (stating

that the Weighted Average Original LTV for Group III loans is 74.68%).19

        579.    In addition to disclosing Weighted Average LTV ratios, the Prospectus

Supplements also made various disclosures reflecting the importance of the percentage of loans in

the pools with LTV or CLTV ratios below 80% and the absence of loans with LTV or CLTV ratios

of 100% or more. These disclosures reflected the fact that LTV or CLTV ratios of 80% and 100%

are important thresholds, not just for the purchase of loans, but also for RMBS investors in

evaluating the credit risk of a mortgage loan. Rubinstein Direct ¶ 79; Blum Direct ¶ 37.

        580.    The importance of high LTV to RMBS investors is also reflected in the Prospectus

Supplements at issue here, where Nomura represented to investors that “[m]ortgage loans with

higher loan-to-value ratios may present a greater risk of loss than mortgage loans with loan-to-

value ratios of 80% or below.” PX O0059 at 28 (NAA 2005-AR6 Prospectus Supplement);20 see
also Lee Dep. 55:15-56:23 (testifying that “every bucket,” including the over 80% LTV bucket in

the prospectus supplements, “would be important for the accuracy of the investor.”). Similarly, the

Prospectus Supplements specifically addressed the 100% threshold, representing that not a single

loan with an LTV in excess of 100% was included in the loan in the loans underlying the

Securitization. See Part III(C)(2), supra; Kilpatrick Direct ¶ 40. Loans with an LTV ratio over

100% are so risky that they were generally not acceptable for securitization, as confirmed by

Nomura’s witnesses. See Graham Dep. 67:5-9 and 67:18-22 (testifying that loans that had an LTV

greater than 100 percent were marked “unsourceable” so that “they could not inadvertently be


19
    See also PX O0049 at 14 (NHELI 2006-FM1 Prospectus Supplement) (stating that the Weighted Average Original
LTV for Group I loans is 81.07%); PX O0045 at 17 (NHELI 2006-FM2 Prospectus Supplement) (stating that the
Weighted Average Original LTV for Group I loans is 80.58%); PX O0041 at 16 (NHELI 2006-HE3 Prospectus
Supplement) (stating that the Weighted Average Original LTV for Group I loans is 78.97%); PX O0072 at 28 (NHELI
2007-1 Prospectus Supplement) (stating that the Weighted Average Original LTV for Group II-1 loans 78.67%); PX
O0080 at 18 (NHELI 2007-2 Prospectus Supplement) (stating that the Weighted Average Original LTV for Group I
loans is 81.86%); PX O0051 at 18 (NHELI 2007-3 Prospectus Supplement) (stating that the Weighted Average
Original LTV for Group I loans is 81.27%).
20
    See also O0049 at 13 (NHELI 2006-FM1 Prospectus Supplement) (same); PX O0045 at 15 (NHELI 2006-FM2
Prospectus Supplement) (same); PX O0041 at 14-15 (NHELI 2006-HE3 Prospectus Supplement) (same); PX O0072
at 25 (NHELI 2007-1 Prospectus Supplement) (same); PX O0080 at 17 (NHELI 2007-2 Prospectus Supplement)
(same); PX O0051 at 17 (NOMNHELI 2007-3 Prospectus Supplement) (same).


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sourced for a securitization.”); see also Sabo Dep. 62:8-12 (“Q. Can you think of any

circumstances when it was appropriate in mortgage loans to issue loans that had a loan-to-value

ratio over 100 percent? A. In general, no.”).

        581.     The GSEs considered collateral LTV ratios in their RMBS investment decisions.21

Hackney Dep. 63:23-64:13 (“Q. What information did you have at this stage that allowed you to

look at what loans underlay the transaction? A. The only information that I would have would be

that stratification that the dealer gave me…. It would have different categories broken out. What

is the number of loans; what is the size of the loan, meaning the UPB broken out by different

buckets. They would have LTV broken out by buckets; states broken out by buckets.”); see also

Palmer Direct ¶¶ 18, 19 (“For each potential purchase, the dealer offering a certificate for purchase

provided a spreadsheet containing information about each of the characteristics for the pool of

loans in the securitization. Dealers provided aggregated data (rather than loan-level data) because

Freddie Mac policy prohibited me from viewing loan-level data (either loan files or loan tapes) on

a potential PLS purchase. . . . The dealer-provided spreadsheet included the following aggregated

credit characteristics of the securitization loans, which I used to project potential credit

performance: [ ] a. Weighted-average CLTV ratio; b. Loans with CLTV ratio in excess of 80%,

90%, and 95%.”); id. ¶¶ 20-27 (explaining the use of collateral characteristics, including LTV,

with Freddie Mac’s RMBS credit risk model and RMBS credit risk analysis process); Salahuddin

Dep. 459:21-460:2 (testifying that Fannie Mae considered LTV as part of its PLS purchase
process); PX 1436; PX 1061 (Fannie Mae’s 2005 trade stipulations required mortgage insurance

for all loans backing Alt-A securitizations with LTV greater than 80%).



21
   Defendants offered John Richard as an expert on “the residential mortgage back securities (‘RMBS’) industry. ,
FHFA v. Nomura Holding Am., Inc., 11 Civ. 6201 (S.D.N.Y. Feb. 16, 2015) (Dkt. 1271 at 2). He opined “LTV ratios,
owner occupancy, and originators’ underwriting practices are factors that investors do take into consideration in
evaluating whether to purchase RMBS or not.” July 28, 2014 Richard Dep. 144:11-15; November 10, 2014 Report of
John J. Richard ¶ 53 (opining that “LTV rations and owner occupancy” and “conformance o the loans with the
underwriting guidelines of the originators” were among the “factors taken into account by sophisticated investors in
evaluating RMBS”); see Feb. 16, 2015 Op. & Order, Dkt. 1271, at 10 (recognizing Richard’s concession that “RMBS
investors ‘considered the characteristics of the loans backing a securitization in their investment decision-making
processes’”).


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                       (c)     Credit Rating Agencies Considered LTV Ratios Important When
                               Rating RMBS Transactions
       582.    Credit rating agencies also considered the LTV ratio to be an important factor in

assessing credit risk of a loan pool. Standard & Poor’s, for example, required RMBS issuers to

represent that they had provided accurate data regarding the “[p]ercent of mortgage loans with loan

to value’s (LTV’s) over 80% that have primary mortgage insurance, if applicable; Percent of

mortgage loans with LTV’s over 80% which do not have primary insurance, if applicable; The

range of LTV’s.” PX 125 at 134 (S&P: U.S. Residential Subprime Mortgage Criteria, 1999) ;

PX 1320 at 24 (S&P: Legal Criteria for Subprime Loan Transactions, Sept. 1, 2004) at 24 (same);

see also PX 1497 at 3(“Generally issuers/sponsors of securitized transactions represent and

warrant as to the following with respect to the loans in the trust: . . . Disclosure on underwriting

standards used for the loans.”); Mahdavian 30(b)(6) Dep. 106:14-24 (testifying that S&P models

assigned risk grades “[as] a function of all the things that you normally look at. So if you had a

very low FICO and a high LTV and a -- you would assume that this would receive a higher risk

grade, so those were two primary drivers I should say.”).

       583.    Moody’s and Fitch similarly considered LTV ratios in evaluating credit risk of loan

pools. See Chatterjee 30(b)(6) Dep. 78:8-24; PX 1348 at 1 (Fitch: Good Grades Supplement LTVs

and Credit Scores, dated Jan. 31, 2005) (“Fitch’s RMBS rating model reflects Fitch’s emphasis on

loan-to-value ratios (LTVs) and credit scores as the primary indicators of default risk, with

borrower grades, property types, occupancy, and loan purpose, among other attributes, as
secondary predictors of default risk.”).

       584.    The reason credit rating agencies considered LTV ratio important is that it was a
key predictor of default under their rating methodologies. Standard & Poor’s believed that “[t]he

higher the LTV ratio, the greater the risk of mortgage foreclosure.” PX 1318 at 4 (S&P: Credit
Analysis for Subprime Loan Transactions, dated Sept. 1, 2004.).

       585.    Similarly, the LTV ratio was “[k]ey” to Moody’s, because “[b]orrower equity is an

important buffer against default risk and a cushion against loss where a default occurs. In a

distress situation (death, divorce, or unemployment), a homeowner with a large equity stake will


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typically sell the home (and pay off the loan) rather than face loss through a foreclosure

proceeding.” PX 1316 at 6, 11 (Moody’s Special Report: Moody’s Mortgage Metrics: A Model

Analysis of Residential Mortgage Pools, dated Apr. 1, 2003)

        586.   Specifically, the rating agencies quantified the increase in credit risk associated

with higher LTV ratios. Standard & Poor’s “estimated that loans with LTVs of 90% have a 1.5

times (x) greater risk of being foreclosed than loans with a ratio of 80%. Loans with an LTV of

95% are assumed to be 3.0x riskier than loans with an LTV of 80%. Loans with an LTV of 100%

are assumed to be 4.5x riskier than loans with an LTV of 80%.” PX 1318 at 4 (S&P: Credit

Analysis for Subprime Loan Transactions, dated Sept. 1, 2004).

        587.   Moody’s estimated that, holding constant other “key characteristics,” the credit

support for a “Aaa” tranche would increase by 35 percent if the pool’s LTV increased by 5

percent. PX 1316 at 11 (Moody’s Special Report: Moody’s Mortgage Metrics: A Model Analysis

of Residential Mortgage Pools, dated Apr. 1, 2003); see also id. at 6 (“Appendix A illustrates the

hypothetical impact shifting LTV levels would have on pool performance”).

        588.   This evidence provides a reasonable basis upon which to find that the LTV ratio of

a loan would be material to an RMBS investor, including in particular what portion of the loans

had LTV ratios that exceeded 80% and 100%.

               3.      The Occupancy Status Of A Property Was Important To Investors
        589.   The occupancy status of a mortgaged home is important in the evaluation of credit
risk because borrowers living in a mortgaged property have more incentive to make payments and

care for the home than borrowers purchasing second homes or investment properties. As such, all
else being equal, mortgages collateralized by for owner-occupied properties generally present less

credit risk than those for non-owner-occupied properties. See Hunter Direct ¶ 57; Schwert Direct
¶ 12.

        590.   Nomura considered occupancy status to be a key factor in analyzing the credit risk

of mortgage loans it purchased for securitization, and occupancy status was an important




                                                 170
disclosure to RMBS investors. As with LTV, the rating agencies considered occupancy status and

important characteristic in modeling credit risk of RMBS.

                       (a)     Nomura Considered Occupancy Status To Be An Important
                               Factor In Evaluating Credit Risk
       591.    Nomura considered occupancy status to be an important factor in measuring the

credit risk of mortgage loans. Katz Dep. 27:3-6 (“Q. And would you agree that owner occupancy

is another tool to measure the riskiness of a loan? A. Yes.”).

       592.    Nomura recognized that owner-occupied properties are considered less risky

because “someone living in the home on which they are paying the mortgage might be more likely

to remain current since it is their home.” Graham Dep. 82:24-83:25; see also Spagna Dep. 98:23-

99:14; Marvin Dep. 144:20–23 (“My thought would be that when all else fails . . . you let your

own home go last”). As Nomura’s proffered re-underwriting expert, Michael Forester, put it, if a

borrower found himself in “financial straits,” he was “more likely to continue making payments on

their primary residence as opposed to making payments on an investment property.” Forester Dep.

111:24-112:14. Thus, loans backed by properties not occupied by the borrowers were considered

to have “a heightened chance of delinquency or default,” all things being equal. See DePalma

Dep. 180:10-14.

       593.    The materiality of owner occupancy is also reflected in Defendants’ conduct when

seeking repurchases for loans supporting their securitizations. When Nomura commissioned a

post-securitization fraud review to identify loans that it could require originators to repurchase,

Nomura sought to identify misrepresentations about owner occupancy status. PX 816 (

                                                                 ); PX 818 at 5 (email from Scampoli

to Murphy dated 7/9/07 re: “Fraud Review Pool Summary Draft”).

       594.    RBSSI conducted similar post-securitization fraud reviews that also looked for

evidence of occupancy fraud to identify loans for putback. Camacho Dep. 97:20-99:20 (testifying

that he reviewed loans for putbacks, including misrepresentation of occupancy—i.e., “whether or




                                                 171
not they would occupy a property as a primary residence versus as a secondary home or

investment property”).

                          (b)      Representations Concerning Owner-Occupancy Status Were An
                                   Important Part Of RMBS Transactions
        595.     Just as owner occupancy status impacts the credit risk of a loan, the percentage of

owner occupied properties in a pool backing an RMBS is important to investors evaluating the risk

of a security. Rubinstein Direct ¶ 79-80; Blum Direct ¶¶ 18, 37. Nomura itself recognized that

representations about the owner occupancy status of the mortgage loans underlying RMBS

securitizations could be material to investors. LaRocca Dep. 157:19-25 (Managing Director at NSI

and NCCI, agreeing that owner occupancy status was at least “potentially material to investors.”).

        596.     Further, as noted above regarding LTV ratios, Regulation AB required ABS issuers

to “[d]escribe the material characteristics of the asset pool[,]” identifying as one of the potential

characteristics “occupancy type for residential mortgages[.]” 17 C.F.R. § 229.1111(b), (b)(7)(iii),

(b)(7)(iv) (Mar. 8, 2005). Consistent with Regulation AB, each of the Certificates here disclosed

owner occupancy statistics for the Mortgage Loans underlying the SLGs. See PX O0059 at 13

(NOM-FHFA_04811802, NAA 2005-AR6 Prospectus Supplement) (stating that 188 out of 376

Group III loans are Owner-Occupied).22
        597.     The GSEs considered owner occupancy in making RMBS investment decisions.

Salahuddin 30(b)(6) Dep. at 571: 18-572:14 (“[O]wner occupancy was a collateral characteristic
that was pertinent to pricing at the time…. It had perceived bearing on both the credit risk of a

particular borrower and also the convexity that that particular loan might exhibit. And so I would


22
    See also PX O0049 at 14 (NHELI 2006-FM1 Prospectus Supplement stating that the Weighted Average Original
LTV for Group I loans is 81.07%); id. at 43 (stating that 2248 out of 2532 Group I loans are Owner-Occupied) ; PX
O0045 at 17 (NHELI 2006-FM2 Prospectus Supplement stating that the Weighted Average Original LTV for Group I
loans is 80.58% and that 93.05% of Group I loans are Owner-Occupied); PX O0041 at 16 (NHELI 2006-HE3
Prospectus Supplement stating that the Weighted Average Original LTV for Group I loans is 78.97% and that 89.59%
of Group I loans are Owner-Occupied); PX O0072 at 28 (NHELI 2007-1 Prospectus Supplement stating that the
Weighted Average Original LTV for Group II-1 loans 78.67%); id. at 91 (stating that 217 out of 474 Group II-1 loans
are Owner-Occupied); PX O0080 at 18 (NHELI 2007-2 Prospectus Supplement stating that the Weighted Average
Original LTV for Group I loans is 81.86% and that 90.86% of Group I loans are Owner-Occupied); PX O0051 at 18
(NHELI 2007-3 Prospectus Supplement stating that the Weighted Average Original LTV for Group I loans is 81.27%
and that 89.21% of Group I loans are Owner-Occupied)..


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say that it, it played a role. I recall it being one of the aspects of the pool that we would

memorialize in our trade deal summary worksheet I think it was called, and so I would say it’s

something that we did pay attention to. Q. Was it relevant to any of the analyses that you did? A.

So I prepared on occasion on some deals that deal summary worksheet and that was one of the

things that was included on that worksheet.”); see also Palmer Direct ¶¶ 18-19 (“For each potential

purchase, the dealer offering a certificate for purchase provided a spreadsheet containing

information about each of the characteristics for the pool of loans in the securitization. Dealers

provided aggregated data (rather than loan-level data) because Freddie Mac policy prohibited me

from viewing loan-level data (either loan files or loan tapes) on a potential PLS purchase. . . . The

dealer-provided spreadsheet included the following aggregated credit characteristics of the

securitization loans, which I used to project potential credit performance: [ ] c. Occupancy status,

including primary, second home, and investment property.”); id. ¶¶ 20-27 (explaining the use of

collateral characteristics, including owner occupancy, with Freddie Mac’s RMBS credit risk model

and RMBS credit risk analysis process); PX 1436.

                        (c)    Rating Agencies Considered Owner-Occupancy Status To Be
                               Important When Rating RMBS Transactions
       598.    The rating agencies also considered occupancy status to be an important factor in

assessing and rating pools of mortgage loans. Moody’s considered owner occupancy status in

evaluating the risk associated with an RMBS. Chatterjee 30(b)(6) Dep. 78:8-16. As Moody’s

confirmed, “[i]ntuitively, the primary residence provides a greater housing service to the owner

than does a rental or second home and is therefore less likely to be subject to loss. Investor or

rental properties rely on cash flows from parties who may not have the credit profile of the

borrower, increasing the risk of default. Moreover, under financial stress, a borrower is likely to

place retention and upkeep of the primary residence above that of other financial commitments,

helping to limit the frequency of default and severity of loss in the event of default.” PX 1316 at 9

(Moody’s Special Report: Moody’s Mortgage Metrics: A Model Analysis of Residential Mortgage

Pools, Apr. 1, 2003).



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       599.    Moody’s benchmarking process assessed a penalty on loans backed by non-owner

occupied properties because they were deemed more risky than loans backed by owner-occupied

properties, and used its loan-by-loan assessments to come up with an aggregate risk assessment for

the relevant loan pool. Chatterjee 30(b)(6) Dep. 74:23-75:19.

       600.    Standard & Poor’s confirmed that occupancy status was a “driver of foreclosure

frequency” and that investment properties demonstrated “a higher probability that [the borrower]

was going to default.” Mahdavian 30(b)(6) Dep. 120:19-121:8.

       601.    Standard & Poor’s generally required issuers to represent the percentage of loans

backing an RMBS that were “second homes and investor properties.” PX 125 at 135 (S&P: U.S.

Residential Subprime Mortgage Criteria, 1999); PX 1320 at 24 (S&P: Legal Criteria for Subprime

Loan Transactions, Sept. 1, 2004) (same).

       602.    Through LEVELS, its econometric model, Standard & Poor’s quantified the risk

attributable to owner occupancy by increasing the “prime foreclosure frequency assumptions . . .

by a factor of 3.0x on second homes and investment properties.” PX 125 at 37 (S&P: U.S.

Residential Subprime Mortgage Criteria, 1999).

       603.    This evidence provides a reasonable basis upon which to find that whether the

property underlying a loan that was listed as owner-occupied actually was occupied by its owner

would be material to an RMBS investor.

       B.      The Number Of SLG Loans That Did Not Adhere To The Representations In
               The Prospectus Supplements Was Material To Investors In Assessing The
               Credit Risk Of The Certificates
       604.    As shown above, the representations about compliance with underwriting
guidelines, LTV ratios, and owner occupancy were material to the total the mix of information

available to RMBS investors because they related directly to the ability of investors (and credit
rating agencies who supplied ratings for investors to consider) to assess the credit risk of the loans

in the mortgage pools backing RMBS, and thereby to evaluate the overall merits of investing in a

particular RMBS.




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       605.    FHFA has shown that the Prospectus Supplements for the Certificates were infected

with a variety of misstatements and omissions, all of which tended to understate the credit risk of

the Mortgage Loans and pools of Mortgage Loans backing the Certificates, and therefore also to

understate the riskiness of the Certificates themselves. See Part IV. Defendants falsely

represented that the Mortgage Loans in the SLGs for the Certificates complied with stated

underwriting guidelines that were intended to assess the creditworthiness of the borrowers, the

ability of the borrowers to repay their mortgage loans, and the adequacy of the mortgaged

properties as security for the loans, and also falsely represented specific important characteristics

of the Mortgage Loans in the pools backing the Securitizations. Id.

       606.    The misstatements and omissions were not only important to assessing the credit

risk of the Mortgage Loans individually, but, in the aggregate, they were also important to the

credit risk profile of the SLGs. For this reason, investors typically consider disclosures regarding

the characteristics of the loan pool to evaluate the risks associated with an RMBS. Among the key

factors in any such evaluation are loan pool statistics regarding FICO scores, LTV ratios, CLTV

ratios, borrower debt-to-income ratios, and borrower occupancy status. Offering Documents

typically include both pool-level descriptions, as well as stratifications identifying the distribution

of certain characteristics within the pools. Blum Direct ¶ 18; see also id. ¶ 61.

       607.    As one measure of the materiality of the false information provided in the

Prospectus Supplements, it is notable that, for individual pieces of information relating to the
important characteristics of the mortgage pool (e.g., LTV ratios or owner-occupancy rates), pool-

level deviations as low as 5% are considered material to the investor, warranting the need to revise
the disclosures. The SEC requires an S-3 registrant to issue revised disclosures when “any

material pool characteristic of the actual asset pool at the time of issuance of the asset-backed
securities differs by 5% or more . . . from the description of the asset pool in the prospectus filed

for the offering[.]” PX 1498 at 21 (SEC Form 8-K Filing Instructions).

       608.    The Prospectus for each of the Securitizations states that “[t]he characteristics of the

loans included in a trust fund will not vary by more than five percent (by total principal balance as


                                                  175
of the Cut-off Date) from the characteristics of the loans that are described in the prospectus

supplement.” PX O0059 at 176 (NAA 2005-AR6 Prospectus Supplement).23

        609.    Similarly, the Prospectus Supplements for five Securitizations state that a “revised

disclosure will be provided” when, “as of the closing date, any material pool characteristics differ[]

by 5% or more from the description in this prospectus supplement.” PX O0045 at 42 (NHELI

2006-FM2 Prospectus Supplement).24

        610.    As shown, see Part IV, supra, more than 5% of the loans backing each Certificate

did not comply with the representations in the Prospectus Supplements, including compliance with

applicable underwriting guidelines, LTV ratios, and/or owner occupancy status—all material

factors among the mix considered by investors, individually and collectively, in making

investment decisions concerning RMBS.

        C.      Credit Ratings Were Material To Investors
        611.    The underwriter secures credit ratings from one or more rating agencies because

those ratings play an essential role in the RMBS marketing and sales processes and in the buyer’s

purchase decision. Blum Direct ¶ 27.

        612.    Each of the Prospectus Supplements state that “[t]he classes of certificates listed []

will not be offered unless they receive ratings at least as high as” “AAA from Standard & Poor’s

and Aaa from Moody’s. See, e.g., O0059 at 12 (Prospectus Supplement for NAA 2005-AR6).25
        613.    Nomura knew that the credit rating of a security—and specifically the fact that a

certificate is AAA-rated—is a factor investors consider in their purchase decision. See Lee Dep.

23
   See also PX O0049 at 193 (NHELI 2006-FM1 Prospectus Supplement) (same); PX O0045 at 230 (NHELI 2006-
FM2 Prospectus Supplement) (same); PX O0041 at 229 (NHELI 2006-HE3 Prospectus Supplement)(same); PX
O0072 at 303 (NHELI 2007-1 Prospectus Supplement) (same); PX O0080 at 256 ( NHELI 2007-2 Prospectus
Supplement) (same); PX O0051 at 247 (NHELI 2007-3 Prospectus Supplement) (same).
24
   See also PX O0041 at 40 (NHELI 2006-HE3 Prospectus Supplement) (same); PX O0072 at 117-18 (NHELI 2007-
1 Prospectus Supplement) (same); PX O0080 at 256 (NHELI 2007-2 Prospectus Supplement) (same); PX O0051 at
247 (NHELI 2007-3 Prospectus Supplement) (same).
25
   PX O0049 at 13 (Prospectus Supplement for NHELI 2006 FM1 same for Class I-A); PX O0045 at 15 (Prospectus
Supplement for NHELI 2006-FM2 same for Class I-A-1); PX O0041 at 14-15 (Prospectus Supplement for NHELI
2006-HE3 same for Class I-A-1); PX O0072 at 25 (Prospectus Supplement for NHELI 2007-1 same for Class II-1-A);
PX O0080 at 17 (Prospectus Supplement for NHELI 2007-2 same for Class I-A-1); PX O0051 at 17 (Prospectus
Supplement for NHELI 2007-3 same for Class I-A-1).


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118:14-24 (agreeing that “one of the pieces of information that is relevant to investors in deciding

whether to buy securities, the rating of the securities” and that “it [was] important to some

investors that their securities, or the group or tranche they were in, had a AAA rating.”).

               1.      Higher Credit Ratings Enhance Salability And Market Liquidity
       614.    An investment-grade security is defined as being rated between “Baa3” and “Aaa”

(inclusive) from Moody’s, between “BBB-” and “AAA” (inclusive) from S&P and/or between

“BBB-” and “AAA” (inclusive) from Fitch. Blum Direct ¶ 31. The distinction between

investment-grade and non-investment-grade securities is important. Not only are investment-grade

securities generally expected to have higher credit quality, but also they are generally more liquid

than non-investment-grade securities because a larger number of investors buy and sell high rated

securities, and underwriters have a greater capacity to make a market investment grade securities.

See Blum Direct ¶ 31; see also, e.g., PX 382 at 3 (S&P Ratings Letter for NHELI 2006-FM1 dated

Jan. 30, 2006) (“an issue rating reflects Standard & Poor’s current opinion of the likelihood that

payments of principal and interest will be made on a timely basis in accordance with the terms of

the obligations.”).

       615.    Indeed, many institutional investors have internal investment requirements or

guidelines and/or are subject to external regulations regarding minimum ratings requirements that

either prohibit purchase of securities that are not rated or are not rated investment-grade, or that

preclude such investors from holding more than a certain percentage of their portfolios in non-
investment grade securities. Blum Direct ¶ 33.

               2.      Nomura Recognized The Importance Of Higher Credit Ratings To
                       RMBS Investors
       616.    In working with the rating agencies to rate its securitizations, Nomura’s “objective

was to create securities that appealed to the investors’ appetite.” Lee Dep. 122:16-25. To that end,

Nomura wanted a “higher rating, where possible[.]” Id. 120:23-121:7.

       617.    Nomura recognized that the GSEs “were more interested” in purchasing AAA-rated

securities. Lee Dep. 123:2-10 (“Fannie and Freddie at the time were more interested in the AAA



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ratings”); see also id. at 119:21-120:3 (“Q. Do you know whether Fannie and Freddie required that

their certificates be rated AAA? A. I do, yes. Q. And was that a requirement of them? A. Yes.”).

The GSEs considered credit ratings as part of their investment analysis. See Palmer Direct ¶ 11

(“We took into account the ratings agencies’ analyses of the Certificates’ risk in our pre-purchase

credit analysis. We did so in part because, as PM&P 100 explains, ‘Rating Agencies are best

positioned to complete loan level analysis of a potential pool & to appropriately size credit

enhancement for expected losses.’”); PX 104.

       618.    The GSEs generally required their investments in RMBS to be rated AAA or the

equivalent. See Palmer Direct ¶ 13 (“Each Certificate generally had to receive a AAA rating from

at least two ratings agencies for the Certificate to be eligible for purchase.”); PX 104 at 2 (Freddie

Mac’s “PM&P – 100 Non-Agency Mortgage ABS Credit Analysis Policy”, dated March 23, 2006)

(noting that “[a]t this time, MABS investments are limited to AAA-rated risk” and that

“[p]urchased securities must be rated by two of these rating agencies: Moody’s, S&P, Fitch or

DBRS” by the Portfolio Management and Pricing (PM&P) department); PX 115 at 24-25

(““Fannie Mae Private Label Securities Risk Policy: Corporate Level Policy,” dated August 16,

2006) (noting that “PLS purchased or wrapped by Fannie Mae must have a minimum rating at the

time of purchase or wrap of AAA/Aaa,” that “[s]ecurities must have a minimum number of ratings,

and at least one of the ratings must be provided by Standard & Poor’s or Moody’s Investor

Services[,]” and that the “AA-/Aa3” portfolio limit was 5%.). As noted, see Part III(C)(4), supra,
all seven Certificates were rated AAA or its equivalent by two or more rating agencies.

               3.      Nomura And RBSSI Worked With Credit Rating Agencies To Obtain
                       Desired Credit Ratings For The Securities They Issued And Sold
       619.    Nomura and RBSSI also obtained feedback on multiple proposed structures, at one

point asking S&P to “[p]lease optimize ratings levels on each structure.” PX 1494 (Jan. 18, 2007

email from S. Curran to ResidentialPools (S&P) re: NHELI 2007-HE1 Proposed Structures)

(“Attached is the SPIRE file for our proposed structures. Please optimize ratings levels on each

structure.”); PX 369 (Jan. 6, 2006 email from R. Lee to L. Bigos re: NHELI 2006-FM1) (“Please



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review this updated structure and let me know what are the highest Ratings possible for each bond

class.”).

        620.    Nomura and RBSSI discussed and compared feedback provided by the rating

agencies. PX 375 (Oct. 5, 2006 email from M. Jaeger to R. Lee attaching NHELI 2006-

FM2_S&P_LEVELS.xls) (“We’re going to run the Moody’s sizes through SPIRE to see if S&P is

going to drive anywhere”).

        621.    Nomura and RBSSI had access to and utilized rating agency products, such as

S&P’s LEVELs, to run potential loan pools and contest feedback from the rating agencies. PX

398 (Aug. 24, 2006 email from M. Orfe to R. Manasseh re: NHELI 2006-HE3) (“[A]ttached please

find the results I get when running the tape previously sent through desktop levels.”).

                4.      The False Representations Regarding Compliance With Underwriting
                        Guidelines, LTV Ratios, And Owner Occupancy Status Were Material
                        To The Credit Ratings And Subordination Levels Of The Certificates

                        (a)     Credit Ratings Based On Inaccurate Information May Not
                                Accurately Reflect The Risk Of RMBS
        622.    Accurate loan-level information was foundational in generating a reliable credit

rating. Blum Direct ¶37. A loan tape that misstates a loan’s actual LTV or owner occupancy

status would cause the rating agency’s model to assess inaccurately the risk for both the loan and

the loan pool. Chatterjee 30(b)(6) Dep. 110:14-21 (“[T]he results of the model will depend upon

the numbers that [are] being fed into the model. So to accurately reflect . . . the loss level or

frequency of default or [loss] severity . . . on a loan will depend on the information . . . that the

model is using.”); see also Mahdavian 30(b)(6) Dep. at 142:20-143:17 (agreeing with published

statements that “[a]ny departure from the current standards for accuracy of loan-level data

jeopardizes the integrity of assigned ratings” because “the ratings and the loss estimates were

extremely sensitive to . . . the loan level data.”); id. at 141:14-142:3 (confirming that if loan

characteristics like FICO, LTV and owner occupancy were misstated so as to understate risk that

“rating estimates would have been not conservative enough”).




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        623.    The accuracy of the data on the loan tape is particularly important because the

rating agencies did not conduct an independent assessment of the accuracy of data provided to

them for ratings purposes. Instead, the rating agencies required representations from originators

and the issuer attesting to the accuracy of the data provided. Chatterjee 30(b)(6) Dep. 205:19-

206:10 (“Q. And would Moody’s look to see that there was a representation that loans had been

originated according to underwriting guidelines in order to – to be comfortable that the information

presented on the loan pool was accurate? . . . A. We would look at the representations that the

originator makes about the underwriting and also they make representations on the loan schedule

that make us comfortable about the information that has been provided to us.”); PX 1319 at 20

(Data Quality Control Manual for Standard & Poor’s LEVELS, Version 5.6(c)) (“S&P has not

rated any prime or Alt A mortgage transactions without a comfort letter addressing the truth and

accuracy of the data provided to S&P since November 2002. Beginning January 1, 2003 this

requirement was rolled out to all non-prime transactions as well.”).

        624.    The rating agencies typically included a disclaimer in their ratings letters stating

that the rating agencies “assume that the documents . . . provided to us are final” and that it was

Nomura’s responsibility to “notify us of such changes[.]” See, e.g., PX 382 at 2 (S&P Ratings

Letter for NHELI 2006-FM1 dated Jan. 30, 2006) (“This rating is based on financial information

and documents we received prior to the issuance of this letter. Standard & Poor’s assumes that the

documents you have provided to us are final. If any subsequent changes were made in the final
documents, you must notify us of such changes by sending us the revised final documents with the

changes clearly marked.”).26
        625.    In its Mortgage Loan Purchase Agreements, Nomura Credit represented that

“[i]nformation provided to the Rating Agencies, including the loan level detail, is true and correct




26
   See also PX 1293 at 2 (S&P Ratings Letter for NHELI 2006-FM2) (same); PX 1296 at 3(S&P Ratings Letter for
NHELI 2006-HE3) (same); PX 195 (S&P Ratings Letter for NHELI 2007-1) at 1-2 (same); PX 139 at 1-2 (S&P
Ratings Letter for NHELI 2007-2) (same); PX 1295 at 2 (S&P Ratings Letter for NHELI 2007-3) (same).


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according to the Rating Agency requirements.” PX 229 at 8 (NOM-FHFA_04636755, Mortgage

Loan Purchase Agreement for NHELI 2006-HE3).27

                        (b)     Certificates Rated Based On True And Correct Data Regarding
                                LTV Ratios And Owner Occupancy Status Would Not Have
                                Received AAA Credit Ratings Without Additional Subordination
        626.    The subordination level necessary to achieve an AAA rating for the senior tranches

of a PLS, and the relative size of that PLS’s different subordinate tranches, are determined by the

ratings agencies, based on their assessment of the likelihood and severity of losses. See Schwert

Direct ¶ 11; Blum Direct ¶ 58.

        627.    The issuers of the Securitizations had an economic incentive to maximize the size

of the AAA-rated tranche(s) in any particular offering (which had lower required returns than other

tranches) to maximize the proceeds from the offering. Thus, it is reasonable to believe that the

observed AAA subordination levels were near the AAA/AA margin. See Schwert Direct ¶ 40.

        628.    Furthermore, it is reasonable to believe that the most junior AAA-rated tranche

would not have received a AAA rating if there was an increase in the perceived risk of the

underlying loans that was not accompanied by an offsetting reduction in the subordination level of

that tranche. See Schwert Direct ¶ 37.

        629.    FHFA’s expert, Dr. G. William Schwert, conducted a regression analyses, based on

data from 990 RMBS, to demonstrate the relationship between reported loan characteristics and

subordination levels. Schwert Direct ¶ 16.
        630.    Dr. Schwert found a significant relation between AAA subordination levels and the

reported characteristics of the underlying collateral, including LTV ratios and occupancy status, in
securitizations that the GSEs participated in as purchasers. Schwert Direct ¶ 5.

        631.    Specifically, Dr. Schwert found a positive and statistically significant relation
between the average LTV ratio and AAA subordination. Schwert Direct ¶ 25.

27
   See also PX 1483 at 8 (Mortgage Loan Purchase Agreement for NHELI 2006-FM1) (same); PX 1484 at 8
(Mortgage Loan Purchase Agreement for NHELI 2006-FM2) (same); PX 1485 at 9 (Mortgage Loan Purchase
Agreement for NHELI 2007-1) (similar); PX 1496 at 8 (Draft Mortgage Loan Purchase Agreement for NAA 2005-
AR6) (same); PX 1495 at 8 (Draft Mortgage Loan Purchase Agreement for NHELI 2007-2) (similar).


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       632.    Based on one of his regression analyses, for example, Dr. Schwert found that a

10 percent increase in the average LTV ratio of the primary supporting loan group (from, say,

80 percent to 90 percent) would be associated with a 2.94 percent increase in the AAA

subordination level (from, say, 20 percent to 22.94 percent), on average. Schwert Direct ¶ 25.

       633.    Dr. Schwert also found a positive relation between the non-owner occupancy

percentage and AAA subordination that is statistically significant in one of his regression analyses.

Schwert Direct ¶ 26.

       634.    He found that a 10 percent increase in the non-owner-occupied percentage of the

primary supporting loan group (from, say 30 percent to 40 percent) would be associated with

a 0.14 percent increase in the AAA subordination level (from, say, 20 percent to 20.14 percent), on

average. Schwert Direct ¶ 26.

       635.    Dr. Schwert’s analysis focused on alleged misrepresentations that are quantifiable,

such as LTV ratios and owner occupancy. LTV ratios that are far outside the range of data

reported in prospectuses for the GSE Transactions and failures to comply with underwriting

guidelines would have further increased the level of subordination required to achieve AAA

ratings, if the securities could have been issued at all. Schwert Direct ¶ 7.

       636.    Dr. Schwert’s findings show that if Nomura had used true and correct loan-level

information in preparing the Prospectus Supplements, and had disclosed that information to the

ratings agencies, the Certificates would have lacked the level of subordination necessary to be
rated as AAA (or equivalent). See Schwert Direct ¶ 36.

       637.    As the GSEs were restricted to purchasing AAA-rated securities, the GSEs would
have been able to purchase the Certificates only if the subordination levels for the Certificates had

been higher than the levels at which the Certificates were in fact issued. See Schwert Direct ¶ 6




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       D.      Had The False Representations Regarding Compliance With Underwriting
               Guidelines, LTV Ratios, and Occupancy Status Not Been Corrected, The
               Certificates Could Not Have Been Issued Without Substantial Modifications
       638.    FHFA has also offered evidence of materiality through expert testimony regarding

the types of steps that a securities underwriter would have undertaken, given the loan defects found

by FHFA experts, before issuing the Certificates.

       639.    As discussed in Part III(A)(1), supra, a securities underwriter confirms that the

offering document disclosures accurately and completely describe the securities and the underlying

collateral. Blum Direct ¶ 11.

       640.    Securities underwriters serve as “gatekeepers” of information because they have

access to material non-public collateral information and are responsible for verifying the accuracy

and completeness of disclosures in offering documents. Blum Direct ¶ 14.

       641.    Given these obligations, Defendants should have identified the types of defects

identified by Mr. Hunter and Dr. Kilpatrick, and upon making such discoveries should not have

offered or distributed the Certificates without taking substantially different actions. These would

include: (i) eliminating those loans that would not comply with the representations in the their

securities disclosures; and/or (ii) revising those disclosures to accurately describe the collateral that

would ultimately back the securities, including the extent of any of the types of defects identified

by Mr. Hunter or Dr. Kilpatrick that remained. Blum Direct ¶ 8.

       642.    Given the change in reported loan pool composition that would result from such

actions—whether because defective loans were replaced or collateral characteristics where

accurately described—Defendants would also have to have resubmitted the final, corrected loan

pool to the independent credit rating agencies to obtain new credit ratings. Blum Direct ¶ 8.

       643.    Without correcting the defects identified by Mr. Hunter and Dr. Kilpatrick, Nomura

and RBSSI could not ensure the accuracy of the ratings provided by the independent rating

agencies, whose models relied on the accuracy of loan characteristic data provided by Defendants

and did not independently model for credit risk based on non-compliance with underwriting

guidance. See Part III(A)(3), supra; Blum Direct ¶ 36, 65.



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       644.    Had Defendants removed the defective collateral, the resulting securities would

have been dramatically smaller, with a different credit subordination structure, and Nomura would

have been faced with having to put back or retain the defective collateral. Blum Direct ¶ 9.

       645.    Further, had Nomura Securities and RBSSI chosen to amend their disclosures to

accurately describe the loan collateral, including by providing disclosures that a substantial portion

of the loans did not comply with applicable underwriting guidelines, the securitizations would

have more closely resembled so-called “scratch-and-dent” securitizations. Blum Direct ¶ 72.

       646.    Scratch-and-dent loans included those that violated underwriting guidelines, had

missing documents, or had become delinquent, and they typically traded at discounts to par value

during the 2005-2007 period. Rated securities backed by such loans that were salable to

institutional investors, generally required (a) more overcollateralization, (b) higher levels of

subordination, or (c) additional credit support in the form of “arrearages” (amounts due on

delinquent loans at securitization that if repaid will be applied to repayment of principal and

interest post-securitization). Blum Direct ¶¶ 24-25.

       647.    Moreover, issuers or underwriters typically included express disclosures alerting

investors to the increased credit risks associated with scratch-and-dent collateral, including

disclosures that the underlying collateral may not comply with underwriting guidelines. Blum

Direct ¶ 26.

       648.    Substantially altering disclosures to accurately describe the underlying collateral, as
found by Mr. Hunter and Dr. Kilpatrick, would signal to investors that the securities were of a

substantially different credit quality—more closely resembling a security backed by scratch-and-
dent loans. Blum Direct ¶ 72.

       649.    Under any of these potential scenarios, the securities would have been issued—if at
all—as a fundamentally different transaction, because the offering documents would require

extensive modification to disclose to investors the true nature of the collateral and/or because the

issuer or underwriter would have had to replace the defective collateral so that the offering

documents were materially accurate and complete. Blum Direct ¶ 10.


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VI.    NOMURA HOLDING, NCCI, AND THE INDIVIDUAL DEFENDANTS
       DIRECTED THE AFFAIRS OF NOMURA SECURITIES, NAAC, AND NHELI

       A.      Nomura Holding Directed The Affairs Of Nomura Securities, NAAC, And
               NHELI
       650.    Nomura Holding directed or caused the direction of the affairs of Nomura

Securities, NAAC, and NHELI through (a) wholly owning those entities; (b) directing their RMBS

activities; and (c) directing their management.

               1.     Nomura Holding And Nomura Securities Had Overlapping Directors
                      and Officers
       651.    Nomura Holding wholly owned each of its subsidiaries involved in the RMBS

business: (a) it wholly and directly owned Nomura Securities, Prahofer 30(b)(6) Dep. 207:19-

208:4; (b) it wholly and directly owned NCCI until October 2006 and thereafter wholly and

directly owned NCCI’s new parent company, NAMF, SOF ¶ 13, , Prahofer 30(b)(6) Dep. 207:19-

208:4; and (c) it wholly and directly owned the parent company of NAAC and NHELI, which was

NACC until October 2006 and thereafter was NAMF, id. at 206:4-22-207:10; 219:23-220:3, thus

indirectly wholly owning NAAC and NHELI, id. at 206:9-207:10, 207:11-18. Nomura Holding,

Nomura Securities, NCCI, NAAC, and NHELI all occupied the same headquarters at Two World

Financial Center in New York City. Id. at 243:14-244:10.

       652.    Nomura Holding selected the directors of Nomura Securities, NACC and NAMF,

and in turn NACC or NAMF selected the directors of NAAC and NHELI. See Part II, supra. All

directors of Nomura Securities also served as directors of Nomura Holding: Individual Defendant
David Findlay, Hideyuki Takahashi, Shigesuki Kashiwagi, and Joseph Schmuckler. PX 182 at 2;

Prahofer 30(b)(6) Dep. 254:2-6. Two of Nomura Holding’s directors, Mr. Findlay and Mr.
Schmuckler, also served as directors of NACC. PX 182 at 2. Two of NACC’s directors,

Mr. Findlay and Shunichi Ito, also served as directors of both NAAC and NHELI. Id.
       653.    The directors of these entities appointed the entities’ officers. See Part II, supra.

Mr. Findlay served as the Chief Legal Officer of Nomura Holding, Nomura Securities, and NCCI

from 2004 to 2007. Prahofer 30(b)(6) Dep. 240:12-241:12; Findlay Dep. 23:20:-24:4, 25:21-

26:23. Juliet Buck was an officer and employee of Nomura Holding and also of other Nomura


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RMBS-related entities, including NAAC and NHELI. Prahofer 30(b)(6) Dep. 224:17-226:7,

234:8-24. Sam Herbstman was an officer of Nomura Holding and also of other Nomura RMBS-

related entities, including NAAC and NHELI, and was a Director of NCCI. Id. at 224:17-226:25,

234:8-24; PX 182 at 2. Nathan Gorin was the Chief Financial Officer and/or Controller of

Nomura Securities, NCCI, NAAC, NHELI, and, eventually, Nomura Holding. Prahofer 30(b)(6)

Dep. 248:15-25.

               2.     Nomura Holding Directed The RMBS Activities Of Nomura Securities
       654.    Nomura Holding was required to approve the originators from which Nomura’s

RMBS business could purchase mortgage loans, it approved warehouse lines of credit to

originators, and it established the whole loan and residual position limits applicable to the RMBS

business. Nomura Holding took these actions primarily through its Credit Department (a/k/a the

Credit Group or Corporate Credit), its Risk Management Group (“Risk Management”), and the

Risk Credit Committee (“RCC”).

       655.    Risk Management provided services to every operating entity under the Nomura
Holding umbrella, including NCCI and Nomura Securities. Prahofer 30(b)(6) Dep. 238:2-7,

237:11-23. It did not need to provide services to NAAC and NHELI, because they had no risk

profile. Id. at 238:2-7, 237:11-23. Risk Management was initially housed in Nomura Securities

before being moved to Nomura Holding, id. at 236:11-21, 239:3-15, 287:14-20, a move that took

place no later than March 2005. PX 1107.

       656.    The Credit Department was responsible for approving transactions, approving credit

limits up to the amount allowed by the Global Credit Policy, and advising the RCC with regards to

credit issues. PX 1107 at 4-5. The Credit Department received its authority from Nomura

Holding’s Board and senior management, subject to oversight by the RCC. Id. The Credit

Department provided services to numerous entities, including NCCI and Nomura Securities.

Prahofer 30(b)(6) Dep. 268:12-24. The Credit Department was initially housed in Nomura

Securities and then moved to Nomura Holding, no later than March 2005. Id.




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       657.    The RCC was charged with overseeing and managing the risks and credit issues of

Nomura Holding’s various subsidiaries, including the RMBS-related entities. PX 1107 at 5. The

RCC had the authority to approve and amend Nomura Holding’s Credit Policy, so long as that

policy was consistent with the Global Credit Policy, and to inform “Tokyo” of any issues that

could not be resolved within a business unit to its satisfaction. Id. Members of the RCC from

2005 through 2007 included the co-Heads of Risk Management, as well as other Nomura Holding

officers and directors, including David Findlay. PX 711 at 2.

                       (a)    Nomura Holding Decided From Which Originators Nomura
                              Securities And NCCI Could Purchase Mortgage Loans
       658.     Nomura Holding set the credit policies applicable to Nomura’s RMBS business in

the NHA Corporate Credit Policies (“the Credit Policy”). PX 1107 at 4. Nomura Holding also

adopted the procedures for approving residential loan sellers and counterparties set forth in a

memorandum dated February 24, 2005 (the “Originator Approval Memorandum”). Id. at 29, 32.

       659.    The Originator Approval Memorandum stated that, subject to certain limited

exceptions described therein, “only once a counterparty is approved pursuant hereto will it be in a

position to do business with Nomura.” Id. at 32 (original emphasis). The Originator Approval

Memorandum identified a residential credit committee consisting of Don McCabe, Don

MacKinnon, Individual Defendant Dante LaRocca, Michael Pierro (as a representative from the

Credit Department), and Juliet Buck (as a representative from Legal), id. at 32, but it was

generally expected that there would be no physical credit committee meeting or formal approval

required, unless a meeting was requested or there was an objection to the approval. Id.

       660.    Nomura Holding required three things to happen before an originator would

become an approved counter-party: (a) the Credit Department would have to approve the

originator and distribute its memorandum of approval; (b) the Legal Department would have to

confirm that master agreements and other required documentation had been completed; (c) the

residential sales group had to distribute an approval memorandum. PX 1107 at 33.




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       661.    The Credit Department had the ultimate authority to approve originators from

which Nomura could purchase mortgage loans, and Nomura could not buy loans from an

originator if the Credit Department had not given its approval. Marvin Dep. 159:7-160:2; LaRocca

Dep. 155:3-18. Nomura Holding required that, before approving an originator, the Credit

Department conduct a review of the originator’s financial and credit quality. PX 1107 at 33;

LaRocca Dep. 152:4-154:8. Nomura Holding further required the Credit Department to

“periodically review the creditworthiness of each counterparty.” PX 1107 at 12.

       662.    As part of these reviews, the Credit Department, the Legal Department, and/or

representatives from the RMBS business unit might visit an originator, which would involve

looking at the originator’s overall processes, including, e.g., its practice and policy on stated

income loans, and “actually see[ing] people performing their origination functions, which was

taken into account when deciding whether to approve the originator for business.” LaRocca Dep.

152:4-154:8; PX 1107 at 44.

       663.    Nomura Holding required that, after the review, the Credit Department generate a

memorandum summarizing the materials it reviewed, the financial wherewithal of the reviewed

entity, and the Credit Department’s conclusion as to the classification as a tier I-IV seller or that

the seller was not approved. Id. at 34. The Credit Department used a tier I-IV rating classification

for mortgage loan sellers, which “primarily indicates whether or not Nomura can have any reliance

on the counterparties financial representations and warranties (including the obligation to
repurchase loans),” with net worth of the counterparty being a major determinant of that rating. Id.

at 29-30. The Originator Approval Memorandum stated that “This review must be completed, and
credit department approval must be received, prior to conducting any Alt-A or sub-prime business

with any counterparty.” Id. at 33-34 (original emphasis).

       664.    Nomura Holding required the Legal Department to be “responsible for negotiating

and completing a master mortgage loan purchase agreement, and any necessary supporting

documents and agreements, prior to a counterparty being approved,” among other counterparty

approval responsibilities. Id. at 36-37 (original emphasis).


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        665.   The Originator Approval Memorandum directed Nomura’s RMBS business to

update its counterparty review after any initial purchase and periodically thereafter, including a

review of the loan-level diligence results. Id. at 38. Nomura Holding mandated that it was the

responsibility of all business units to highlight concerns or potential issues regarding

counterparties or positions for the Credit Department. Id. at 14. Once it was made aware of an

issue, the Credit Department was responsible for making a determination whether a “special

situation” had arisen with regard to credit exposure, and for coordinating a meeting with required

parties to determine whether a valuation adjustment or reserve was appropriate. Id. If the issue

could not be resolved, it would be escalated to the Nomura Holding CEO who would be the final

arbiter. Id.

        666.   Consistent with these requirements, the Credit Department participated in periodic

meetings with the RMBS business unit to discuss the performance of specific originators,

including discussing prior due diligence results of those originators, to determine whether Nomura

should continue to purchase mortgage loans from that originator. Marvin Dep. 168:13-170:25.

For example, the Credit Department participated in the decision to cease buying mortgage loans

from Fremont, which was driven in part by the poor diligence results from previous Fremont

whole loan purchases. Id. at 161:24-164:2.

        667.   The RCC and Risk Management were also involved in decisions to cease

purchasing loans from originators. For example, on December 7, 2006, Nomura Holding’s co-
Head of Risk Management, David Ye, emailed members of Nomura’s RCC that Ownit had been

forced to shut down “due to continued pressure from the softening of [the] subprime mortgage
market.” PX 708 at 1. Mr. Ye noted that Ownit’s position was “like many other originators” in

that it was suffering decreasing profits from a “cooling housing market” and “mounting EPD
claims.” Id. Mr. Ye also noted that the RCC had previously been informed about EPDs, and

described Nomura’s current position in terms of the amount of Ownit loans owned and the amount

in EPDs outstanding. Id.




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       668.    Mr. Ye then listed five action items: (a) Mortgage Finance would temporarily stop

purchases from all sellers with aged EPD claims, the RMBS Trading Desk would review all

sellers, and Risk Management would discuss with the RMBS Trading Desk any revisions to

position limits from that review; (b) Risk Management and the RMBS Trading Desk would contact

all sellers to get additional color on their current position; (c) Risk Management proposed

decreasing credit lines to Equifirst, ResMAE, and other large sellers whose volume had increased

in 2006, subject to a review by the Trading Desk “in the next few days,” and Risk Management

ordered that “[i]n the meantime, no additional purchases from [Equifirst and ResMAE] should be

made until a final decision regarding their limits is made”; (d) Finance, Risk Management, and

Mortgage Finance were to meet to discuss profit and loss adjustments in light of Ownit’s failure,

particularly based on EPD and residual pricing adjustments; and (e) Risk Management would

continue to refine its estimate of EPD exposure as it conducted its monthly Independent Price

Verification. Id. at 1-2.

       669.    On December 13, 2006, the RCC discussed problems in Nomura’s RMBS business

and recent events in the mortgage market, including the deteriorating credit performance of

Fremont collateral and the shutdown of Ownit. PX 711 at 2. Mr. Ye and fellow co-Head of Risk

Management, Taisuki Kimura, discussed the actions taken in response to these events, including

discontinuing purchases from all originators with aged EPD claims and increased origination

volumes in 2006; the Credit Group and Mortgage Finance working together to get additional color
from other originators; Risk Management conducting a review of its credit policy for the Mortgage

Finance business; and Finance, Risk Management and Mortgage Finance deciding on the
appropriate finance treatment of aged EPD claims. Id. at 3. Mr. Wagner, Nomura Holding’s CFO,

also discussed actions taken by finance and accounting in response to aged EPD and Ownit EPD,
including writing down Ownit EPD, meeting with the controllers and Mortgage Finance to

determine an appropriate reserve or write-off, deriving a “practical policy” to deal with the issue,

and reviewing accounting policy regarding residual valuation. Id. at 2-3.




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                       (b)     Nomura Holding Directed Which Originators Received
                               Warehouse Lending Facilities
       670.    Nomura Holding was required to approve any warehouse lending facilities to

mortgage loan originators. A warehouse lending facility is a credit line or loan made to an

originator that provided financing to the originator to originate loans and that is secured by

collateral. LaRocca Dep. 195:22-197:16. The purpose of Nomura’s warehouse lines of credit was

to “enhance Nomura’s CMBS, RMBS, and ABS securitization pipeline.” PX 1107 at 19.

       671.    The Credit Department was responsible for analyzing warehouse lines of

credit. Id. Each warehouse line required approval of both the head of the Credit Department and

the head of the regional business line, e.g., of the RMBS business unit. Id. at 22. In assessing

whether to provide a warehouse line of credit, the Credit Department analyzed the underlying asset

and collateral, the counterparty, and the facility structure. Id. at 19-21.

       672.    The RCC was also at times required to be notified of approval of credit lines to

originators, in part due to “the inherent risk of subprime collateral.” PX 719 at 1. For example,

the RCC was notified of a $350 million warehouse line of credit to Originator Quick Loan in 2006,

which was Nomura’s second largest originator and “rapidly growing.” Id. Nomura viewed the

warehouse line of credit to Quick Loan “as an opportunity to expand its securitization platform by

increasing loan origination volume and providing additional services and products to existing

customers,” and sought to give Nomura the right to act as lead or co-lead underwriter on Quick

Loan securitizations. Id. at 2, 6. Risk Management and the Credit Group recommended approving
a “soft limit” on total Quick Loan inventory and a $600 million warehouse advance. Id. at 1.

                       (c)     Nomura Holding Directed NCCI’s And Nomura Securities’
                               RMBS Position Limits
       673.    Nomura Holding’s credit policy provided that the Credit Department would be

responsible for approving and allocating credit limits for all of Nomura Securities’ businesses, e.g.,

the amount of securities or loans that could be held at one time or from a given counter-party,

explicitly including whole loans and MBS products. PX 1107 at 6-7. Nomura Holding required

that the Credit Department obtain specific information regarding counterparties in order to perform



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its credit analysis and set credit limits; for wholesale mortgage sellers this information included,

among other things, the NCCI seller application. Id. at 11. The Credit Department distributed the

allocated counterparty limits and the amount used daily, and Nomura’s business units had to stay

within those limits. Id. at 8. The Credit Department had to approve any new limits or limit

increases before the execution of a trade, or else the trade would be considered a violation of the

limit. Id.

        674.   Nomura Holding decided whether it or Nomura Securities would be the holder of

any RMBS residuals retained by Nomura. See PX 293; PX 341; PX 344. The RCC and Risk

Management were involved in approving position limits as well. See PX 297 (July 2006 email

chain discussing presentation to RCC on residual position limits and projected residual sizes in

2007). For example, in June 2006, Risk Management recommended for the RCC’s approval a

$400 million RMBS residual position limit, which was part of the overall $7.5 billion RMBS

position limit. PX 911 at 33.

        675.   The Credit Department tracked violations of these limits, and repeated and serious

violations were reported to the RCC for review “and possible disciplinary action.” PX 1107 at 8.

For example, in early 2007, Brett Marvin was terminated from his position as the Head of the

RMBS Trading Desk after Brian Murphy purchased a pool of loans that exceeded the trade size

limits set at that time. Marvin Dep. 338:19-341:14. The decision to terminate Mr. Marvin was

made by management above the level of Mr. Marvin’s superior, Don MacKinnon, particularly by
Nomura Holding director Shigesuki Kashiwagi, and David Findlay was involved in the

investigation and decision as well. Marvin Dep. 341:15-342:23.
        676.   Nomura Holding also influenced the valuations the RMBS business placed on its

residual and whole loan positions. Risk Management was responsible for conducting a monthly
independent pricing verification (“IPV”) of Nomura’s RMBS and whole loan positions. See, e.g.,

PX 861. In connection with the IPV, Risk Management developed a model for the credit and

default risk for Nomura’s RMBS and whole loan positions, which applied to all types of loans,

including subprime and Alt A. PX 869; PX 906. As part of its modeling, Risk Management


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monitored the delinquency performance of loans from different originators, as well as their

average FICO scores and LTV ratios, PX 908 at 23-31, and tracked residual positions on a daily

basis, PX 906 at 27.

       677.    Risk Management also performed loss stress tests on the value of the residuals on

Nomura’s RMBS whole loan book. PX 905 at 23; PX 911 at 21-27. Risk Management often had

a lower value for Nomura’s RMBS positions because of “differen[t] default (both the timing and

the level) and severity curves,” PX 300 at 7, and in November 2006 came to the conclusion that

2005 and 2006 Fremont loans were performing poorly due to characteristics not reflected in their

stated credit characteristics, and recommended reducing Nomura’s valuation of the residual. See

Part IV(B), supra.

       678.    Risk Management also regularly reviewed the Trading Desk’s NCAT model, which

was used to assign capital to a class of assets, for Nomura’s RMBS whole loan and residual

holdings. PX 903 at 1 (November 2006 memorandum memorializing review); see also Prahofer

Dep. 290:15-291:9 (explaining NCAT model). For example, in November 2006, Risk

Management issued a memorandum recommending an adjustment to the RMBS Trading Desk’s

whole loan risk calculations, because the Trading Desk was using incorrect calculations to tranche

loans, resulting in an over-valuation of their whole loan position. PX 903 at 2. Moreover, Risk

Management faulted the Trading Desk for using inconsistent parameters to calculate NCAT for

residuals, explaining that the Trading Desk needed to refine their methodology for calculating
credit risk for residuals, including by incorporating a more severe stress test scenario. Id. at 3.

                       (d)     Nomura Holding Could Audit Nomura Securities And NCCI
       679.    In November 2005, Nomura Holding audited Nomura’s RMBS business. PX 723

at 1-4. As part of the audit, Nomura Holding examined the due diligence results from Nomura’s
whole loan purchases. Id. The audit also examined the RMBS group’s quality control process and

underwriting guidelines used by the originators from which Nomura purchased loans. Id. In this

review, Nomura Holding Assistant Vice President Elizabeth Nicklas questioned why the RMBS

Group had apparently purchased loans graded EV3 by a diligence vendor, as her understanding


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was that any loans Nomura had cured from a EV3 to an EV2 would be reflected in the final

diligence grades. Id.

                        (e)    Nomura Holding Directed The Back-Office Functions Of
                               Nomura Securities And NCCI
       680.    Nomura Holding and each of the RMBS-related entities at issue in this lawsuit,

shared common back office support. The Corporate Legal Group provided legal services to all of

the RMBS-related entities, and was led by David Findlay. Prahofer 30(b)(6) Dep. 240:5-11,

240:21-241:12. The Accounting Group maintained the financial accounts of Nomura Holding and

the RMBS-related entities, and was led at various times by Larry Wagner and Nathan Gorin,

Prahofer 30(b)(6) Dep. 293:23-295:9, the latter of whom was responsible for maintaining the

financial accounts of NAAC, NHELI, and NCCI. Id. at 226:2-4, 248:15-25, 251:17-20, 258:19-23.

The Tax Group, led by Sam Herbstman, provided tax services to Nomura Holding, NCCI, and

Nomura Securities, and monitored the tax status of NAAC and NHELI. Id. at 241:22-243:13,

226:5-7. The Human Resources Group also provided services for Nomura Holding, NCCI, and

Nomura Securities, though it did not need to provide services to NAAC or NHELI, which had no

employees. Id. at 292:8-293:6.

                        (f)    Nomura Holding Directed Nomura Securities And NCCI’s
                               Public Relations Regarding The RMBS Business
       681.    In November 2006, Nomura Holding was notified of a pending Wall Street Journal

article based on a UBS research presentation showing that Nomura’s RMBS securitizations were
performing third-worst out of 28 RMBS issuers. PX 706. The presentation asked whether “2006

[will] go down as the worst ever?” Id. at 5. The UBS presentation stated that defaults were
“[c]om[ing] [e]arly and [o]ften,” and “[p]oint[ed] [f]ingers” at “[w]eakening [c]redit

underwriting,” “[i]ncreased [r]isk [l]ayering,” “[w]eakening HPA,” and “[s]lower [p]repayments.”
Id. It also stated that the performance issues were not limited to a few issuers or originators, but

were widespread. Despite the widespread problems, Nomura still ranked third-from last in

performance according to UBS. Id at 15. The UBS presentation further stated that subprime

profitability had declined, “[p]utting [p]ressure on [v]olume, and [r]esult[ing] in [l]ooser


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[u]nderwriting”—a conclusion consistent with the one that Risk Management had drawn with

regards to Fremont. Id. at 21.

       682.    David Findlay, a director and the Chief Legal Officer of Nomura Holding, noted

that the research paper indicated that “poor underwriting” was the “key cause” of Nomura’s

performance, and questioned whether Nomura Holding CEO Hideyuki Takahashi and “Tokyo”

needed to be informed of the response as well. Id. at 1. Nomura Holding director Shigesuki

Kashiwagi was required to approve the RMBS group’s response. Id.

               3.     Nomura Holding Directed Or Caused The Direction Of The
                      Management Of NAAC And NHELI
       683.    Nomura Holding selected the directors of NACC and NAMF. See Part II, supra.

Those directors then selected the directors of NAAC and NHELI. See Part II, supra. The

Directors of NAAC and NHELI were responsible for managing and directing the “business and

affairs” of NAAC and NHELI and appointing their officers, PX 1351 at 17; PX 1349 at 31; PX

1351 at 20 (NHELI By-laws); PX 1349 at 36, who included Nomura Holding officers Juliet Buck

and Sam Herbstman. Prahofer 30(b)(6) Dep. 224:17-226:7, 234:8-24.

       684.    Nomura Holding officers and d directed NAAC and NHELI’s RMBS business.

Nomura Holding officer and director David Findlay signed each of the Registration Statements

pursuant to which the Securitizations were issued, SOF ¶¶ 42, and as director of both NAAC and

NHELI, he also signed an authorization allowing NAAC and NHELI to proceed with each of the

Securitizations. PX 1351 at 5; PX 1349 at 6; PX 1350 at 6; PX 1352 at 5; PX 1353 at 5.

       685.    Nomura Holding Chief Administrative Officer Shunichi Ito also signed each of the

Registration Statements, as well as authorizations allowing each of the Securitizations to proceed,

except for NHELI 2007-3. PX O0033 at 220; PX O0035 at 493; PX O0037 at 554. PX 1351

at 5; PX 1349 at 6; PX 1350 at 6; PX 1352 at 5.

       686.    Nomura Holding officer Juliet Buck served as the Secretary and Legal Officer for

NAAC and NHELI, Prahofer 30(b)(6) Dep. 227:7-21, 228:8-17, and was responsible for the legal

functions of NAAC and NHELI. Id. As Secretary of NAAC and NHELI, she signed each of the



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Registration Statements as well as a Secretary’s Certificate in connection with the Board of

Director’s authorization for each of the Securitizations. PX 1351 at 2; PX 1349 at 2; PX 1350

at 2; PX 1602 at 2; PX 1603 at 2; PX 1352 at 2; PX 1353 at 2. Ms. Buck was also granted the

power of attorney to act on behalf of the signatories of the Registration Statements. PX O0033

at 220; PX O0035 at 493; PX O0037 at 554.

       687.    Ms. Buck was also actively involved many aspects of Nomura’s RMBS business

throughout the 2005 to 2007 time period, including by drafting many of the Offering Materials, see

e.g., PX 217 at 1 (NHELI 2006-HE3); PX 222 (NHELI 2006-FM2); PX 281 at 1 (NHELI 2007-3);

PX 283 at 1, and participating in diligence tie-out with RBSSI regarding NHELI 2006-FM2. PX

218 (NHELI 2006-FM2); PX 285 (NHELI 2006-FM2). Ms. Buck was also involved in setting

policy regarding reporting and responding to EPD claims for ResMAE, PX 566; PX 567, and in

decisions as to whether Nomura needed to make disclosures about Fremont and Ownit after they

went into bankruptcy, PX 279.

       B.      NCCI Directed Or Caused The Direction Of The Management And Policies Of
               Nomura Securities, NAAC, And NHELI
       688.    NCCI directed or caused the direction of the affairs of Nomura Securities, NAAC,

and NHELI through (a) overlapping officers and directors; (b) directing their RMBS activities; and

(c) directing their management.

               1.     NCCI And Nomura Securities Had Overlapping Directors And Officers
       689.    NCCI’s directors, Dante LaRocca and Sam Herbstman, were also officers of

Nomura Securities, and until October 2006, Mr. LaRocca was an employee of Nomura Securities.

LaRocca Dep. 36:25-37:10; Prahofer 30(b)(6) Dep. 226:8-23, 234:8-24. When Nomura Securities

employees like Mr. LaRocca became employees of NCCI in October 2006, it had no effect on their

responsibilities. Prahofer 30(b)(6) Dep. 230:13-25; LaRocca Dep. 33:16-35:8. As Mr. LaRocca

put it, the distinction between Nomura entities was “invisible” and “seamless.” LaRocca Dep.

35:25-36:10.




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               2.      NCCI Directed The RMBS Activities Of Nomura Securities
       690.    NCCI was responsible for deciding which mortgage loans to purchase and which

loans to securitize. Prahofer 30(b)(6) Dep. 284:3-16. It bought loans from originators, held them

on its books, and then sold them to the depositor. Id. at 249:9-17, 256:17-257:7, 256:8-16. NCCI

could prevent the issuance of a securitization by choosing not to sell the underlying loans to the

depositor. Id. at 256:17-257:7.

       691.    NCCI, along with Nomura Securities, was responsible for conducting credit,

compliance and valuation diligence on the Mortgage Loans. Id. at 268:25-269:6. It selected the

loans to be reviewed, id. at 282:9-13, and retained the diligence vendors who conducted the

reviews. Prahofer 30(b)(6) Dep. 283:20-284:2. After October 2006, NCCI also employed the

Diligence Group’s employees, except for Christopher Scampoli, a contractor. Prahofer 30(b)(6)

Dep. 284:17-285:3.

               3.      NCCI Directed The Management And Policies Of NAAC and NHELI
       692.    NAAC and NHELI were shell corporations without any independent operations or

employees. See Part II, supra. Neither NAAC nor NHELI had any office space separate and apart

from that of NCCI or Nomura Securities. Prahofer 30(b)(6) Dep. 243:14-244:10

       693.    NAAC and NHELI’s officers were granted the authority and responsibility to

oversee the “management and operation of the Corporation,” including any duties delegated by

NAAC or NHELI’s board of directors. PX 1351 at 20 (NHELI by-laws); PX 1349 at 37 (NAAC

by-laws). In particular, NAAC and NHELI’s CEOs were responsible for the “general and active

management, supervision, direction, and control of the business of the Corporation,” including

carrying out any resolutions or orders of the board of directors. PX 1349 at 38 (NAAC By-laws);

PX 1351 at 21 (NHELI By-laws).

       694.    All of NAAC and NHELI’s officers were also officers of NCCI, Nomura

Securities, and/or Nomura Holding. Prahofer 30(b)(6) Dep. 224:17-226:7, 234:8-24, 248:15-25;

LaRocca Dep. 36:25-37:10; Graham Dep. 20:2-9, 25:20-26:5. Two of the three directors of

NAAC and NHELI were officers and directors of other Nomura entities, including, Nomura



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Holding, Nomura Securities, and NACC. PX 182 at 2; Findlay Dep. 23:20:-24:4, 25:21-26:23; PX

1470 at 10.

       695.    These officers and directors (namely, Individual Defendant Mr. Graham, Mr.

LaRocca, Individual Defendant Mr. Findlay, and Mr. Ito) signed the Registration Statements that

allowed NAAC and NHELI to issue the Securitizations. PX O0033 at 220; PX O0035 at 208; PX

O0037 at 248. NCCI and Nomura Securities officers Mr. LaRocca and Mr. Graham, and Nomura

Holding officer Ms. Buck, were given power of attorney on behalf of the other signatories of the

Registration Statements as to matters related to those Registration Statements. PX O0033 at 224;

PX O0035 at 493; PX O0037 at 247-48. Mr. Findlay and Mr. Ito signed Board of Directors

Authorizations allowing each of the Securitizations to proceed, and Mr. Graham and Ms. Buck

signed the Secretary’s Certificate certifying that the documentation of the Board of Directors

Authorizations was true and correct. PX 1351 at 1-2, 5; PX 1349 at 1-2, 6; PX 1350 at 1-2, 6; PX

1602 at 1-2, 5; PX 1603 at 1-2, 6; PX 1352 at 1-2, 5; PX 1353 at 1-2, 5.

       696.    NCCI and Nomura Securities were responsible for all of the key functions related to

the issuance of the Securitizations, including: deciding which mortgage loans to purchase and

securitize; conducting due diligence on the Mortgage Loans, drafting the offering materials;

including the Prospectus Supplements; and marketing and selling the Securitizations to investors.

See Part II, supra.

       C.      The Individual Defendants Directed The Affairs Of Nomura Securities, NAAC,
               And NHELI
       697.    The Individual Defendants controlled NAAC, NHELI, and Nomura Securities by

signing the Registration Statements, through their positions as officers and/or directors of each of

the controlled entities, and through their roles managing Nomura’s RMBS business.

               1.      Dante LaRocca
       698.    From 2005 through 2007, Dante LaRocca was a Managing Director at Nomura

Securities and NCCI, served as the President and CEO of NHELI, and served as a Director of

NCCI. LaRocca Dep. 36:25-37:10; Prahofer 30(b)(6) Dep. 228:2-17; PX 182 at 2. Functionally,



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Mr. LaRocca was head of Nomura’s Real Estate Finance Group, and oversaw the Residential

Mortgage Finance Group, which was responsible for “papering” the securitization process as well

as diligence on the Mortgage Loans. LaRocca Dep. 36:25-37:10; Graham Dep. 22:3-13, 40:19-

41:10. As CEO of NHELI, he was responsible for the “general and active management of the

business of the Corporation,” including carrying out any resolutions or orders of the board of

directors. PX 1351 at 21.

                      (a)     Mr. LaRocca Was Involved In Assessing Which Originators
                              Nomura Would Purchase Loans From
       699.    Although the Credit Department was responsible for reviewing originators before

approving them as counterparties, members of Mr. LaRocca’s team accompanied the Credit

Department on some of these reviews, LaRocca Dep. 152:4-154:8, and Mr. LaRocca discussed the

results with Mr. Pierro, who led most of the reviews, LaRocca Dep. 154:17-155:18, and was aware

that originators including Fremont, ResMAE, People’s Choice, and First NLC were “more suspect

sellers.” PX 1512 at 1. Similarly, even though the Credit Department was responsible for setting

limits on the warehouse credit lines that Nomura extended to originators, Mr. LaRocca advised the

Credit Department on that subject as well. LaRocca Dep. 196:18-198:23.

                      (b)     Mr. LaRocca Oversaw The Diligence Group And Was Actively
                              Involved In The Diligence That Nomura Performed On
                              Mortgage Loans
       700.    The Diligence Group reported to Mr. LaRocca. LaRocca Dep. 48:22-49:25. He

was involved in setting diligence policy, see, e.g., PX 1472 at 1, and with Nomura’s bid

stipulations. LaRocca Dep. 178:15-21; PX 1472 at 1. Mr. LaRocca testified that Nomura

conducted credit, compliance, and valuation diligence only when buying loans, not when

securitizing them. LaRocca Dep. 60:20-61:8. He testified that Nomura conducted diligence only

on samples of bulk pools, LaRocca Dep. 64:8-65:7, 67:3-7; 187:3-190:4, was sometimes involved

in setting sample sizes, LaRocca Dep. 64:8-65:7, 67:3-7, and was involved in assessing whether

red flags raised by the Diligence Group required adjustment of the samples, LaRocca Dep. 68:11-




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69:21. As Mr. LaRocca stated, “if the diligence guys had an issue, it would come up to me, we

would talk it through and decide what to do or to handle it.” Id. at 69:13-21.

       701.    Mr. LaRocca was informed of and understood Nomura’s diligence results.

LaRocca Dep. 190:5-191:8. For example, in February 2007, he was advised that Nomura’s overall

pull-through rate had increased in January 2007 because Nomura had not purchased any loans

from Ownit or ResMae, and that the pull-through rate was at its highest level since the summer of

2006. PX 1472 at 1. As another example, in November 2006, he was advised that Nomura’s

typical kickout rate on subprime deals was 7-8%, and that the kickout rate on Nomura’s Fremont

SP02, SP03, and SP04 Acquisition Pools was “much higher” than this typical rate. PX 666 at 1.

At the same time, he received a summary of diligence results for the Fremont SP02, SP03, and

SP04 Acquisition Pools, which provided information on the kickout rates for each pool and stated

that the sample was “100% adverse.” PX 666.

                      (c)     Mr. LaRocca Reviewed And Edited The Prospectus Supplements
                              And Other Offering Materials
       702.    Mr. LaRocca was actively involved with Nomura’s PLS. . He reviewed and

commented on “[p]retty much everything,” including prospectus supplements, registration

statements, term sheets, purchase agreements, legal opinions, and corporate documents. Id. at

40:19-41; id. at 41:8-42:11, 138:2-139:16. Mr. LaRocca read prospectus supplements in their

entirety, including the Prospectus Supplements at issue, id. at 41:2-42:6, 42:12-19, 138:2-139:16,

and was involved in determining whether Nomura would comply with Regulation AB’s disclosure

requirements for NHELI 2006-FM1. PX 1511 at 2.

                      (d)     Mr. LaRocca Was Involved With Post-Closing Issues Related To
                              The Securitizations
       703.    Mr. LaRocca was involved in discussions about post-closing modeling, including
meetings where Nomura’s residual and whole positions were discussed. LaRocca Dep. 217:2-6,

222:9-13. He was also involved in responding to repurchase requests, Spagna Dep. 352:16-20, and

in the sale of Nomura’s RMBS residuals, LaRocca Dep. 210:3-211:4, including Nomura’s attempt




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to sell most or all of its RMBS residual and whole loan holdings beginning the summer of 2007.

Id. at 209:7-9; id. at 232:12-233:2; PX 1513 at 2-6.

                      (e)     Mr. LaRocca Signed Registration Statements 333-126435 And
                              333-132109 And The Amendments Thereto
       704.    Mr. LaRocca signed Registration Statement 333-126435, which was filed on July 7,

2005, in his capacity as CEO of NHELI. PX O0033 at 219; LaRocca Dep. 118:23-119:15; id. at

119:21-24; id. at 120:18-24. Mr. LaRocca read the Registration Statement in its entirety before

signing it. Id. at 122:12-17. Juliet Buck signed the amendment to that Registration Statement,

which was filed on July 8, 2005, on Mr. LaRocca’s behalf. Id. at 125:14-25.

       705.    Mr. LaRocca also signed Registration Statement 333-132109, which was filed on

February 28, 2006, in his capacity as CEO of NHELI. PX O0037 at 247; LaRocca Dep. 128:5-11.

As with Registration Statement 333-126435, Mr. LaRocca, Juliet Buck, and John Graham were

granted the power of attorney by the other signatories to the Registration Statement. PX O0037 at

247-248; LaRocca Dep. 128:21-129:21. John Graham signed the first amendment to the

Registration Statement, which was dated April 6, 2006, on Mr. LaRocca’s behalf. PX O0038 at

389; LaRocca Dep. 131:21-132:7. Ms. Buck signed the second amendment to the Registration

Statement, which was dated April 13, 2006, on Mr. LaRocca’s behalf. PX O0039 at 389; LaRocca

Dep. 134:14-18.

               2.     David Findlay
       706.    David Findlay was a Director and the CLO of both Nomura Holding and Nomura

Securities, also a Director of NAAC and NHELI, and the CLO of NCCI from 2005 through 2007.

Findlay Dep. 23:20:-24:4; id. at 25:21-26:23; Prahofer 30(b)(6) Dep. at 241:5-9; id. at 252:22-

253:19; Findlay Dep. at 83:24-84:4. Mr. Findlay also served as an officer of “a lot of Nomura

Group entities … and [he] wouldn’t remember necessarily today all of the companies” and was the

director of “quite a lot of [Nomura entities]” as well. Findlay Dep. 22:24-24:4. As CLO of

Nomura Holding, Mr. Findlay reported to Nomura Holding’s CEO. PX 1473 at 2-3; Findlay Dep.




                                                201
159:21-23. Mr. Findlay provided legal advice to Nomura Holding on “[a]nything [that] affect[ed]

the group,” id. at 34:2-11, including about the Registration Statements. Id. at 85:3-86:3.

                      (a)     Mr. Findlay Was Involved In Setting Up Nomura’s Diligence
                              Process
       707.    Mr. Findlay was actively involved in setting up Nomura’s RMBS business, Findlay

Dep. 36:8-37:9; Prahofer 30(b)(6) Dep. 262:5-263:11, including by setting up its due diligence

process, Findlay Dep. 40:19-21. His role was to procure advice from outside counsel and

consultants about how to set up that process, assess the advice he was given, and determine

whether Nomura’s securitization and diligence processes were “robust.” Findlay Dep. 36:8-38:24,

40:22-44:4, 49:11-50:2.

                      (b)     Mr. Findlay Sat On Nomura’s Risk And Credit Committee
       708.    Mr. Findlay sat on the RCC. Findlay Dep. 169:2-7; PX 711 at 2. As a member of

the RCC, Mr. Findlay, was responsible for overseeing risk and credit issues for Nomura Holding’s

businesses, including its RMBS business, from 2005 to 2007, PX 711 at 2; see also ¶ 657, supra,

including by monitoring Nomura’s exposure to early payment defaults, Findlay Dep. 171:7-14.

For example, on December 7, 2006, Mr. Findlay, along with other members of the RCC, was told

by David Ye that Ownit had been forced to shut down “due to continued pressure from the

softening of [the] subprime mortgage market.” PX 708 at 1. Mr. Ye noted that Ownit’s position

was “[l]ike many other originators” in that it was suffering decreasing profits from a “cooling

housing market” and “mounting EPD claims,” and directed actions related to Nomura’s exposure

to EPD claims. Id. at 2. On December 13, 2006, Mr. Findlay attended another meeting at which

the RCC discussed problems in Nomura’s RMBS business, including a review of the actions that

Nomura had taken in response to Ownit’s closure. PX 711 at 2-3.

                      (c)     Mr. Findlay Became Aware Of Problems In Nomura’s RMBS
                              Business Through A November 2006 Wall Street Journal Article
       709.    In November 2006, Mr. Findlay was involved in coordinating Nomura’s response to

a forthcoming article showing that Nomura’s RMBS securitizations were performing third-worst

out of 28 RMBS issuers. See ¶ 681, supra. Mr. Findlay commented that the article focused on


                                                202
“poor underwriting” as the cause of Nomura’s performance, and questioned whether Nomura

Holding Director and CEO Hideyuki Takahashi and “Tokyo” needed to be informed of Nomura’s

response to the article. PX 706 at 1; see also Findlay Dep. 162:9-20. At the time, Mr. Findlay

knew “that the market was generally having problems.” Findlay Dep. 164:14-22.

                      (d)     Mr. Findlay Signed Each Of The Registration Statements And
                              The Amendments Thereto
       710.    Mr. Findlay signed each of the three Registration Statements at issue and the

amendments thereto in his capacity as Director of NAAC and NHELI. PX O0033 at 220; PX

O0035 at 208; PX O0037 at 248; Findlay Dep. 19-21, 77:20-78:11, 89:21-90:6, 125:7-

126:20,130:22-131:9, at 133:19-134:4, 138:20-139:18, 142:10-22. As a director of NAAC and

NHELI, Mr. Findlay also signed a Resolution of the Board of Directors authorizing each of the

Securitizations. PX 1349 at 6; PX 1350 at 6; PX 1351 at 5; PX 1352 at 5; PX 1353 at 5; PX 1602

at 5; PX 1603 at 5; Findlay Dep. 144:9-145:15, 149:24-150:16, 152:13-23, 156:8-157:15. These

resolutions “authorize[ed] the company to go forward” with the Securitizations. Findlay Dep.

147:3-6; see also id. at 149:2-4. Mr. Findlay did not recall his roles at NAAC or NHELI, including

being a Director of NAAC or NHELI, id. at 24:16-25:20, and he did not recall which Nomura

entity performed which functions in the securitization process, id. at 71:4-72:12.

               3.     John Graham
       711.    During the 2005 to 2007 time period, John Graham was a Managing Director in

Residential Mortgage Finance at Nomura Securities, a Managing Director at NCCI, the President

and CEO of NAAC, and a Managing Director of NHELI. Graham Dep. 20:2-9, 21:9-22, 25:20-

26:5, 25:20-26:5; PX 1349 at 1; PX 1350 at 1; PX 1351 at 1; PX 1352 at 1; PX 1353 at 1; PX

1602 at 5; PX 1603 at 5; Prahofer 30(b)(6) Dep. 224:21-225:8. Employed by Nomura Securities

until October 2006 and thereafter by NCCI, Prahofer 30(b)(6) Dep. 226:8-25, Mr. Graham

functioned as the Head of Residential Mortgage Finance for Nomura’s RMBS business, Graham

Dep. 40:19-41:10, 142:11-22, and was responsible for overseeing all contracts with counterparties,

including vendors, sellers, trustees, and custodians. Spagna Dep. 168:13-169:2



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                       (a)     Mr. Graham Was Responsible For Overseeing The “Papering”
                               Of The Securitizations
       712.    The Residential Mortgage Finance Group that Mr. Graham oversaw was

“responsible for the papering of the acquisition of the whole loans, the due diligence, the collateral

analysis through to the securitization,” including assembling the Offering Documents. Graham

Dep. 40:19-41:10. Its role was “perform[ing] a number of functions in connection with preparing

and closing the deals” and “coordinat[ing] various internal groups and outside entities.”

Declaration of John Graham, Nomura, dated Dec. 1, 2014 (“Graham Decl.”) ¶¶ 2-3. Mr. Graham

generally reviewed offering materials, including prospectus supplements. Graham Dep. 29:9-13.

In doing so, he looked at certain “source materials,” a review he described as similar to that

undertaken by accounting firms, Graham Dep. 102:14-103:5, but he did not review any documents

to determine the veracity of the representation that the Mortgage Loans complied with guidelines,

Graham Dep. 121:24-122:7. Instead, Mr. Graham relied on the Diligence Group’s acquisition-

stage review, Graham Dep. 100:10-101:15, 117:7-19, 124:4-18, although he spoke with that group

only if there was some change in the language of the representations regarding compliance with

underwriting guidelines, Graham Dep. 115:3-116:15, and there is no evidence that he had such

discussions related to the Securitizations at issue.

                       (b)     Mr. Graham Oversaw The Diligence Group
       713.    The Diligence Group reported to Mr. Graham, Graham Dep. 24:9-15; Spagna Tr.

168:4-12; Kohout Dep. 22:3-11, and he “worked closely” with that group. Graham Decl. ¶ 8. Mr.
Graham “frequently received due diligence results … showing the percentage of due diligence

performed on, and number of loans kicked out from, pools contributing to those securitizations.”
Graham Decl. ¶ 9. As he explained:
               I or someone in the Transaction Management Group received final
               due diligence summaries for at least 89 of the trade pools,
               including the sole trade pool that contributed loans to the NHELI
               2006-FM1 securitization and the two trade pools that contributed
               loans to the NHELI 2006-FM2 securitization. Likewise, I or
               someone in the Transaction Management Group received
               summaries of the diligence performed on loans included in at least
               four of the seven securitizations that are at issue in this case before


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              the securitizations were issued, namely NHELI 2006-HE3, NHELI
              2006-FM2, NHELI 2007-2, and NHELI 2007-3.
Graham Decl. ¶ 9. These summaries allowed him “to see first-hand the results of the due diligence

process.” Graham Decl. ¶ 9.

       714.   Mr. Graham was aware of the size of Nomura’s credit and compliance diligence

samples, Graham Dep. 140:20-25, 168:8-18, 250:9-251:21, knew that if a loan was not included in

such a sample, it did not receive a credit and compliance review, Graham Dep. 167:16-20, and

knew that no one in the Diligence Group had the statistical background necessary to select a

statistically sufficient sample. Graham Dep. 152:15-163:11. Mr. Graham was also familiar with

Nomura’s valuation diligence process, and knew that the Prospectus Supplements did not disclose

the results of that process. Graham Dep. 66:8-66:19, 177:9-16. Mr. Graham also knew that

Nomura performed diligence only when it acquired loans, Graham Dep. 210:6-23, and that

“[t]here’s no due diligence performed for the securitizations.” Graham Dep. 218:13-17.

                      (c)     Mr. Graham Had Additional RMBS Responsibilities, Including
                              Interacting With Credit Ratings Agencies And Handling
                              Repurchases
       715.   Mr. Graham’s responsibilities included “work[ing] closely with the credit ratings

agencies.” Graham Decl. ¶ 4. He was also involved with repurchase requests. Graham Dep.

248:19-249:6; Spagna Dep. 352:16-20; see also PX 588.

                      (d)     Mr. Graham Signed Registration Statement 333-126812 And The
                              Amendment Thereto
       716.   Mr. Graham signed Registration Statement 333-126812, dated July 22, 2005, and

the amendment thereto, dated August 8, 2005, pursuant to which NAA 2005-AR6 was issued. PX

O0035. Mr. Graham also signed a Secretary Certificate in connection with the Resolution of the

Board of Directors of NAAC or NHELI authorizing each of the Securitizations. PX O0039, PX

1349, PX 1350, PX 156, PX 157, PX 1352, PX 159.

              4.      Nathan Gorin
       717.   Nathan Gorin served as the Chief Financial Officer and Treasurer of NAAC,

NHELI, NCCI, and Nomura Securities from 2005 and 2007. SOF ¶ 39; Prahofer 30(b)(6) Dep.


                                               205
248:14-25. Mr. Gorin was responsible for maintaining the financial accounts of NAAC, NHELI,

and NCCI. Prahofer 30(b)(6) Dep. 248:15-25, 251:17-20, 258:19-23. His role was to combine

financial information for Nomura’s activities in the United States and report that combined

information to Tokyo. Gorin Dep. 25:19-28:2. Mr. Gorin reported to Larry Wagner, Nomura

Holding’s Chief Financial Officer. Gorin Dep. 30:11-16. Mr. Gorin did not recall his role at

NAAC or NHELI, Gorin Dep. 43:7-14, 119:19-120:19, 162:10-22, 165:14-166:6, but he

acknowledged “some level of familiarity” with Nomura’s RMBS business. Gorin Dep. 54:6-16.

Moreover, emails show that he was involved in discussions about Nomura’s losses on the sale of

two RMBS residuals October 2006, including NHELI 2006-HE3. PX 1606 at 1-2.

       718.    Mr. Gorin signed each of the Registration Statements and the Amendments thereto.

SOF ¶ 42. He received documents related to the Securitizations, but did not review them. Gorin

Dep. 115:8-18, 169:18-170:4. Mr. Gorin was not involved with ensuring the accuracy of the

representations in the Prospectus Supplements, and did not “have any belief about the accuracy of

any representations in the prospectus supplements issued by Nomura during his tenure there.”

Gorin Dep. 151:14-20, 170:18-171:12.

               5.     John McCarthy
       719.    Mr. McCarthy signed each of the Registration Statements and the amendments

thereto. SOF ¶ 42; see also McCarthy Dep. 121:24-122:6, 124:13-22. Mr. McCarthy also signed a

Resolution of the Board of Directors allowing each Securitization to go forward, by which point
Mr. McCarthy “would have seen deal documents on [the Securitization] along the way.” PX 1351,

PX 1349, PX 1350, PX 156, PX 157, PX 1352, PX 159; McCarthy Dep. 156:16-158:14. Mr.
McCarthy relied upon Nomura’s RMBS business to verify the representations in the Prospectus

Supplements and did not review any information that would have allowed him to verify those
representations himself. McCarthy Dep. 86:8-17, 99:10-100:9.




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VII.   FHFA’S RECOVERIES UNDER SECTION 12 AND THE BLUE SKY STATUTES
       ARE OVER $1 BILLION, AND DEFENDANTS HAVE FAILED TO
       DEMONSTRATE THAT ANY OF THIS AMOUNT IS ATTRIBUTABLE TO
       FACTORS OTHER THAN THE MISREPRESENTATIONS AT ISSUE IN THIS
       ACTION

       A.      Depending On The Date of Tender and Interest Rate Applied, FHFA’s
               Recovery Upon Tender of the Certificates Ranges From $808,202,687 to
               $1,053,411,920
       720.    The GSEs continue to own the Certificates. Li Direct ¶ 5; Johansen Direct ¶ 5.

Section 12 provides that, “upon tender of a security,” a successful plaintiff is entitled to recover (a)

“the consideration paid for such security;” (b) “with interest thereon;” (c) “less the amount of any

income received thereon.” 15 U.S.C. § 77l(a)(2).

       721.    The consideration paid for a certificate may include accrued interest. Accrued

interest represents coupons that have accrued on an RMBS between the last coupon payment date

and the settlement date of the security’s transfer. Finkel Direct ¶ 13 n.3. Moreover, RMBS

amortize over time, meaning that portions of the original consideration paid are expected to be

returned as principal payments every month. Finkel Direct ¶ 20. When the purchaser of an RMBS

receives a principal payment, the consideration paid by that purchaser may be viewed as declining

by the amount of that payment. Id.

       722.    Therefore, to determine the consideration paid for a Certificate, one calculates the

original consideration paid for the Certificate (including any accrued interest) less principal

payments received by the purchaser through the measurement date. Finkel Direct ¶ 20. To

account for prejudgment interest, the applicable prejudgment interest rate should be applied to the

total consideration (including any accrued interest) paid less principal payments, as of each month,

beginning on the date of purchase, and ending on the date of tender. Id. To determine the

recovery upon tender of a Certificate under Section 12, one calculates (a) the total consideration

paid by the GSE for the Certificate at the date of purchase (including any accrued interest); plus

(b) prejudgment interest, calculated on the total consideration paid (including any accrued interest)

less principal payments, as of each month, from the date of purchase through the date of tender;




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less (c) the sum of all principal and coupon payments received by the GSE on the Certificate

through the date of tender. Finkel Direct ¶ 22.

       723.    To determine the recovery upon tender of a Certificate under the D.C. and Virginia

Blue Sky statutes, one calculates (a) the total consideration paid by the GSE for the Certificate at

the date of purchase (including any accrued interest); plus (b) mandatory 6% prejudgment interest,

calculated on the total consideration paid (including any accrued interest) less principal payments,

as of each month, from the date of purchase through the date of tender; less (c) the sum of all

principal and coupon payments received by the GSE on the Certificate through the date of tender;

plus (d) costs and reasonable attorneys’ fees. Finkel Direct ¶¶ 29-30.

       724.    FHFA’s expert, Mr. James K. Finkel, performed these calculations as of two

alternative tender dates: (a) September 2, 2011 (the date the complaint in this Action was filed);

and (b) January 31, 2015 (to be supplemented at the time of trial or judgment). In his calculations,

Mr. Finkel utilized three alternative “simple” interest rates (without compounding) for FHFA’s

recovery under Section 12: (a) the IRS underpayment rate for large corporate underpayments,

which is the Applicable Federal Rate (“AFR”) plus 5% interest; (b) 3% interest; and (c) the

respective monthly coupon rate of each Certificate. Finkel Direct ¶ 21. Mr. Finkel also performed

these calculations using the mandatory 6% “simple” interest rate (without compounding) for

FHFA’s recoveries under the Blue Sky laws as to the four Certificates for which FHFA has

asserted Blue Sky claims (the NAA 2005-AR6, NHELI 2006-FM2, NHELI 2007-1, and NHELI
2007-2 Certificates). Finkel Direct ¶¶ 29-32. Mr. Finkel did not include costs and reasonable

attorneys’ fees in his calculation of FHFA’s Blue Sky recoveries, as those costs and fees will be
the subject of post-judgment submissions by the Parties. Finkel Direct ¶ 6.




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          725.     For each Certificate, the consideration paid at purchase, and the principal and

coupon payments received by the GSEs as of the lawsuit date (September 2, 2011), are as follows

(PX 1721):

                                             Consideration Paid
                                                                  Principal Received   Coupons Received
         GSE            Certificate          (including accrued
                                                                   as of 9/2/201129     as of 9/2/201130
                                                  interest)28
        FNM        NAA 2005-AR6 3A1              $65,979,707         $36,229,146          $14,398,211
         FRE       NHELI 2006-FM1 1A             $309,591,187       $272,500,264          $23,268,559
         FRE      NHELI 2006-FM2 1A1             $525,197,000       $323,507,554          $39,781,306
         FRE      NHELI 2006-HE3 1A1             $441,739,000       $291,248,182          $32,931,715
         FRE        NHELI 2007-1 II1A            $100,548,000        $39,573,074          $8,287,240
         FRE        NHELI 2007-2 1A1             $358,847,000       $188,819,392          $27,181,982
         FRE        NHELI 2007-3 1A1             $245,105,000       $104,530,123          $17,324,141
                      Totals                    $2,047,006,894     $1,256,407,734        $163,173,153




28
     SOF ¶¶ 49-50.
29
     Li Direct ¶ 6 & Ex. B; Johansen Direct ¶ 7 & Ex. B.
30
     Li Direct ¶ 6 & Ex. B; Johansen Direct ¶ 7 & Ex. B.


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          726.     For each Certificate, the consideration paid at purchase, and the principal and

coupon payments received by the GSEs as of January 31, 2015, are as follows (PX 1722):

                                             Consideration Paid
                                                                     Principal Received   Coupons Received
         GSE            Certificate          (including accrued
                                                                      as of 1/31/201532    as of 1/31/201533
                                                  interest)31
        FNM        NAA 2005-AR6 3A1              $65,979,707             $42,769,500          $17,454,887
         FRE       NHELI 2006-FM1 1A             $309,591,187           $282,292,777          $23,747,498
         FRE      NHELI 2006-FM2 1A1             $525,197,000           $346,402,924          $42,054,069
         FRE      NHELI 2006-HE3 1A1             $441,739,000           $330,943,871          $34,529,748
         FRE        NHELI 2007-1 II1A            $100,548,000            $52,195,457           $8,694,906
         FRE        NHELI 2007-2 1A1             $358,847,000           $234,822,110          $28,977,870
         FRE        NHELI 2007-3 1A1             $245,105,000           $127,554,796          $19,310,598
                      Totals                    $2,047,006,894         $1,416,981,434         $174,769,575

          727.     FHFA’s recovery under Section 12 and the Blue Sky statutes for each interest rate

scenario specified in Paragraph 724 above, treating the lawsuit date (September 2, 2011) as the

tender date, is as follows (PX 1723):

                                           Section 12
                                                                Section 12      Section 12       Blue Sky
                                         Recovery at IRS
        GSE           Certificate                               Recovery       Recovery at       Recovery
                                         Underpayment
                                                                 at 3%35      Coupon Rate36       at 6%37
                                             Rate34
        FNM      NAA 2005-AR6 3A1          $35,570,778        $23,040,996      $29,750,561      $30,729,642
        FRE      NHELI 2006-FM1 1A         $62,873,953        $30,923,925      $37,090,924          N/A
        FRE      NHELI 2006-FM2 1A1        $270,636,023       $204,840,592    $201,689,446      $247,773,044
        FRE      NHELI 2006-HE3 1A1        $203,417,649       $150,727,658    $150,490,818          N/A
        FRE       NHELI 2007-1 II1A        $79,033,190        $63,717,692      $60,974,926      $74,747,698
        FRE       NHELI 2007-2 1A1         $223,518,423       $175,910,235    $170,027,608      $208,974,844
        FRE       NHELI 2007-3 1A1         $178,361,904       $146,790,864    $140,574,877          N/A
                    Totals                $1,053,411,920      $795,951,962    $790,599,160      $562,225,228



31
     SOF ¶¶ 49-50.
32
     Li Direct ¶ 6 & Ex. B; Johansen Direct ¶¶ 6-7 & Ex. B.
33
     Li Direct ¶ 6 & Ex. B; Johansen Direct ¶¶ 6-7 & Ex. B.
34
     PX 1505.
35
     PX 1506.
36
     PX 1507.
37
     PX 1505-1507.


                                                          210
         728.    FHFA’s recovery under Section 12 and the Blue Sky statutes for each interest rate

scenario for each Certificate, treating January 31, 2015, as the tender date, is as follows (PX 1724):

                                         Section 12
                                                               Section 12     Section 12      Blue Sky
                                       Recovery at IRS
        GSE           Certificate                              Recovery      Recovery at      Recovery
                                       Underpayment
                                                                at 3%39     Coupon Rate40      at 6%41
                                           Rate38
        FNM     NAA 2005-AR6 3A1         $30,446,144          $16,127,403    $23,210,207    $26,499,487
        FRE     NHELI 2006-FM1 1A        $58,046,661          $23,918,968    $27,298,410        N/A
        FRE     NHELI 2006-FM2 1A1       $278,271,989      $199,354,919     $178,794,076    $261,969,830
        FRE     NHELI 2006-HE3 1A1       $184,383,844      $122,789,887     $110,795,129        N/A
        FRE      NHELI 2007-1 II1A       $75,294,442          $56,262,424    $48,352,543    $72,867,210
        FRE      NHELI 2007-2 1A1        $200,758,299      $143,134,718     $124,024,890    $191,222,416
        FRE      NHELI 2007-3 1A1        $175,485,014      $135,060,278     $117,550,204        N/A
                        Totals          $1,002,686,392     $696,648,597     $630,025,460    $552,558,943

         729.    Presuming that FHFA would elect the remedy that provides it with the greatest

recovery as to each Certificate, and fixing the prejudgment interest rate for FHFA’s Blue Sky

claims at 6% simple interest, FHFA’s aggregate recovery across all seven Certificates, under each

of the scenarios discussed above, is as follows (PX 1725):

                                                                                        Total
         Tender Date                    Prejudgment Interest Rate
                                                                                      Recovery42
           9/2/2011      IRS Underpayment Rate for Section 12; 6% for Blue Sky       $1,053,411,920

           9/2/2011      3% for Section 12; 6% for Blue Sky                            $890,667,675

           9/2/2011      Coupon Rate for Section 12; 6% for Blue Sky                   $890,381,847

          1/31/2015      IRS Underpayment Rate for Section 12; 6% for Blue Sky       $1,002,686,392

          1/31/2015      3% for Section 12; 6% for Blue Sky                            $834,328,076

          1/31/2015      Coupon Rate for Section 12; 6% for Blue Sky                   $808,202,687




38
     PX 1508.
39
     PX 1509.
40
     PX 1510.
41
     PX 1508-1510.
42
     PX 1505-1510.


                                                         211
       B.      Defendants Do Not Show That The GSEs’ Losses Were Caused By Factors
               Other Than The Misrepresentations
       730.    Defendants’ expert, Kerry D. Vandell, Ph.D., provided no admissible, quantitative

analysis to support Defendants’ negative loss causation defense. Without such evidence and

testimony, “[i]t will be difficult (if not impossible) for the defendants to sustain their burden of

showing loss causation” because “to make out a successful defense a party must prove not the

mere possibility that some other factor caused the plaintiff’s loss but rather that all or an identified

portion of plaintiff’s loss was caused by that other factor.” See Feb. 18, 2015 Op. & Order re:

Post-Settlement Evidence, Dkt. 1289 (“Post-Settlement Op.”) at 10 (emphasis added).

       731.    Here, Dr. Vandell described the factors that contributed to the housing and

mortgage market boom of 2000 to 2006, as well as its subsequent decline, and to the impact of the

nationwide decline in home prices and the subsequent deterioration in the economy on the

incidence of mortgage default. Dr. Vandell asserts that the change in macroeconomic conditions,

including declines in house prices, increases in unemployment and reductions in market liquidity,

were unrelated to the origination of the at-issue loans or any alleged misrepresentations about their

characteristics. See Barth Direct ¶ 6.

       732.    However, as FHFA’s expert, Dr. James R. Barth, shows, Dr. Vandell incorrectly

assumes that the underwriting defects, misrepresentations and omissions of the types FHFA alleges

(the “Alleged Underwriting Defects”) were unrelated to the macroeconomic factors to which he

attributes Plaintiff’s losses. See Barth Direct ¶¶ 8, 33.
       733.    First, the Alleged Underwriting Defects contributed to the housing price bubble in

the United States (1995 to 2006) by increasing the supply of credit to unqualified borrowers.
Increases in the supply of credit associated with securitization facilitated the unprecedented

increases in mortgage lending, the homeownership rate, and housing prices that occurred during
the housing boom. See Barth Direct ¶¶ 8, 10-18.

       734.    Specifically, the approval of loans which did not comply with stated underwriting

guidelines and the failure to disclose this practice to investors further expanded the supply of credit

by enabling more borrowers to qualify for loans. See Barth Direct ¶ 16. Thus, the Alleged


                                                  212
Underwriting Defects directly contributed to the housing price bubble by supplying credit to

unqualified borrowers that would not have existed had the guidelines been followed. Barth Direct

¶ 16.

        735.   Second, the Alleged Underwriting Defects contributed to the unprecedented decline

in housing prices that occurred when the housing bubble burst in 2006, not only by contributing to

the unsustainable housing price bubble, but also by reducing the quality of loans originated during

the housing boom, which exacerbated the resulting housing crisis. See Barth Direct ¶¶ 19-20.

        736.   Finally, the bursting of the housing price bubble triggered a financial crisis and an

ensuing severe recession, which, in turn, further exacerbated the housing crisis. See Barth Direct

¶ 8. The increase in unemployment reduced the demand for housing (exacerbating the housing

price decline) and increased the incidence of delinquencies and defaults. Banks tightened their

lending standards and the market for private-label mortgage-backed securities collapsed, reducing

the supply of credit to borrowers, and thereby further reducing the demand for housing (further

exacerbating the housing price decline). See Barth Direct ¶ 32.

        737.   As Dr. Barth’s analysis shows, the declines in home prices, increases in

unemployment rates, and reductions in market liquidity that occurred in the period after the

issuance of the At-Issue Certificates were, to some extent, caused by the Alleged Underwriting

Defects. Barth Direct ¶ 33. Thus, by failing to consider the contribution of the Alleged

Underwriting Defects to the macroeconomic factors that affected the housing market, Dr.
Vandell’s remaining opinions relating to the losses on the At-Issue Certificates are wholly

unreliable and speculative.




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DATED: New York, New York
       February 20, 2015

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                    STATEMENTS IN THE PROSPECTUS SUPPLEMENTS


I.       Statements That Loans Were Originated Or Acquired Generally In Accordance
         With Applicable Underwriting Guidelines And Criteria

         A.       Statements That Certain Mortgage Loan Sellers Originated Or Sold 20%
                  Or More Of The Mortgage Loans In A Securitization43

NAA 2005-AR6            The principal originators of the mortgage loans are (i) Alliance Bancorp
                        with respect to approximately 20.60% of the Mortgage Loans by the
                        aggregate principal balance as of the Cut-off Date, (ii) Silver State
                        Mortgage (“Silver State”) with respect to approximately 11.82% of the
                        Mortgage Loans by the aggregate principal balance as of the Cut-off Date
                        and (iii) Aegis Mortgage (“Aegis”) with respect to approximately 11.21%
                        of the Mortgage Loans by the aggregate principal balance as of the Cut-off
                        Date. The remainder of the Mortgage Loans were originated by various
                        originators, none of which have originated more than 10% of the Mortgage
                        Loans by aggregate outstanding principal balance as of the Cut-off Date.
                        PX O0059 at 142.

NHELI 2006-FM1 All of the Mortgage Loans were originated by Fremont Investment & Loan
               (“Fremont”). PX O0049 at 6.

NHELI 2006-FM2 All of the Mortgage Loans were originated by Fremont Investment & Loan
               (“Fremont”). PX O0045 at 80.

NHELI 2006-HE3 The principal originators of the Mortgage Loans are: People’s Choice
               Home Loan, Inc., with respect to approximately 38.19% of the Mortgage
               Loans, First NLC Financial Services, LLC, with respect to approximately
               14.47% of the Mortgage Loans and Equifirst Corporation, with respect to
               approximately 10.77% of the Mortgage Loans. The remainder of the
               Mortgage Loans were originated by various originators, none of which
               originated 10% or more of the Mortgage Loans. PX O0041 at 6-7.




43
    For those originators that originated at least 20% of the loans in any securitization (the “Named Originators”),
the Prospectus Supplements specifically stated that the mortgage loans originated by that originator were originated
or acquired generally in accordance with the originator’s underwriting guidelines.

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     A.    Statements That Certain Mortgage Loan Sellers Originated Or Sold 20%
           Or More Of The Mortgage Loans In A Securitization43

NHELI 2007-1   The principal originator of the Group I Mortgage Loans is First National
               Bank of Nevada, which originated approximately 35.88% of the Group I
               Mortgage Loans, by aggregate principal balance as of the Cut-off Date.
               The remainder of the Group I Mortgage Loans were originated by various
               originators, none of which originated 10% or more of the Group I Mortgage
               Loans. . . . The principal originator of the Group II Mortgage Loans is
               Silver State Financial Services, Inc., d/b/a Silver State Mortgage which
               originated approximately 31.67% of the Group II Mortgage Loans by
               aggregate principal balance of the Group II Mortgage Loans as of the Cut-
               off Date. The remainder of the Mortgage Loans were originated by various
               originators, none of which originated 10% or more of the Mortgage Loans.
               PX O0072 at 9.

NHELI 2007-2   The principal originators of the Mortgage Loans are: Ownit Mortgage
               Solutions, Inc., with respect to approximately 42.38% of the Mortgage
               Loans, and First NLC Financial Services, LLC, with respect to
               approximately 11.56% of the Mortgage Loans. The remainder of the
               Mortgage Loans were originated by various originators, none of which
               originated 10% or more of the Mortgage Loans. PX O0080 at 7.

NHELI 2007-3   The principal originator of the Mortgage Loans is ResMAE Mortgage
               Corporation, with respect to approximately 77.61% of the Mortgage Loans.
               The remainder of the Mortgage Loans were originated by various
               originators, none of which originated 10% or more of the Mortgage Loans.
               PX O0051 at 8.




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                                                                                     EXHIBIT 1




       B.     Statements That The Loans Were Originated In Accordance With
              Guidelines

NAA 2005-AR6       The Mortgage Loans have been purchased by the seller from various banks,
                   savings and loan associations, mortgage bankers and other mortgage loan
                   originators and purchasers of mortgage loans in the secondary market, and
                   were originated generally in accordance with the underwriting criteria
                   described in this section. PX O0059 at 93.

NHELI 2006-FM1 All of the mortgage loans were originated or acquired by Fremont,
               generally in accordance with the underwriting criteria described in this
               section. The following is a summary of the underwriting guidelines
               believed by the Depositor to have been applied, with some variation, by
               Fremont. PX O0049 at 70.

NHELI 2006-FM2 All of the mortgage loans were originated or acquired by Fremont,
               generally in accordance with the underwriting criteria described in this
               section. The following is a summary of the underwriting guidelines
               believed by the depositor to have been applied, with some variation, by
               Fremont. PX O0045 at 81.

NHELI 2006-HE3 All of the Mortgage Loans have been purchased by the sponsor from
               various banks, savings and loan associations, mortgage bankers and other
               mortgage loan originators and purchasers of mortgage loans in the
               secondary market, and were originated generally in accordance with the
               underwriting criteria described in this section (with the exception of the
               Mortgage Loans originated by People’s Choice Home Loan, Inc. which
               were originated in accordance with the People’s Choice Home Loan, Inc.
               Underwriting Standards described above). PX O0041 at 88.

                   People’s Choice
                   The Mortgage Loans were generally originated by People’s Choice Home
                   Loan, Inc., a Wyoming corporation (“PCHLI”), in accordance with the
                   underwriting criteria described in this section and detailed in the print and
                   on-line manuals that our underwriters use in making their credit decisions
                   (“Underwriting Guidelines”); provided however that certain of the more
                   seasoned Mortgage Loans included in the Mortgage Pool may have been
                   originated under underwriting guidelines which are substantially similar to
                   the Underwriting Guidelines described in this section but may have
                   differences with respect to pricing, FICO scores and other program
                   attributes. PX O0041 at 81.




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                                                                                EXHIBIT 1



     B.    Statements That The Loans Were Originated In Accordance With
           Guidelines

NHELI 2007-1   All of the Mortgage Loans have been purchased by the sponsor from
               various banks, savings and loan associations, mortgage bankers and other
               mortgage loan originators and purchasers of mortgage loans in the
               secondary market, and were originated generally in accordance with the
               underwriting criteria described in this section. PX O0072 at 114.

               First National Bank of Nevada
               The mortgage loans were originated or acquired through retail, wholesale
               and correspondent channels or from FNBN’s affiliate, First National Bank
               of Arizona and, in every case, generally in accordance with FNBN’s
               “alternative” underwriting guidelines. PX O0072 at 109-110.

               Silver State
               Silver State Mortgage’s underwriting guidelines are primarily intended to
               evaluate the prospective borrower’s credit standing and ability to repay the
               loan, as well as the value and adequacy of the proposed Mortgage Property
               as collateral. PX O0072 at 113.

NHELI 2007-2   All of the Mortgage Loans have been purchased by the sponsor from
               various banks, savings and loan associations, mortgage bankers and other
               mortgage loan originators and purchasers of mortgage loans in the
               secondary market, and were originated generally in accordance with the
               underwriting criteria described in this section. PX O0080 at 91.

               Ownit
               Ownit provides loans to borrowers not only for the purpose of purchasing
               homes, but also for debt consolidation and refinancing existing mortgages
               in accordance with the RightLoan Underwriting Guidelines. PX O0080 at
               89.

NHELI 2007-3   All of the Mortgage Loans have been purchased by the sponsor from
               various banks, savings and loan associations, mortgage bankers and other
               mortgage loan originators and purchasers of mortgage loans in the
               secondary market, and were originated generally in accordance with the
               underwriting criteria described in this section. PX O0051 at 92.

               ResMAE
               The information set forth in the following paragraphs of this section
               contains a brief description of the underwriting guidelines used for
               Mortgage Loans originated by ResMAE Mortgage Corporation
               (“ResMAE”). PX O0051 at 88.




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       C.     Statements That Originators Had Evaluated The Borrowers’ Ability To
              Repay The Loans

NAA 2005-AR6       Based on the data provided in the application and certain verifications (if
                   required), a determination is made by the original lender that the
                   borrower’s monthly income (if required to be stated) will be sufficient to
                   enable the borrower to meet their monthly obligations on the mortgage loan
                   and other expenses related to the property such as property taxes, utility
                   costs, standard hazard insurance and other fixed obligations other than
                   housing expenses. PX O0059 at 93.

NHELI 2006-FM1 Fremont’s underwriting guidelines are primarily intended to assess the
               ability and willingness of the borrower to repay the debt . . . . PX O0049
               at 71.

NHELI 2006-FM2 Fremont’s underwriting guidelines are primarily intended to assess the
               ability and willingness of the borrower to repay the debt . . . . PX O0045
               at 81.

NHELI 2006-HE3 Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. PX O0041 at 89.

                   People’s Choice
                   PCHLI reviews the applicant’s source of income, calculates the amount of
                   income from sources indicated on the loan application or similar
                   documentation, reviews the credit history of the applicant, calculates the
                   debt service-to-income ratio (“DTI”) to determine the applicant’s ability to
                   repay the loan . . . . PX O0041 at 82.

NHELI 2007-1       Based on the data provided in the application and certain verifications (if
                   required), a determination is made by the original lender that the
                   borrower’s monthly income (if required to be stated) will be sufficient to
                   enable the borrower to meet their monthly obligations on the mortgage loan
                   and other expenses related to the property such as property taxes, utility
                   costs, standard hazard insurance and other fixed obligations other than
                   housing expenses. PX O0072 at 115.




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     C.    Statements That Originators Had Evaluated The Borrowers’ Ability To
           Repay The Loans

               First National Bank of Nevada
               FNBN’s underwriting guidelines are primarily intended to evaluate the
               prospective borrower’s credit standing and ability to repay the loan . . . .
               PX O0072 at 111.

               Silver State
               Silver State Mortgage’s underwriting guidelines are primarily intended to
               evaluate the prospective borrower’s credit standing and ability to repay the
               loan . . . . PX O0072 at 113.

NHELI 2007-2   Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. PX O0080 at 92.

               Ownit
               The Underwriting Guidelines and Credit Matrices of the RightLoan are
               designed to be used as a guide in determining the credit worthiness of the
               borrower and his/her ability to repay. PX O0080 at 89.

NHELI 2007-3   Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. PX O0051 at 93.

               ResMAE
               The underwriting standards of ResMAE are primarily intended to assess the
               ability and willingness of the borrower to repay the debt . . . . PX O0051 at
               88.




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       D.     Statements Regarding Debt-To-Income Ratios

NAA 2005-AR6       Based on the data provided in the application and certain verifications (if
                   required), a determination is made by the original lender that the
                   borrower’s monthly income (if required to be stated) will be sufficient to
                   enable the borrower to meet their monthly obligations on the mortgage loan
                   and other expenses related to the property such as property taxes, utility
                   costs, standard hazard insurance and other fixed obligations other than
                   housing expenses. Generally, scheduled payments on a mortgage loan
                   during the first year of its term plus taxes and insurance and all scheduled
                   payments on obligations that extend beyond ten months equal no more than
                   a specified percentage not in excess of 60% of the prospective borrower’s
                   gross income. The percentage applied varies on a case-by-case basis
                   depending on a number of underwriting criteria, including, without
                   limitation, the loan-to-value ratio of the mortgage loan. PX O0059 at 93-
                   94.

NHELI 2006-FM1 Fremont’s underwriting guidelines under the Scored Programs with respect
               to each rating category generally require . . . debt to income ratios of 55%
               or less on mortgage loans with loan-to-value ratios of 90% or less,
               however, debt to income ratios of 50% or less are required on loan-to-value
               ratios greater than 90%. PX O0049 at 73.

NHELI 2006-FM2 Fremont’s underwriting guidelines under the Scored Programs with respect
               to each rating category generally require . . . debt to income ratios of 55%
               or less on mortgage loans with loan-to-value ratios of 90% or less,
               however, debt to income ratios of 50% or less are required on loan-to-value
               ratios greater than 90%. PX O0045 at 84.

NHELI 2006-HE3 Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. Generally, scheduled payments on a mortgage loan
               during the first year of its term plus taxes and insurance and all scheduled
               payments on obligations that extend beyond ten months equal no more than
               a specified percentage not in excess of 60% of the prospective borrower’s
               gross income. The percentage applied varies on a case-by-case basis
               depending on a number of underwriting criteria, including, without
               limitation, the loan-to-value ratio of the mortgage loan. PX O0041 at 89.

                   People’s Choice
                   Under each program, PCHLI reviews the applicant’s source of income,

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     D.    Statements Regarding Debt-To-Income Ratios

               calculates the amount of income from sources indicated on the loan
               application or similar documentation, reviews the credit history of the
               applicant, calculates the debt service-to-income ratio (“DTI”) to determine
               the applicant’s ability to repay the loan, reviews the type and use of the
               property being financed, and reviews the property appraisal. PX O0041 at
               82.

NHELI 2007-1   Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. Generally, scheduled payments on a mortgage loan
               during the first year of its term plus taxes and insurance and all scheduled
               payments on obligations that extend beyond ten months equal no more than
               a specified percentage not in excess of 60% of the prospective borrower’s
               gross income. The percentage applied varies on a case-by-case basis
               depending on a number of underwriting criteria, including, without
               limitation, the loan-to-value ratio of the mortgage loan. PX O0072 at 115.

               First National Bank of Nevada
               Based on the data provided in the application and certain verifications (if
               required), a determination will have been made that the borrower’s monthly
               income (if required to be stated or verified) should be sufficient to enable
               the borrower to meet its monthly obligations on the mortgage loan and
               other expenses related to the Mortgaged Property (such as property taxes,
               standard hazard insurance and other fixed obligations other than housing
               expenses). Generally, scheduled payments on a mortgage loan during the
               first year of its term plus taxes and insurance and other fixed obligations
               equal no more than a specified percentage of the prospective borrower’s
               gross income. The percentage applied varies on a case-by-case basis
               depending on a number of underwriting criteria including, but not limited
               to, the loan-to-value ratio of the mortgage loan or the amount of liquid
               assets available to the borrower after origination. PX O0072 at 111.




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     D.    Statements Regarding Debt-To-Income Ratios

               Silver State
               Based on the data provided in the application and certain verifications (if
               required), a determination will have been made that the borrower’s monthly
               income (if required to be stated or verified) should be sufficient to enable
               the borrower to meet its monthly obligations on the mortgage loan and
               other expenses related to the Mortgaged Property (such as property taxes,
               standard hazard insurance and other fixed obligations other than housing
               expenses). Generally, scheduled payments on a mortgage loan during the
               first year of its term plus taxes and insurance and other fixed obligations
               equal no more than a specified percentage of the prospective borrower’s
               gross income. The percentage applied varies on a case-by-case basis
               depending on a number of underwriting criteria including, but not limited
               to, the loan-to-value ratio of the mortgage loan or the amount of liquid
               assets available to the borrower after origination. PX O0072 at 114.

NHELI 2007-2   Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than
               housing expenses. Generally, scheduled payments on a mortgage loan
               during the first year of its term plus taxes and insurance and all scheduled
               payments on obligations that extend beyond ten months equal no more than
               a specified percentage not in excess of 60% of the prospective borrower’s
               gross income. The percentage applied varies on a case-by-case basis
               depending on a number of underwriting criteria, including, without
               limitation, the loan-to-value ratio of the mortgage loan. PX O0080 at 92.

               Ownit
               Several aspects are considered in determining the borrower’s capacity or
               ability to repay the loan. The key factors are employment documentation,
               history and amount of income used to derive the debt to income ratios. . . .
               Base debt to income ratios are set at 45% or 50% depending on credit
               score, LTV, documentation type and if the borrower is a first time home
               buyer. In some cases the maximum debt ratio may increase to 55% based
               on meeting a minimum disposable income requirement. PX O0080 at 90.

NHELI 2007-3   Based on the data provided in the application and certain verifications (if
               required), a determination is made by the original lender that the
               borrower’s monthly income (if required to be stated) will be sufficient to
               enable the borrower to meet their monthly obligations on the mortgage loan
               and other expenses related to the property such as property taxes, utility
               costs, standard hazard insurance and other fixed obligations other than

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D.   Statements Regarding Debt-To-Income Ratios

         housing expenses. Generally, scheduled payments on a mortgage loan
         during the first year of its term plus taxes and insurance and all scheduled
         payments on obligations that extend beyond ten months equal no more than
         a specified percentage not in excess of 60% of the prospective borrower’s
         gross income. The percentage applied varies on a case-by-case basis
         depending on a number of underwriting criteria, including, without
         limitation, the loan-to-value ratio of the mortgage loan. PX O0051 at 93.

         ResMAE
         The underwriting standards of ResMAE are primarily intended to assess the
         ability and willingness of the borrower to repay the debt and to evaluate the
         adequacy of the mortgaged property as collateral for the mortgage loan.
         ResMAE considers, among other things, a mortgagor’s credit history,
         repayment ability and debt service-to income ratio (referred to herein as the
         Debt Ratio), as well as the value, type and use of the mortgaged property.
         PX O0051 at 88.




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       E.     Statements Regarding Verification Of Income And Employment

              1.     General Statements Regarding Verification Of Income And
                     Employment

NAA 2005-AR6       Generally, each borrower will have been required to complete an
                   application designed to provide to the original lender pertinent credit
                   information concerning the borrower. As part of the description of the
                   borrower’s financial condition, the borrower generally will have furnished
                   certain information with respect to its assets, liabilities, income (except as
                   described below), credit history, employment history and personal
                   information, and furnished an authorization to apply for a credit report
                   which summarizes the borrower’s credit history with local merchants and
                   lenders and any record of bankruptcy. The borrower may also have been
                   required to authorize verifications of deposits at financial institutions where
                   the borrower had demand or savings accounts. In the case of investment
                   properties and two- to four-unit dwellings, income derived from the
                   mortgaged property may have been considered for underwriting purposes,
                   in addition to the income of the borrower from other sources. With respect
                   to mortgaged properties consisting of vacation or second homes, no income
                   derived from the property generally will have been considered for
                   underwriting purposes. In the case of certain borrowers with acceptable
                   compensating factors, income and/or assets may not be required to be
                   stated (or verified) in connection with the loan application. PX O0059 at
                   93.

NHELI 2006-FM1 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and Stated
               Income (“Stated Income”). Fremont’s underwriters verify the income of
               each applicant under various documentation types as follows: under Full
               Documentation, applicants are generally required to submit verification of
               stable income for the periods of one to two years preceding the application
               dependent on credit profile . . . . PX O0049 at 72.

NHELI 2006-FM2 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and
               Stated Income (“Stated Income”). Fremont’s underwriters verify the
               income of each applicant under various documentation types as follows:
               under Full Documentation, applicants are generally required to submit
               verification of stable income for the periods of one to two years preceding
               the application dependent on credit profile . . . . PX O0045 at 82.

NHELI 2006-HE3 Generally, each borrower will have been required to complete an
               application designed to provide to the original lender pertinent credit
               information concerning the borrower. As part of the description of the
               borrower’s financial condition, the borrower generally will have furnished

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1.     General Statements Regarding Verification Of Income And
       Employment

     certain information with respect to its assets, liabilities, income (except as
     described below), credit history, employment history and personal
     information, and furnished an authorization to apply for a credit report
     which summarizes the borrower’s credit history with local merchants and
     lenders and any record of bankruptcy. The borrower may also have been
     required to authorize verifications of deposits at financial institutions where
     the borrower had demand or savings accounts. In the case of investment
     properties and two- to four-unit dwellings, income derived from the
     mortgaged property may have been considered for underwriting purposes,
     in addition to the income of the borrower from other sources. With respect
     to mortgaged properties consisting of vacation or second homes, no income
     derived from the property generally will have been considered for
     underwriting purposes. In the case of certain borrowers with acceptable
     compensating factors, income and/or assets may not be required to be
     stated (or verified) in connection with the loan application. PX O0041 at
     89.

     People’s Choice
     The Underwriting Guidelines specify which applicants may qualify for
     “full documentation,” “lite documentation,” and “stated income
     documentation” programs. The specific income documentation required
     for PCHLI’s various programs varies as follows: Under the full
     documentation program, applicants usually are required to submit one
     year’s IRS Form W-2 and Form 1040 and a year-to-day paystub or 12 or 24
     months personal or business bank statements. . . . All of these programs
     require, for salaried employees, a telephone verification of the applicant’s
     employment. For a self-employed borrower, there is a telephone
     verification, as well as additional documentation to verify the existence of
     the business owned by the borrower. In evaluating the credit quality of
     borrowers, PCHLI utilizes Credit Scores (as defined below), mortgage or
     rent-payment history, job stability and income. The Underwriting
     Guidelines require all borrowers to have demonstrated a willingness to pay.
     PX O0041 at 83.

     People’s Choice
     PCHLI thoroughly reviews all credit, income, character and collateral
     information provided by the broker for completeness, accuracy and
     authenticity. For example, PCHLI . . . verbally verifies employment,
     verifies income when appropriate . . . . PX O0041 at 82.

     People’s Choice
     PCHLI thoroughly reviews all credit, income, character and collateral
     information provided by the PCHLI loan officer and makes a credit

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           1.     General Statements Regarding Verification Of Income And
                  Employment

                decision based on the borrower’s application for a mortgage loan using the
                same processes and guidelines used in wholesale transactions. PX O0041
                at 82.

NHELI 2007-1    Generally, each borrower will have been required to complete an
                application designed to provide to the original lender pertinent credit
                information concerning the borrower. As part of the description of the
                borrower’s financial condition, the borrower generally will have furnished
                certain information with respect to its assets, liabilities, income (except as
                described below), credit history, employment history and personal
                information, and furnished an authorization to apply for a credit report
                which summarizes the borrower’s credit history with local merchants and
                lenders and any record of bankruptcy. The borrower may also have been
                required to authorize verifications of deposits at financial institutions where
                the borrower had demand or savings accounts. In the case of investment
                properties and two- to four-unit dwellings, income derived from the
                mortgaged property may have been considered for underwriting purposes,
                in addition to the income of the borrower from other sources. With respect
                to mortgaged properties consisting of vacation or second homes, no income
                derived from the property generally will have been considered for
                underwriting purposes. In the case of certain borrowers with acceptable
                compensating factors, income and/or assets may not be required to be
                stated (or verified) in connection with the loan application. PX O0072 at
                115.

                First National Bank of Nevada
                A prospective borrower applying for a mortgage loan is required to
                complete an application, which elicits pertinent information about the
                prospective borrower including, depending upon the loan program, the
                prospective borrower’s financial condition (assets, liabilities, income and
                expenses), the property being financed and the type of loan desired. . . . If
                required by the underwriting guidelines, employment verification is
                obtained either from the prospective borrower’s employer or through
                analysis of copies of [the] borrower’s federal withholding (IRS W-2) forms
                and/or current payroll earnings statements. . . . In the case of investment
                properties and two- to four-unit dwellings, income derived from the
                Mortgaged Property may have been considered for underwriting purposes,
                in addition to the income of the borrower from other sources, if applicable.
                With respect to Mortgaged Property consisting of vacation or second
                homes, no income derived from the property generally will have been
                considered for underwriting purposes. PX O0072 at 111.

                Under the full/alternate documentation program, the prospective borrower’s

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           1.     General Statements Regarding Verification Of Income And
                  Employment

                employment, income and assets are verified through written or telephonic
                communication. Alternative methods of employment and income
                verification generally include using copies of federal withholding forms
                (IRS W-2) or pay stubs. Alternative methods of asset verification generally
                include using copies of the borrower’s recent bank statements. All loans
                may be submitted under the full/alternate documentation program. PX
                O0072 at 112.

                Silver State
                A prospective borrower applying for a mortgage loan is required to
                complete an application, which elicits pertinent information about the
                prospective borrower including, depending upon the loan program, the
                prospective borrower’s financial condition (assets, liabilities, income and
                expenses), the property being financed and the type of loan desired. If
                required by the underwriting guidelines, employment verification is
                obtained either from the prospective borrower’s employer or through
                analysis of copies of [the] borrower’s federal withholding (IRS W-2) forms
                and/or current payroll earnings statements. . . . In the case of investment
                properties and two- to four-unit dwellings, income derived from the
                Mortgaged Property may have been considered for underwriting purposes,
                in addition to the income of the borrower from other sources, if applicable.
                With respect to Mortgaged Property consisting of vacation or second
                homes, no income derived from the property generally will have been
                considered for underwriting purposes. PX O0072 at 113-114.

NHELI 2007-2    Generally, each borrower will have been required to complete an
                application designed to provide to the original lender pertinent credit
                information concerning the borrower. As part of the description of the
                borrower’s financial condition, the borrower generally will have furnished
                certain information with respect to its assets, liabilities, income (except as
                described below), credit history, employment history and personal
                information, and furnished an authorization to apply for a credit report
                which summarizes the borrower’s credit history with local merchants and
                lenders and any record of bankruptcy. The borrower may also have been
                required to authorize verifications of deposits at financial institutions where
                the borrower had demand or savings accounts. In the case of investment
                properties and two- to four-unit dwellings, income derived from the
                mortgaged property may have been considered for underwriting purposes,
                in addition to the income of the borrower from other sources. With respect
                to mortgaged properties consisting of vacation or second homes, no income
                derived from the property generally will have been considered for
                underwriting purposes. In the case of certain borrowers with acceptable
                compensating factors, income and/or assets may not be required to be

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           1.     General Statements Regarding Verification Of Income And
                  Employment

                stated (or verified) in connection with the loan application. PX O0080 at
                91-92.

NHELI 2007-3    Generally, each borrower will have been required to complete an
                application designed to provide to the original lender pertinent credit
                information concerning the borrower. As part of the description of the
                borrower’s financial condition, the borrower generally will have furnished
                certain information with respect to its assets, liabilities, income (except as
                described below), credit history, employment history and personal
                information, and furnished an authorization to apply for a credit report
                which summarizes the borrower’s credit history with local merchants and
                lenders and any record of bankruptcy. The borrower may also have been
                required to authorize verifications of deposits at financial institutions where
                the borrower had demand or savings accounts. In the case of investment
                properties and two- to four-unit dwellings, income derived from the
                mortgaged property may have been considered for underwriting purposes,
                in addition to the income of the borrower from other sources. With respect
                to mortgaged properties consisting of vacation or second homes, no income
                derived from the property generally will have been considered for
                underwriting purposes. In the case of certain borrowers with acceptable
                compensating factors, income and/or assets may not be required to be
                stated (or verified) in connection with the loan application. PX O0051 at
                92-93.

                ResMAE
                ResMAE’s underwriters verify the income of each applicant under the Full
                Documentation and Limited Documentation Programs. Under Full
                Documentation, applicants are generally required to submit verification of
                stable year to date income and the preceding year’s income . . . . Under all
                programs, the income stated must be reasonable and customary for the
                applicant’s line of work; also, a pre-closing audit is conducted to confirm
                that the borrower is employed as stated on the mortgage application.
                Verification may be made through phone contact to the place of business,
                obtaining a valid business license or through Nexis On-Line Services. PX
                O0051 at 89.




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              2.     Statements Regarding Verification Of Income And Employment
                     Concerning Reduced Documentation Programs

NAA 2005-AR6       Certain of the Mortgage Loans have been originated under reduced
                   documentation, no-documentation or no-ratio programs, which require less
                   documentation and verification than do traditional full documentation
                   programs. Generally, under a reduced documentation program, verification
                   of either a borrower’s income or assets, but not both, is undertaken by the
                   originator. Under a no-ratio program, certain borrowers with acceptable
                   compensating factors will not be required to provide any information
                   regarding income and no other investigation regarding the borrower’s
                   income will be undertaken. Under a no-documentation program, no
                   verification of a borrower’s income or assets is undertaken by the
                   originator. The underwriting for such Mortgage Loans may be based
                   primarily or entirely on an appraisal of the Mortgaged Property, the loan-
                   to-value ratio at origination and/or the borrower’s credit score. PX O0059
                   at 95.

NHELI 2006-FM1 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and Stated
               Income (“Stated Income”). Fremont’s underwriters verify the income of
               each applicant under various documentation types as follows: . . . under
               Easy Documentation, the borrower is qualified based on verification of
               adequate cash flow by means of personal or business bank statements . . . .
               PX O0049 at 72.

NHELI 2006-FM2 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and
               Stated Income (“Stated Income”). Fremont’s underwriters verify the
               income of each applicant under various documentation types as follows: . . .
               under Easy Documentation, the borrower is qualified based on verification
               of adequate cash flow by means of personal or business bank
               statements . . . . PX O0045 at 82.

NHELI 2006-HE3 Certain of the Mortgage Loans have been originated under reduced
               documentation, no-documentation or no-ratio programs, which require less
               documentation and verification than do traditional full documentation
               programs. Generally, under a reduced documentation program, verification
               of either a borrower’s income or assets, but not both, is undertaken by the
               originator. Under a no-ratio program, certain borrowers with acceptable
               compensating factors will not be required to provide any information
               regarding income and no other investigation regarding the borrower’s
               income will be undertaken. Under a no-documentation program, no
               verification of a borrower’s income or assets is undertaken by the

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           2.    Statements Regarding Verification Of Income And Employment
                 Concerning Reduced Documentation Programs

                originator. The underwriting for such Mortgage Loans may be based
                primarily or entirely on an appraisal of the Mortgaged Property, the loan-
                to-value ratio at origination and/or the borrower’s credit score. PX O0041
                at 90.

                People’s Choice
                The Underwriting Guidelines specify which applicants may qualify for
                “full documentation,” “lite documentation,” and “stated income
                documentation” programs. The specific income documentation required
                for PCHLI’s various programs varies as follows: . . . Under the lite
                documentation program, applicants usually are required to submit
                verification of stable income for at least 6 months, such as 6 consecutive
                months of complete personal or business checking account bank statements
                or a current paycheck stub with at least 6 months’ year-to-date
                information. . . . All of these programs require, for salaried employees, a
                telephone verification of the applicant’s employment. For a self-employed
                borrower, there is a telephone verification, as well as additional
                documentation to verify the existence of the business owned by the
                borrower. In evaluating the credit quality of borrowers, PCHLI utilizes
                Credit Scores (as defined below), mortgage or rent-payment history, job
                stability and income. The Underwriting Guidelines require all borrowers to
                have demonstrated a willingness to pay. PX O0041 at 83.

NHELI 2007-1    Certain of the Mortgage Loans have been originated under reduced
                documentation, no-documentation or no-ratio programs, which require less
                documentation and verification than do traditional full documentation
                programs. Generally, under a reduced documentation program, verification
                of either a borrower’s income or assets, but not both, is undertaken by the
                originator. Under a no-ratio program, certain borrowers with acceptable
                compensating factors will not be required to provide any information
                regarding income and no other investigation regarding the borrower’s
                income will be undertaken. Under a no-documentation program, no
                verification of a borrower’s income or assets is undertaken by the
                originator. The underwriting for such Mortgage Loans may be based
                primarily or entirely on an appraisal of the Mortgaged Property, the loan-
                to-value ratio at origination and/or the borrower’s credit score. PX O0072
                at 116-117.

                First National Bank of Nevada
                In addition to the “full/alternate” underwriting guidelines, FNBN also
                originates or purchases loans that have been originated under certain
                limited documentation programs designed to streamline the loan
                underwriting process. These “stated income,” “no ratio,” “no income/no

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2.    Statements Regarding Verification Of Income And Employment
      Concerning Reduced Documentation Programs

     assets,” “stated income/stated assets,” “no documentation with assets,” “no
     documentation” and “lite documentation” programs may not require
     income, employment or asset verifications. Generally, in order to be
     eligible for a limited or no documentation program, the Mortgaged Property
     must have a loan-to-value ratio that supports the amount of the mortgage
     loan and the prospective borrower must have a credit history that
     demonstrates an established ability to repay indebtedness in a timely
     fashion. PX O0072 at 112.

     Under the stated income documentation and the no ratio programs, more
     emphasis is placed on a prospective borrower’s credit score and on the
     value and adequacy of the Mortgaged Property as collateral and other assets
     of the prospective borrower rather than on income underwriting. The stated
     income documentation program requires prospective borrowers to provide
     information regarding their assets and income. Information regarding
     assets is verified through written communications or bank statements.
     Information regarding income is not verified. The no ratio program
     requires prospective borrowers to provide information regarding their
     assets, which is then verified through written communications or bank
     statements. The no ratio program does not require prospective borrowers to
     provide information regarding their income. In both the stated income and
     no ratio programs, the employment history is verified through written or
     telephonic communication. PX O0072 at 112.

     Under the no income/no assets program, emphasis is placed on the credit
     score of the prospective borrower and on the value and adequacy of the
     Mortgaged Property as collateral. Income and assets are not stated on the
     prospective borrower’s application. Disclosure of employment is required
     and verified through written or telephonic communication. PX O0072 at
     112.

     Under the stated income/stated assets program, emphasis is placed on the
     credit score of the prospective borrower and on the value and adequacy of
     the Mortgaged Property as collateral. Income is stated on the prospective
     borrower’s application but is not verified. Assets are also stated on the
     application but are not verified. Employment is verified through written or
     telephonic communication. PX O0072 at 112.

     Under the no documentation with assets and no documentation programs,
     emphasis is placed on the credit score of the prospective borrower and on
     the value and adequacy of the Mortgaged Property as collateral. Under the
     no documentation with assets program, a prospective borrower’s assets are


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           2.    Statements Regarding Verification Of Income And Employment
                 Concerning Reduced Documentation Programs

                stated and verified through written communication or bank statements. A
                prospective borrower is not required to provide information regarding
                income or employment. Under the no documentation with assets program,
                a prospective borrower’s income and employment are not stated or verified
                but assets are verified. Under the no documentation program, a prospective
                borrower’s income, assets and employment are not stated or verified. PX
                O0072 at 112-113.

                The lite documentation programs are loan programs for prospective
                borrowers to obtain mortgage loans that FNBN has determined to be of
                sub-prime quality. Under these programs, prospective borrowers are
                generally qualified based on verification of adequate cash flows by means
                of personal or business bank statements for the previous twelve or twenty-
                four months. PX O0072 at 113.

NHELI 2007-2    Certain of the Mortgage Loans have been originated under reduced
                documentation, no-documentation or no-ratio programs, which require less
                documentation and verification than do traditional full documentation
                programs. Generally, under a reduced documentation program, verification
                of either a borrower’s income or assets, but not both, is undertaken by the
                originator. Under a no-ratio program, certain borrowers with acceptable
                compensating factors will not be required to provide any information
                regarding income and no other investigation regarding the borrower’s
                income will be undertaken. Under a no-documentation program, no
                verification of a borrower’s income or assets is undertaken by the
                originator. The underwriting for such Mortgage Loans may be based
                primarily or entirely on an appraisal of the Mortgaged Property, the loan-
                to-value ratio at origination and/or the borrower’s credit score. PX O0080
                at 93.

NHELI 2007-3    Certain of the Mortgage Loans have been originated under reduced
                documentation, no-documentation or no-ratio programs, which require less
                documentation and verification than do traditional full documentation
                programs. Generally, under a reduced documentation program, verification
                of either a borrower’s income or assets, but not both, is undertaken by the
                originator. Under a no-ratio program, certain borrowers with acceptable
                compensating factors will not be required to provide any information
                regarding income and no other investigation regarding the borrower’s
                income will be undertaken. Under a no-documentation program, no
                verification of a borrower’s income or assets is undertaken by the
                originator. The underwriting for such Mortgage Loans may be based
                primarily or entirely on an appraisal of the Mortgaged Property, the loan-
                to-value ratio at origination and/or the borrower’s credit score. PX O0051

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2.     Statements Regarding Verification Of Income And Employment
       Concerning Reduced Documentation Programs

     at 94.

     ResMAE
     ResMAE’s underwriters verify the income of each applicant under the Full
     Documentation and Limited Documentation Programs. . . . under Limited
     Documentation, the borrower is qualified based on verification of adequate
     cash flow by means of personal or business bank statements. . . . Under all
     programs, the income stated must be reasonable and customary for the
     applicant’s line of work; also, a pre-closing audit is conducted to confirm
     that the borrower is employed as stated on the mortgage application.
     Verification may be made through phone contact to the place of business,
     obtaining a valid business license or through Nexis On-Line Services. PX
     O0051 at 89.




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                 3.       Statements Regarding Verification Of Income And Employment
                          Concerning Stated Income Programs44

NHELI 2006-FM1 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and Stated
               Income (“Stated Income”). Fremont’s underwriters verify the income of
               each applicant under various documentation types as follows: . . . under
               Stated Income, applicants are qualified based on monthly income as stated
               on the mortgage application. The income is not verified under the Stated
               Income program; however, the income stated must be reasonable and
               customary for the applicant’s line of work. PX O0049 at 72.

NHELI 2006-FM2 There are three documentation types, Full Documentation (“Full
               Documentation”), Easy Documentation (“Easy Documentation”) and
               Stated Income (“Stated Income”). Fremont’s underwriters verify the
               income of each applicant under various documentation types as follows: . . .
               under Stated Income, applicants are qualified based on monthly income as
               stated on the mortgage application. The income is not verified under the
               Stated Income program; however, the income stated must be reasonable
               and customary for the applicant’s line of work. PX O0045 at 82.

NHELI 2006-HE3 People’s Choice
               The Underwriting Guidelines specify which applicants may qualify for
               “full documentation,” “lite documentation,” and “stated income
               documentation” programs. The specific income documentation required
               for PCHLI’s various programs varies as follows: . . . Under the stated
               income documentation program, an applicant will be qualified based upon
               monthly income as stated on the mortgage loan application, if the applicant
               meets certain criteria. The income stated must be reasonable for the job
               and credit profile. . . . All of these programs require, for salaried
               employees, a telephone verification of the applicant’s employment. For a
               self-employed borrower, there is a telephone verification, as well as
               additional documentation to verify the existence of the business owned by
               the borrower. In evaluating the credit quality of borrowers, PCHLI utilizes
               Credit Scores (as defined below), mortgage or rent-payment history, job
               stability and income. The Underwriting Guidelines require all borrowers to
               have demonstrated a willingness to pay. PX O0041 at 83.

NHELI 2007-3            ResMAE
                        ResMAE’s underwriters verify the income of each applicant under the Full
                        Documentation and Limited Documentation Programs. . . . Under Stated

44
   Only four of the seven Prospectus Supplements contained explicit representations that the originators’ guidelines
required a borrower’s stated income to be reasonable and/or consistent with the borrower’s occupation.

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3.     Statements Regarding Verification Of Income And Employment
       Concerning Stated Income Programs44

     Income, applicants are qualified based on monthly income as stated on the
     mortgage application. Under all programs, the income stated must be
     reasonable and customary for the applicant’s line of work; also, a pre-
     closing audit is conducted to confirm that the borrower is employed as
     stated on the mortgage application. Verification may be made through
     phone contact to the place of business, obtaining a valid business license or
     through Nexis On-Line Services. PX O0051 at 89.




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       F.     Statements Regarding Adequacy Of Mortgaged Collateral

NAA 2005-AR6       The adequacy of the Mortgaged Property as security for repayment of the
                   related Mortgage Loan will generally have been determined by an appraisal
                   in accordance with pre-established appraisal procedure standards for
                   appraisals established by or acceptable to the originator. PX O0059 at 94.

NHELI 2006-FM1 Fremont’s underwriting guidelines are primarily intended . . . to evaluate
               the adequacy of the mortgaged property as collateral for the mortgage loan.
               PX O0049 at 71.

                   Fremont’s underwriting guidelines . . . require an appraisal of the
                   mortgaged property, and if appropriate, a review appraisal. PX O0049 at
                   72.

NHELI 2006-FM2 Fremont’s underwriting guidelines are primarily intended . . . to evaluate
               the adequacy of the mortgaged property as collateral for the mortgage loan.
               PX O0045 at 81.

                   Fremont’s underwriting guidelines . . . require an appraisal of the
                   mortgaged property, and if appropriate, a review appraisal. PX O0045 at
                   83-84.

NHELI 2006-HE3 The adequacy of the Mortgaged Property as security for repayment of the
               related Mortgage Loan will generally have been determined by an appraisal
               in accordance with pre-established appraisal procedure standards for
               appraisals established by or acceptable to the originator. PX O0041 at 89.

                   People’s Choice
                   The Underwriting Guidelines require that mortgage loans be underwritten
                   in a standardized procedure and require the underwriters to be satisfied that
                   the value of the property being financed, as reflected by an appraisal and a
                   review of the appraisal, supports the outstanding loan balance at time of
                   funding of the PCHLI loan. PX O0041 at 82-83.

NHELI 2007-1       The adequacy of the Mortgaged Property as security for repayment of the
                   related Mortgage Loan will generally have been determined by an appraisal
                   in accordance with pre-established appraisal procedure standards for
                   appraisals established by or acceptable to the originator. PX O0072 at 116.

                   First National Bank of Nevada
                   FNBN’s underwriting guidelines are primarily intended to evaluate . . . the
                   value and adequacy of the proposed Mortgaged Property as collateral. . . .
                   The adequacy of the Mortgaged Property as security for repayment of the
                   related mortgage loan will generally have been determined by an appraisal

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     F.    Statements Regarding Adequacy Of Mortgaged Collateral

               in accordance with pre-established appraisal procedure guidelines for
               appraisals established by or acceptable to the originator. PX O0072 at 111.

               Silver State
               Silver State Mortgage’s underwriting guidelines are primarily intended to
               evaluate . . . the value and adequacy of the proposed Mortgaged Property as
               collateral. . . . The adequacy of the Mortgaged Property as security for
               repayment of the related mortgage loan will generally have been
               determined by an appraisal in accordance with pre-established appraisal
               procedure guidelines for appraisals established by or acceptable to the
               originator. PX O0072 at 113-14.

NHELI 2007-2   The adequacy of the Mortgaged Property as security for repayment of the
               related Mortgage Loan will generally have been determined by an appraisal
               in accordance with pre-established appraisal procedure standards for
               appraisals established by or acceptable to the originator. PX O0080 at 92.

               Ownit
               Ownit will evaluate the property by reviewing uniform residential real
               estate appraisal reports, along with other data sources, to determine whether
               the collateral is sufficient to secure the mortgage. PX O0080 at 89.

NHELI 2007-3   The adequacy of the Mortgaged Property as security for repayment of the
               related Mortgage Loan will generally have been determined by an appraisal
               in accordance with pre-established appraisal procedure standards for
               appraisals established by or acceptable to the originator. PX O0051 at 93.

               ResMAE
               The underwriting standards of ResMAE are primarily intended . . . to
               evaluate the adequacy of the mortgaged property as collateral for the
               mortgage loan.” PX O0051 at 88.

               The underwriting guidelines of ResMAE . . . generally require an appraisal
               of the mortgaged property which conforms to Freddie Mac and/or Fannie
               Mae standards, and if appropriate, a review appraisal. PX O0051 at 89.




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        G.       Statements Regarding Compliance With Uniform Standards of Professional
                 Appraisal Practice

NAA 2005-AR6            All appraisals conform to the Uniform Standards of Professional Appraisal
                        Practice adopted by the Appraisal Standards Board of the Appraisal
                        Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
                        Mac. PX O0059 at 94.

NHELI 2006-FM1 Each uniform residential appraisal report includes a market data analysis
               based on recent sales of comparable homes in the area and, where deemed
               appropriate, replacement cost analysis based on the current cost of
               constructing a similar home. PX O0049 at 72.45

NHELI 2006-FM2 Each uniform residential appraisal report includes a market data analysis
               based on recent sales of comparable homes in the area and, where deemed
               appropriate, replacement cost analysis based on the current cost of
               constructing a similar home. PX O0045 at 83.

NHELI 2006-HE3 All appraisals conform to the Uniform Standards of Professional Appraisal
               Practice adopted by the Appraisal Standards Board of the Appraisal
               Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
               Mac. PX O0041 at 89.

NHELI 2007-1            All appraisals conform to the Uniform Standards of Professional Appraisal
                        Practice adopted by the Appraisal Standards Board of the Appraisal
                        Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
                        Mac. PX O0072 at 116.

                        First National Bank of Nevada
                        All appraisals conform to the Uniform Standards of Professional Appraisal
                        Practice adopted by the Appraisal Standards Board of the Appraisal
                        Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
                        Mac. PX O0072 at 111.

                        Silver State
                        All appraisals conform to the Uniform Standards of Professional Appraisal
                        Practice adopted by the Appraisal Standards Board of the Appraisal
                        Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
                        Mac. PX O0072 at 114.


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    The Uniform Residential Appraisal Report (Freddie Mac Form 70/Fannie Mae Form 1004) includes an
appraiser’s certification, which states in pertinent part, “I performed this appraisal in accordance with the
requirements of the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by the
Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal report was
prepared.” See PX 1414 (Fannie Mae Form 1004, Uniform Residential Appraisal Report,
https://www.fanniemae.com/content/guide_form/1004.pdf).

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     G.    Statements Regarding Compliance With Uniform Standards of Professional
           Appraisal Practice

NHELI 2007-2   All appraisals conform to the Uniform Standards of Professional Appraisal
               Practice adopted by the Appraisal Standards Board of the Appraisal
               Foundation and must be on forms acceptable to Fannie Mae and/or Freddie
               Mac. PX O0080 at 92.

               Ownit
               All appraisals should conform to the Uniform Standards of Professional
               Appraisal Practices. PX O0080 at 91.

NHELI 2007-3   All appraisals conform to the Uniform Standards of Professional Practice
               adopted by the Appraisal Standards Board of the Appraisal Foundation and
               must be on forms acceptable to Fannie Mae and/or Freddie Mac. PX
               O0051 at 93.

               ResMAE
               The underwriting guidelines of ResMAE . . . generally require an appraisal
               of the mortgaged property which conforms to Freddie Mac and/or Fannie
               Mae standards . . . . Each Uniform Residential Appraisal Report . . . . PX
               O0051 at 89-90.




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       H.     Statements Regarding Hazard And Title Insurance

NAA 2005-AR6       Hazard Insurance
                   Generally, each Agreement for a trust fund composed of mortgage loans
                   will require the servicer to cause the borrower on each mortgage loan to
                   maintain a hazard insurance policy (including flood insurance coverage, if
                   obtainable, to the extent the property is located in a federally designated
                   flood area, in an amount as is required under applicable guidelines)
                   providing for the level of coverage that is required under the related
                   Mortgage or, if any Mortgage permits its holder to dictate to the borrower
                   the insurance coverage to be maintained on the related Mortgaged Property,
                   then the level of coverage that is consistent with the Servicing Standard.
                   PX O0059 at 224.

                   Title Insurance
                   To the extent provided in the prospectus supplement the depositor will, for
                   each Asset, assign representations and warranties, as of a specified date . . .
                   covering, by way of example, the following types of matters: . . . in the case
                   of a mortgage loan, the existence of title insurance insuring the lien priority
                   of the mortgage loan and, in the case of a contract, that the contract creates
                   a valid first security interest in or lien on the related manufactured home.
                   PX O0059 at 215.

NHELI 2006-FM1 Fremont requires title insurance on all first mortgage loans, which are
               secured by liens on real property. Fremont also requires that fire and
               extended coverage casualty insurance be maintained on the secured
               property in an amount at least equal to the principal balance of the related
               loan or the replacement cost of the property, whichever is less. PX O0049
               at 72.

NHELI 2006-FM2 Fremont requires title insurance on all first mortgage loans, which are
               secured by liens on real property. Fremont also requires that fire and
               extended coverage casualty insurance be maintained on the secured
               property in an amount at least equal to the principal balance of the related
               loan or the replacement cost of the property, whichever is less. PX O0045
               at 83.

NHELI 2006-HE3 Hazard Insurance
               Generally, each Agreement for a trust fund composed of mortgage loans
               will require the servicer to cause the borrower on each mortgage loan to
               maintain a hazard insurance policy (including flood insurance coverage, if
               obtainable, to the extent the property is located in a federally designated
               flood area, in an amount as is required under applicable guidelines)
               providing for the level of coverage that is required under the related
               Mortgage or, if any Mortgage permits its holder to dictate to the borrower

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     H.    Statements Regarding Hazard And Title Insurance

               the insurance coverage to be maintained on the related Mortgaged Property,
               then the level of coverage that is consistent with the Servicing Standard.
               PX O0041 at 282.

               Title Insurance
               To the extent provided in the prospectus supplement the depositor will, for
               each Asset, assign representations and warranties, as of a specified date . . .
               covering, by way of example, the following types of matters: . . . in the case
               of a mortgage loan, the existence of title insurance insuring the lien priority
               of the mortgage loan and, in the case of a contract, that the contract creates
               a valid first security interest in or lien on the related manufactured home.
               PX O0041 at 273.

NHELI 2007-1   Hazard Insurance
               Generally, each Agreement for a trust fund composed of mortgage loans
               will require the servicer to cause the borrower on each mortgage loan to
               maintain a hazard insurance policy (including flood insurance coverage, if
               obtainable, to the extent the property is located in a federally designated
               flood area, in an amount as is required under applicable guidelines)
               providing for the level of coverage that is required under the related
               Mortgage or, if any Mortgage permits its holder to dictate to the borrower
               the insurance coverage to be maintained on the related Mortgaged Property,
               then the level of coverage that is consistent with the Servicing Standard.
               PX O0072 at 356.

               Title Insurance
               To the extent provided in the prospectus supplement the depositor will, for
               each Asset, assign representations and warranties, as of a specified date . . .
               covering, by way of example, the following types of matters: . . . in the case
               of a mortgage loan, the existence of title insurance insuring the lien priority
               of the mortgage loan and, in the case of a contract, that the contract creates
               a valid first security interest in or lien on the related manufactured home.
               PX O0072 at 347.

NHELI 2007-2   Hazard Insurance
               Generally, each Agreement for a trust fund composed of mortgage loans
               will require the servicer to cause the borrower on each mortgage loan to
               maintain a hazard insurance policy (including flood insurance coverage, if
               obtainable, to the extent the property is located in a federally designated
               flood area, in an amount as is required under applicable guidelines)
               providing for the level of coverage that is required under the related
               Mortgage or, if any Mortgage permits its holder to dictate to the borrower
               the insurance coverage to be maintained on the related Mortgaged Property,
               then the level of coverage that is consistent with the Servicing Standard.

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     H.    Statements Regarding Hazard And Title Insurance

               PX O0080 at 309.

               Title Insurance
               To the extent provided in the prospectus supplement the depositor will, for
               each Asset, assign representations and warranties, as of a specified date . . .
               covering, by way of example, the following types of matters: . . . in the case
               of a mortgage loan, the existence of title insurance insuring the lien priority
               of the mortgage loan and, in the case of a contract, that the contract creates
               a valid first security interest in or lien on the related manufactured home.
               PX O0080 at 300.

NHELI 2007-3   Hazard Insurance
               Generally, each Agreement for a trust fund composed of mortgage loans
               will require the servicer to cause the borrower on each mortgage loan to
               maintain a hazard insurance policy (including flood insurance coverage, if
               obtainable, to the extent the property is located in a federally designated
               flood area, in an amount as is required under applicable guidelines)
               providing for the level of coverage that is required under the related
               Mortgage or, if any Mortgage permits its holder to dictate to the borrower
               the insurance coverage to be maintained on the related Mortgaged Property,
               then the level of coverage that is consistent with the Servicing Standard.
               PX O0051 at 300.

               Title Insurance
               To the extent provided in the prospectus supplement the depositor will, for
               each Asset, assign representations and warranties, as of a specified date . . .
               covering, by way of example, the following types of matters: . . . in the case
               of a mortgage loan, the existence of title insurance insuring the lien priority
               of the mortgage loan and, in the case of a contract, that the contract creates
               a valid first security interest in or lien on the related manufactured home.
               PX O0051 at 291.

               ResMAE
               ResMAE requires title insurance on all first mortgage loans secured by
               liens on real property. ResMAE also requires that fire and extended
               coverage casualty insurance be maintained on the secured property in an
               amount at least equal to the principal balance of the related mortgage loan
               or the replacement cost of the premises, whichever is less. PX O0051 at
               90.




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       I.     Statements Regarding Compliance With Federal And State Laws

NAA 2005-AR6        [T]he seller will represent and warrant, as of the Closing Date, that, among
                    other things: . . . (ii) each Mortgage Loan complied, at the time of
                    origination, in all material respects with applicable local, state and federal
                    laws including, but not limited to all applicable predatory and abusive
                    lending laws[.] PX O0059 at 148.

NHELI 2006-FM1 Fremont’s underwriting guidelines are applied in accordance with a
               procedure which complies with applicable federal and state laws and
               regulations . . . . PX O0049 at 72.

                    [T]he seller will represent and warrant, as of the Closing Date, that, among
                    other things: . . . (ii) each Mortgage Loan complied, at the time of
                    origination, in all material respects with applicable local, state and federal
                    laws including, but not limited to all applicable predatory and abusive
                    lending laws[.] PX O0049 at 139.

NHELI 2006-FM2 Fremont’s underwriting guidelines are applied in accordance with a
               procedure which complies with applicable federal and state laws and
               regulations . . . . PX O0045 at 82.

                    [T]he sponsor will represent and warrant, as of the Closing Date, that,
                    among other things: . . . (ii) each Mortgage Loan complied, at the time of
                    origination, in all material respects with applicable local, state and federal
                    laws including, but not limited to all applicable predatory and abusive
                    lending laws[.] PX O0045 at 171.

NHELI 2006-HE3 [T]he sponsor will represent and warrant, as of the Closing Date, that,
               among other things: . . . (ii) each Mortgage Loan complied, at the time of
               origination, in all material respects with applicable local, state and federal
               laws including, but not limited to all applicable predatory and abusive
               lending laws[.] PX O0041 at 169.

NHELI 2007-1        [T]he sponsor will represent and warrant, as of the Closing Date, that,
                    among other things: . . . (ii) each Mortgage Loan complied, at the time of
                    origination, in all material respects with applicable local, state and federal
                    laws including, but not limited to all applicable predatory and abusive
                    lending laws[.] PX O0072 at 238.

                    First National Bank of Nevada
                    FNBN’s underwriting guidelines are applied in a standard procedure that is
                    intended to comply with applicable federal and state laws and regulations.
                    PX O0072 at 111.


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       I.     Statements Regarding Compliance With Federal And State Laws

NHELI 2007-2       [T]he sponsor will represent and warrant, as of the Closing Date, that,
                   among other things: . . . (ii) each Mortgage Loan complied, at the time of
                   origination, in all material respects with applicable local, state and federal
                   laws including, but not limited to all applicable predatory and abusive
                   lending laws[.] PX O0080 at 196.

                   Ownit
                   The equal treatment of all credit applicants, without regard to race, sex,
                   sexual orientation, color, national origin, religion, age, marital status,
                   disability, or any other prohibited basis, is an integral part of the
                   fundamental mission of providing quality financial services to existing and
                   prospective customers. Ownit is committed to the principle that every
                   applicant for credit receives fair and equal treatment throughout the credit
                   application and approval process. This principle is embodied in the Equal
                   Credit Opportunity Act and Fair Housing Act, and applies to every lending
                   subsidiary of Ownit. PX O0080 at 90.

NHELI 2007-3       [T]he sponsor will represent and warrant, as of the Closing Date, that,
                   among other things: . . . (ii) each Mortgage Loan complied, at the time of
                   origination, in all material respects with applicable local, state and federal
                   laws including, but not limited to all applicable predatory and abusive
                   lending laws[.] PX O0051 at 187.

                   ResMAE
                   The underwriting guidelines of ResMAE are applied in accordance with a
                   procedure which complies with applicable federal and state laws and
                   regulations . . . . PX O0051 at 89.




       J.     Statements Regarding Exceptions To Underwriting Guidelines

NAA 2005-AR6       [C]ertain exceptions to the underwriting standards described in this
                   prospectus supplement are made in the event that compensating factors are
                   demonstrated by a prospective borrower. PX O0059 at 93.

NHELI 2006-FM1 On a case by case basis, Fremont may determine that, based upon
               compensating factors, a prospective mortgagor not strictly qualifying under
               the underwriting risk category guidelines described below is nonetheless
               qualified to receive a loan, i.e., an underwriting exception. Compensating
               factors may include, but are not limited to, low loan-to-value ratio, low debt
               to income ratio, substantial liquid assets, good credit history, stable
               employment and time in residence at the applicant’s current address. PX


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       J.     Statements Regarding Exceptions To Underwriting Guidelines

                   O0049 at 71-72.

NHELI 2006-FM2 On a case by case basis, Fremont may determine that, based upon
               compensating factors, a prospective mortgagor not strictly qualifying under
               the underwriting risk category guidelines described below is nonetheless
               qualified to receive a loan, i.e., an underwriting exception. Compensating
               factors may include, but are not limited to, low loan-to-value ratio, low debt
               to income ratio, substantial liquid assets, good credit history, stable
               employment and time in residence at the applicant’s current address. PX
               O0045 at 82.

NHELI 2006-HE3 [C]ertain exceptions to the underwriting standards described in this
               prospectus supplement are made in the event that compensating factors are
               demonstrated by a prospective borrower. PX O0041 at 88.

                   People’s Choice
                   On a case-by-case basis, exceptions to the Underwriting Guidelines may be
                   made where compensating factors exist. . . . PCHLI documents all
                   exceptions in its loan files. PX O0041 at 82.

NHELI 2007-1       [C]ertain exceptions to the underwriting standards described in this
                   prospectus supplement are made in the event that compensating factors are
                   demonstrated by a prospective borrower. PX O0072 at 115.

                   First National Bank of Nevada
                   FNBN may make certain exceptions to the underwriting guidelines
                   described herein if, in FNBN’s discretion, compensating factors are
                   demonstrated by a prospective borrower. PX O0072 at 110.

NHELI 2007-2       [C]ertain exceptions to the underwriting standards described in this
                   prospectus supplement are made in the event that compensating factors are
                   demonstrated by a prospective borrower. PX O0080 at 91.

                   Ownit
                   The guidelines, a reasonable loan amount and the RightLoan itself offer a
                   solution that also facilitates making logical exceptions to those guides.
                   Exceptions to the guidelines will be made if the loan meets the primary
                   criteria of the RightLoan and offers supported compensating factors when a
                   deviation occurs. In all cases, the exception(s) and compensating factor(s)
                   are clearly documented in the file and require branch manager approval and
                   a second signature from the corporate underwriter. PX O0080 at 89.

NHELI 2007-3       [C]ertain exceptions to the underwriting standards described in this
                   prospectus supplement are made in the event that compensating factors are


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       J.     Statements Regarding Exceptions To Underwriting Guidelines

                   demonstrated by a prospective borrower. PX O0051 at 92.

                   ResMAE
                   On a case by case basis, ResMAE may determine that, based upon
                   compensating factors, a prospective mortgagor not strictly qualifying under
                   the underwriting risk category guidelines described below warrants an
                   underwriting exception. Compensating factors may include, but are not
                   limited to, low loan-to-value ratio, low Debt Ratio, substantial liquid assets,
                   good credit history, stable employment and time in residence at the
                   applicant’s current address. PX O0051 at 89.




II.    Statements Regarding Loan-To-Value Ratios

NAA 2005-AR6       The “Loan-to-Value Ratio” of a mortgage loan at any particular time is the
                   ratio (expressed as a percentage) of the then outstanding principal balance
                   of the mortgage loan to the Value of the related Mortgaged Property. The
                   “Value” of a Mortgaged Property, other than for Refinance Loans, is
                   generally the lesser of (a) the appraised value determined in an appraisal
                   obtained by the originator at origination of that loan and (b) the sales price
                   for that property. . . . Unless otherwise specified in the prospectus
                   supplement, the Value of the Mortgaged Property securing a Refinance
                   Loan is the appraised value of the Mortgaged Property determined in an
                   appraisal obtained at the time of origination of the Refinance Loan. The
                   value of a Mortgaged Property as of the date of initial issuance of the
                   related series may be less than the Value at origination and will fluctuate
                   from time to time based upon changes in economic conditions and the real
                   estate market. PX O0059 at 175.

NHELI 2006-FM1 The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
               (expressed as a percentage) of the then outstanding principal balance of the
               loan to the Value of the related Mortgaged Property. The “Value” of a
               Mortgaged Property, other than for Refinance Loans, is generally the lesser
               of (a) the appraised value determined in an appraisal obtained by the
               originator at origination of that loan and (b) the sales price for that
               property. . . . Unless otherwise specified in the prospectus supplement, the
               Value of the Mortgaged Property securing a Refinance Loan is the
               appraised value of the Mortgaged Property determined in an appraisal
               obtained at the time of origination of the Refinance Loan. The value of a
               Mortgaged Property as of the date of initial issuance of the related series
               may be less than the Value at origination and will fluctuate from time to
               time based upon changes in economic conditions and the real estate market.


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II.    Statements Regarding Loan-To-Value Ratios

                   PX O0049 at 191-92.

NHELI 2006-FM2 The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
               (expressed as a percentage) of the then outstanding principal balance of the
               loan to the Value of the related Mortgaged Property. The “Value” of a
               Mortgaged Property, other than for Refinance Loans, is generally the lesser
               of (a) the appraised value determined in an appraisal obtained by the
               originator at origination of that loan and (b) the sales price for that
               property. . . . Unless otherwise specified in the prospectus supplement, the
               Value of the Mortgaged Property securing a Refinance Loan is the
               appraised value of the Mortgaged Property determined in an appraisal
               obtained at the time of origination of the Refinance Loan. The value of a
               Mortgaged Property as of the date of initial issuance of the related series
               may be less than the Value at origination and will fluctuate from time to
               time based upon changes in economic conditions and the real estate market.
               PX O0045 at 229.

NHELI 2006-HE3 The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
               (expressed as a percentage) of the then outstanding principal balance of the
               loan to the Value of the related Mortgaged Property. The “Value” of a
               Mortgaged Property, other than for Refinance Loans, is generally the lesser
               of (a) the appraised value determined in an appraisal obtained by the
               originator at origination of that loan and (b) the sales price for that
               property. . . . Unless otherwise specified in the prospectus supplement, the
               Value of the Mortgaged Property securing a Refinance Loan is the
               appraised value of the Mortgaged Property determined in an appraisal
               obtained at the time of origination of the Refinance Loan. The value of a
               Mortgaged Property as of the date of initial issuance of the related series
               may be less than the Value at origination and will fluctuate from time to
               time based upon changes in economic conditions and the real estate market.
               PX O0041 at 228.

NHELI 2007-1       The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
                   (expressed as a percentage) of the then outstanding principal balance of the
                   loan to the Value of the related Mortgaged Property. The “Value” of a
                   Mortgaged Property, other than for Refinance Loans, is generally the lesser
                   of (a) the appraised value determined in an appraisal obtained by the
                   originator at origination of that loan and (b) the sales price for that
                   property. . . . Unless otherwise specified in the prospectus supplement, the
                   Value of the Mortgaged Property securing a Refinance Loan is the
                   appraised value of the Mortgaged Property determined in an appraisal
                   obtained at the time of origination of the Refinance Loan. The value of a
                   Mortgaged Property as of the date of initial issuance of the related series
                   may be less than the Value at origination and will fluctuate from time to

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II.   Statements Regarding Loan-To-Value Ratios

                 time based upon changes in economic conditions and the real estate market.
                 PX O0072 at 302.

NHELI 2007-2     The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
                 (expressed as a percentage) of the then outstanding principal balance of the
                 loan to the Value of the related Mortgaged Property. The “Value” of a
                 Mortgaged Property, other than for Refinance Loans, is generally the lesser
                 of (a) the appraised value determined in an appraisal obtained by the
                 originator at origination of that loan and (b) the sales price for that
                 property. . . . Unless otherwise specified in the prospectus supplement, the
                 Value of the Mortgaged Property securing a Refinance Loan is the
                 appraised value of the Mortgaged Property determined in an appraisal
                 obtained at the time of origination of the Refinance Loan. The value of a
                 Mortgaged Property as of the date of initial issuance of the related series
                 may be less than the Value at origination and will fluctuate from time to
                 time based upon changes in economic conditions and the real estate market.
                 PX O0080 at 255.

NHELI 2007-3     The “Loan-to-Value Ratio” of a loan at any particular time is the ratio
                 (expressed as a percentage) of the then outstanding principal balance of the
                 loan to the Value of the related Mortgaged Property. The “Value” of a
                 Mortgaged Property, other than for Refinance Loans, is generally the lesser
                 of (a) the appraised value determined in an appraisal obtained by the
                 originator at origination of that loan and (b) the sales price for that
                 property. . . . Unless otherwise specified in the prospectus supplement, the
                 Value of the Mortgaged Property securing a Refinance Loan is the
                 appraised value of the Mortgaged Property determined in an appraisal
                 obtained at the time of origination of the Refinance Loan. The value of a
                 Mortgaged Property as of the date of initial issuance of the related series
                 may be less than the Value at origination and will fluctuate from time to
                 time based upon changes in economic conditions and the real estate market.
                 PX O0051 at 246.




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                   Majority Of Mortgage Loans Had LTV Ratios Of 80% Or Less
                                                                   Percentage of Loans
                                        Number of Loans         (by aggregate cut-off date
                 SLG
                                        with LTV ≤ 80%              principal balance)
                                                                     with LTV ≤ 80%
            NAA 2005-AR6 (3)                 372                         99.09%

           NHELI 2006-FM1 (1)                1,392                       63.00%

           NHELI 2006-FM2 (1)                2,238                       68.40%

           NHELI 2006-HE3 (1)                1,973                       58.82%

            NHELI 2007-1 (2)                 435                         93.04%

            NHELI 2007-2 (1)                 1,584                       56.59%

            NHELI 2007-3 (1)                 1,109                       59.31%


PX 1638. PX O0059 at 60; PX O0049 at 41; PX O0045 at 49; PX O0041 at 47; PX O0072 at
91; PX O0080 at 51; PX O0051 at 52.




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                                  Distribution Of LTV Ratios

                                                          Percentage Of    Percentage Of
                                         Percentage Of
                                                         Loans Reported   Loans Reported
                   SLG                  Loans Reported
                                                         with LTV > 80%     with LTV >
                                        with LTV ≤ 80%
                                                         to LTV ≤ 100%         100%
              NAA 2005-AR6 (3)              98.94%              1.06%         0.00%

             NHELI 2006-FM1 (1)             54.98%              45.02%        0.00%

             NHELI 2006-FM2 (1)             57.52%              42.48%        0.00%

             NHELI 2006-HE3 (1)             54.53%              45.47%        0.00%

              NHELI 2007-1 (2)              91.77%              8.23%         0.00%

              NHELI 2007-2 (1)              52.78%              47.22%        0.00%

              NHELI 2007-3 (1)              58.49%              41.51%        0.00%


PX 1719. PX O0059 at 60; PX O0049 at 41; PX O0045 at 49; PX O0041 at 47; PX O0072 at
91; PX O0080 at 51; PX O0051 at 52.



                                  Distribution Of CLTV Ratios

                                                          Percentage Of
                                         Percentage Of                     Percentage Of
                                                         Loans Reported
                                        Loans Reported                    Loans Reported
                   SLG                                    with CLTV >
                                         with CLTV ≤                       with CLTV >
                                                         80% to CLTV ≤
                                             80%                               100%
                                                              100%
             NHELI 2006-FM1 (1)             29.15%              70.85%        0.00%

             NHELI 2006-FM2 (1)             26.47%              73.53%        0.00%

             NHELI 2006-HE3 (1)             39.19%              60.81%        0.00%

              NHELI 2007-2 (1)              28.66%              71.34%        0.00%

              NHELI 2007-3 (1)              18.88%              81.12%        0.00%


PX 1720. PX O0049 at 41; PX O0045 at 49; PX O0041 at 47; PX O0080 at 52; PX O0051 at
52.




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III.   Statements Regarding Owner Occupancy


         Number And Percentage Of Owner Occupied Loans In Each Supporting Loan Group
                                                               Percentage of Mortgage Loans
                                    Number of Mortgage Loans
                                                                  (by aggregate cut-off date
                   SLG               Represented To Be Owner
                                                               principal balance) Represented
                                            Occupied
                                                                   To Be Owner Occupied
          NAA 2005-AR6 Group III              188                          56.59%
         NHELI 2006-FM1 Group I              2,248                        88.63%
         NHELI 2006-FM2 Group I              3,628                        93.05%
         NHELI 2006-HE3 Group I              3,239                        89.59%
          NHELI 2007-1 Group II-I             217                         53.07%
           NHELI 2007-2 Group I              2,731                        90.86%
           NHELI 2007-3 Group I              1,707                        89.21%


PX 1639. PX O0059 at 61; PX O0049 at 43; PX O0045 at 51; PX O0041 at 49; PX O0072 at
80; PX O0080 at 54; PX O0051 at 54.




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IV.    Statements Regarding Collateral Characteristics

NAA 2005-AR6       The characteristics of the mortgage loans included in a trust fund will not
                   vary by more than five percent (by total principal balance as of the Cut-off
                   Date) from the characteristics of the mortgage loans that are described in
                   the prospectus supplement. PX O0059 at 176.

NHELI 2006-FM1 The characteristics of the loans included in a trust fund will not vary by
               more than five percent (by total principal balance as of the Cut-off Date)
               from the characteristics of the loans that are described in the prospectus
               supplement. PX O0049 at 193.

NHELI 2006-FM2 If, as of the closing date, any material pool characteristics differs by 5% or
               more from the description in this prospectus supplement, revised disclosure
               will be provided either in a supplement to this prospectus supplement or in
               a current report on Form 8-K. PX O0045 at 42.

                   The characteristics of the loans included in a trust fund will not vary by
                   more than five percent (by total principal balance as of the Cut-off Date)
                   from the characteristics of the loans that are described in the prospectus
                   supplement. In the event that mortgage loans are added to or deleted from
                   the trust fund after the date of the related prospectus supplement but on or
                   before the date of issuance of the securities if any material pool
                   characteristic differs by 5% or more from the description in the prospectus
                   supplement, revised disclosure will be provided either in a supplement or in
                   a Current Report on Form 8-K. PX O0045 at 230.

NHELI 2006-HE3 If, as of the closing date, any material pool characteristics differs by 5% or
               more from the description in this prospectus supplement, revised disclosure
               will be provided either in a supplement to this prospectus supplement or in
               a current report on Form 8-K. PX O0041 at 40.

                   The characteristics of the loans included in a trust fund will not vary by
                   more than five percent (by total principal balance as of the Cut-off Date)
                   from the characteristics of the loans that are described in the prospectus
                   supplement. In the event that mortgage loans are added to or deleted from
                   the trust fund after the date of the related prospectus supplement but on or
                   before the date of issuance of the securities if any material pool
                   characteristic differs by 5% or more from the description in the prospectus
                   supplement, revised disclosure will be provided either in a supplement or in
                   a Current Report on Form 8-K. PX O0041 at 229.

NHELI 2007-1       If, as of the Closing Date, any material pool characteristic differs by 5% or
                   more from the description in this prospectus supplement, revised disclosure
                   will be provided either in a supplement or in a Current Report on Form 8-

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IV.   Statements Regarding Collateral Characteristics

                 K. PX O0072 at 117-18.

                 The characteristics of the loans included in a trust fund will not vary by
                 more than five percent (by total principal balance as of the Cut-Off Date)
                 from the characteristics of the loans that are described in the prospectus
                 supplement. In the event that mortgage loans are added to or deleted from
                 the trust fund after the date of the related prospectus supplement but on or
                 before the date of issuance of the securities if any material pool
                 characteristic differs by 5% or more from the description in the prospectus
                 supplement, revised disclosure will be provided either in a supplement or in
                 a Current Report on Form 8-K. PX O0072 at 303.

NHELI 2007-2     If, as of the Closing Date, any material pool characteristic differs by 5% or
                 more from the description in this prospectus supplement, revised disclosure
                 will be provided either in a supplement or in a Current Report on Form 8-
                 K. PX O0080 at 94.

                 The characteristics of the loans included in a trust fund will not vary by
                 more than five percent (by total principal balance as of the Cut-off Date)
                 from the characteristics of the loans that are described in the prospectus
                 supplement. In the event that mortgage loans are added to or deleted from
                 the trust fund after the date of the related prospectus supplement but on or
                 before the date of issuance of the securities if any material pool
                 characteristic differs by 5% or more from the description in the prospectus
                 supplement, revised disclosure will be provided either in a supplement or in
                 a Current Report on Form 8-K. PX O0080 at 256.

NHELI 2007-3     If, as of the Closing Date, any material pool characteristic differs by 5% or
                 more from the description in this prospectus supplement, revised disclosure
                 will be provided either in a supplement or in a Current Report on Form 8-
                 K. PX O0051 at 95.

                 The characteristics of the loans included in a trust fund will not vary by
                 more than five percent (by total principal balance as of the Cut-off Date)
                 from the characteristics of the loans that are described in the prospectus
                 supplement. In the event that mortgage loans are added to or deleted from
                 the trust fund after the date of the related prospectus supplement but on or
                 before the date of issuance of the securities if any material pool
                 characteristic differs by 5% or more from the description in the prospectus
                 supplement, revised disclosure will be provided either in a supplement or in
                 a Current Report on Form 8-K. PX O0051 at 247.




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V.     Statements Regarding Credit Ratings

NAA 2005-AR6       The classes of certificates listed below will not be offered unless they
                   receive ratings at least as high as those set forth below from Standard &
                   Poor’s, a division of The McGraw-Hill Companies, Inc., which we refer to
                   as ‘Standard & Poor’s’ and Moody’s Investors Service, Inc., which we
                   refer to as ‘Moody’s’. . . . A rating is not a recommendation to buy, sell or
                   hold securities and each rating agency can revise or withdraw such ratings
                   at any time. In general, ratings address credit risk and do not address the
                   likelihood of prepayments. PX O0059 at 12.

                   The credit ratings listed for Class III-A-1 were AAA (S&P) and Aaa
                   (Moody’s). PX O0059 at 12.

                   The ratings of each class of Offered Certificates will depend primarily on
                   an assessment by the rating agencies of the related Mortgage Loans and the
                   subordination afforded by certain classes of certificates. The ratings by
                   each of the rating agencies of the Offered Certificates are not
                   recommendations to purchase, hold or sell the Offered Certificates because
                   such ratings do not address the market prices of the certificates or
                   suitability for a particular investor. PX O0059 at 24.

NHELI 2006-FM1 The Offered Certificates will not be offered unless they receive ratings at
               least as high as those set forth below from Standard & Poor’s, a division of
               The McGraw-Hill Companies, Inc., which we refer to as “Standard &
               Poor’s”, Moody’s Investors Service, Inc., which we refer to as “Moody’s”
               and Dominion Bond Rating Service, which we refer to as “DBRS”. . . . A
               rating is not a recommendation to buy, sell or hold securities and each
               rating agency can revise or withdraw such ratings at any time. In general,
               ratings address credit risk and do not address the likelihood of
               prepayments. PX O0049 at 13.

                   The credit ratings listed for Class I-A were AAA (S&P), Aaa (Moody’s),
                   and AAA (DBRS). PX O0049 at 13.

                   The ratings of each class of Offered Certificates will depend primarily on
                   an assessment by the rating agencies of the related Mortgage Loans, the
                   Interest Rate Swap Agreement and the subordination afforded by certain
                   classes of certificates. The ratings by each of the rating agencies of the
                   Offered Certificates are not recommendations to purchase, hold or sell the
                   Offered Certificates because such ratings do not address the market prices
                   of the certificates or suitability for a particular investor. PX O0049 at 28.

NHELI 2006-FM2 The Offered Certificates will not be offered unless they receive ratings at


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V.     Statements Regarding Credit Ratings

                   least as high as those set forth below from Standard & Poor’s, a division of
                   The McGraw-Hill Companies, Inc., which we refer to as “Standard &
                   Poor’s”, Moody’s Investors Service, Inc., which we refer to as “Moody’s”,
                   Fitch Ratings, which we refer to as “Fitch” and Dominion Bond Rating
                   Service, which we refer to as “DBRS”. . . . A rating is not a
                   recommendation to buy, sell or hold securities and each rating agency can
                   revise or withdraw such ratings at any time. In general, ratings address
                   credit risk and do not address the likelihood of prepayments. PX O0045 at
                   15-16.

                   The credit ratings listed for Class I-A-1 were AAA (S&P), Aaa (Moody’s),
                   AAA (Fitch), and AAA (DBRS). PX O0045 at 15.

                   The ratings of each class of Offered Certificates will depend primarily on
                   an assessment by the rating agencies of the related Mortgage Loans, the
                   Interest Rate Swap Agreement, the Interest Rate Cap Agreement and the
                   subordination afforded by certain classes of certificates. The ratings by
                   each of the rating agencies of the Offered Certificates are not
                   recommendations to purchase, hold or sell the Offered Certificates because
                   such ratings do not address the market prices of the certificates or
                   suitability for a particular investor. PX O0045 at 35.

NHELI 2006-HE3 The Offered Certificates will not be offered unless they receive ratings at
               least as high as those set forth below from Standard & Poor’s, a division of
               The McGraw-Hill Companies, Inc., which we refer to as “Standard &
               Poor’s”, Moody’s Investors Service, Inc., which we refer to as “Moody’s”,
               Fitch Ratings, which we refer to as “Fitch” and Dominion Bond Rating
               Service, which we refer to as “DBRS”. . . . A rating is not a
               recommendation to buy, sell or hold securities and each rating agency can
               revise or withdraw such ratings at any time. In general, ratings address
               credit risk and do not address the likelihood of prepayments. PX O0041 at
               14-15.

                   The credit ratings listed for Class I-A-1 were AAA (S&P), Aaa (Moody’s),
                   AAA (Fitch), and AAA (DBRS). PX O0041 at 15.

                   The ratings of each class of Offered Certificates will depend primarily on
                   an assessment by the rating agencies of the related Mortgage Loans, the
                   Interest Rate Swap Agreement and the subordination afforded by certain
                   classes of certificates. The ratings by each of the rating agencies of the
                   Offered Certificates are not recommendations to purchase, hold or sell the
                   Offered Certificates because such ratings do not address the market prices
                   of the certificates or suitability for a particular investor. PX O0041 at 33.


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V.   Statements Regarding Credit Ratings

NHELI 2007-1    The classes of certificates listed below will not be offered unless they
                receive ratings at least as high as those set forth below from Standard &
                Poor’s, a division of The McGraw-Hill Companies, Inc., which we refer to
                as “S&P” and Moody’s Investors Service, Inc., which we refer to as
                “Moody’s”. . . . A rating is not a recommendation to buy, sell or hold
                securities and each rating agency can revise or withdraw such ratings at any
                time. In general, ratings address credit risk and do not address the
                likelihood of prepayments. PX O0072 at 25.

                The credit ratings listed for Class II-1-A were AAA (S&P) and Aaa
                (Moody’s). PX O0072 at 25.

                The ratings of each class of Offered Certificates will depend primarily on
                an assessment by the rating agencies of the related Mortgage Loans, the
                subordination afforded by certain classes of certificates and an assessment
                by the rating agencies of the related Interest Rate Swap Agreements. The
                ratings by each of the rating agencies of the Offered Certificates are not
                recommendations to purchase, hold or sell the Offered Certificates because
                such ratings do not address the market prices of the certificates or
                suitability for a particular investor. PX O0072 at 52.

NHELI 2007-2    The Offered Certificates will not be offered unless they receive ratings at
                least as high as those set forth below from Standard & Poor’s, a division of
                The McGraw-Hill Companies, Inc., which we refer to as “Standard &
                Poor’s”, Moody’s Investors Service, Inc., which we refer to as “Moody’s”
                and “DBRS”[.] . . . A rating is not a recommendation to buy, sell or hold
                securities and each rating agency can revise or withdraw such ratings at any
                time. In general, ratings address credit risk and do not address the
                likelihood of prepayments. PX O0080 at 17.

                The credit ratings listed for Class I-A-1 were AAA (S&P), Aaa (Moody’s),
                and AAA (DBRS). PX O0080 at 17.

                The ratings of each class of Offered Certificates will depend primarily on
                an assessment by the rating agencies of the related Mortgage Loans, the
                Interest Rate Swap Agreement, the Interest Rate Cap Agreement and the
                subordination afforded by certain classes of certificates. The ratings by
                each of the rating agencies of the Offered Certificates are not
                recommendations to purchase, hold or sell the Offered Certificates because
                such ratings do not address the market prices of the certificates or
                suitability for a particular investor. PX O0080 at 36.

NHELI 2007-3    The Offered Certificates will not be offered unless they receive ratings at


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V.   Statements Regarding Credit Ratings

                least as high as those set forth below from Standard & Poor’s, a division of
                The McGraw-Hill Companies, Inc., which we refer to as “Standard &
                Poor’s”, Moody’s Investors Service, Inc., which we refer to as “Moody’s”
                and Dominion Bond Rating Service, Inc. (known as DBRS, Inc.), which we
                refer to as “DBRS”. . . . A rating is not a recommendation to buy, sell or
                hold securities and each rating agency can revise or withdraw such ratings
                at any time. In general, ratings address credit risk and do not address the
                likelihood of prepayments. PX O0051 at 17.

                The credit ratings listed for Class I-A-1 were AAA (S&P), Aaa (Moody’s)
                and AAA (DBRS). PX O0051 at 17.

                The ratings of each class of Offered Certificates will depend primarily on
                an assessment by the rating agencies of the related Mortgage Loans, the
                Interest Rate Swap Agreement, the Interest Rate Cap Agreement and the
                subordination afforded by certain classes of certificates. The ratings by
                each of the rating agencies of the Offered Certificates are not
                recommendations to purchase, hold or sell the Offered Certificates because
                such ratings do not address the market prices of the certificates or
                suitability for a particular investor. PX O0051 at 35.




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